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                         EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION




 The State of Texas, et al.,


                               Plaintiffs,


                        vs.                          Case No. 4:20-cv-00957


 Google, LLC,



                               Defendant.




                   EXPERT REPORT OF ITAMAR SIMONSON, PH.D.

                                             July 30, 2024
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 I.       BACKGROUND, QUALIFICATIONS, AND ASSIGNMENT

          A.      Background and Qualifications

          1.      I served as the Sebastian S. Kresge Professor of Marketing at the Graduate School

 of Business, Stanford University, from 1993 through 2020. Since the beginning of 2021, I am the

 Sebastian S. Kresge Emeritus Professor of Marketing (while continuing to publish and serve as

 the co-editor of the Consumer Psychology Review Journal). A copy of my curriculum vitae, which

 includes a complete list of my publications, is attached as Appendix A.

          2.      I hold a Ph.D. in Marketing from the Duke University Fuqua School of Business, a

 master’s degree in business administration (MBA) from the UCLA Graduate School of

 Management, and a Bachelor’s degree with majors in Economics and Political Science from The

 Hebrew University.

          3.      My field of expertise is customer behavior, marketing management, the role of

 price, brand, advertising, and product features on judgment and behavior, research methods, the

 design and analysis of surveys and common survey mistakes, and human judgment and decision-

 making. Most of my research has focused on purchasing behavior, and the effects of product

 characteristics (such as brand name, price, and features), the competitive context, and marketing

 activities (such as promotions and advertising) on buying decisions.

          4.      I have published numerous articles in my career, which are listed in my C.V.

 (Appendix A); they deal with topics such as consumer decision making, the role of brands,

 customer decision making in the age of the Internet,1 survey methods, and many other topics. I




 1
      See, e.g., Itamar Simonson and Emanuel Rosen (2014), Absolute Value: What Really Influences Customers in the
      Age of (Nearly) Perfect Information, HarperCollins Publishers.

                                                         1
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 have also co-authored a chapter on “Demand Effects in Likelihood of Confusion Surveys,” in the

 ABA-published book entitled Trademark and Deceptive Advertising Surveys.2

         5.      I have received various awards, including (a) the 2007 Society for Consumer

 Psychology Distinguished Scientific Achievement Award; (b) an Honorary Doctorate from the

 University of Paris – Sorbonne University; (c) the award for the Best Article published in the

 Journal of Consumer Research (the major journal on consumer behavior) between 1987 and 1989;

 (d) the 1997 O’Dell Award, given for the Journal of Marketing Research (the major journal on

 marketing research issues) article that has had the greatest impact on the marketing field in the

 previous five years; (e) the 2001 O’Dell award (and a finalist for the O’Dell Award in 1995, 2002,

 2004, 2005, 2007, 2008, and 2012); (f) the award for the Best Article published in the Journal of

 Public Policy & Marketing (the main journal on public policy and legal aspects of marketing)

 between 1993 and 1995; (g) the Ferber Award from the Association for Consumer Research, the

 largest association of consumer researchers in the world; (h) Elected Fellow of the Association for

 Consumer Research; (i) the 2016 American Marketing Association Award for the Exceptional

 Book that had a significant impact on marketing and related fields; (j) the 2002 American

 Marketing Association award for the Best Article in the area of services marketing; and (k) the

 2016 Association for Consumer Research Conference Best Paper Award.

         6.      At Stanford University, I have taught MBA and executive courses on Marketing

 Management, covering such topics as brand management and brand equity, buyer behavior,

 developing marketing strategies, pricing, building brand equity, advertising, sales promotions, and

 retailing. I have also taught courses dealing with topics such as Marketing of High Technology



 2
     Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The Importance
     of Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys, Chapter 11, Shari Diamond and
     Jerre Swann, Eds., American Bar Association.

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 Products/Services, Business-to-Business Marketing, and Critical-Analytical Thinking. Over the

 past several years, I have also taught an MBA course regarding “Applied Behavioral Economics,”

 which examines the judgment and decision-making behavior and common errors/tendencies of

 managers, organizations, and consumers, financial decision making, and risk taking. In addition

 to teaching MBA courses, I have guided and supervised numerous MBA student teams in their

 work on company and industry projects dealing with a variety of markets.

        7.      All doctoral courses that I have taught over the past 33 years have involved

 educating students regarding proper and improper ways to conduct and evaluate consumer and

 managerial decision-making studies. For example, in addition to general principles of decision-

 making, the courses examine the various stages involved in a consumer survey, including defining

 the problem to be investigated, selecting and developing the research approach, collecting and

 analyzing data, and deriving conclusions. In each class meeting, we carefully investigate the key

 errors (if any) in the research we discuss, and I teach the doctoral students what key aspects they

 should focus on when designing and evaluating studies. One doctoral course that I have taught for

 25 years has focused on studies of psychological and behavioral aspects of consumer decision-

 making and judgment and decision-making more generally. The emphasis in doctoral courses is

 often on consumer research, designing surveys, and evaluating published articles and studies.

        8.      Prior to joining Stanford University, during the six years that I was on the faculty

 of the University of California at Berkeley (1987-93), I taught an MBA Marketing Management

 course, a Ph.D. course on buyer behavior, and a Ph.D. course on buyer decision-making. I also

 taught in various executive-education programs, including a program for marketing managers in

 high-technology companies.




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        9.      After completing my MBA studies and before starting my Ph.D. program, I worked

 for five years in a marketing capacity in a subsidiary of Motorola Inc., serving in the last two years

 as the product-marketing manager for various communications products. My work included (a)

 defining new products and designing marketing plans for new product introductions, (b) customer

 and competitor surveys and analysis, (c) pricing and advertising, and (d) sales forecasting.

        10.     I have conducted, supervised, or evaluated well over 2,000 marketing research

 studies dealing with various aspects of customers’ and managers’ behavior and decision making,

 covering topics such as decision-making processes, branding, pricing, advertising methods,

 product configurations, marketing strategies, and assessments of advertising/promotion

 effectiveness. Among these studies are surveys conducted by my MBA students of various

 marketing and advertising executives (as well as consumers) that examined different advertising

 channels and methods. Based on this experience, as well as my education, teaching, participation

 in consumer-research conferences, and numerous projects with companies and students, I have

 developed expertise in how to design consumer and managerial surveys, how to conduct

 consumer/managerial surveys, problems and pitfalls that are common in surveys, how to analyze

 the data from surveys, and what the results of surveys can—and cannot—show.

        11.     I serve on the editorial boards of various peer-reviewed journals, such as the Journal

 of Consumer Research, the Journal of Marketing Research, the Journal of the Academy of

 Marketing Science, and the Journal of Consumer Psychology. In addition, I am the Co-Editor of

 the Consumer Psychology Review journal. I also frequently review articles submitted to journals

 in other fields, such as psychology, organizational and individual decision-making, and economics.

 Almost all the articles I review include surveys that I carefully examine, often identifying issues

 that need to be addressed and suggesting to the authors how to conduct new studies. I received



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 (twice) the Outstanding Reviewer Award from the Journal of Consumer Research. As a reviewer,

 I am asked to evaluate the research of scholars wishing to publish their articles in leading scholarly

 journals. In addition, I have worked as a consultant for companies and organizations on a variety

 of marketing and buyer behavior topics, the design of consumer surveys, and the measurement of

 consumer preferences.

         12.      I have also served as an expert in well over 200 prior litigations involving various

 marketing, advertising, and buyer behavior issues (including consumer surveys), technology

 marketing, the impact of product features, class actions, trademark-related matters, false

 advertising, branding, survey methods, and other issues. My surveys and expert opinions have

 been relied upon by various courts.3 A list of cases in which I testified as an expert during the past

 ten years is included with this report as Appendix B. I am being compensated at the rate of $900

 an hour. In addition, I receive compensation based on the professional fees of Analysis Group,

 Inc., an economic consulting firm which has provided research support and assisted in the



 3
     See, e.g., Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 626 n.210 (S.D.N.Y. 2007) (noting that Dr.
     “Simonson is eminently qualified to analyze survey techniques”); VIP Prods., LLC v. Jack Daniel’s Props., Inc.,
     291 F. Supp. 3d 891, 902 (D. Ariz. 2018) (“Dr. Simonson has served as an expert witness on numerous occasions,
     providing testimony on issues related to marketing, consumer behavior, trademark-related matters, false
     advertising, and branding.”); Gucci Am., Inc. v. Guess?, Inc., 831 F. Supp. 2d 723, 745 (S.D.N.Y. 2011) (agreeing
     with Dr. Simonson’s survey analysis); THOIP v. Walt Disney Co., 690 F. Supp. 2d 218, 232-242 (S.D.N.Y. 2010)
     (relying on Dr. Simonson’s opinions to exclude opposing expert’s survey); Simon Prop. Grp. L.P. v. mySimon,
     Inc., 104 F. Supp. 2d 1033, 1043-1044, 1048, 1050 (S.D. Ind. 2000) (repeatedly citing Dr. Simonson’s expert
     report as support for excluding opposing expert’s survey); Sazerac Co. v. Fetzer Vineyards, Inc., 265 F. Supp. 3d
     1013, 1016 (N.D. Cal. 2017) (relying on Dr. Simonson’s survey: “Fetzer’s expert’s analysis using a modified
     Eveready survey was far superior to the two room survey employed by Sazerac’s expert”); Kargo Glob., Inc. v.
     Advance Magazine Publishers, Inc., No. 06 Cv. 550 (JFK) (S.D.N.Y. 2007), at 24-25, 41-42 (embracing Dr.
     Simonson’s report as stating “unassailable commonsense” and denying motion to exclude his testimony);
     Schechner. v. Whirlpool Corp., No. 2:16-cv-12409, Discovery Master’s Report and Recommendation on Motions
     to Strike Expert Opinions (Dkt. 96, 101, 111, and 112), October 30, 2018, at p. 19 (“Simonson’s credentials are
     impressive, and his qualifications related to consumer research cannot be reasonably challenged.”); Gutierrez v.
     Wells Fargo Bank, N.A., 730 F. Supp. 2d 1080, 1114 (N.D. Cal. 2010) (“This remarkably candid opinion was
     echoed throughout Expert Simonson’s direct testimony”); People of the State of California v. Macy’s Inc., (Cal.
     Super. 2021), Case No. BC 643040, Statement of Decision, July 13, 2021, at p. 10 (“The Court finds that the
     survey performed by Dr. Simonson was exemplary and a model of how litigation surveys should be conducted.
     The Court, accordingly, affords the survey’s results and conclusions based thereon a high degree of credibility
     and weight.”).

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 preparation of this report under my direction and supervision. My compensation is not dependent

 in any way on the outcome of this litigation.



         B.       Assignment

         13.      I was asked by counsel for Google, LLC (“Google”) to conduct surveys designed

 to examine how advertisers at companies and advertisers at ad agencies (collectively,

 “advertisers”) approach, manage, and evaluate digital advertising and, in particular, display

 advertising and programmatic display advertising.4 Specifically, I was asked to address the

 following issues:

                       a. identifying considerations that are relevant for advertisers’ budgeting

                           decisions, including how and where they allocate advertising spending;

                       b. examining advertisers’ potential reactions to changing display advertising

                           costs;

                       c. examining advertisers’ use of ad buying tools for programmatic display

                           advertising;

                       d. identifying methods that are implemented by advertisers to assess

                           advertising performance;



 4
     As described in more detail below, “display advertising” was defined to these survey participants as: “digital ads
     made up of text, image, video, and/or other multimedia components that typically appear along the top or sides
     of a website, or sometimes in the middle of other content on a website. Examples of display ad formats include
     banner ads, animations, and interactive content. Display ads do not include ads placed on social media platforms.”
     As described below in paragraph 52, these definitions were created for purposes of these surveys only, in order
     to test—among other things—the degree to which advertisers viewed certain types of ads, including ads placed
     on social media platforms, as substitutes for other types of display ads. I did not conduct a survey to determine
     how advertisers use the terms “display” or “social.” In the Higher-Spend Advertiser Survey and Agency Survey,
     “programmatic ads” were defined as: “ads that…are transacted and fulfilled using automation. In programmatic
     transactions, the price of each impression is typically determined in an auction conducted automatically before
     the impression is served.” As discussed in more detail below, because lower-spend advertisers might not regularly
     differentiate between programmatic and direct deals transaction methods, I did not refer to programmatic ads and
     instead asked about display advertising more generally in the Lower-Spend Advertiser Survey.

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                         e. examining use of advertising agencies by advertisers at companies; and

                         f. examining advertisers’ sophistication and use of experiments.

           14.       The documents that I relied upon in connection with my work in this matter are

 listed in Appendix C.

           15.       My analysis may change before trial if additional information from any of the

 parties or their experts becomes available. I, therefore, reserve the right to supplement my report

 accordingly.


 II.       SUMMARY OF CONCLUSIONS

           16.       The three surveys described in this report examined how advertisers manage,

 monitor and make decisions concerning digital advertising, in general, and programmatic display

 advertising, in particular. The participants were involved in making decisions concerning digital

 advertising on behalf of their companies (or clients in the case of ad agencies). The final tabulated

 samples included 502 “higher-spend advertisers” (spending over $500,000 annually on

 advertising), 302 “lower-spend advertisers” (spending less than $500,000 annually on advertising,

 including 138 advertisers who spend less than $50,000 annually on advertising), and 381

 respondents from advertising agencies, all of whom were based in the U.S.

           17.       The surveys were designed to determine advertisers’ actual choices and

 considerations, as well as their evaluations of alternative advertising buying tools and the manner

 in which they assess the cost effectiveness of these tools. In addition, participants were given a

 scenario and asked to indicate how they would respond in case the cost of programmatic display

 advertising increases by “a small but significant amount.”5



 5
       This phrase was designed to leave it to the respondents to consider their reaction, if any, if (what they consider to
       be) “a small but significant” increase in the cost of programmatic display advertising occurred. See paragraph 65.

                                                              7
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        18.     Although there were minor differences among the three surveys (i.e., the “Higher-

 Spend Advertiser Survey,” “Lower-Spend Advertiser Survey,” and “Ad Agency Survey”), the

 overall results were generally similar across them. The surveys’ results lead to the following

 general conclusions:

                   Advertisers and ad agency employees rely on a variety of methods to monitor

                    the performance of their digital advertising, including measures of Return on

                    Investment (ROI) and/or Return on Ad Spend (ROAS). ROI and ROAS were

                    most commonly identified by respondents as the most important metric for

                    accurately assessing performance.      Based on these and other measures,

                    advertisers and ad agency employees assess the effectiveness of the various

                    advertising types and ad buying tools they use.

      Figure 1. Share of Respondents in Each Survey Using ROI and ROAS to Measure
                               Performance for Display Ads




                   Advertisers and ad agency employees can and do adjust their advertising

                    spending allocation based on information on costs and returns of various

                    advertising types. In response to a scenario involving a “small but significant”

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                       increase in the cost of programmatic display advertising (or display advertising

                       more broadly, in the case of lower-spend advertisers6), approximately 54 to 61

                       percent of advertisers and ad agency employees indicated that they would divert

                       spending to other types of digital advertising (described below). These results

                       were generally consistent for higher-spend advertisers, lower-spend advertisers,

                       and ad agency employees, suggesting that advertisers of all types would react

                       to changes in the cost of programmatic display advertising by reallocating

                       spending to other advertising types.

     Figure 2. Share of Respondents in Each Survey Who Would Divert Spending to Other
     Digital Advertising Types in Response to an Increase in the Cost of Display Advertising




                      Among the most common types of advertising to which advertisers and ad

                       agency employees would divert spending were social, search, and digital video,




 6
      As discussed in more detail below, because lower-spend advertisers might not regularly differentiate between
      programmatic and direct deals transaction methods, I did not refer to programmatic ads and instead asked about
      display advertising more generally in the Lower-Spend Advertiser Survey.

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                 indicating that these advertising types serve as substitutes for programmatic

                 display advertising for many advertisers and ad agencies.

    Figure 3. Share of Respondents in Each Survey Diverting Spending to Other Digital
          Advertising Types (Among Respondents Who Would Divert Spending)




                The survey results demonstrate that most advertisers and ad agencies tend to

                 multi-home across different types of digital advertising and, within display

                 advertising, through the use of multiple ad buying tools and platforms. Across

                 higher-spend advertisers, lower-spend advertisers, and ad agency employees,

                 over 85 percent of respondents indicated using more than one type of digital

                 advertising in addition to display advertising, and approximately 75 percent of

                 respondents indicated using more than one ad buying tool for display

                 advertising.




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   Figure 4. Share of Respondents in Each Survey Multi-homing Across Different Types of
                       Digital Advertising and Display Ad Buying Tools




                 The survey results also showed that most users of Google ad buying tools also

                  multi-home across display ad buying tools. In particular, over 75 percent of

                  Google Ads users also indicated using at least one other non-Google ad buying

                  tool for display advertising.

 Figure 5. Share of Google Ads Users in Each Survey Using At Least One Other Non-Google
                          Ad Buying Tool for Display Advertising




                 Thus, the survey findings indicate that most advertisers and ad agencies use a

                  variety of other digital advertising types and employ multiple ad buying tools


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                 for display advertising, so they typically have a variety of alternatives to Google

                 ad buying tools. That is, advertisers, by and large, already practice multi-

                 homing, which facilitates flexible allocations and tool selection as desired.

                Furthermore, the survey findings show that advertisers and ad agency

                 employees often add new ad buying tools. In particular, approximately 30 to

                 40 percent of higher-spend advertisers and ad agency employees indicated that

                 they started using at least one ad buying tool for programmatic display in the

                 past year.

                While my assignment focused in large part on programmatic display advertising

                 (as defined for purposes of the surveys), it is important to consider the broader

                 context of advertising spending.        The survey findings make clear that

                 programmatic display advertising (or display advertising more generally, for

                 lower-spend advertisers) accounts for a relatively small portion of most

                 advertisers’ digital advertising spending. Across higher-spend and lower-spend

                 advertisers and ad agency employees, other types of digital advertising

                 (including search, social, digital video, etc.) accounted for approximately 70

                 percent of digital advertising spending, on average.




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          Figure 6. Average Share of Digital Ad Budget Spent on Display Advertising7




                      In addition to monitoring performance measures, many advertisers and ad

                       agency employees also conduct experiments on display ads, which suggests an

                       additional level of sophistication in optimizing their spending. The surveys

                       indicate that most advertisers use the services of ad agencies or advertising

                       consultants, which further assist them in monitoring and making necessary

                       adjustments to their advertising activities and budget allocations across

                       advertising types and ad buying tools.




 7
     As described in more detail elsewhere in this report, the Lower-Spend Advertiser Survey referred to “display
     advertising,” whereas the Higher-Spend Advertiser Survey and the Agency Survey referred to “programmatic
     display advertising.” See paragraph 52 for further explanation of the definitions used for purposes of this report.

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  Figure 7. Share of Respondents in Each Survey Conducting Experiments on Display Ads




 III.   INTRODUCTION

        A.      Overview of Survey Design

        19.     As described above, I was asked to examine how advertisers at companies and

 employees at ad agencies approach, manage, and evaluate digital advertising. As I have taught

 my students, advertising practices and the factors guiding advertising and other managerial

 decisions as well as the manner in which advertising performance is evaluated vary greatly across

 advertisers, depending on the type of business, the circumstances, the available advertising tools,

 individual preferences, and other factors. While anecdotal examples of choices by specific

 advertisers only provide narrow insight into the decision-making practices of a few selected

 advertisers, surveys can rigorously examine advertising practices across a broad range of

 advertisers and allow for more generalizable conclusions.

        20.     Thus, the surveys described in this report are designed to provide a broad review of

 advertisers’ actual decisions and considerations, as well as their expected responses to changes in

 the cost or performance of a particular type of advertising. As described above, the primary focus



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 of my assignment was on display ads and programmatic display ads in particular.8 However,

 because display advertising cannot be properly examined without considering the range of

 advertising types available to and used by advertisers, the surveys also asked respondents about

 the range of advertising types they use and the impact, if any, of a change in one component (e.g.,

 the cost of programmatic display advertising increases by a small but significant amount) on

 decisions pertaining to other advertising types.

         21.      When determining the proper respondent universe for a study designed to provide

 a broad picture of advertising decisions, it is important to include the main categories of decision

 makers. In the present case, there are two potentially significant distinctions: the size of the

 advertising budget and the difference between an advertiser and an advertising agency. First, the

 size or advertising budget of a company or an organization might make a difference in terms of

 the advertising tools they employ, the tradeoffs they make, their considerations, the performance

 metrics they rely on, and other dimensions. Thus, it was important for my study to include

 respondents with a wide range of different advertising spending levels, while making sure that

 there were enough respondents representing lower-spend advertisers.                           In addition, many

 advertisers use the services of ad agencies (as confirmed in the survey). It is possible that agency

 employees who handle and assist advertisers in evaluating and implementing their advertising have

 a different perspective and information than the advertisers themselves. To the extent that such

 differences exist, I decided that it was important for my study to also examine respondents from

 advertising agencies.




 8
     As described below in paragraph 52, the definition of “display advertising” used in the surveys was created for
     purposes of these surveys only, in order to test—among other things—the degree to which advertisers viewed
     certain types of ads, including ads on social media platforms, as substitutes for other types of display ads. I did
     not conduct a survey to determine how advertisers use the terms “display” or “social.”

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          22.      Prior to designing the survey questionnaires, I arranged for 14 preliminary

 interviews to be conducted with advertisers with a range of different spending levels as well as

 with ad agencies to explore some of the topics the survey would ultimately examine.9 The

 interviewer was an employee of Analysis Group who was on the team which assisted me with the

 surveys. I listened to all of these interviews.

          23.      To obtain live reactions from interviewees while answering the questions,

 respondents were given the following instructions:

                   When answering, please give as much detail as possible. However, if you
                   do not know the answer, that is okay -- just let me know.

          24.      This technique is known in the scientific literature as “think-aloud protocols,”

 which has advantages and some limitations in terms of capturing respondents’ understanding and

 interpretation of the questions in real time.10 I used the feedback and responses of the interview

 participants to inform the development of the survey questions.

          25.      In designing the survey questions, it was important to recognize potential

 differences between different groups of advertisers that might affect their understanding of certain

 industry-specific terminology or otherwise affect the question phrasing. Ultimately, I designed

 three survey questionnaires tailored to different groups of respondents: “higher-spend advertisers”

 spending more than $500,000 on advertising in the past year (the “Higher-Spend Advertiser

 Survey”), “lower-spend advertisers” spending less than $500,000 on advertising in the past year

 (the “Lower-Spend Advertiser Survey”), and individuals at ad agencies (the “Ad Agency


 9
      The initial interview participants were members of the same Advertiser Perceptions panel (described below) that
      was used for the online surveys. To avoid overlap, I requested that respondents who participated in the
      preliminary interviews not be invited to participate in the subsequent surveys. See Appendix D for the discussion
      guide used during the preliminary interviews.
 10
      For a review, see, e.g., Robert Crutcher (1994), “Telling What We Know: The Use of Verbal Report
      Methodologies in Psychological Research,” Psychological Science, Vol. 5, No. 5, pp. 241-248; see also Itamar
      Simonson (1989), “Choice Based on Reasons: The Case of Attraction and Compromise Effects,” Journal of
      Consumer Research, Vol. 16, pp. 158-174.

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 Survey”).11 While the three surveys asked similar questions covering the same general set of

 topics, I made certain adjustments to the question language and terminology to make the

 questionnaires more suitable for respondents in each of these different groups. For example, the

 preliminary interviews suggested that advertisers with lower spending levels might be less familiar

 with certain terminology, such as “programmatic” buying methods or “ad buying tools,” than

 advertisers with higher spending levels. Thus, I simplified certain language in the Lower-Spend

 Advertiser Survey questionnaire to make the questions more understandable to advertisers

 spending less than $500,000 on advertising in the past year, while still including these terms in the

 Higher-Spend Advertiser Survey questionnaire to maintain additional precision for advertisers

 who were more familiar with such terminology.12,13 In addition, because respondents who work

 at advertising agencies may work on behalf of multiple clients at the same time, I adjusted the

 phrasing of several questions in the Ad Agency Survey to ask about the client on which they spend

 the most time, so that the point of reference was consistent across the sample and did not require

 respondents to try to average across different advertising clients.14


 11
      The complete questionnaires for the three surveys are presented in Appendices F.1, G.1, and H.1, and are
      discussed in more detail in the subsequent sections of my report.
 12
      The choice of the specific threshold to divide respondents between the Lower-Spend Advertiser Survey and the
      Higher-Spend Advertiser Survey was based on my judgment that advertisers spending $500,000 or more were
      not at risk of misunderstanding the terminology used in the Higher-Spend Advertiser Survey. The survey pre-
      tests I conducted, which are described in more detail below, were consistent with the conclusion that respondents
      spending less than $500,000 on advertising understood the terminology used in the Lower-Spend Advertiser
      Survey and respondents spending more than $500,000 on advertising understood the terminology used in the
      Higher-Spend Advertiser Survey. While some studies of demand-side platform usage conducted by Advertiser
      Perceptions require respondents to have a minimum of $1 million in annual digital ad spend, I included
      respondents that had spending of less than $1 million in my surveys in light of Plaintiffs’ allegations about
      advertisers with lower spending levels. See, e.g., GOOG-AT-MDL-008928829-914, at 831.
 13
      The questionnaire adjustments are discussed in more detail in Section V. In each survey, I also asked respondents
      more specifically about their level of advertising spending. While the sample size for any very narrow spending
      level may be small, these data allow me to examine, for example, the practices and considerations of organizations
      that spend less than $50,000 or more than $50 million annually.
 14
      The questionnaire adjustments are discussed in more detail in Section VI. As discussed below, I did not impose
      a required level of advertising spend for the Ad Agency Survey (or tailor the survey questions differently based
      on the level of advertising spend of the respondent’s primary client) because respondents at ad agencies handle
      various advertising tasks across multiple clients, which provides them the requisite level of sophistication to


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          26.      The surveys, which were largely descriptive,15 followed the standards of proper

 surveys.16 The questions were phrased in a nonleading manner.17 The order of response options

 in closed-ended questions was rotated or randomized to avoid potential “order effects,”18 and

 measures were taken to identify any spurious answers (as explained below).19

          27.      Until the conclusion of the surveys, respondents were “blind” to the purpose of the

 survey and the identity of its sponsor. Although these surveys were conducted on behalf of Google,

 it was important to not single out or make Google prominent in the survey questions, because such

 prominence could have affected the answers and thereby potentially provide inaccurate data due




      understand the advertising terminology used in the survey. Similar to the Lower-Spend Advertiser Survey and
      the Higher-Spend Advertiser Survey, I did ask respondents in the Ad Agency Survey to indicate the level of
      advertising spending of their primary client, which enables me to examine the practices of ad agencies for clients
      with different spending levels.
 15
      The surveys were “descriptive,” in that they were primarily designed to learn from advertisers what they actually
      do and, in some cases, why they do it (from their perspective). Other descriptive surveys of advertising managers
      have been published in peer-reviewed journals. See, e.g., Douglas West and Gerard P. Prendergast (2009),
      “Advertising and Promotions Budgeting and The Role of Risk,” European Journal of Marketing, Vol. 43, No.
      11/12, pp. 1457-1476.
 16
      For references regarding general survey guidelines, see, e.g., Shari S. Diamond (2011), “Reference Guide on
      Survey Research,” in Reference Manual on Scientific Evidence, Third Edition, Federal Judicial Center (“Diamond
      (2011)”), pp. 359-423; Don A. Dillman, Jolene D. Smyth, and Leah Melani Christian (2014), Internet, Phone,
      Mail, and Mixed-Mode Surveys: The Tailored Design Method, Fourth Edition, Wiley; Norman M. Bradburn,
      Seymour Sudman, and Brian Wansink (2004), Asking Questions: The Definitive Guide to Questionnaire Design
      – For Market Research, Political Polls, and Social and Health Questionnaires, Revised Edition, Jossey-Bass
      (“Bradburn et al (2004)”); Erin Ruel, William Edward Wagner III, and Brian Joseph Gillespie (2016), The
      Practice of Survey Research: Theory and Applications, SAGE Publications, Inc.
 17
      As discussed below, the pre-tests conducted for the three surveys confirmed that the questions were clear and
      nonleading.
 18
      See, e.g., Diamond (2011), at pp. 395-396 (“The order in which questions are asked on a survey and the order in
      which response alternatives are provided in a closed-ended question can influence the answers … To control for
      order effects, [] the order of the response choices in a survey should be rotated[.]”).
 19
      This approach could help determine the level of noise caused by “spurious response error,” which occurs when
      survey respondents claim to recognize or consume brands that do not exist. See, e.g., Ronald E. Goldsmith (1988),
      “Spurious Response Error in a New Product Survey,” Journal of Business Research, Vol. 17, No. 3, pp. 271-281
      (“Goldsmith (1988)”).

                                                           18
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 to what is known as “focalism”20 and possible “demand effects.”21 Thus, respondents were

 informed only at the conclusion of the survey about its sponsor and were given the option to

 indicate that their responses should not be included in any statistical or other analysis of the

 findings, which was implemented accordingly (i.e., I have not received any information about their

 responses and those responses are not included in the results described in this report or any other

 analysis).22

          28.      After developing the survey questionnaires, I subsequently arranged to conduct a

 dozen additional interviews, or “pre-tests,” of the questionnaires.23, 24 Instead of think-aloud

 protocols, participants in these subsequent pre-test interviews completed the survey on their own,

 but they were asked a few additional questions at the conclusion of the survey. The questions were

 the following:

                       Did you have any problems or difficulties taking the survey?

                       Did you think any questions were unclear? If so, which ones and why?

                       Did you think any answer options were unclear? If so, which ones and why?



 20
      See, e.g., Timothy D. Wilson and Daniel T. Gilbert (2003), “Affective Forecasting,” Advances in Experimental
      Social Psychology, Vol. 35, pp. 345-411, at pp. 366-369. See also Daniel Kahneman, et al. (2006), “Would You
      Be Happier If You Were Richer? A Focusing Illusion,” Science, Vol. 312, pp. 1908-1910, at p. 1908; David Gal
      and Itamar Simonson (2020), “Predicting Consumers’ Choices in the Age of the Internet, AI, and Almost Perfect
      Tracking: Some Things Change, the Key Challenges Do Not,” Consumer Psychology Review, Vol. 4, No. 1, pp.
      1-18.
 21
      See, e.g., Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The
      Importance of Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys: Law, Science, and
      Design, Chapter 11, Shari S. Diamond and Jerre B. Swann, Eds., American Bar Association, pp. 243-259, at p.
      243. See also Alan G. Sawyer (1975), “Demand Artifacts in Laboratory Experiments in Consumer Research,”
      Journal of Consumer Research, Vol. 1, No. 4, pp. 20-30, at pp. 20-21.
 22
      As described later, the surveys did not include a “Back” button and disabled the “Back” option in respondents’
      browsers. See Appendix F.1, at F.1-2. Therefore, respondents were not able to change their previous answers
      after being informed about the survey sponsor.
 23
      Specifically, five pre-tests of the Higher-Spend Advertiser Survey questionnaire, three pre-tests of the Lower-
      Spend Advertiser Survey questionnaire, and four pre-tests of the Ad Agency Survey questionnaire were
      conducted. Pre-tests can help determine whether survey questions were clear and unambiguous.
 24
      See, e.g., Bradburn et al (2004), at p. 317 (“[A] pretest will help you determine if the questionnaire is gathering
      the data you need and whether it is convenient and clear for respondents to fill out. Additionally, a pretest will
      often suggest problems you were unaware of, and it can help you avoid costly mistakes.”).

                                                           19
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                       Did any questions in the survey make you feel that you should answer one way

                        or the other? If so, which ones and why?

                       What do you think might be the purpose for conducting this survey? What

                        makes you think so?

                       Is there anything else you would like to say about the survey?25

          29.      Overall, the results of these pre-test interviews indicated that, consistent with my

 prior experience with similar survey questions, the questions in this survey were clear, and

 respondents encountered no difficulties understanding the questions.26

          B.       Sample Selection and Survey Administration

          30.      All surveys were administered via the Internet in September and October 2023.

 The samples of advertisers and of ad agency employees were obtained through Advertiser

 Perceptions (“AP”). A “leading provider of research-based strategic market intelligence and

 analysis to the media, advertising and ad tech industry,”27 AP has specialized in understanding the

 advertising market and advertising decision makers.28 This allowed them to reach a large pool of

 confirmed advertisers at companies and employees at ad agencies.                            AP regularly surveys

 advertisers at companies and employees at ad agencies to generate reports for use by companies




 25
      See Appendix E.
 26
      Given these results, I did not make any changes to the survey questionnaires based on the results of the pre-tests.
 27
      Business Wire, “Eureka Equity Partners Announces Investment in Advertiser Perceptions,”
      https://www.businesswire.com/news/home/20230216005622/en/Eureka-Equity-Partners-Announces-
      Investment-in-Advertiser-Perceptions (viewed 9/24/2023).
 28
      For example, Advertiser Perceptions publishes a series of “DSP Reports” summarizing insights from a survey of
      advertising decision makers. See, e.g., GOOG-DOJ-11021167-216; GOOG-DOJ-AT-00748293-396; GOOG-
      DOJ-AT-00839664-764; GOOG-DOJ-AT-02524665-749; GOOG-AT-MDL-001272416-493.

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 in the advertising space.29 AP also frequently runs surveys at the request of specific companies

 seeking to understand advertisers’ decisions, considerations, and expected responses to changes.30

          31.      AP maintains a proprietary “AdPROs” panel and works with a variety of third-party

 survey panels to recruit qualified respondents.31               The AdPROs panel includes U.S.-based

 respondents who are brand marketers, agency executives, media specialists, digital publishers, and

 IT leaders directly involved in media and ad tech purchase decisions.32 Notably, the ADPROs

 panel includes “[q]uantitative and qualitative respondents covering the world’s top brands and

 agencies – including 100% of the Ad Age Top 200 Advertisers and controlling $165B+ of annual

 ad spend.”33

          32.      For each of the surveys described in this report, members of AP’s AdPROs panel

 and third-party partner panels were invited to participate in the survey via email. Up to two

 reminder emails were sent to participants who did not complete the survey within three to four

 days of the initial invite.




 29
      See, e.g., GOOG-DOJ-11021167-216; GOOG-DOJ-AT-00748293-396; GOOG-DOJ-AT-00839664-764;
      GOOG-DOJ-AT-02524665-749. See also Advertiser Perceptions, “Data-Driven Market Intelligence: For More
      Effective New Business and Client Retention Pitches,” https://advertiserintelligence.com (viewed 10/2/2023);
      Advertiser       Perceptions,       “What          Advertisers      Think,”      2016,       available      at
      https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at pp. 6,
      17-18.
 30
      Advertiser Perceptions, “Key Business Intelligence That Drives Results: Take Actions Based on Data-Driven
      Strategic Sales & Marketing Recommendations,” https://www.advertiserperceptions.com/results/ (viewed
      10/2/2023);        Advertiser     Perceptions,     “What      Advertisers   Think,”   2016,    available    at
      https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at pp. 2,
      6, 17-18.
 31
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023).
 32
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023); Advertiser Perceptions, “What
      Advertisers Think,” 2016, available at https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016
      -AP-Company-Brochure.pdf, at p. 7.
 33
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023).

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          33.      AP has a standard process they put in place to generate survey samples that are

 representative of the advertiser population they are intended to reflect.34                   Specifically, AP

 maintains estimates of the distribution of U.S. based advertisers across a variety of metrics,

 including company size, annual media spend, industry/sector, advertiser title, and demographic

 information such as age, gender, and region. At my direction, and in accordance with their

 standard practices, AP sent invitations to panel members to generate an inbound sample35 that was

 representative of the U.S. advertiser population accounting for the vast majority of spending.36

          34.      At the direction of counsel, I asked AP to pre-screen respondents to ensure that they

 did not work for any companies that are parties to, were identified on initial disclosures in, or have

 received subpoenas in connection with United States v. Google LLC, No. 1:23-cv-00108 (E.D.

 Va.), the cases consolidated in In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-

 03010 (S.D.N.Y.), and/or Texas v. Google LLC, No. 4:20-cv-00957 (E.D. Tex.).37 Respondents

 who work for companies on this list did not participate in any of the surveys. To the extent those

 companies are, on average, more sophisticated advertisers, then my results would likely be

 conservative on key topics such as multi-homing (i.e., the use of multiple ad buying tools and/or




 34
      See, e.g., GOOG-DOJ-AT-02524665-749, at 666-667; GOOG-DOJ-AT-00839664-764, at 666-667, 726; GOOG-
      DOJ-11021167-216, at 168; GOOG-AT-MDL-002038336-380, at 337-338. According to AP, their “proprietary
      database and panels of media decision makers are large and responsive” and the “advertiser survey and
      questionnaire development process that [they] employ is proven and ensures optimal response.” Advertiser
      Perceptions, “What Advertisers Think,” 2016, available at https://www.advertiserperceptions.com/wp-
      content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at p. 18.
 35
      The “inbound sample” refers to the sample of respondents who clicked into the survey link provided in the
      invitation. AP’s approach of generating a representative inbound sample is similar to the methodology applied
      by many other panel providers I have worked with in the past.
 36
      For the Higher-Spend Advertiser Survey, in order to generate sufficiently large sample sizes across different
      spending levels, AP generated a sample with equal proportion of respondents within the $500,000 to $15,000,000
      annual ad spend range and the $15,000,000+ annual ad spend range. However, AP applied their standard practice
      to generate a representative inbound sample within those sub-groups.
 37
      The relevant companies are identified in Appendix I.

                                                         22
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 advertising types) and substitution across advertising types in response to cost increases, which

 likely requires greater experience and expertise.38

          35.      While conducting the analyses described throughout this report, I also examined

 whether key results differed by demographics or advertiser spend (e.g., whether male respondents

 are more or less likely to multi-home than female respondents) and found that, by and large, the

 results are generally consistent across different subgroups.39 In addition to the standard process

 AP put in place to generate survey samples that are representative, this consistency supports that

 the survey results are not meaningfully impacted by the specific composition of the sample (e.g.,

 the number of male respondents versus female respondents).

          36.      As part of the quality control process, AP uses Research Defender, a digital

 fingerprinting and fraud detection platform,40 to exclude bots and manage duplication across

 sample partners, in addition to other internal metrics such as speeders (i.e., respondents who

 completed the survey in a very short amount of time), straight liners (i.e., respondents who gave

 the same answer for a series of questions), inconsistencies in responses, and low-quality open-

 ended responses. Respondents who completed the survey were compensated in points redeemable

 for cash, equivalent to approximately $10 to $20.41

          37.      For each survey, the final dataset provided by AP included all respondents who

 entered the survey, passed AP’s quality control process, and did not choose to exclude their


 38
      For a general overview of the literature on the effect of knowledge and expertise, see, e.g., Joseph W. Alba and
      J. Wesley Hutchinson (1987), “Dimensions of Consumer Expertise,” Journal of Consumer Research, Vol. 13,
      No. 4, pp. 411- 454.
 39
      See Exhibits 103-104.
 40
      Research Defender, “Home,” https://researchdefender.com (viewed 10/19/2023).
 41
      Research shows that providing respondents with financial incentives for completing surveys increases response
      rates and reduces nonresponse bias. See, e.g., Diamond (2011), at p. 383; Eleanor Singer and Cong Ye (2013),
      “The Use and Effects of Incentives in Surveys,” The Annals of the American Academy of Political and Social
      Science, Vol. 645, pp. 112-141, at p. 134; Colin F. Camerer and Robin M. Hogarth (1999), “The Effects of
      Financial Incentives in Experiments: A Review and Capital-Labor-Production Framework,” Journal of Risk and
      Uncertainty, Vol. 19, No. 1-3, pp. 7-42.

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 responses.42 In total, the final analytical samples included 502 advertisers with self-reported

 annual ad spend of at least $500,000 in the past year (the Higher-Spend Advertiser Survey), 302

 advertisers with self-reported annual ad spend less than $500,000 (the Lower-Spend Advertiser

 Survey), and 381 ad agency employees (the Ad Agency Survey).43

           38.       In the sections below, I describe each of these surveys and their results in more

 detail.


 IV.       HIGHER-SPEND ADVERTISER SURVEY

           A.        Overview

           39.       I designed a survey questionnaire for higher-spend advertisers spending more than

 $500,000 annually to address a number of issues, including the following:

                         use of digital advertising types;

                         reliance on ad agencies;



 42
       See discussion in paragraph 81 regarding respondents who opted to exclude their responses from the sample.
 43
       Exhibit 1; Exhibit 37; Exhibit 68. These sample sizes are large compared to many other surveys I have conducted
       throughout my career and allow me to draw reliable conclusions with sufficient precision for my purposes. As
       described throughout my report, many of the main results from the surveys in this matter are proportions (e.g.,
       the share of respondents who would divert spending away from programmatic display advertising in response to
       a cost increase or the share of respondents who use multiple ad buying tools for programmatic display
       advertising). These sample sizes allow for reasonably precise estimates of these proportions. For example, with
       a sample size of 300, the standard error around an estimated proportion of 50 percent is 0.0289 (calculated as
                 , where 𝑝 = 0.5 and 𝑛 = 300), which implies a 95 percent confidence interval of ± 5.67 percent (calculated
       as 1.96 × 0.0289 = 0.0566). Because, for a given sample size, the standard error is largest when the value of the
       estimated proportion is 50 percent, the 95 percent confidence interval is smaller than ± 5.67 percent for any other
       estimated proportion value (e.g., 20 percent or 80 percent, etc.) with the same sample size of 300. The estimates
       become more precise with larger sample sizes. For example, with a sample size of 500, the standard error around
       an estimated proportion of 50 percent is 0.0224 (calculated as              , where 𝑝 = 0.5 and 𝑛 = 500), which
       implies a 95 percent confidence internal of ± 4.38 percent (calculated as 1.96 × 0.0224 = 0.0438). Holding sample
       size constant, the standard error of the difference between two estimated proportions is maximized when both
       estimated proportions are 50 percent. For example, for two samples of 300 observations each, the largest standard
       error of a difference in proportions is 0.0408 (calculated as                        , where 𝑝 = 0.5, 𝑝 = 0.5, 𝑛
       = 300, and 𝑛 = 300), which implies a 95 percent confidence interval of ± 8.0 percent (calculated as 1.96 × 0.0408
       = 0.0800).

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                       reactions (if any) to an increase in the cost of programmatic display spending,

                        including whether and to what extent spending would be diverted to other

                        digital advertising types;

                       use of different ad buying tools for programmatic display advertising;

                       metrics used to assess performance of programmatic display advertising; and

                       use of experiments to inform different aspects of programmatic display

                        advertising.

          40.      As noted above, the survey was designed to provide a broad review of advertisers’

 past decisions and behavior as well as their expected responses to changes. Thus, the survey

 involved a mix of questions about advertisers’ considerations, past decisions, as well as questions

 presenting hypothetical scenarios.

          B.       Methodology

          41.      Five pre-test interviews for the Higher-Spend Advertiser Survey were conducted

 on September 1, 2023. No changes to the survey questionnaire were made based on these pre-test

 interviews.     After pre-testing, the Higher-Spend Advertiser Survey was administered from

 September 5, 2023, to September 21, 2023. The full survey questionnaire is included in Appendix

 F.1. Screenshots of the survey as it appeared to respondents are presented in Appendix F.2.

                   1.      Survey Universe and Screening Criteria

          42.      The survey universe for the Higher-Spend Advertiser Survey included advertisers

 and marketers based in the U.S. who work for companies that sell and advertise products or

 services (as opposed to ad agencies) and have spent over $500,000 on advertising in the past year.44


 44
      As discussed above, because advertisers with lower spending levels may be less familiar with certain industry
      terminology used in the Higher-Spend Advertiser Survey, I required respondents to the Higher-Spend Advertiser


                                                        25
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 Because a primary focus of the survey was to assess decision-making regarding programmatic

 display advertising specifically, the survey universe was also limited to advertisers and marketers

 who have used programmatic display advertising in the past year and who were personally

 involved in decisions regarding their company’s use of display advertising, including determining

 strategies, budgets, use of buying tools, and/or management of digital display campaigns.

          43.      Upon entering the survey, respondents were asked several standard introductory

 and demographic questions, followed by a series of screening questions to ensure that only

 respondents with the relevant characteristics that define the survey universe would qualify for the

 main questionnaire.45

          44.      First, prospective respondents who clicked on the link to the survey were asked to

 enter a “captcha” code presented on the screen to make sure the respondent was a person rather

 than a machine.

          45.      They were then told:

                   QS2. Thank you for participating in our study. Your opinions are very
                   important to us. If you don’t know an answer to a question or if you don’t
                   have an opinion, please don’t guess. Simply indicate this in your response
                   by selecting the “Don’t know / Unsure” option. There are no right or wrong
                   answers.

                   Your responses will be kept anonymous and will be analyzed as part of a
                   larger sample of responses. The results of this study will not be used to try
                   to sell you anything.

                   If you wear glasses or corrective lenses when using a desktop computer,
                   laptop computer, or tablet, please wear them throughout the survey.




      Survey to spend more than $500,000 on advertising in the past year. Advertisers spending less than this amount
      were eligible for the Lower-Spend Advertiser Survey, which was similar to the Higher-Spend Advertiser Survey
      but simplified certain language.
 45
      As shown in Appendix F.1, questions asked in the screening section of the questionnaire are identified by a “QS”
      prefix, questions asked in the main questionnaire are identified by a “Q” prefix, and the question asked in the
      follow-up section is identified by a “QF” prefix.

                                                          26
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                   Please do not use the “Back” button of your browser while taking the
                   survey. When you are ready to get started, please select the “Continue”
                   button.

          46.      They were then asked about their age, gender, and state they live in to understand

 the demographic characteristics of the samples and to ensure respondents were over 18 and resided

 in the U.S. Respondents were screened out of the survey if they were younger than 18 years old,

 selected “Prefer not to answer” to the age question, or selected either “Don’t know / Unsure” or

 “Other” to the state of residence question. I also asked respondents an attention check question in

 order to screen out inattentive respondents.

          47.      Next, respondents were asked a series of screening questions to determine whether

 they met the definition of the relevant survey universe and thus would qualify for the main

 questionnaire.

          48.      First, respondents were asked about their job responsibilities (QS6) and had to

 indicate that their job responsibilities involved advertising or marketing to proceed with the survey.

 Respondents were also asked to identify the type of company they work for (QS7), and had to

 indicate that the company they work for sells and advertises or markets products or services to

 proceed with the survey.46

                   QS6. Which of the following do you have any involvement in as part of
                   your job responsibilities? (Please select all that apply.)

                        Hiring/HR
                        IT/Tech
                        Business intelligence/Data science
                        Sales or account management
                        Accounting/Finance
                        Advertising or Marketing
                        Website/Mobile App design/development
                        Customer relationship management
                        Data analysis/statistics


 46
      The order of the presented response options was randomized (except for “Other”).

                                                         27
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                        Other (specify):

                   [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]

                   QS7. Which of the following best characterizes the type of company you
                   work for? (Please select only one option.)

                        Advertiser/Marketer - your company sells products or services and
                         advertises/markets its products or services
                        Creative Agency - your company designs or produces marketing
                         content and/or advises clients on their creative media/marketing
                         strategies
                        Media Agency - your company advises clients on their
                         media/marketing strategies and/or how to spend their advertising
                         funds
                        Full Service Agency - your company handles both Creative and
                         Media strategy and/or execution
                        Other (please describe):

                   [TERMINATE IF “Advertiser/Marketer” IS NOT SELECTED]

          49.      Respondents were then asked about their advertising spending (QS10), and had to

 indicate that their company had spent at least $500,000 on all advertising, including all digital

 types and nondigital types, in the last 12 months in order to qualify for the survey:47

                   QS10. Approximately how much did your company spend in the last 12
                   months on all advertising, including all digital types (e.g., display, video,
                   audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)?
                   (Please select only one option.)

                        Less than $10,000 [TERMINATE]
                        $10,000 to less than $50,000 [TERMINATE]
                        $50,000 to less than $100,000 [TERMINATE]
                        $100,000 to less than $250,000 [TERMINATE]
                        $250,000 to less than $500,000 [TERMINATE]
                        $500,000 to less than $1 million
                        $1 million to less than $3 million
                        $3 million to less than $7 million
                        $7 million to less than $15 million
                        $15 million to less than $30 million
                        $30 million to less than $50 million
                        $50 million to less than $100 million
                        $100 million to less than $250 million

 47
      The order of the presented response options was rotated (except for “Don’t know / Unsure”).

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                     $250 million to less than $500 million
                     $500 million or more
                     Don’t know / Unsure [TERMINATE]

        50.     Next, respondents were asked to estimate the percentage of their advertising budget

 that was spent on digital advertising (QS11). Respondents had to indicate that their business unit

 or team used a portion of their advertising budget on digital advertising to proceed with the survey.

                QS11. Please think about your business unit/team’s total advertising
                budget. In the past year, what percentage of your business unit/team’s total
                advertising budget was used for digital (online) advertising, as opposed to
                offline advertising? Please give your best estimate. (Please enter a number
                from 0 to 100 for each type of advertising or select “Don’t know/Unsure.”
                Values must add up to 100%)

                Percentage of budget spent on digital (online) advertising last year:
                Percentage of budget spent on offline advertising last year:
                TOTAL                           [SHOW SUM OF NUMBERS ABOVE]
                    Don’t know / Unsure [EXCLUSIVE]

                [TERMINATE IF DIGITAL (ONLINE) = 0]

        51.     Respondents were then asked about their usage of different digital advertising types

 (QS12), and had to indicate that they used display advertising in the past year to proceed. To make

 sure that the definitions of digital advertising types in general and of display advertising in

 particular were clear and consistent across respondents, I provided all respondents with the same




                                                  29
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 descriptions of digital advertising types and instructed them to review the descriptions

 carefully:48,49

                   QS12. Which of the following types of digital advertising, if any, has your
                   business unit/team used in the past year? Please review the description of
                   each advertising type carefully. (Please select all that apply.)

                     Advertising Type             Description
                    Search                       Digital ads placed on search engine result pages.
                                                  Ads generally consist of a headline, description,
                                                  and a link to the destination URL.
                    Display                      Digital ads made up of text, image, video, and/or
                                                  other multimedia components that typically
                                                  appear along the top or sides of a website, or
                                                  sometimes in the middle of other content on a
                                                  website. Examples of display ad formats include
                                                  banner ads, animations, and interactive content.
                                                  Display ads do not include ads placed on social
                                                  media platforms.
                    Email                        Digital ads sent via email to current and potential
                                                  customers.
                    Digital Audio                Recorded advertisements that play between or
                                                  during songs, podcasts, or other digital audio
                                                  content.
                    Social                       Digital ads placed on social media platforms such
                                                  as Facebook, Instagram, LinkedIn, Snapchat, and
                                                  Twitter.
                    App/In-App                   Digital ads placed and displayed within mobile
                                                  apps. Does not include ads placed on social media
                                                  platforms.
                    Digital Video                Includes video ads that appear before, during, or
                                                  after digital content in a video player, such as
                                                  YouTube.

 48
      List of digital advertising types and their descriptions generally based on information from: Insider Intelligence
      and eMarketer, “US Programmatic Digital Display Advertising Outlook 2021: Spending and Trends,” (2021), at
      pp. 14-15; Directive Consulting, “8 Types of Digital Advertising You Should Know,”
      https://directiveconsulting.com/blog/types-of-digital-advertising/ (viewed 10/12/2023); Indeed, “10 Types of
      Display Ads for Online Marketing (With Benefits),” https://www.indeed.com/career-advice/career-
      development/types-of-display-ads (viewed 10/12/2023); Complaint, United States of America, et al. v. Google
      LLC, Case 1:23-cv-00108, January 24, 2023, at pp. 16-17; Fourth Amended Complaint, State of Texas, et al. v.
      Google LLC, Case 1:21-md-03010, May 5, 2023, at pp. 15 and 31; Aaron Crider, “The Next Frontier Is Retail
      Media: Marketplace Advertising From Instacart to Walmart,” https://www.wpromote.com/blog/amazon-
      marketing/retail-media-marketplace-advertising (viewed 10/12/2023); SendPulse, “Email Advertising,”
      https://sendpulse.com/support/glossary/email-advertising (viewed 10/12/2023).
 49
      The order of the presented response options was randomized (except for “Other” and “Don’t know / Unsure”).
      For any subsequent questions that relate to different digital advertising types, respondents were given the option
      to hover their mouse over the advertising types to review the descriptions presented in this screener question.

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                 Connected TV            Includes digital advertising that appears on home
                                          screens of CTV devices and in-stream video ads
                                          that appear on CTVs from platforms like Hulu,
                                          Roku and YouTube. CTVs are TV sets connected
                                          to the internet through built-in internet capability
                                          or through another device such as a Blu-ray
                                          player, game console, set-top box (e.g., Apple
                                          TV, Google Chromecast, Roku), etc.
                 eCommerce               Digital ads that appear on eCommerce platforms,
                  Platforms               such as Amazon.com or Instacart.
                 Other (specify and
                  explain):
                  [INSERT TEXT
                  BOX]
                   Don’t know / Unsure [EXCLUSIVE]

                [TERMINATE IF “DISPLAY” IS NOT SELECTED]

        52.     As shown in the table above, for the purposes of the survey, and only for the purpose

 of the survey, I informed survey participants that they should assume that display ads do not

 include ads placed on social media platforms, regardless of whether market participants may

 consider social media advertising to be a type of display advertising. I did not test, and do not

 purport to measure, whether industry participants in fact use “display” to include social, video, or

 other advertising types. Instead, I applied this distinction in the definition of “display” because,

 as directed by counsel, the purpose of this survey was, in part, to assess whether advertisers and

 advertising agencies would shift spend from one type of advertising to another as defined (i.e.,

 substitution), and thus the categories had to be separately delineated; it was also important to

 ensure a consistent understanding of the types across respondents. By excluding social media

 advertising from display advertising in this survey, I am not making any claim as to whether social

 and display advertising are part of the same antitrust market, or whether these terms have any

 particular use or meaning to industry participants.




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          53.      Respondents were then asked about their usage of programmatic display

 advertising and direct deals (QS13); to be allowed to proceed, they had to indicate they had

 purchased display ad inventory through programmatic transaction methods in the past year.

 Similar to the previous question, I provided respondents with descriptions of display advertising

 and the two transaction methods to purchase display advertising:50,51

                   QS13. You indicated that your business unit/team has used display
                   advertising in the past year. Display ad inventory can be purchased through
                   programmatic transaction methods or through direct deals with publishers.
                   Please review the below descriptions about these transaction methods.

                   Programmatic: Ads that are purchased programmatically are transacted
                   and fulfilled using automation. In programmatic transactions, the price of
                   each impression is typically determined in an auction conducted
                   automatically before the impression is served.

                   Direct Deals: Ads that are purchased through a direct negotiation, or “direct
                   deal,” with the publisher. In direct deals, the price of the ad inventory is
                   typically set through a one-to-one negotiation between the advertiser and
                   the publisher rather than through an auction. “Direct deals” include
                   programmatic direct deals, such as programmatic guaranteed deals and
                   preferred deals.

                   Which of the following transaction methods has your business unit/team (or
                   your ad agency) used to purchase display ad inventory in the past year?
                   (Please select all that apply.)

                         Programmatic
                         Direct Deals
                         None of the above [EXCLUSIVE]
                         Don’t know / Unsure [EXCLUSIVE]

                   [TERMINATE IF “PROGRAMMATIC” IS NOT SELECTED]




 50
      See, e.g., Deepak Sharma, “Programmatic Deals,” https://www.adpushup.com/blog/programmatic-vs-direct-deal/
      (viewed 10/12/2023); Insider Intelligence and eMarketer, “US Programmatic Digital Display Advertising
      Outlook 2021: Spending and Trends,” (2021), at p. 15.
 51
      The order of the presented response options was randomized (except for “None of the above” and “Don’t know /
      Unsure”). For any subsequent questions that mention “Programmatic Display” and “Direct Deals” advertising
      types, respondents were given the option to hover their mouse over the advertising types to review the descriptions
      presented in this screener question.

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          54.      If respondents indicated that they used social advertising in the last 12 months in

 QS12, they were then asked to select the platforms they had used for social advertising (QS14).

 To assess the amount of noise or “false recognition” in the survey results from respondents

 misidentifying social media platforms they use,52 I included a fictional social platform that

 respondents could not have used (“FriendLinx”) as a “decoy” or “control” name. This question

 provided additional information about usage of different social media platforms, but was not used

 to determine whether a respondent qualified for the survey.

                   QS14. [IF “SOCIAL” SELECTED IN QS12] You indicated that you
                   have used social advertising in the past year. Which of the following social
                   media platforms, if any, has your business unit/team advertised on in the
                   past year? (Please select all that apply.) 53

                        Facebook
                        Instagram
                        Pinterest
                        Snapchat
                        TikTok
                        Twitter
                        LinkedIn
                        Reddit
                        Tumblr
                        FriendLinx
                        Other social media platforms (specify): [INSERT TEXT BOX]
                        None of the above [EXCLUSIVE]
                        Don’t know / Unsure [EXCLUSIVE]

          55.      Finally, respondents were asked to describe their personal involvement in their

 company’s digital display advertising efforts (QS15). In order to ensure respondents could provide

 relevant and precise responses, respondents had to have been sufficiently involved in their

 company’s digital display advertising decisions in the last 12 months to qualify to participate in




 52
      See, e.g., Goldsmith (1988); Jon A. Krosnick (1999), “Survey Research,” Annual Review of Psychology, Vol. 50,
      pp. 537-567.
 53
      The order of the response options was randomized (except for “Other social media platforms,” “None of the
      above,” and “Don’t know / Unsure”).

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 the survey. In particular, they had to indicate they had determined overall strategies or budgets for

 digital display, determined which buying tools or demand-side platforms to use for digital display,

 regularly used self-serve ad platforms to manage digital display campaigns, or oversaw a team or

 individuals that use self-serve ad platforms to manage digital display campaigns:54

                  QS15. In which of the following ways have you personally been involved
                  in your company’s digital display advertising efforts in the last 12
                  months? (Please select all that apply.)

                        I determine overall strategies and/or budgets for digital display
                        I determine which buying tools and/or demand-side platforms
                         (DSPs) to use for digital display
                        I regularly use self-serve ad platforms to manage digital display
                         campaigns
                        I oversee a team/individuals that use(s) self-serve ad platforms to
                         manage digital display campaigns
                        I regularly set up audience/target parameters for programmatic
                         digital display buying
                        I oversee a team/individuals that set(s) up audience/target
                         parameters for programmatic digital display buying
                        I measure results of digital display campaigns
                        I oversee a team/individuals that measure(s) results of digital display
                         campaigns
                        None of the above [EXCLUSIVE]
                        Don’t know / Unsure [EXCLUSIVE]

                  [TERMINATE IF NONE OF “I determine overall strategies and/or
                  budgets for digital display”, “I determine which buying tools and/or
                  demand-side platforms (DSPs) to use for digital display”, “I regularly use
                  self-serve ad platforms to manage digital display campaigns”, AND “I
                  oversee a team/individuals that use(s) self-serve ad platforms to manage
                  digital display campaigns” ARE SELECTED]

          56.     Respondents were also asked a series of questions regarding their market sector and

 current job title or level. The information gathered from these questions was used for data analysis

 purposes and not for screening purposes.




 54
      The order of the presented response options was randomized (except for “None of the above” and “Don’t know /
      Unsure”).

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          57.      Consistent with the definition of the survey universe, the survey sample thus

 included advertisers or marketers who work for companies that sell and advertise their products or

 services, had spent at least $500,000 on all advertising in the past year, had spent some of their

 advertising budget on digital advertising in the past year, and had used programmatic display

 advertising in the past year. Additionally, respondents must have been personally involved in

 determining strategies, budgets, or ad buying tools for digital display or using self-serve ad

 platforms to manage digital display campaigns.

                   2.       Main Questionnaire

          58.      The main questionnaire began with standard preliminary instructions, followed by

 questions that addressed the following topics:

                       use of different digital advertising types and ad agencies;

                       reactions to a hypothetical increase in the cost of programmatic display

                        advertising;

                       use of ad buying tools for programmatic display advertising; and

                       methods to assess the performance of programmatic display advertising.

          59.      After passing the screening questions, qualified respondents were first given

 standard preliminary survey instructions encouraging them to select “Don’t know / Unsure” if they

 do not feel comfortable answering a question (to minimize guessing) and instructing them not to

 use their browser’s “Back” button (to prevent respondents from trying to change their previous

 answers as they progress through the survey).55

                   Q1. You have been selected to answer questions about advertising practices
                   used by your business unit, or the team you work on. For each question, if
                   you don’t know or are unsure, please don’t guess. Simply indicate this in

 55
      In addition, the surveys did not include a “Back” button and disabled the “Back” option in respondents’ browsers
      to prevent respondents from changing their previous answers. See Appendix F.1, at F.1-2.

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                   your response by selecting the “Don’t know / Unsure” option. There are no
                   right or wrong answers.

                   Also, you should complete this survey without stopping in the middle.
                   Please make sure not to consult anyone; use your browser’s “Back” button;
                   or open another browser while working on this survey.

 Questions Regarding Use of Digital Advertising Types and Ad Agencies

          60.      Next, respondents were asked about their use of ad agencies and their relative

 spending on different types of digital advertising.

          61.      Respondents were asked whether or not they use an ad agency for digital

 advertising (Q2). Respondents who indicated that they use an agency for digital advertising were

 asked what the ad agency helps them with:56

                   Q3. For which, if any, of the following do you use an ad agency? (Please
                   select all that apply.)

                        Content and/or creatives
                        Consulting services
                        Media/marketing strategies
                        Allocating advertising funds across advertising types
                        Budgeting decisions
                        Customer research
                        Implementation of advertising (e.g., placing bids, interacting with
                         DSPs)
                        Tracking advertising performance
                        Inventory access
                        Running advertising tests/experiments
                        Other (specify): [INSERT TEXT BOX]
                        None of the above [EXCLUSIVE]
                        Don’t know / Unsure [EXCLUSIVE]

          62.      Respondents were then asked a series of questions related to digital advertising.

 Respondents were presented with a list of digital advertising types they had previously indicated

 using in the past year in the screening questions. They were asked to allocate 100% of their digital



 56
      The order of the presented response options was randomized (except for “Other,” “None of the above,” and “Don’t
      know / Unsure”).

                                                         36
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 advertising budget across the different types of digital advertising. Specifically, they received the

 following instructions:57

                  Q4. The following questions pertain to digital advertising.

                  Previously, you mentioned that your business unit/team has used the
                  following types of digital advertising in the past year. What is your best
                  estimate of the share of your business unit/team’s digital advertising
                  budget that was used for each of these types of advertising in the past year?
                  Specifically, please allocate 100% across the different types of digital
                  advertising shown below based on the share of your total digital advertising
                  budget spent on each type. The total should add up to 100%.

                  To review the advertising type descriptions, hover your mouse over each
                  digital advertising type.

                  (Please enter a number from 0 to 100 in each cell, or select “Don’t know /
                  Unsure.” Please make sure that numbers add up to 100.)

                  Search:
                  Programmatic Display:
                  Direct Deals Display:
                  Email:
                  Digital Audio:
                  Social:
                  App/In-App:
                  Digital Video:
                  Connected TV:
                  eCommerce Platforms:
                  Other:
                    Don’t know / Unsure [EXCLUSIVE]


 Questions Regarding Responses to an Increase in the Cost of Programmatic Display
 Advertising

          63.     The next questionnaire section examined whether and to what extent respondents

 would divert any of their advertising spending to other types of advertising in response to an



 57
      The order of the presented response options was randomized (except for “Other” and “Don’t know / Unsure”).

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 increase in the cost of programmatic display advertising. First, respondents were presented with

 a hypothetical situation in which the cost of programmatic display advertising increased by a small

 but significant amount and were asked whether or not they would divert spending to other

 advertising types (i.e., make a change in their budget allocation or maintain their current budget

 allocation). The questions in this survey were similar to other questions that have been used by

 researchers in peer-reviewed and other publications relating to the “status quo bias,”58 which

 examine managers’ and consumers’ decisions to take action versus maintaining the status quo.

 Many such studies have relied on a direct question in which respondents are faced with two options

 (or, in some cases, more than two) and are asked for their decision. For example, a study of

 managers in public companies presented respondents with a hypothetical situation in which they

 needed a new software solution and asked them to choose between an updated version of their

 current software package or two alternative software packages.59                    Similarly, another study

 presented participants with a hypothetical situation in which they inherit a portfolio of cash and

 securities from a relative and asked them to choose whether to retain the existing investment

 strategy or change to one of several presented alternative strategies.60 The same article also

 examined a field study of real-life consumer choices each year to either keep their current health

 insurance plan or switch to another plan.61 In addition, other studies have examined, for example,




 58
      The “status quo bias” refers to the tendency to prefer keeping the status quo over making a change.
 59
      Sean Nicholson-Crotty, Jill Nicholson-Crotty, and Sean Webeck (2019), “Are Public Managers More Risk
      Averse? Framing Effects and Status Quo Bias Across The Sectors,” Journal of Behavioral Public Administration,
      Vol. 2, No. 1, pp. 1-15, at pp. 6-7.
 60
      William Samuelson and Richard Zeckhauser (1988), “Status Quo Bias in Decision Making,” Journal of Risk and
      Uncertainty, Vol. 1, No. 1, pp. 7-59, at pp. 12-13.
 61
      William Samuelson and Richard Zeckhauser (1988), “Status Quo Bias in Decision Making,” Journal of Risk and
      Uncertainty, Vol. 1, No. 1, pp. 7-59, at pp. 26-31.

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 whether or not to use a resource, which essentially involves a choice between taking an action (use

 the resource) or not.62,63

          64.      In the current survey, the question below regarding the possible diversion of

 spending from one type of advertising (i.e., programmatic display advertising) to other types of

 advertising follows a similar format to other such studies involving taking action and making

 changes. In addition, the current survey was designed to assess the extent to which respondents

 would divert spending to each other type of advertising, and differences, if any, across different

 forms of advertising.

          65.      Specifically, respondents were instructed to assume a scenario in which their

 analysis shows that the cost of programmatic display advertising has increased by a “small but

 significant amount,” whereas the costs of other digital advertising types have not changed. Given

 this scenario, they were asked whether or not they will divert some of their spending to other types

 of digital advertising and if so, which types of digital advertising they will divert spending to.64

 The phrasing of this question was designed to leave it to the advertisers to consider their reaction,

 if any, if (what they consider to be) “a small but significant” increase in the cost of programmatic

 display advertising occurred.65



 62
      See, e.g., Aram Galstyan, Shashikiran Kolar, and Kristina Lerman (2003), “Resource Allocation Games with
      Changing Resource Capacities,” Proceedings of the Second International Joint Conference on Autonomous
      Agents and Multiagent Systems, pp. 145-152. See also Vicki G. Morwitz, Eric Johnson, and David Schmittlein
      (1993), “Does Measuring Intent Change Behavior?,” Journal of Consumer Research, Vol. 20, No. 1, pp. 46-61.
 63
      Other studies have also examined advertiser budgeting methods more generally. See, e.g., Douglas West and
      Gerard P. Prendergast (2009), “Advertising and Promotions Budgeting and The Role of Risk,” European Journal
      of Marketing, Vol. 43, No. 11/12, pp. 1457-1476.
 64
      The order of the presented response options was randomized (except for “Don’t know / Unsure”).
 65
      In addition, the balanced phrasing of “small but significant” avoids possible demand effects whereby respondents
      might have assumed that certain answers were expected or preferred. See, e.g., Itamar Simonson and Ran Kivetz
      (2012), “Demand Effects in Likelihood of Confusion Surveys: The Importance of Marketplace Conditions,” in
      Trademark and Deceptive Advertising Surveys: Law, Science, and Design, Chapter 11, Shari S. Diamond and
      Jerre B. Swann, Eds., American Bar Association, at p. 243. See also Alan G. Sawyer (1975), “Demand Artifacts
      in Laboratory Experiments in Consumer Research,” Journal of Consumer Research, Vol. 1, No. 4, pp. 20-30, at
      pp. 20-21.

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                  Q5. Please read carefully. Now suppose that, based on your analysis, the
                  cost of programmatic display advertising has recently increased by a
                  small but significant amount, and will remain elevated for the
                  foreseeable future. Assume further that, based on similar analyses for other
                  digital advertising types, the costs of other digital advertising types have
                  not changed and are not expected to change.

                  So if the cost of programmatic display advertising increases (while the cost
                  of other advertising types remains the same), will you or won’t you divert
                  some of your advertising spending for the coming year to other types of
                  digital advertising?

                        Yes, I will divert some of my advertising spending for the coming
                         year to other types of digital advertising
                        No, I will not divert any of my advertising spending for the coming
                         year to other types of digital advertising [SKIP TO Q8]
                        Don’t know / Unsure [SKIP TO Q8]

                  Q6. To which other types of digital advertising below, if any, would you
                  divert your advertising spending for the coming year as a result of the
                  increase in the cost of programmatic display advertising?66

                  To review the advertising type descriptions, hover your mouse over each
                  digital advertising type.

                  (Please select all that apply.) 67

                        Search
                        Direct Deals Display
                        Email
                        Digital Audio
                        Social
                        App/In-app
                        Digital Video
                        Connected TV
                        eCommerce Platforms
                        Other
                        None of the above [EXCLUSIVE] [SKIP TO Q8]
                        Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q8]




 66
      As noted above, respondents were only asked Q6 if they indicated that they would divert spending in Q5.
 67
      The order of the response options was randomized (except for “Other,” “None of the above,” and “Don’t know /
      Unsure”).

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          66.      After selecting which other digital advertising types they would divert spending to,

 respondents were asked to rate the extent of their increase on a scale of 0 to 10, with 0 labeled as

 “keep the same” and 10 labeled as “substantially increase.” Respondents were also given the

 option to select “Don’t know / Unsure” if they were unable to make a choice on the scale.68

                   Q7. In your previous answer, you indicated that the increase in the cost of
                   programmatic display advertising will lead you to divert some of your
                   advertising spending to the types of digital advertising listed below.

                   Please use the sliders below to indicate, on a scale of 0 to 10, the extent to
                   which you would divert (that is, increase) advertising spending for the
                   coming year to each type of digital advertising that you just indicated.

                   For each digital advertising type below, please select 0 if you expect to
                   keep spending on that type of digital advertising for the coming year and
                   10 if you expect to substantially increase spending on that type of digital
                   advertising.

                   To review the advertising type descriptions, hover your mouse over each
                   digital advertising type.69


                   Search                       [INSERT SLIDER]                  Don’t know / Unsure
                   Direct Deals Display         [INSERT SLIDER]                  Don’t know / Unsure
                   Email                        [INSERT SLIDER]                  Don’t know / Unsure
                   Digital Audio                [INSERT SLIDER]                  Don’t know / Unsure
                   Social                       [INSERT SLIDER]                  Don’t know / Unsure
                   App/In-app                   [INSERT SLIDER]                  Don’t know / Unsure
                   Digital Video                [INSERT SLIDER]                  Don’t know / Unsure
                   Connected TV                 [INSERT SLIDER]                  Don’t know / Unsure
                   eCommerce Platforms          [INSERT SLIDER]                  Don’t know / Unsure
                   Other                        [INSERT SLIDER]                  Don’t know / Unsure


          67.      Below is an example of how this question appeared to respondents taking the

 survey:70




 68
      The response options in Q7 were presented in the same order as those presented in Q6, which was randomized.
 69
      As noted above, respondents were only asked Q7 if they indicated that they would divert spending in Q5.
 70
      Appendix F.2, at F.2-24.

                                                        41
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 Questions Regarding the Use of Ad Buying Tools for Programmatic Display Ads

          68.      Respondents moved on to a series of questions about their current and expected

 future use of ad buying tools for programmatic display. These questions were designed to explore

 which ad buying tools were most commonly used, the number of ad buying tools used, anticipated

 changes in the number of ad buying tools that would be used next year, and respondents’

 motivations for these decisions.71

          69.      Respondents were first shown a description of an ad buying tool and asked which

 ad buying tools72 they have used in the past year. Respondents were provided with a list of ad


 71
      The concept of multi-homing (i.e., using multiple platforms) in advertising has been discussed in the marketing
      literature. See, e.g., David S. Evans (2003), “The Antitrust Economics of Multi-sided Platform Markets,” Yale
      Journal on Regulation, Vol. 20, pp. 325-381, at pp. 346-348.
 72
      The list of ad buying tools was, in part, based on GOOG-DOJ-AT-02524665-749, at 679-681 (which identified
      Google Display and Video 360, Amazon DSP, The Trade Desk DSP, Verizon Media DSP, Adobe Advertising
      Cloud, Amobee, MediaMath DSP, AcuityAds, Adform, Adelphic, Beeswax, Criteo, Quantcast, StackAdapt,


                                                         42
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 buying tools, as well as options for “Other” (which allowed respondents to type in the name of an

 ad buying tool not listed), and “Don’t know / Unsure.” To assess the amount of noise or “false

 recognition” in the survey results from respondents misidentifying ad buying tools they use,73 I

 included two fictional ad buying tools that respondents could not have used (“Ad Step

 Technologies” and “Quorexx”) as “decoy” or “control” names.

                   Q8. An ad buying tool is a programmatic advertising platform that allows
                   advertisers and media buying agencies to bid automatically on display ad
                   inventory from a wide range of publishers. Some ad buying tools can also
                   be used to buy video and search ad inventory. Ad buying tools include
                   demand side platforms, or “DSPs.”

                   Which of the following ad buying tools, if any, have you and/or your
                   business unit/team used during the past year for programmatic display
                   advertising? (Please select all that apply.)74

                            Google Ads
                            Google Display and Video 360 (DV360)
                            illumin (formerly AcuityAds)75
                            Adelphic
                            Adform
                            Adobe Advertising Cloud
                            Amazon DSP
                            Amobee
                            Basis by Centro
                            Beeswax
                            Criteo
                            MediaMath DSP
                            Outbrain
                            Quantcast
                            Simpli.fi
                            StackAdapt
                            Taboola


      Xandr Invest, Zeta Global, Simpli.fi, and Basis by Centro, among others); Pasha Abdulov, “16 Top DSP
      Integrations and Ad Exchanges,” https://growthchannel.io/blog/top-dsp-integrations-ad-exchanges (viewed
      9/27/2023) (which additionally identified Taboola and Outbrain).
 73
      See, e.g., Goldsmith (1988); Jon A. Krosnick (1999), “Survey Research,” Annual Review of Psychology, Vol. 50,
      pp. 537-567.
 74
      The order of the response options was randomized (except for “Other” and “Don’t know / Unsure”).
 75
      In April 2023, AcuityAds announced a full rebrand to “illumin.” See illumin, “Journey Advertising Platform,”
      https://illumin.com/company-overview/ (viewed 9/27/2023); Yahoo Finance, “AcuityAds Announces Full
      Rebrand to illumin, Following Successful Launch of its Journey Advertising Platform,”
      https://finance.yahoo.com/news/acuityads-announces-full-rebrand-illumin-120000429.html (viewed 9/27/2023).

                                                        43
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                            The Trade Desk DSP
                            Yahoo DSP (formerly Verizon Media DSP)76
                            Xandr Invest
                            Zeta Global
                            Quorexx
                            Ad Step Technologies
                            Other (please specify): [TEXT BOX]
                            Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q17]

           70.     If respondents indicated that they use more than one ad buying tools for

 programmatic display advertising, they were presented with an open-ended question to explain

 their reason for doing so.

                   Q9. Why did you and/or your business unit/team use more than one ad
                   buying tool for programmatic display advertising in the past year?
                   (Please type in your response, or select “Don’t know / Unsure”.)

           71.     Next, respondents were asked about their expected use of ad buying tools next

 year:77

                   Q10. Do you and/or your business unit/team expect to use the same
                   number, more, or fewer ad buying tools for programmatic display
                   advertising next year? (Please select only one option.)

                        I expect to use more ad buying tools for programmatic display
                         advertising next year.
                        I expect to use fewer ad buying tools for programmatic display
                         advertising next year.
                        I expect to use the same number of ad buying tools for
                         programmatic display advertising next year.
                        Don’t know / Unsure

           72.     If respondents indicated that they planned to change the number of ad buying tools,

 they were asked to elaborate on their selection through an open-ended question:



 76
      In September 2021, Verizon Media DSP was renamed Yahoo DSP as part of its acquisition by private equity firm
      Apollo Global Management from Verizon. See TapClicks, “Yahoo! DSP – Support Guide,”
      https://support.tapclicks.com/hc/en-us/articles/4402116928795-Yahoo-DSP-Support-Guide (viewed 9/27/2023);
      The Verge, “Yahoo is Yahoo Once More After New Owners Complete Acquisition,”
      https://www.theverge.com/2021/9/2/22653652/yahoo-aol-acquired-apollo-global-management-private-equity
      (viewed 9/27/2023).
 77
      The order of the response options was randomized (except for “Don’t know / Unsure”).

                                                        44
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                  Q11. You indicated that, compared to the past year, you expect to use
                  [PIPE IN BASED ON ANSWER IN Q10: “more” or “fewer”] ad
                  buying tools for programmatic display advertising next year. Why do you
                  and/or your business unit/team expect to use [PIPE IN BASED ON
                  ANSWER IN Q10: “more” or “fewer”] ad buying tools for
                  programmatic display advertising next year? (Please type in your
                  response, or select “Don’t know / Unsure”.)

          73.     Respondents were then presented with a closed-ended question to gather

 information on the factors that they consider when choosing an ad buying tool for programmatic

 display:78,79

                  Q12. Which of the following factors, if any, do you and/or your business
                  unit/team consider when deciding to use a particular ad buying tool for
                  programmatic display advertising? (Please select all that apply)

                        Ad placement effectiveness
                        Audience scale / Reach
                        Ease of use / User interface
                        Targeting criteria and capabilities
                        Reporting features
                        Forecasting tools
                        Budget management tools
                        API and integrations
                        Troubleshooting capabilities
                        Media optimization of placements during a campaign
                        Brand safety / fraud protection
                        Identity management
                        Support
                        Cost
                        Other (please specify): [TEXT BOX]
                        Don’t know / Unsure [EXCLUSIVE]

          74.     Next, respondents were shown a series of questions assessing whether they stopped

 or started using any ad buying tools for programmatic display in the past year and what factors led

 them to make such a decision:80



 78
      The list of factors presented in this closed-ended question was adapted from lists of “determining drivers
      influencing plans to use DSPs.” GOOG-DOJ-11021167-216, at 190-191; GOOG-DOJ-AT-02524665-749, at
      706.
 79
      The order of the response options was randomized (except for “Other” and “Don’t know / Unsure”).
 80
      The order of the response options in each of Q13 and Q15 was randomized (except for “Don’t know / Unsure”).

                                                       45
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                Q13. Have you and/or your business unit/team stopped using any ad
                buying tool(s) for programmatic display advertising in the past year?
                (Please select only one option.)

                     Yes, I and/or my business unit/team stopped using at least one ad
                      buying tool in the past year
                     No, I and/or my business unit/team have not stopped using any ad
                      buying tools in the past year
                     Don’t know / Unsure

                Q14. [IF YES IN Q13] You indicated that you and/or your business
                unit/team stopped using at least one ad buying tool in the past year for
                programmatic display advertising. What factors led you and/or your
                business unit/team to stop using one or more ad buying tools for
                programmatic display advertising? (Please type your response in the
                text box below, or select “Don’t know / Unsure”.)

                Q15. Have you and/or your business unit/team started using any ad buying
                tool(s) in the past year for programmatic display advertising? (Please
                select only one option.)

                     Yes, I and/or my business unit/team started using at least one ad
                      buying tool in the past year
                     No, I and/or my business unit/team have not started using any ad
                      buying tools in the past year
                     Don’t know / Unsure

                Q16. [IF YES IN Q15] You indicated that you and/or your business
                unit/team started using at least one ad buying tool in the past year for
                programmatic display advertising. What factors led you and/or your
                business unit/team to start using one or more ad buying tools for
                programmatic display advertising? (Please type your response in the
                text box below, or select “Don’t know / Unsure”.)

 Questions Regarding the Assessment of Programmatic Display Ad Performance

        75.     After completing the questions about ad buying tools, respondents were asked

 about their assessment of the performance of programmatic display ads. Respondents were asked

 to select the metrics that they use to assess the performance of each of their programmatic display




                                                 46
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 ads, direct deals ads, social media ads, and digital video ads, if they indicated using the advertising

 type in the screener.81

                   Q17. Which of the following metrics, if any, are you and/or your business
                   unit/team using to assess the performance of programmatic display ads,
                   direct deals display ads, social media ads, and/or digital video ads?

                   To review the advertising type descriptions, hover your mouse over each
                   digital advertising type.
                   (Please select all that apply in each column.)

                       Metric            Programmatic                  Direct deals      Social          Digital
                                          display ads                  display ads      media ads       video ads
      Impressions                                                                                        
      Clicks                                                                                             
      Conversions                                                                                        
      Cost per impression (CPM)                                                                          
      Cost per click (CPC)                                                                               
      Cost per action (CPA)                                                                              
      Return on Ad Spend (ROAS)                                                                          
      Return on Investment (ROI)                                                                         
      Click through rate (CTR)                                                                           
      Other (please specify): [TEXT BOX]                                                                 
      None of the above [EXCLUSIVE]                                                                      
      Don’t know / Unsure [EXCLUSIVE]                                                                    


           76.     If respondents indicated they used more than one metric for programmatic display

 ads, they were then asked to rank the selected metrics in terms of their importance to assessing the

 performance of programmatic display ads.                  Specifically, they were shown the following

 instructions:

                   Q18. You indicated that you and/or your business unit/team use the
                   following metrics to assess the performance of programmatic display
                   ads. Please rank these metrics in terms of how important they are to
                   accurately assessing the performance of programmatic display ads,
                   with 1 being the most important and [NUMBER OF MEASURES



 81
       The orders of the columns and rows were randomized (except for “Other,” “None of the above,” and “Don’t know
       / Unsure”).

                                                         47
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                  SELECTED IN Q17] being the least important. (Please rank the
                  following metrics, or select “Don’t know / Unsure”.)

          77.     In addition to the metrics used, the frequency at which respondents measure or

 assess the performance of their programmatic display ads is also informative. If respondents use

 an ad agency for such purposes, they were instructed to indicate the frequency at which they

 receive information on the performance of the programmatic display ads.82

                  Q19. How often, if at all, do you and/or your business unit/team measure
                  or assess the performance of your programmatic display advertising?
                  (Please select only one option.)

                  If you are using an ad agency and they are responsible for measuring or
                  assessing performance of your programmatic display advertising, please
                  indicate how often you receive information about the performance of your
                  programmatic display advertising from the agency.

                        Daily
                        Weekly
                        Monthly
                        Quarterly
                        Annually
                        Don’t know / Unsure

          78.     Lastly, respondents were asked whether they ran any experiments on their

 programmatic ads in the past year and, if applicable, what types of experiments they ran.

                  Q20. In the past year, have you and/or your business unit/team run any
                  experimental or test & learn initiatives on your programmatic display ads?
                  (Please select only one option.)83

                        Yes
                        No
                        Don’t know / Unsure

                  Q21. [IF YES IN Q20] Which of the following types of experiments or
                  test & learn initiatives, if any, have you and/or your business unit/team run
                  in the past year on your programmatic display ads?



 82
      The order of the response options was randomized (except for “Don’t know / Unsure”).
 83
      The order of the response options was randomized (except for “Don’t know / Unsure”).

                                                        48
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                  I and/or my business unit/team have run experiments and/or test & learn
                  initiatives testing… (Please select all that apply.) 84

                        Creatives
                        Bid strategies
                        Audiences
                        Publishers
                        Ad buying tool performance
                        ROI/ROAS
                        Other (please specify): [TEXT BOX]
                        Don’t know / Unsure [EXCLUSIVE]

 Follow-up Disclosure and Participation Question

          79.     At the conclusion of the survey, respondents were presented with a disclosure about

 the sponsor of the survey and its connection to pending antitrust lawsuits and were given the option

 to exclude their responses from the survey. This question was included at the end of the survey to

 avoid introducing any potential bias in the survey responses due to demand effects whereby

 respondents might have assumed that certain answers were expected or preferred.

          80.     Specifically, respondents were shown the following screen, which concluded the

 survey: 85

                  QF1. This survey is being conducted by consultants that have been
                  retained on behalf of Google in connection with pending antitrust lawsuits
                  in which the plaintiffs allege that Google engaged in anticompetitive
                  conduct related to digital advertising.

                  If you are willing to participate in this survey, please click “Include my
                  responses” below. As a reminder, your responses will be kept anonymous
                  and will be analyzed as part of a larger sample of responses.

                  If you do not want to participate in this survey, please click “Exclude my
                  responses” below.

                        Include my responses
                        Exclude my responses



 84
      The order of the response options was randomized (except for “Don’t know / Unsure”).
 85
      The order of the response options was randomized.

                                                        49
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          81.      It is noteworthy that there is no reason to expect the respondents who chose, at the

 conclusion of the survey, to not be included in the final sample to be different from the other

 respondents. Considering that respondents were asked to describe their advertising practices and

 considerations, and they were not asked to evaluate any particular company, there is no reason to

 expect those who chose to not be included in the sample to be different in any systematic way or

 in any way that pertains to the surveys’ conclusions from other respondents. In fact, some research

 has found that identifying the survey sponsor to respondents has no meaningful effect on the

 content of the survey responses.86 For example, in this survey, one would be hard-pressed to come

 up with a scenario whereby those respondents who used fewer advertising buying tools would be

 systematically more likely to indicate that they prefer to not be included in the sample.

          C.       Survey Findings

          82.      In this section, I will summarize the main survey findings for the Higher-Spend

 Advertiser Survey. Additional findings can be found in Exhibits 1 to 36. The complete data set

 of all individual participants’ responses is presented in Appendix F.3.

          83.      A total of 603 respondents completed the survey.87 Of those, 94 respondents chose

 to exclude their responses from the survey.88 Consistent with common practice, 7 respondents




 86
      Charles Crabtree, Holger L. Kern, and Matthew T. Pietryka (2022), “Sponsorship Effects in Online Surveys,”
      Political Behavior, Vol. 44, pp. 257-270; Del I. Hawkins (1979), “The Impact of Sponsor Identification and Direct
      Disclosure of Respondent Rights on the Quantity and Quality of Mail Survey Data,” Journal of Business, Vol.
      52, No. 4, pp. 577-590.
 87
      Exhibit 1. AP removed two respondents who did not meet their internal quality control metrics. These
      respondents provided what AP determined to be nonsensical responses to open-ended questions, such as
      “R5U54U” and “The study is quite nice to carry on.” These respondents were not included in the 603 respondents
      considered to have completed the survey.
 88
      Exhibit 1. Respondents who selected “Exclude my responses” in QF1 were not included in the respondent-level
      data files provided to me by Advertiser Perceptions and thus I do not have access to their responses to other
      questions in the survey.

                                                          50
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 who took too little time (less than 100 seconds) or took too much time (3 hours or more) were

 removed from the sample.89 A total of 502 respondents are included in the summary tables.90

          84.      In total, approximately 27 percent of respondents were women and 73 percent were

 men.91 With respect to age, approximately 20 percent of respondents were between 18 and 34, 67

 percent were between 35 and 49, and 13 percent were 50 years old or older.92 Approximately 32

 percent of respondents indicated that their current job title/level was best described as “Director,”

 24 percent selected “C-Level (CEO, COO, CMO, etc.),” 20 percent selected “Vice President, SVP,

 EVP, President, etc.,” and 14 percent selected “Manager.”93                       Approximately 50 percent of

 respondents spent between $500,000 to $15 million on advertising in the last 12 months, and 50

 percent spent more than $15 million on advertising in the last 12 months.94




 89
      Exhibit 1. Changing these cutoffs to, for example, three minutes and two hours does not meaningfully impact the
      results. See Exhibit 105.
 90
      Exhibit 1. As noted above, two survey questions included “decoy” response options: QS14 regarding the use of
      different social media platforms (including “FriendLinx” as a decoy response option) and Q8 regarding the use
      of different ad buying tools (including “Quorexx” and “Ad Step Technologies” as decoy response options).
      Overall, approximately 10 percent of respondents selected at least one of the three decoy response options. See
      Appendix J, at Exhibit 1. Given that these selections might have been inadvertent, these respondents were not
      excluded from the analytical sample. In Appendix J, I present an alternative set of results for all questions based
      on an analytical sample that excludes respondents who selected one or more decoy response options in QS14 or
      Q8. As shown, excluding these respondents has virtually no effect on the results (and the difference is not
      statistically significant).
 91
      Exhibit 3.
 92
      Exhibit 3.
 93
      Exhibit 5.
 94
      Exhibit 6. Calculated as (31 + 78 + 57 + 87) / 502 = 50.4 percent and (74 + 68 + 43 + 33 + 21 + 10) / 502 = 49.6
      percent. As discussed above, for the Higher-Spend Advertiser Survey, in order to generate sufficiently large
      sample sizes across different spending levels, AP generated a sample with equal proportion of respondents within
      the $500,000 to $15,000,000 annual ad spend range and the $15,000,000+ annual ad spend range. However, AP
      applied their standard practice to generate a representative sample within those sub-groups.

                                                           51
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 Use of Digital Advertising Types and Ad Agencies

          85.      As noted above, all respondents had to indicate they use display advertising in order

 to qualify for the survey.95            As shown in Figure 8, in addition to display advertising,96

 approximately 85 percent of respondents used at least one other type of digital advertising.97

                              Figure 8. Share of Higher-Spend Advertisers
                            Using More than One Type of Digital Advertising




          86.      As shown in Figure 9, the most popular other types of digital advertising were social

 advertising (76 percent of respondents), search advertising (75 percent of respondents), digital

 video advertising (65 percent of respondents), and email advertising (61 percent of respondents).98




 95
      See Appendix F.1, at F.1-7.
 96
      As described in paragraph 52, the definitions of advertising types were created for purposes of these surveys only,
      in order to test—among other things—the degree to which advertisers viewed certain types of ads, including ads
      shown on social media platforms, as substitutes for other types of display ads. I did not conduct a survey to
      determine how advertisers use the terms “display” or “social.”
 97
      Exhibit 9. Most advertisers used 5 or more digital advertising types.
 98
      Exhibit 8.

                                                           52
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                             Figure 9. Share of Higher-Spend Advertisers
                                   Using Digital Advertising Types




          87.       In QS13, approximately 59 percent of respondents indicated that they used both

 programmatic buying methods and direct deals to purchase display ad inventory.99

          88.       In Q4, respondents were asked to estimate the share of their digital advertising

 budget spent on each digital advertising type over the past year. As shown in Figure 10, the

 responses to this question indicate that programmatic display advertising accounted for an average

 of approximately 29 percent of respondents’ overall digital advertising budgets over the past




 99
      Exhibit 10.

                                                   53
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 year.100 Programmatic display advertising accounted for a median of approximately 15 percent of

 respondents’ overall digital advertising budgets over the past year.101

              Figure 10. Average Share of Budget Allocated to Each Advertising Type
                                Among Higher-Spend Advertisers




           89.       Approximately 67 percent of respondents indicated that they use an ad agency for

 digital advertising.102 The most common ways in which respondents use ad agencies include

 assistance with “Media/marketing strategies” (68 percent of respondents using ad agencies),

 “Implementation of advertising” (63 percent of respondents using ad agencies), “Tracking



 100
       Exhibit 14.
 101
       Exhibit 14.
 102
       Exhibit 12.

                                                    54
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 advertising performance” (58 percent of respondents using ad agencies), and “Running advertising

 tests/experiments” (53 percent of respondents using ad agencies).103

 Responses to an Increase in the Cost of Programmatic Display Advertising

           90.       Question Q5 described a scenario in which the cost of programmatic display

 advertising recently increased by a small but significant amount and would remain elevated for the

 foreseeable future (while the cost of other advertising types had not changed and were not expected

 to change), and asked respondents whether or not they would divert some of their advertising

 spending for the coming year to other types of digital advertising. In response to this scenario,

 approximately 59 percent of respondents indicated that they would divert some of their spending

 to other types of digital advertising, as shown in Figure 11.104




 103
       Exhibit 13.
 104
       Exhibit 15.

                                                  55
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                             Figure 11. Share of Higher-Spend Advertisers
                                     Who Would Divert Spending




           91.       Respondents who indicated that they would divert spending were then asked in Q6

 to identify to which types of advertising they would divert spending. As shown in Figure 12, the

 most common responses were social (54 percent of respondents who would divert spending),

 search (53 percent of respondents who would divert spending), and digital video (42 percent of

 respondents who would divert spending).105




 105
       Exhibit 16.

                                                    56
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                           Figure 12. Share of Higher-Spend Advertisers
                        Who Would Divert Spending to Each Advertising Type




           92.       In Q7, most respondents indicated that the extent to which they would divert

 spending to each advertising type selected in Q6 was between 7 and 10 on a 0 to 10 point scale

 (where 0 represents no change in spending on a given type of advertising, and 10 represents a

 substantial increase in spending on a given type of advertising).106       In other words, most

 respondents indicated that they would make relatively substantial increases to their spending on

 other types of advertising in response to an increase in the cost of programmatic display

 advertising.




 106
       Exhibit 19.

                                                  57
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                             Figure 13. Share of Higher-Spend Advertisers
                             by Extent of Spending Increase (0 to 10 scale)




 Use of Ad Buying Tools for Programmatic Display Ads

           93.     In response to Q8 regarding usage of different ad buying tools, the most commonly

 used ad buying tools for programmatic display advertising were Google Ads (66 percent of

 respondents), Google DV360 (42 percent of respondents), Amazon DSP (36 percent of

 respondents), Adobe Advertising Cloud (24 percent of respondents), and The Trade Desk DSP (20

 percent of respondents).107 These results are illustrated in Figure 14 below.




 107
       Exhibit 20. Approximately 75 percent of respondents used at least one of Google Ads and Google DV360.
       Exhibit 22.

                                                      58
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                 Figure 14. Share of Higher-Spend Advertisers Using Ad Buying Tool
                                 (10 Most Popular Ad Buying Tools)




           94.      As noted above, “Ad Step Technologies” and “Quorexx” were included as

 decoy/control ad buying tool names in Q8. Approximately 6 percent of respondents indicated that

 they used Ad Step Technologies and 4 percent of respondents indicated that they used Quorexx,

 validating that most respondents were attentive and provided probative responses.108 In addition,

 QS14 regarding social media platform usage included a decoy social media platform “FriendLinx,”

 and less than 2 percent of respondents selected this option.109 Overall, approximately 10 percent

 of respondents in the analytical sample selected at least one of the three decoy response options.110

 In this section, I present certain results regarding use of multiple buying tools both including and




 108
       Exhibit 20.
 109
       See Exhibit 11.
 110
       A total of 49 respondents selected at least one decoy response option (or approximately 10 percent of the overall
       analytical sample of 502 respondents). See Appendix J, at Exhibit 1.

                                                           59
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 excluding respondents who selected one or more decoy response options. As demonstrated below,

 the main results are very similar regardless of whether respondents who selected one or more decoy

 response options are included in or excluded from the analysis.111 Given that these selections

 might have been inadvertent, these respondents were not excluded from the analytical sample.112

           95.      Across the full analytical sample, approximately 75 percent of respondents

 indicated using more than one ad buying tool for programmatic display advertising.113

 Respondents reported using an average of 3.1 ad buying tools in the past year.114 In response to

 an open-ended question regarding why they used multiple ad buying tools, respondents mentioned

 a variety of different reasons. For example, some respondents mentioned testing the relative

 performance of different tools (e.g., Respondent 1396: “Provide better ad results by testing and

 comparing the effectiveness of different tools”; Respondent 1727: “Test which performed the

 best”; Respondent 2431: “We wanted to test different tools to see which one yielded the best

 results.”).115     Other respondents mentioned seeking specific ad buying tool features (e.g.,

 Respondent 1158: “Different ad buying tools may have different functions and features”;

 Respondent 4513: “For a wider variety of features”).116




 111
       See also Appendix J.
 112
       An alternative set of results for all questions based on an analytical sample that excludes respondents who selected
       one or more decoy response options is in Appendix J.
 113
       Exhibit 21. The decoy ad buying tools were not included in the count of ad buying tools used by each respondent.
       In other words, if a respondent indicated using The Trade Desk DSP, Google DV360, and Quorexx, he or she
       was considered to use only two ad buying tools (The Trade Desk DSP and Google DV360).
 114
       Exhibit 21. This result is similar to the results of Advertiser Perceptions’ own surveys, though the target
       population and question language differ somewhat from that of the Higher-Spend Advertiser Survey. For
       example, a survey conducted by Advertiser Perceptions in the first half of 2022 found that respondents used an
       average of approximately 3.5 demand-side platforms. In order to qualify for Advertiser Perceptions’ survey,
       respondents had to be employed in the U.S., be involved in the purchase of programmatic advertising, used or
       plan to work with demand-side platforms in the past/next 12 months, and have a minimum of $1 million annual
       digital ad spend. Advertiser Perceptions’ survey asked about usage of demand-side platforms (DSPs) generally,
       whereas my Higher-Spend Advertiser Survey asked about usage of ad buying tools for programmatic display
       advertising. GOOG-AT-MDL-008928829-914, at 831, 845, 875.
 115
       Appendix F.3.
 116
       Appendix F.3.

                                                             60
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           96.     Such respondents’ explanations are consistent with my published research as well

 as with a great deal of other research.117 When simultaneously making multiple choices, such as

 the choice of products or advertising tools, especially under uncertainty regarding the performance

 of each selected item, decision makers tend to select variety. This finding has been confirmed and

 relied upon in a variety of domains, such as with respect to financial investments and other

 decisions involving menus of options.118 The selected menu of options (or advertising tools) may

 include items that are different in some respects, yet they serve to provide a safer, more effective

 overall solution as well as experimental data regarding the effectiveness of alternative options.

           97.     Excluding respondents who selected one or more decoy response options from the

 analysis, approximately 74 percent of respondents indicated using more than one ad buying tool

 for programmatic display advertising.119 Respondents reported using an average of 2.8 ad buying

 tools.120

           98.     Users of Google ad buying tools also indicated using multiple ad buying tools. As

 illustrated in Figure 15 below, for the full analytical sample, approximately 87 percent of

 respondents who use Google Ads indicated using at least one other ad buying tool for

 programmatic display and 76 percent of respondents who use Google Ads indicated using at least




 117
       Itamar Simonson (1990), “The Effect of Purchase Quantity and Timing on Variety-Seeking Behavior,” Journal
       of Marketing Research, Vol. 27, No. 2, pp. 150-162; Itamar Simonson and Russell S. Winer (1992), “The
       Influence of Purchase Quantity and Display Format on Consumer Preference for Variety,” Journal of Consumer
       Research, Vol. 19, No. 1, pp. 133-138. See also Daniel Read and George Loewenstein (1995), “Diversification
       Bias: Explaining the Discrepancy in Variety Seeking Between Combined and Separated Choices,” Journal of
       Experimental Psychology: Applied, Vol. 1, No. 1, pp. 34-49.
 118
       See, e.g., Shlomo Benartzi and Richard H. Thaler (2001), “Naive Diversification Strategies in Defined
       Contribution Saving Plans,” American Economic Review, Vol. 91, No. 1, pp. 79-98; Daniel Read, George
       Loewenstein, and Matthew Rabin (1999), “Choice Bracketing,” Journal of Risk & Uncertainty, Vol. 19, No. 1-3,
       pp. 171-197.
 119
       Appendix J, at Exhibit 21.
 120
       Appendix J, at Exhibit 21.

                                                         61
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 one other non-Google ad buying tool for programmatic display.121,122 Excluding respondents who

 selected one or more decoy response options from the analysis, approximately 87 percent of

 respondents who use Google Ads indicated using at least one other ad buying tool for

 programmatic display and 75 percent of respondents who use Google Ads indicated using at least

 one other non-Google ad buying tool for programmatic display.123

                  Figure 15. Share of Google Ads Users Using Other Ad Buying Tools
                                  Among Higher-Spend Advertisers




           99.      Figure 16 shows that, for the full analytical sample, approximately 93 percent of

 respondents who use Google DV360 indicated using at least one other ad buying tool for


 121
       Exhibit 23. As noted above, the decoy ad buying tools were not included in the count of ad buying tools used by
       each respondent.
 122
       As shown in Exhibits 25 to 27, most respondents who use only Google Ads for programmatic display advertising
       also use other types of digital advertising (including social, search, and/or email, among others), and spend less
       than 40 percent of their overall advertising budget on programmatic display advertising.
 123
       Appendix J, at Exhibit 23.

                                                            62
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 programmatic display and 77 percent of respondents who use Google DV360 indicated using at

 least one other non-Google ad buying tool for programmatic display.124 Excluding respondents

 who selected one or more decoy response options from the analysis, approximately 92 percent of

 respondents who use Google DV360 indicated using at least one other ad buying tool for

 programmatic display and 75 percent of respondents who use Google DV360 indicated using at

 least one other non-Google ad buying tool for programmatic display.125




 124
       Exhibit 23. As noted above, the decoy ad buying tools were not included in the count of ad buying tools used by
       each respondent.
 125
       Appendix J, at Exhibit 23.

                                                          63
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               Figure 16. Share of Google DV360 Users Using Other Ad Buying Tools
                                 Among Higher-Spend Advertisers




           100.      All respondents were asked whether they expected to use the same number, more,

 or fewer ad buying tools for programmatic display advertising next year. Approximately 56

 percent of respondents indicated that they expect to use the same number of ad buying tools for

 programmatic display next year, approximately 24 percent indicated that they expected to use more

 ad buying tools for programmatic display, and 17 percent indicated that they expected to use fewer

 ad buying tools for programmatic display.126 When asked to explain (in an open-ended response)

 why they expected to use more ad buying tools next year, some respondents mentioned reasons

 relating to performance optimization (e.g., Respondent 2880: “We are constantly seeking to



 126
       Exhibit 28.

                                                   64
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 improve our results”; Respondent 1397: “The returns and results we’ve seen have been positive so

 we expect to increase our investment in the future.”), business growth (e.g., Respondent 4513:

 “Business is growing”), and wanting to continue testing different vendors (e.g., Respondent 1454:

 “We just expect to continue to testing.”; Respondent 4487: “Experimentation to assess new Ad

 Buying Tools’ Performance (Both Quality and ROAS)”), among other reasons.127 Respondents

 who indicated that they expect to use fewer ad buying tools next year mentioned a variety of

 different reasons, including wanting to consolidate or simplify their processes (e.g., Respondent

 1327: “consolidate for efficiency”; Respondent 1605: “Streamlining costs and operations as much

 as possible.”) and focusing on platforms that had better performance (e.g., Respondent 1090: “We

 have been testing a lot of tools and now we need to filter the best ones so we can relocate our

 budget”; Respondent 3274: “We have been comparing efficacy, and plan to reallocate resources

 to the most beneficial tools.”), among other reasons.128

           101.    All respondents were asked in Q12 to identify, from a closed-ended list of options,

 which factors they consider when deciding to use a particular ad buying tool for programmatic

 display advertising. The most popular responses were “Ad placement effectiveness” (48 percent

 of respondents), “Targeting criteria and capabilities” (47 percent of respondents), “Audience scale

 / reach” (45 percent of respondents), “Media optimization of placements during a campaign” (45

 percent of respondents), and “Cost” (44 percent of respondents).129

           102.    Respondents were also asked about their past decisions to start and/or stop using

 certain buying tools. Approximately 40 percent of respondents indicated that they started using at

 least one ad buying tool for programmatic display in the past year.130 In explaining this decision,


 127
       Appendix F.3.
 128
       Appendix F.3.
 129
       Exhibit 29.
 130
       Exhibit 31.

                                                   65
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 some respondents pointed to reasons relating to performance optimization (e.g., Respondent 2889:

 “More affordable rates and ROI”; Respondent 1426: “Performance”) and specific features of the

 tool (e.g., Respondent 4513: “We needed more features”: Respondent 4210: “Each tool may

 provide unique data insights and reporting capabilities.”), among other reasons.131 Approximately

 23 percent of respondents indicated that they stopped using at least one ad buying tool for

 programmatic display in the past year.132 When asked to explain why, several respondents

 mentioned reasons relating to poor performance (e.g., Respondent 1341: “The ROI was horrible”;

 Respondent 2647: “Did not meet our ROAS goals after 1 month pilot”; Respondent 2893:

 “Because of low performance”; Respondent 3274: “Cost vs effectiveness- we felt our resources

 were better allocated elsewhere.”) or high costs (Respondent 3652: “Higher cost”; Respondent

 4214: “Cost fluctuations”; Respondent 1330: “…Pricing was not competitive”).133

 Assessment of Programmatic Display Ad Performance

           103.    As summarized in Figure 17, in Q17, the most popular metrics used to assess the

 performance of programmatic display ads were “Conversions” (48 percent of respondents),

 “Return on Investment (ROI)” (48 percent of respondents), “Return on Ad Spend (ROAS)” (47

 percent of respondents), and “Cost per Click (CPC)” (47 percent of respondents).134




 131
       Appendix F.3.
 132
       Exhibit 30.
 133
       Appendix F.3.
 134
       Exhibit 32.

                                                  66
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                             Figure 17. Share of Higher-Spend Advertisers
                                   Using Each Performance Metric




           104.      Approximately 22 percent of respondents indicated that Return on Investment

 (ROI) was the most important metric for accurately assessing performance and approximately 17

 percent of respondents indicated that Return on Ad Spend (ROAS) was most important.135 As

 shown in Figure 18, Return on Investment (ROI) and Return on Ad Spend (ROAS) were ranked

 as the most important metric by a greater share of respondents than any other metric.136




 135
       Exhibit 33.
 136
       Exhibit 33.

                                                  67
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                             Figure 18. Share of Higher-Spend Advertisers
                            Ranking Performance Metric as Most Important




           105.    Approximately 77 percent of respondents indicated that they measure or assess

 performance of programmatic display advertising at least monthly.137

           106.    Approximately 59 percent of respondents ran experiments on their programmatic

 display ads in the past year.138           Among those respondents, approximately 59 percent ran

 experiments related to creatives, 54 percent ran experiments related to audiences, and 50 percent

 ran experiments related to ROI/ROAS.139

           D.      Key Implications of the Findings

           107.    Performance measurement: The results of the survey show that higher-spend

 advertisers typically rely on a variety of methods to monitor the performance of their advertising;



 137
       Exhibit 34. Specifically, approximately 12 percent of respondents indicated measuring performance daily, 37
       percent indicated measuring performance weekly, and 28 percent indicated measuring performance monthly.
 138
       Exhibit 35.
 139
       Exhibit 36.

                                                        68
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 they also tend to review performance often. Approximately half of the advertisers reported

 monitoring Return on Investment (ROI) and/or Return on Ad Spend (ROAS), among other

 measures, for programmatic display advertising and other types of digital advertising. Based on

 these and other measures, advertisers can assess the relative effectiveness or ineffectiveness of the

 various advertising tools they use, including programmatic display, and potentially react to

 performance changes.

        108.    Substitution: Using the performance feedback that they receive regarding costs and

 returns, advertisers can adjust their advertising spending allocation. To further examine the actions

 taken (or not taken) as a result of identifying a cost increase, respondents were presented with a

 hypothetical scenario involving a “small but significant” increase in the cost of programmatic

 display advertising, assuming that the costs associated with other digital advertising types remain

 the same. The results indicated that most higher-spend advertisers (59 percent) would have

 diverted spending to other advertising types, including social, search, and digital video. Thus,

 while there are of course differences among advertisers, by and large, the findings indicate that at

 least social, search, and digital video serve as substitutes for programmatic display advertising. In

 particular, the findings indicate that many advertisers would reallocate advertising spending if they

 determine, based on the performance information available to them, that their programmatic

 display advertising is less cost effective than it previously was. In other words, these findings

 suggest that if the cost of programmatic display advertising increases, many advertisers will take

 action as a result, and the parties responsible for such cost increases will likely lose share to other

 advertising channels.

        109.    Multi-homing: The survey results also show that most higher-spend advertisers use

 multiple digital advertising types and, within programmatic display advertising specifically,



                                                   69
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 employ multiple ad buying tools. In particular, the survey results indicate that most advertisers

 used multiple other types of digital advertising in addition to programmatic display, with the most

 popular types being social, search, digital video, email, and direct deals display. In addition, the

 survey results show that most higher-spend advertisers (approximately 75 percent) used multiple

 ad buying tools for programmatic display advertising.140 The survey results also indicate that

 multi-homing is common for users of Google ad buying tools. Specifically, approximately 87

 percent of Google Ads users use at least one other ad buying tool for programmatic display.141

           110.    Thus, the survey findings indicate that most higher-spend advertisers use a variety

 of other digital advertising types and employ multiple ad buying tools for display advertising,

 suggesting they have a variety of alternatives to Google ad buying tools. That is, higher-spend

 advertisers, by and large, already practice multi-homing, which facilitates flexible allocations and

 tool selection as desired.

           111.    Programmatic display spending: It is also important to put spending on

 programmatic display in the broader context of advertising spending. As the survey results

 showed, programmatic display accounts for a relatively small portion of most higher-spend

 advertisers’ digital advertising spending. Specifically, the survey results indicate that, among

 higher-spend advertisers who use programmatic display advertising, programmatic display

 accounts for an average share of approximately 29 percent and a median share of approximately

 15 percent of their overall digital advertising budget.142

           112.    Sophistication of higher-spend advertisers: The survey also informs us about the

 level of sophistication of most higher-spend advertisers. For example, beyond the various metrics


 140
       Exhibit 21.
 141
       Exhibit 23. Approximately 76 percent of Google Ads users use at least one non-Google ad buying tool for
       programmatic display. Exhibit 23.
 142
       Exhibit 14.

                                                       70
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 they use to track the performance of their advertising spending and make corresponding

 adjustments, most higher-spend advertisers conduct experiments. Such experiments allow them

 to examine the effectiveness of advertising aspects such as the creatives, audiences, ROI/ROAS,

 bid strategies, and ad buying tool performance to further optimize their spending.


 V.        LOWER-SPEND ADVERTISER SURVEY

           A.       Overview

           113.     The Lower-Spend Advertiser Survey was similar for the most part to the Higher-

 Spend Advertiser Survey. As described in further detail below, I made certain modifications

 necessary to ensure the questionnaire was clear and appropriate for advertisers who spend

 significantly less on advertising and may not be familiar with industry-specific terminology or

 advertising practices that are more complex.143

           114.     The preliminary interviews suggested that lower-spend advertisers might not

 regularly differentiate between programmatic and direct deals transaction methods or use the term

 “ad buying tool,” even if they had used display advertising. As a result, I removed references to

 programmatic and direct deals methods, instead asking about display advertising in general.

 Similarly, I removed questions about ad buying tools in the main questionnaire and adapted the

 questions to refer broadly to “platforms.” In order to avoid presenting lower-spend advertisers

 with too many likely unfamiliar tool options (i.e., the least used tools), I shortened the list of ad

 buying tools presented to respondents in questions regarding ad buying tool usage. In addition, in

 order to avoid overloading lower-spend advertisers, I asked respondents to identify the metrics

 used to measure ad performance for up to two advertising types, social media and display



 143
       Of course, respondents in all three surveys always had the option to indicate “Don’t know / Unsure” if they were
       unfamiliar with the language in the questions or answer options.

                                                           71
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 advertising, instead of up to four advertising types as was done in the Higher-Spend Advertiser

 Survey. Other differences involved minor updates to the phrasing of questions and answer options

 to make them suitable for lower-spend advertisers, such as removing references to “business

 unit/team” and updating “advertiser/marketer” to “products/services business.”

           B.       Methodology

           115.     Three pre-test interviews (as described above) for the Lower-Spend Advertiser

 Survey were conducted on September 19, 2023. No changes were made based on these pre-test

 interviews. The Lower-Spend Advertiser Survey was administered from September 25, 2023 to

 October 12, 2023. The full survey questionnaire is included in Appendix G.1. Screenshots of the

 survey as it appeared to respondents are presented in Appendix G.2.

                    1.       Survey Universe and Screening Criteria

           116.     The survey universe for the Lower-Spend Advertiser Survey was similar to that of

 the Higher-Spend Advertiser Survey. Specifically, the universe for the Lower-Spend Advertiser

 survey included advertisers and marketers based in the U.S. who work for companies that sell and

 advertise products or services (as opposed to ad agencies) and have spent less than $500,000 on

 advertising in the past year.144 Because a primary focus of the survey was to assess decision-

 making regarding display advertising specifically, the survey universe was limited to advertisers

 and marketers who have used display advertising in the past year and who were personally

 involved in decisions regarding their company’s use of display advertising, including determining

 strategies, budgets, use of buying tools, and/or management of digital display campaigns.




 144
       As discussed above, advertisers spending more than $500,000 on advertising in the past year were eligible for the
       Higher-Spend Advertiser Survey, which used certain industry terms that higher-spend advertisers tend to be more
       familiar with.

                                                           72
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           117.     The screening questions used to determine whether the respondents met the

 definition of the relevant survey universe and thus would qualify for the main questionnaire for

 the Lower-Spend Advertiser Survey were similar to those used in the Higher-Spend Advertiser

 Survey, except for certain differences that I describe below.

           118.     Similar to the Higher-Spend Advertiser Survey, respondents in the Lower-Spend

 Advertiser Survey were asked to identify what type of company they work for (QS7), and had to

 indicate they work for a company that sells and advertises products or services in order to proceed

 with the survey. However, I replaced the term “Advertiser/Marketer” with “Products/Services

 Business” to account for respondents working for small businesses whose primary function is not

 marketing or advertising:145

                    QS7. Which of the following best characterizes the type of company you
                    work for? (Please select only one option.)

                         Products/Services Business – your company sells products or
                          services and advertises/markets its products or services
                         Creative Agency – your company designs or produces marketing
                          content and/or advises clients on their creative media/marketing
                          strategies
                         Media Agency – your company advises clients on their
                          media/marketing strategies and/or how to spend their advertising
                          funds
                         Full Service Agency – your company handles both Creative and
                          Media strategy and/or execution
                         Other (please describe): [INSERT TEXT BOX]

                    [TERMINATE IF “Products/Services Business” IS NOT SELECTED]

           119.     Respondents were then asked about their advertising spending over the last 12

 months (QS10). Qualified respondents had to indicate their company had spent less than $500,000

 on all advertising in the last 12 months. To allow for a more granular assessment of spending, I




 145
       The order of the presented response options was randomized (except for “Other”).

                                                          73
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 separated the “$10,000 to less than $50,000” into two categories, “$10,000 to less than $25,000”

 and “$25,000 to less than $50,000:”146

                    QS10. Approximately how much did your company spend in the last 12
                    months on all advertising, including all digital types (e.g., display, video,
                    audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)?
                    (Please select only one option.)

                         Less than $10,000
                         $10,000 to less than $25,000
                         $25,000 to less than $50,000
                         $50,000 to less than $100,000
                         $100,000 to less than $250,000
                         $250,000 to less than $500,000
                         $500,000 to less than $1 million [TERMINATE]
                         $1 million to less than $3 million [TERMINATE]
                         $3 million to less than $7 million [TERMINATE]
                         $7 million to less than $15 million [TERMINATE]
                         $15 million to less than $30 million [TERMINATE]
                         $30 million to less than $50 million [TERMINATE]
                         $50 million to less than $100 million [TERMINATE]
                         $100 million to less than $250 million [TERMINATE]
                         $250 million to less than $500 million [TERMINATE]
                         $500 million or more [TERMINATE]
                         Don’t know / Unsure [TERMINATE]

           120.     As described above, respondents for the Lower-Spend Advertiser Survey had to

 indicate that they use display advertising (QS12), but the survey did not distinguish between

 programmatic transaction methods and direct deals.147

           121.     Similar to the Higher-Spend Advertiser Survey, respondents had to indicate that

 they have been personally involved in their company’s digital display advertising efforts in the last

 12 months to be qualified to participate in the survey (QS13). However, I made minor adjustments




 146
       The order of the presented response options was rotated (except for “Don’t know / Unsure”).
 147
       See Appendix G.1, at QS12.

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 to the language in the response options related to personal involvement in advertising efforts to

 align with the scope of advertising that lower-spend advertisers likely perform: 148

                   QS13. In which of the following ways have you personally been involved
                   in your company’s digital display advertising efforts in the last 12
                   months? (Select all that apply.)
                       I determine overall strategies and/or budgets for digital display
                       I determine which tools and/or platforms to use for digital display
                       I regularly use self-serve ad platforms to manage digital display
                         campaigns
                       I oversee a team/individuals that use(s) self-serve ad platforms to
                         manage digital display campaigns
                       I regularly set up audience/target parameters for digital display
                         campaigns
                       I measure results of digital display campaigns
                       None of the above [EXCLUSIVE]
                       Don’t know / Unsure [EXCLUSIVE]

                   [TERMINATE IF NONE OF “I determine overall strategies and/or
                   budgets for digital display”, “I determine which tools and/or platforms to
                   use for digital display”, “I regularly manage digital display campaigns”,
                   AND “I oversee a team/individuals that use(s) self-serve ad platforms to
                   manage digital display campaigns” ARE SELECTED]

           122.    Similar to the Higher-Spend Advertiser Survey, respondents were also asked a

 series of questions regarding their current job title or level and market sector. The information

 gathered from these questions was used for data analysis purposes and not for screening purposes.

           123.    Consistent with the definition of the survey universe, the survey sample thus

 included respondents who work for companies that sell and advertise their products or services,

 had spent less than $500,000 on all advertising in the past year, had spent some of their advertising

 budget on digital advertising in the past year, and had used display advertising in the past year.

 Additionally, respondents must have been personally involved in determining strategies, budgets,




 148
       The order of the presented response options was rotated (except for “None of the above” and “Don’t know /
       Unsure”).

                                                        75
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 or advertising tools and platforms for digital display or using self-serve ad platforms to manage

 digital display campaigns.

                   2.      Main Questionnaire

           124.    After passing the screening questions, qualified respondents entered the main

 questionnaire and were given the same standard introductory instructions (Q1) as in the Higher-

 Spend Advertiser Survey. As noted above, the main questionnaire was broadly similar to the

 Higher-Spend Advertiser Survey, except for certain differences that I describe below. The main

 questionnaire included questions that addressed the following topics:

                       use of different digital advertising types and ad agencies;

                       reactions to a hypothetical increase in the cost of display advertising;

                       use of platforms for display advertising; and

                       methods to assess the performance of display advertising.

 Questions Regarding Use of Digital Advertising Platforms and Ad Agencies

           125.    Similar to the Higher-Spend Advertiser Survey, the Lower-Spend Advertiser

 Survey asked respondents whether they use an ad agency and/or consultant for digital advertising

 and, if so, for what purposes (Q2 and Q3). They were then asked a series of questions related to

 their use of digital advertising. To ensure a consistent understanding of digital display advertising

 across respondents, they were first shown the same description of digital display advertising that

 had been shown previously in the screener. They were then asked which platforms they had used

 for digital display advertising in the last 12 months. Respondents were provided with a shorter list

 of platforms selected from the list of buying tools in the Higher-Spend Advertiser Survey,149 as



 149
       The list of ad buying tools was, in part, based on GOOG-DOJ-AT-02524665-749, at 679-681 (which identified
       Google Display and Video 360, AcuityAds, Adelphic, Adform, Amazon DSP, Adobe Advertising Cloud,
       Amobee, Basis by Centro, Beeswax, Criteo, and MediaMath DSP, among others).

                                                       76
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 well as options for “Other” (which allowed respondents to type in the name of a platform not

 listed) and “Don’t know / Unsure.” As in the Higher-Spend Advertiser Survey, I included a

 fictional platform that respondents could not have used (“Ad Step Technologies”) as a “decoy” or

 “control” name to assess the amount of “false recognition” in the survey results, which may reflect,

 for example, misremembering or inattention.

                    Q4. You mentioned that you have used digital display advertising in the
                    last 12 months.

                    Digital display ads are digital ads made up of text, image, video and/or
                    other multimedia components that typically appear along the top or sides
                    of a website, or sometimes in the middle of other content on a website.
                    Examples of display ad formats include banner ads, animations, and
                    interactive content. Display ads do not include ads placed on social media
                    platforms.150

                    Which of the following platforms, if any, have you used during the last 12
                    months for digital display advertising? (Please select all that apply.)151

                              Google Ads
                              Google Display and Video 360 (DV360)
                              Adobe Advertising Cloud
                              Amazon DSP
                              Amobee
                              MediaMath
                              Quantcast
                              The Trade Desk
                              Yahoo DSP (formerly Verizon Media)152
                              Criteo
                              Ad Step Technologies
                              Other (please specify): [TEXT BOX]
                              Don’t know / Unsure [EXCLUSIVE]



 150
       As described in paragraph 52, this definition was created for purposes of these surveys only, in order to test—
       among other things—the degree to which advertisers viewed certain types of ads, including ads shown on social
       media platforms, as substitutes for other types of display ads. I did not conduct a survey to determine how
       advertisers use the terms “display” or “social.”
 151
       The order of the response options was randomized (except for “Other” and “Don’t know / Unsure”).
 152
       In September 2021, Verizon Media DSP was renamed Yahoo DSP as part of its acquisition by private equity firm
       Apollo Global Management from Verizon. See https://support.tapclicks.com/hc/en-us/articles/4402116928795-
       Yahoo-DSP-Support-Guide (viewed 9/27/2023); https://www.theverge.com/2021/9/2/22653652/yahoo-aol-
       acquired-apollo-global-management-private-equity (viewed 9/27/2023).

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           126.    If respondents indicated that they had used social advertising in the last 12 months

 in the screener, they were then asked to select the platforms they had used for social advertising.

 I also included a description of social advertising again to ensure their understanding was

 consistent across the sample. Similar to the previous question, I included a fictional social platform

 that respondents could not have used (“FriendLinx”) as a “decoy” or “control” name.

                   Q5. [IF “SOCIAL” WAS SELECTED IN QS12] You indicated that you
                   have used social advertising in the last 12 months.

                   Social ads are digital ads placed on social media platforms such as
                   Facebook, Instagram, LinkedIn, Snapchat, and Twitter.

                   Which of the following platforms, if any, have you used during the last 12
                   months for social advertising? (Please select all that apply.) 153

                         Facebook
                         Instagram
                         Pinterest
                         Snapchat
                         TikTok
                         Twitter
                         LinkedIn
                         Reddit
                         Tumblr
                         FriendLinx
                         Other social media platforms: [INSERT TEXT BOX]
                         Don’t know / Unsure [EXCLUSIVE]

           127.    Next, respondents were asked an open-ended question regarding the factors they

 consider when deciding from where to buy digital ads. They were given the option to select “Don’t

 know / Unsure.” If respondents did not select the “Don’t know / Unsure” option, they were asked

 an additional question to ensure that they were being thoughtful about their answers:

                   Q6. What factors do you consider when deciding where to buy digital ads
                   from? (Please type your response in the text box below, or select “Don’t
                   know / Unsure”)


 153
       The order of the response options was randomized (except for “Other social media platforms” and “Don’t know
       / Unsure”).

                                                        78
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                   Q7. [IF “DON’T KNOW / UNSURE” WAS NOT SELECTED] In
                   addition to the factors you just mentioned, what other factors, if any, do
                   you consider when deciding where to buy digital ads from? (Please type
                   your response in the text box below, or select “Don’t know / Unsure”)


           128.    Respondents were then presented with a list of digital advertising types they had

 previously indicated using in the past year in the screening questions. They were asked to allocate

 100% of their digital advertising budget across the different types of digital advertising.

 Specifically, they received the following instructions:154

                   Q8. The following questions pertain to digital advertising.

                   Previously, you mentioned that you have used the following types of digital
                   advertising in the past year. What is your best estimate of the share of your
                   digital advertising spending that was used for each of these types of
                   advertising in the past year? Specifically, please allocate 100% across the
                   different types of digital advertising shown below based on the share of your
                   total digital advertising spending on each type. The total should add up to
                   100%.

                   To review the advertising type descriptions, hover your mouse over each
                   digital advertising type.

                   (Please enter a number from 0 to 100 in each cell, or select “Don’t know /
                   Unsure.” Please make sure that numbers add up to 100.)

                   Search:
                   Display:
                   Email:
                   Digital Audio:
                   Social:
                   App/In-App:
                   Digital Video:
                   Connected TV:
                   eCommerce Platforms:
                   Other:
                    Don’t know / Unsure [EXCLUSIVE]


 154
       The order of the presented response options was randomized (except for “Other” and “Don’t know / Unsure”).

                                                         79
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 Questions Regarding Responses to an Increase in the Cost of Display Advertising

           129.    Similar to the Higher-Spend Advertiser Survey, I instructed respondents in the

 Lower-Spend Advertiser Survey to assume a scenario in which their analysis shows that the cost

 of display advertising has increased by a “small but significant amount,” whereas the costs of other

 digital advertising types have not changed. They were then asked whether or not they would divert

 some of their spending to other types of digital advertising (Q9) and if so, to which types they

 would divert (Q10) and the extent to which they would divert (Q11). As I described above, all

 references to “programmatic display” or “direct deals display” were replaced with “display.”

 Questions Regarding the Assessment of Display Ad Performance

           130.    Similar to the Higher-Spend Advertiser Survey, respondents were asked about the

 metrics they use to assess the performance of display ads. However, instead of asking respondents

 to indicate which performance metrics they used for each of programmatic display ads, direct deals

 display ads, social media ads, and digital video ads, I only asked respondents about display ads

 and social media ads, if they indicated using social media ads in the screener.

                   Q12. Which of the following metrics, if any, are you using to assess the
                   performance of display ads and/or social media ads?

                   To review the advertising type descriptions, hover your mouse over each
                   digital advertising type.155
                   (Please select all that apply in each column.)

                           Metric                              Display ads           Social media ads
          Impressions                                                                       
          Clicks                                                                            
          Conversions                                                                       
          Cost per impression (CPM)                                                         
          Cost per click (CPC)                                                              
          Cost per action (CPA)                                                             
          Return on Ad Spend (ROAS)                                                         

 155
       The orders of the columns and rows were randomized (except for “Other,” “None of the above,” and “Don’t know
       / Unsure”).

                                                         80
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          Return on Investment (ROI)                                                          
          Click through rate (CTR)                                                            
          Other (please specify): [TEXT BOX]                                                  
          None of the above [EXCLUSIVE]                                                       
          Don’t know / Unsure [EXCLUSIVE]                                                     


           131.     As in the Higher-Spend Advertiser Survey, if respondents indicated they used more

 than one metric for display ads, they were then asked to rank the selected metrics in terms of their

 importance to assessing the performance of display ads (Q13). Similarly, respondents were asked

 to indicate the frequency at which they receive information on the performance of the display ads

 (Q14), whether they ran any experiments on their display ads in the past year (Q15), and, if

 applicable, what types of experiments they ran (Q16).

           C.       Survey Findings

           132.     In this section, I will summarize the main survey findings for the Lower-Spend

 Advertiser Survey. In each analysis, I summarize the results for the full sample of respondents, as

 well as for the subset of respondents who indicated spending less than $50,000 on advertising

 annually to explore whether there are meaningful differences for advertisers at even lower

 spending levels.156 Additional findings can be found in Exhibits 37 to 67. The complete data set

 of all individual participants’ responses is presented in Appendix G.3.

           133.     A total of 402 lower-spend respondents completed the survey.157 Of those, 95

 respondents chose to exclude their responses in QF1.158 Consistent with common practice, 5

 respondents who took too little time (less than 100 seconds) or took too much time (3 hours or



 156
       As shown in Exhibit 42, the analytical sample included 138 respondents who spent less than $50,000 on
       advertising in the past year, which provided a sufficient sample size to perform these analyses.
 157
       Exhibit 37.
 158
       Exhibit 37. Respondents who selected “Exclude my responses” in QF1 were not included in the respondent-level
       data files provided to me by Advertiser Perceptions and thus I do not have access to their responses to other
       questions in the survey.

                                                         81
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 more) were removed from the sample.159 A total of 302 respondents are included in the summary

 tables.160

           134.     In total, approximately 16 percent of respondents were women and 84 percent were

 men.161 With respect to age, approximately 18 percent of respondents were between 18 and 34, 74

 percent were between 35 and 49, and 8 percent were 50 years old or older.162 Approximately 38

 percent of respondents indicated that their current job title/level was best described as “C-Level

 (CEO, COO, CMO, etc.),” 22 percent selected “Director,” 21 percent selected “Vice President,

 SVP, EVP, President, etc.,” and 12 percent selected “Manager.”163 Approximately 46 percent of

 respondents spent less than $50,000 on advertising in the last 12 months, and 54 percent spent

 between $50,000 and $500,000 on advertising in the last 12 months.164

 Use of Digital Advertising Types and Ad Agencies

           135.     As shown in Figure 19, in addition to display advertising,165 approximately 86

 percent of respondents used at least one other type of digital advertising. As shown, the results

 are similar for respondents with less than $50,000 annual ad spend.166



 159
       Exhibit 37. Changing these cutoffs to, for example, three minutes and two hours does not meaningfully impact
       the results. See Exhibit 105.
 160
       Exhibit 37. As noted above, two survey questions included “decoy” response options: Q4 regarding the use of
       different ad buying tools (including “Ad Step Technologies” as a decoy response option) and Q5 regarding the
       use of different social media platforms (including “FriendLinx” as a decoy response option). Overall,
       approximately 20 percent of respondents selected at least one of the two decoy response options. See Appendix
       J, at Exhibit 37. Given that these selections might have been inadvertent, these respondents were not excluded
       from the analytical sample. In Appendix J, I present an alternative set of results for all questions based on an
       analytical sample that excludes respondents who selected one or more decoy response options in Q4 or Q5. As
       shown, excluding these respondents has virtually no effect on the results (and the difference is not statistically
       significant).
 161
       Exhibit 39.
 162
       Exhibit 39.
 163
       Exhibit 41.
 164
       Exhibit 42. Calculated as (6 + 58 + 74) / 302 = 45.7 percent; (42 + 61 + 61) / 302 = 54.3 percent.
 165
       As described in paragraph 52, the definitions of advertising types were created for purposes of these surveys only,
       in order to test—among other things—the degree to which advertisers viewed certain types of ads, including ads
       shown on social media platforms, as substitutes for other types of display ads. I did not conduct a survey to
       determine how advertisers use the terms “display” or “social.”
 166
       Exhibit 45.

                                                            82
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                             Figure 19. Share of Lower-Spend Advertisers
                            Using More than One Type of Digital Advertising




           136.      As shown in Figure 20, the most popular other types of digital advertising were

 social advertising (70 percent of respondents), search advertising (64 percent of respondents),

 digital video advertising (54 percent of respondents), and email advertising (47 percent of

 respondents). Similarly, among respondents with less than $50,000 annual ad spend, the most

 popular other types of digital advertising were social advertising (72 percent of respondents),

 search advertising (67 percent of respondents), digital video advertising (48 percent of

 respondents), and digital audio advertising (43 percent of respondents).167




 167
       Exhibit 44.

                                                    83
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                               Figure 20. Share of Lower-Spend Advertisers
                                     Using Digital Advertising Types




           137.     Among respondents who indicated that they used social advertising in the past year,

 approximately 83 percent used Facebook, 65 percent used Instagram, 48 percent used Twitter, 47

 percent used LinkedIn, and 42 percent used TikTok.168

           138.     As illustrated in Figure 21A, across all respondents, display advertising accounted

 for an average of 33 percent of respondents’ overall digital advertising budgets over the past year.

 As shown in Figure 21B, display advertising accounted for a similar percentage (37 percent) of

 the overall digital advertising budget for respondents with less than $50,000 annual ad spend.169

 As shown in Exhibit 57, display advertising accounted for a median of 20 percent of the overall

 digital advertising budget across the full sample of lower-spend advertisers and a median of 27


 168
       Exhibit 56. As shown on Exhibit 56, the results are similar among respondents with less than $50,000 annual ad
       spend.
 169
       Exhibit 57.

                                                          84
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 percent of the overall digital advertising budget among respondents with less than $50,000 annual

 ad spend.170

             Figure 21A. Average Share of Budget Allocated to Each Advertising Type
                              Among All Lower-Spend Advertisers




 170
       Exhibit 57.

                                                85
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             Figure 21B. Average Share of Budget Allocated to Each Advertising Type
            Among Lower-Spend Advertisers with Less than $50,000 Annual Ad Spend




           139.     Approximately 67 percent of respondents indicated that they use an ad agency

 and/or consultant for digital advertising.171 The most common ways in which respondents use ad

 agencies and/or consultants include assistance with “Media/marketing strategies” (60 percent of

 respondents using ad agencies and/or consultants), “Implementation of advertising (e.g., placing

 bids, interacting with DSPs)” (52 percent of respondents using ad agencies and/or consultants),

 “Tracking advertising performance” (52 percent of respondents using ad agencies and/or




 171
       Exhibit 46. Similarly, approximately 69 percent of respondents with less than $50,000 annual ad spend indicated
       that they use an ad agency and/or consultant for digital advertising.

                                                          86
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 consultants), and “Content and/or creatives” (45 percent of respondents using ad agencies and/or

 consultants).172

 Use of Platforms to Buy Display Ads

           140.     In response to Q4 regarding usage of different platforms to buy digital display ads,

 the most commonly used platforms were Google Ads (63 percent of respondents), Amazon DSP

 (50 percent of respondents), Google DV360 (35 percent of respondents), and Adobe Advertising

 Cloud (27 percent of respondents).173 These results are illustrated in Figure 22 below. As shown,

 the results are similar for advertisers with less than $50,000 annual ad spend.




 172
       Exhibit 47. Respondents with less than $50,000 annual ad spend indicated using ad agencies and/or consultants
       for similar purposes.
 173
       Exhibit 48.

                                                         87
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                Figure 22. Share of Lower-Spend Advertisers Using Display Platforms
                                     (10 Most Popular Platforms)




           141.     As noted above, “Ad Step Technologies” was included as a decoy/control platform

 name in Q4.          Approximately 14 percent of respondents indicated that they used Ad Step

 Technologies.174 In addition, Q5 regarding social media platform usage included a decoy social

 media platform “FriendLinx,” and approximately 12 percent of respondents selected this response

 option.175 Overall, approximately 20 percent of respondents in the analytical sample selected at

 least one of the two decoy response options.176 Among the subset of respondents with less than

 $50,000 in annual ad spend, approximately 15 percent of respondents selected at least one of the




 174
       Exhibit 48. Among the subset of respondents with less than $50,000 annual ad spend, approximately 7 percent
       indicated that they used Ad Step Technologies.
 175
       Exhibit 56. Among the subset of respondents with less than $50,000 annual ad spend, approximately 13 percent
       indicated that they used FriendLinx.
 176
       A total of 59 respondents selected at least one decoy response option (or approximately 20 percent of the overall
       analytical sample of 302 respondents). See Appendix J, at Exhibit 37.

                                                           88
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 two decoy response options.177 In this section, I present certain results regarding use of multiple

 buying tools both including and excluding respondents who selected one or more decoy response

 options.      As demonstrated below, the main results are very similar regardless of whether

 respondents who selected one or more decoy response options are included in or excluded from

 the analysis. Given that these selections might have been inadvertent, these respondents were not

 excluded from the analytical sample.178

           142.     Across the full analytical sample, approximately 80 percent of respondents

 indicated using more than one platform to buy display ads.179 Respondents reported using an

 average of 2.6 platforms to buy display ads in the past year.180 Among the subset of respondents

 with less than $50,000 in annual ad spend, approximately 78 percent of respondents indicated

 using more than one platform to buy display ads.181 On average, respondents with less than

 $50,000 in annual ad spend reported using approximately 2.3 platforms to buy display ads in the

 past year.182

           143.     Excluding respondents who selected one or more decoy response options from the

 analysis, approximately 77 percent of respondents indicated using more than one platform to buy

 display ads.183 Respondents reported using an average of 2.4 platforms to buy display ads.184 For

 the subset of respondents with less than $50,000 in annual ad spend, excluding respondents who



 177
       A total of 21 respondents with less than $50,000 in annual ad spend selected at least one decoy response option
       (or approximately 15 percent of the subset of respondents with less than $50,000 in annual ad spend). See
       Appendix J, at Exhibit 37.
 178
       An alternative set of results for all questions based on an analytical sample that excludes respondents who selected
       one or more decoy response options is in Appendix J.
 179
       Exhibit 49. The decoy display platform name was not included in the count of platforms used by each respondent.
       In other words, if a respondent indicated using Google DV360 and Ad Step Technologies, he or she was
       considered to use only one display platform (Google DV360).
 180
       Exhibit 49.
 181
       Exhibit 49.
 182
       Exhibit 49.
 183
       Appendix J, at Exhibit 49.
 184
       Appendix J, at Exhibit 49.

                                                             89
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 selected one or more decoy response options from the analysis, approximately 78 percent of

 respondents indicated using more than one platform to buy display ads.185 Respondents in this

 subset reported using an average of 2.2 platforms to buy display ads.186

           144.     Users of Google Ads and Google DV360 also indicated using multiple platforms

 to buy display ads. As shown in Figure 23, for the full analytical sample, approximately 87 percent

 of respondents who use Google Ads indicated using at least one other platform to buy display ads

 and 80 percent of respondents who use Google Ads indicated using at least one other non-Google

 platform to buy display ads.187,188 Figure 23 also shows that the results are similar for advertisers

 with less than $50,000 annual ad spend.




 185
       Appendix J, at Exhibit 49.
 186
       Appendix J, at Exhibit 49.
 187
       Exhibit 51. As noted above, the decoy display platform was not included in the count of platforms used to buy
       display ads by each respondent.
 188
       As shown in Exhibits 53 to 55, most respondents who use only Google Ads for display advertising also use other
       types of digital advertising (including social, search, and/or email, among others), and spend less than 40 percent
       of their overall advertising budget on display advertising.

                                                            90
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                Figure 23. Share of Google Ads Users Using Other Display Platforms
                                 Among Lower-Spend Advertisers




           145.     Excluding respondents who selected one or more decoy response options from the

 analysis, approximately 85 percent of respondents who use Google Ads indicated using at least

 one other platform to buy display ads and 76 percent of respondents who use Google Ads indicated

 using at least one other non-Google platform to buy display ads.189 For the subset of respondents

 with less than $50,000 in annual ad spend, excluding respondents who selected one or more decoy

 response options from the analysis, approximately 84 percent of respondents who use Google Ads




 189
       Appendix J, at Exhibit 51.

                                                  91
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 indicated using at least one other platform to buy display ads and 78 percent of respondents who

 use Google Ads indicated using at least one other non-Google platform to buy display ads.190

           146.     As shown in Figure 24, for the full analytical sample, approximately 97 percent of

 respondents who use Google DV360 indicated using at least one other platform to buy display ads

 and 83 percent of respondents who use Google DV360 indicated using at least one other non-

 Google platform to buy display ads.191 Figure 24 also shows that the results are similar for

 advertisers with less than $50,000 annual ad spend.




 190
       Appendix J, at Exhibit 51.
 191
       Exhibit 51. As noted above, the decoy display platform was not included in the count of platforms used to buy
       display ads by each respondent.

                                                         92
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              Figure 24. Share of Google DV360 Users Using Other Display Platforms
                                 Among Lower-Spend Advertisers




           147.     Excluding respondents who selected one or more decoy response options from the

 analysis, approximately 96 percent of respondents who use Google DV360 indicated using at least

 one other platform to buy display ads and 79 percent of respondents who use Google DV360

 indicated using at least one other non-Google platform to buy display ads.192 For the subset of

 respondents with less than $50,000 in annual ad spend, excluding respondents who selected one

 or more decoy response options from the analysis, approximately 91 percent of respondents who

 use Google DV360 indicated using at least one other platform to buy display ads and 79 percent




 192
       Appendix J, at Exhibit 51.

                                                  93
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 of respondents who use Google DV360 indicated using at least one other non-Google platform to

 buy display ads.193

           148.     All respondents were asked to explain, in an open-ended response, what factors

 they consider when deciding where to buy digital ads from. Respondents mentioned a variety of

 different factors, including, for example, performance and effectiveness (e.g., Respondent 1026:

 “A good amount of return on investment is a must factor to consider while buying the digital ads.”;

 Respondent 675: “ROI and data privacy”; Respondent 2421: “Good ROI”), features offered by the

 platform (e.g., Respondent 751: “Can you provide detailed and accurate targeting features.”;

 Respondent 2120: “quality of the features it offers”), and reputation/credibility of the platform

 (e.g., Respondent 511: “The platform where I will be purchasing should be very trusted.”;

 Respondent 776: “Affordability and reputation”), among other factors.194

 Responses to an Increase in the Cost of Display Advertising

           149.     In response to the scenario described above contemplating an increase in the cost

 of display advertising, approximately 61 percent of respondents indicated that they would divert

 some of their spending to other types of digital advertising, as illustrated in Figure 25.195 As

 shown, the results are similar for respondents with less than $50,000 annual ad spend (70 percent

 of these respondents indicated that they would divert spending).




 193
       Appendix J, at Exhibit 51.
 194
       Appendix G.3.
 195
       Exhibit 58.

                                                   94
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            Figure 25. Share of Lower-Spend Advertisers Who Would Divert Spending




           150.      Respondents who indicated that they would divert spending were then asked to

 identify which types of advertising they would divert spending to. As shown in Figure 26, the

 most common responses were social (58 percent of respondents who would divert spending), email

 (43 percent of respondents who would divert spending), and search (43 percent of respondents

 who would divert spending).196 As shown, the results are fairly similar among the subset of

 respondents with less than $50,000 annual ad spend, with social (64 percent of respondents who

 would divert spending) and search (43 percent of respondents who would divert spending) as the

 most common responses.




 196
       Exhibit 59.

                                                  95
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                                      46170
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                                Figure 26. Share of Lower-Spend Advertisers
                             Who Would Divert Spending to Each Advertising Type




           151.      Additionally, most respondents indicated that the extent to which they would divert

 spending to each advertising type selected was between 7 and 10 on a 0 to 10 point scale (where 0

 represents no change in spending on a given type of advertising, and 10 represents a substantial

 increase in spending on a given type of advertising).197 In other words, most respondents indicated

 that they would make relatively substantial increases to their spending on other types of advertising

 in response to an increase in the cost of display advertising.




 197
       Exhibit 62.

                                                     96
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                     Figure 27A. Extent of Spending Increase
                   Among Lower-Spend Advertisers (0 to 10 scale)




                                        97
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  Figure 27B. Extent of Spending Increase Among Lower-Spend Advertisers with Less than
                          $50,000 Annual Ad Spend (0 to 10 scale)




 Assessment of Display Ad Performance

           152.      The most popular metrics used to assess the performance of display ads were

 “Return on Investment (ROI)” (39 percent of respondents), “Cost per Click (CPC)” (39 percent of

 respondents), “Clicks” (38 percent of respondents), “Click through rate (CTR)” (35 percent of

 respondents), and “Return on Ad Spend (ROAS)” (35 percent of respondents), as summarized in

 Figure 28.198 As shown, the results are generally consistent for advertisers with less than $50,000

 annual ad spend.




 198
       Exhibit 63.

                                                  98
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                             Figure 28. Share of Lower-Spend Advertisers
                                   Using Each Performance Metric




           153.      Approximately 18 percent of respondents indicated that Return on Investment

 (ROI) was the most important metric for accurately assessing performance and approximately 12

 percent of respondents indicated that Return on Ad Spend (ROAS) was most important.199

 Similarly, among advertisers with less than $50,000 annual ad spend, approximately 21 percent of

 respondents indicated that Return on Investment (ROI) was the most important metric for

 accurately assessing performance and approximately 14 percent of respondents indicated that

 Return on Ad Spend (ROAS) was most important.200




 199
       Exhibit 64.
 200
       Exhibit 64.

                                                  99
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                             Figure 29. Share of Lower-Spend Advertisers
                            Ranking Performance Metric as Most Important




           154.    Approximately 82 percent of respondents indicated that they measure or assess

 performance of display advertising at least monthly.201 Similarly, approximately 85 percent of

 respondents with less than $50,000 annual ad spend reported measuring or assessing performance

 of display at least monthly.202

           155.    Approximately 60 percent of respondents ran experiments on their display ads in

 the past year.203 Among those respondents, approximately 62 percent ran experiments related to

 creatives, 47 percent ran experiments related to audiences, 41 percent ran experiments related to




 201
       Exhibit 65. Specifically, approximately 9 percent of respondents indicated measuring performance daily, 41
       percent indicated measuring performance weekly, and 32 percent indicated measuring performance monthly.
 202
       Exhibit 65. Specifically, approximately 7 percent of respondents indicated measuring performance daily, 50
       percent indicated measuring performance weekly, and 28 percent indicated measuring performance monthly.
 203
       Exhibit 66.

                                                       100
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 ROI/ROAS, and 41 percent ran experiments related to ad buying tool performance.204 Similarly,

 among the subset of respondents with less than $50,000 annual ad spend, approximately 64 percent

 of respondents ran experiments on their display ads, with the most common types of experiments

 relating to creatives, ROI/ROAS, and ad buying tool performance.205

           D.       Key Implications of the Findings

           156.     Performance measurement: Similar to higher-spend advertisers, the results of the

 survey show that lower-spend advertisers typically rely on a variety of performance measures,

 including Return on Investment (ROI) and Return on Ad Spend (ROAS), as well as Clicks and

 Cost per Click (CPC) (among other measures), and tend to review performance often. Based on

 these and other measures, advertisers can assess the relative effectiveness or ineffectiveness of the

 various advertising tools they use, including display advertising, and potentially react to

 performance changes.

           157.     Substitution: As with higher-spend advertisers, using the performance feedback

 that they receive regarding costs and returns, lower-spend advertisers can adjust their advertising

 spending allocation. Similar to the Higher-Spend Advertiser Survey, respondents were presented

 with a hypothetical scenario involving a “small but significant” increase in the cost of display

 advertising, assuming that the costs associated with other digital advertising types remain the same.

 The results indicated that most lower-spend advertisers (61 percent) would divert spending to other

 advertising types.206 The most popular advertising types to which lower-spend advertisers would

 divert spending include social, email, and search, generally suggesting that at least social, email,

 and search serve as substitutes for display advertising. In particular, the findings indicate that



 204
       Exhibit 67.
 205
       Exhibits 66-67.
 206
       Exhibit 58.

                                                  101
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 many lower-spend advertisers would reallocate advertising spending if they determine that their

 display advertising is less cost effective than it previously was. These results suggest that, if the

 cost of display advertising increases, many advertisers will take action as a result, and the parties

 responsible for such cost increases will likely lose share to other advertising channels.

           158.    Multi-homing: The survey results show that most lower-spend advertisers use

 multiple digital advertising types and, within display advertising specifically, use multiple

 platforms to buy display ads. In particular, most advertisers use multiple other types of digital

 advertising in addition to display, with the most popular types being social, search, digital video,

 and email advertising. In addition, most advertisers (approximately 80 percent) use multiple

 platforms to buy display ads.207 The survey results further indicated that multi-homing is common

 for users of Google ad buying tools. Specifically, approximately 87 percent of lower-spend

 advertisers that use Google Ads also use at least one other platform for display ads.208

           159.    Thus, the survey findings indicate that most lower-spend advertisers use a variety

 of other digital advertising types and employ multiple ad buying tools for display advertising,

 suggesting they have a variety of alternatives to Google ad buying tools. That is, lower-spend

 advertisers, by and large, already practice multi-homing, which facilitates flexible allocations and

 tool selection as desired.

           160.    Display ad spending:       Similar to higher-spend advertisers, the survey results

 indicate that most lower-spend advertisers spend a relatively small portion of their budget on

 display advertising.       Among lower-spend advertisers who use display advertising, display




 207
       Exhibit 49.
 208
       Exhibit 51. Approximately 80 percent of Google Ads users use at least one non-Google ad buying tool for
       programmatic display. Exhibit 51.

                                                      102
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 advertising accounts for an average share of approximately 33 percent and a median share of

 approximately 20 percent of their overall digital budget.209

           161.      Sophistication of lower-spend advertisers: The survey results also suggest that,

 beyond the various metrics they use to track performance of their advertising spending and make

 adjustments, most lower-spend advertisers also conduct experiments related to various advertising

 aspects, including creatives, audiences, and ROI/ROAS, among others, to further optimize their

 spending.


 VI.       AD AGENCY SURVEY

           A.        Overview

           162.      The questions in the Ad Agency Survey were largely the same or similar to those

 in the Higher-Spend Advertiser Survey. As described in further detail below, I made certain

 modifications to ensure the questionnaire was clear and suitable for respondents who work at

 advertising agencies and may work on behalf of multiple clients at the same time. As with the

 Lower-Spend Advertiser Survey, these modifications were based on the preliminary interviews,

 as well as discussions with AP.

           163.      For most of the questionnaire, I instructed ad agency respondents to answer the

 questions as they relate to the client on which they spend the most time, so that the point of

 reference was consistent across the sample and did not involve trying to average different

 advertising clients. I also updated certain questions related to job responsibilities and involvement

 to reflect the fact that the respondents in the Ad Agency Survey advise or engage in advertising

 efforts on behalf of clients.




 209
       Exhibit 57.

                                                   103
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        B.      Methodology

        164.    Four pre-test interviews for the Ad Agency Survey (as described above) were

 conducted on September 5, 2023. No changes were made based on the pre-testing. The actual Ad

 Agency Survey was administered from September 6, 2023 to September 21, 2023. The full survey

 questionnaire is included in Appendix H.1. Screenshots of the survey as it appeared to respondents

 are presented in Appendix H.2.

                1.      Survey Universe and Screening Criteria

        165.    The survey universe for the Ad Agency Survey included individuals based in the

 U.S. who work for ad agencies and assist their clients with media strategy (i.e., advising clients on

 media/marketing strategies and/or how to spend advertising funds). Because a primary focus of

 the survey was to assess decision-making regarding programmatic display advertising specifically,

 the survey universe was also limited to ad agency employees who have used programmatic display

 advertising in the past year for their primary client and who were personally involved in assisting

 their primary client with decisions regarding their use of display advertising, including determining

 or advising the client regarding strategies, budgets, use of buying tools, and/or management of

 digital display campaigns.

        166.    The screening questions used to determine whether the respondents met the

 definition of the relevant survey universe and thus would qualify for the main questionnaire for

 the Ad Agency Survey were similar to those used in the Higher-Spend Advertiser Survey, except

 for certain differences that I describe below.

        167.    Respondents were asked to select which description best characterizes their

 company (QS7), and had to indicate working for a media agency or a full service agency in order

 to proceed with the survey. If the respondent indicated working for a full service agency, they


                                                  104
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 were asked a follow-up question (QS8) regarding their primary involvement, and had to indicate

 that they were primarily involved in media strategy (rather than creative strategy) in order to

 proceed.210

                    QS7. Which of the following best characterizes the type of company you
                    work for? (Please select only one option.)

                         Advertiser/Marketer – your company sells products or services
                          and advertises/markets its products or services
                         Creative Agency – your company designs or produces marketing
                          content and/or advises clients on their creative media/marketing
                          strategies
                         Media Agency – your company advises clients on their
                          media/marketing strategies and/or how to spend their advertising
                          funds
                         Full Service Agency – your company handles both Creative and
                          Media strategy and/or execution
                         Other (please describe): [INSERT TEXT BOX]

                    [TERMINATE IF NEITHER “Full Service Agency” NOR “Media
                    Agency” IS SELECTED]

                    QS8. [IF FULL SERVICE AGENCY SELECTED IN QS7] You
                    indicated that you work for a Full Service Agency. Does your work
                    primarily involve Creative strategy (i.e., designing or producing marketing
                    content and/or advising clients on creative strategies) or Media strategy
                    (i.e., advising clients on media/marketing strategy and/or how to spend
                    advertising funds)? (Please select only one option.)

                         Creative Strategy
                         Media Strategy
                         None of the above
                         Don’t know / Unsure

                    [TERMINATE IF “Media Strategy” IS NOT SELECTED]

           168.     I then instructed respondents to answer all subsequent questions from the

 perspective of the client on which they spend the most time:

                    QS10. The following questions will ask you about your advertising
                    decisions and practices. For these questions, please think about the client

 210
       The order of the presented response options was randomized (except for “Other,” “None of the above,” and “Don’t
       know / Unsure” as applicable).

                                                          105
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                   you spend the most time on and answer the question from the perspective
                   of that client. If there are multiple clients you spend the most time on, please
                   answer the following questions from the perspective of the most typical of
                   those clients.

           169.    Unlike the Higher-Spend Advertiser Survey and Lower-Spend Advertiser Survey,

 I did not impose a required level of advertising spend for the Ad Agency Survey (or tailor the

 survey questions differently based on the level of advertising spend of the respondent’s primary

 client) since respondents at ad agencies handle various advertising tasks across multiple clients,

 which provides them the requisite level of sophistication to understand the advertising terminology

 used in the survey. The questionnaire did ask respondents about the level of advertising spend of

 their primary client. In most cases, the primary client spending would place them in the higher-

 spend group (i.e., advertisers spending more than $500,000 annually).211

           170.    I modified the screener question related to personal involvement such that

 respondents who advise clients on marketing strategies or budgets would be qualified for the

 survey, even though they might not be personally responsible for making the final decisions:212

                   QS17. In the last 12 months, in which of the following ways have you
                   personally been involved in digital display advertising efforts on behalf of
                   the client you spend the most time on? (Select all that apply.)

                         I determine or advise the client regarding overall strategies and/or
                          budgets for digital display.
                         I determine or advise the client regarding which buying tools and/or
                          demand-side platforms (DSPs) to use for digital display.
                         I regularly use self-serve ad platforms to manage digital display
                          campaigns for the client.
                         I oversee a team/individuals that use(s) self-serve ad platforms to
                          manage digital display campaigns for the client.
                         I regularly set up audience/target parameters for programmatic
                          digital display buying for the client.
                         I oversee a team/individuals that set(s) up audience/target
                          parameters for programmatic digital display buying for the client.

 211
       See Exhibit 73.
 212
       The order of the presented response options was randomized (except for “None of the above” and “Don’t know /
       Unsure”).

                                                        106
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                          I measure results of digital display campaigns for the client.
                          I oversee a team/individuals that measure(s) results of digital display
                           campaigns for the client.
                          None of the above [EXCLUSIVE]
                          Don’t know / Unsure [EXCLUSIVE]

                    [TERMINATE IF NONE OF “I determine or advise the client regarding
                    overall strategies and/or budgets for digital display”, “I determine or advise
                    the client regarding which buying tools and/or demand-side platforms
                    (DSPs) to use for digital display”, “I regularly use self-serve ad platforms
                    to manage digital display campaigns for the client”, AND “I oversee a
                    team/individuals that use(s) self-serve ad platforms to manage digital
                    display campaigns for the client” ARE SELECTED]

           171.     The remaining screening criteria in the Ad Agency Survey were the same as those

 in the Higher-Spend Advertiser Survey, focusing specifically on the client on which respondents

 spend the most time.213

           172.     Similar to the Higher-Spend Advertiser Survey and the Lower-Spend Advertiser

 Survey, respondents were also asked a series of questions regarding their current job title or level

 and the market sector and use of social media platforms, if any, for the client on which they spend

 the most time. The information gathered from these questions was used for data analysis purposes

 and not for screening purposes.

           173.     Consistent with the definition of the survey universe, the survey sample thus

 included respondents who primarily work on media strategy at an ad agency, had spent some

 advertising budget on digital advertising in the past year for the client on which they spend the

 most time, and had used programmatic display advertising in the past year for the client on which

 they spend the most time. Additionally, respondents must have been personally involved in




 213
       Specifically, QS1-QS6, QS11-QS16, and QS18 in the Ad Agency Survey were the same as screening questions
       in the Higher-Spend Advertiser Survey. The answer options for QS9 (“Which of the following best characterizes
       your current job title/level?”) were modified slightly to reflect job titles/levels more typical of respondents who
       work at ad agencies. See Appendix F.1; Appendix H.1.

                                                           107
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 determining or advising clients on strategies, budgets, or ad buying tools for digital display or

 using self-serve ad platforms to manage digital display campaigns.

                2.      Main Questionnaire

        174.    After passing the screening questions, qualified respondents entered the main

 questionnaire and were given the same standard introductory instructions (Q1) as in the Higher-

 Spend Advertiser Survey. As noted above, the main questionnaire was broadly similar to the

 Higher-Spend Advertiser Survey, except for certain differences that I describe below. The main

 questionnaire began with standard preliminary instructions, followed by questions that addressed

 the following topics, as tied to the advertising client on which respondents spent the most time:

                    use of different digital advertising types;

                    reactions to a hypothetical increase in the cost of programmatic display

                     advertising;

                    use of ad buying tools for programmatic display advertising; and

                    methods to assess the performance of programmatic display advertising.

        175.    After passing the screening questions, qualified respondents were given the

 following instructions:

                Q1. You have been selected to answer additional questions about your
                advertising practices for the client you spend the most time on. Please
                continue to think about the client you spend the most time on and answer
                the question from the perspective of that client. If there are multiple clients
                you spend the most time on, please answer the following questions from the
                perspective     of     the     most     typical       of     those     clients.

                For each question, if you don’t know or are unsure, please don’t guess.
                Simply indicate this in your response by selecting the “Don’t know /
                Unsure” option. There are no right or wrong answers.

                Also, you should complete this survey without stopping in the middle.
                Please make sure not to consult anyone; use your browser’s “Back” button;
                or open another browser while working on this survey.

                                                  108
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           176.     Next, instead of asking respondents about their use of ad agencies (as in the Higher-

 Spend Advertiser Survey and the Lower-Spend Advertiser Surveys), I asked respondents about the

 extent to which they were involved in advertising activities for the client on which they spend the

 most time:

                    Q2. Which of the following best describes your involvement in each of
                    these activities for the client you spend the most time on? (Please select a
                    value on the slider between 0 and 100 for each activity. If you do not have
                    an answer, please select “Don’t know / Unsure”.)214

                           Determining initial advertising budget          [INSERT SLIDER]
                           Allocating budget across different              [INSERT SLIDER]
                           advertising types
                           Increasing/decreasing spending on a             [INSERT SLIDER]
                           particular type of advertising
                           Increasing/decreasing spending on a             [INSERT SLIDER]
                           particular ad campaign
                           Making changes to a campaign based on its       [INSERT SLIDER]
                           performance
                           Deciding where to advertise                     [INSERT SLIDER]
                           Deciding whether to purchase display ads        [INSERT SLIDER]
                           programmatically or through direct deals
                           with publishers
                           Measuring performance of display ad             [INSERT SLIDER]
                           campaigns


           177.     Below is an example of how Q2 appeared to respondents in the survey:215




 214
       The order of the activities was randomized.
 215
       See Appendix H.2, at H.2-21-22.

                                                     109
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           178.     As indicated, the rest of the questionnaire was the same as the Higher-Spend

 Advertiser Survey and asked respondents to answer from the viewpoint of the client on which they

 spend the most time.

           C.       Survey Findings

           179.     In this section, I will summarize the main survey findings for the Ad Agency

 Survey. Additional findings can be found in Exhibits 68 to 110. The complete data set of all

 individual participants’ responses is presented in Appendix H.3.

           180.     A total of 463 respondents completed the survey.216 Of those, 71 respondents chose

 to exclude their responses in QF1.217 Consistent with common practice, 11 respondents who took




 216
       Exhibit 68.
 217
       Exhibit 68. Respondents who selected “Exclude my responses” in QF1 were not included in the respondent-level
       data files provided to me by Advertiser Perceptions and thus I do not have access to their responses to other
       questions in the survey.

                                                         110
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 too little time (less than 100 seconds) or took too much time (more than 3 hours) were removed

 from the sample.218 A total of 381 respondents are included in the summary tables.219

           181.     In total, approximately 33 percent of respondents were women and 67 percent were

 men.220 With respect to age, approximately 25 percent of respondents were between 18 and 34,

 63 percent were between 35 and 49, and 12 percent were 50 years old or older.221 Approximately

 37 percent of respondents indicated that their current job title/level was best described as “C-Level

 (CEO, COO, CMO, etc.),” 13 percent identified their job title/level as “Strategist,” 12 percent

 identified their job title/level as “Social Media Manager,” 8 percent identified their job title/level

 as “Media Planner,” and 8 percent identified their job title/level as “Account Manager / Account

 Executive.”222 Approximately 55 percent of respondents indicated that the client on which they

 spend the most time spent less than $15 million on advertising in the last 12 months, and 45 percent

 spent more than $15 million on advertising in the last 12 months.223




 218
       Exhibit 68. Changing these cutoffs to, for example, three minutes and two hours does not meaningfully impact
       the results. See Exhibit 105.
 219
       Exhibit 68. Two survey questions included “decoy” response options: QS16 regarding the use of different social
       media platforms (including “FriendLinx” as a decoy response option) and Q7 regarding the use of different ad
       buying tools (including “Quorexx” and “Ad Step Technologies” as decoy response options). Overall,
       approximately 13 percent of respondents selected at least one of the three decoy response options. See Appendix
       J, at Exhibit 68. Given that these selections might have been inadvertent, these respondents were not excluded
       from the analytical sample. In Appendix J, I present an alternative set of results for all questions based on an
       analytical sample that excludes respondents who selected one or more decoy response options in QS16 or Q7. As
       shown, excluding these respondents has virtually no effect on the results (and the difference is not statistically
       significant).
 220
       Exhibit 70.
 221
       Exhibit 70.
 222
       Exhibit 71.
 223
       Exhibit 73. Calculated as (5 + 8 + 6 + 29 + 45 + 69 + 48) / 381 = 55.1 percent and (65 + 39 + 21 + 26 + 9 + 10) /
       381 = 44.6 percent.

                                                           111
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 Use of Digital Advertising Types and Role of the Ad Agency

           182.     As shown in Figure 30, in addition to display advertising,224 approximately 87

 percent of respondents used at least one other type of digital advertising for the client on which

 they spend the most time.225

                               Figure 30. Share of Ad Agency Respondents
                             Using More than One Type of Digital Advertising




           183.     As shown in Figure 31, the most popular other types of digital advertising were

 social advertising (78 percent of respondents), search advertising (69 percent of respondents),

 digital video advertising (65 percent of respondents), and email advertising (51 percent of

 respondents).226




 224
       As described in paragraph 52, the definitions of advertising types were created for purposes of these surveys only,
       in order to test—among other things—the degree to which advertisers viewed certain types of ads, including ads
       shown on social media platforms, as substitutes for other types of display ads. I did not conduct a survey to
       determine how advertisers use the terms “display” or “social.”
 225
       Exhibit 76.
 226
       Exhibit 75.

                                                           112
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                               Figure 31. Share of Ad Agency Respondents
                                    Using Digital Advertising Types




           184.      In QS15, approximately 46 percent of respondents indicated that they used both

 programmatic buying methods and direct deals to purchase display ad inventory for the client on

 which they spend the most time.227

           185.      Question Q3 asked respondents to estimate, for the client on which they spend the

 most time, the share of the digital advertising budget that was used for each digital advertising type

 over the past year. As summarized in Figure 32, the responses to this question indicate that

 programmatic display advertising accounted for an average of 31 percent of respondents’ overall

 digital advertising budgets over the past year.228 Programmatic display advertising accounted for




 227
       Exhibit 77.
 228
       Exhibit 80.

                                                    113
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 a median of approximately 20 percent of respondents’ overall digital advertising budgets over the

 past year.229

              Figure 32. Average Share of Budget Allocated to Each Advertising Type
                                 Among Ad Agency Respondents




           186.      Respondents indicated being heavily involved in a range of different activities for

 the client on which they spend the most time, including setting advertising budgets, allocating

 budget across different advertising types, increasing/decreasing spending on a particular type of

 advertising or a particular ad campaign, and making changes to a campaign based on its

 performance.230




 229
       Exhibit 80.
 230
       Exhibit 79.

                                                     114
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 Responses to an Increase in the Cost of Programmatic Display Advertising

           187.      Question Q4 described a scenario in which the cost of programmatic display

 advertising recently increased by a small but significant amount and would remain elevated for the

 foreseeable future (while the cost of other advertising types had not changed and were not expected

 to change), and asked respondents whether or not they would divert some advertising spending for

 the coming year to other types of digital advertising. As shown in Figure 33, in response to this

 scenario, approximately 54 percent of respondents indicated that they would divert some spending

 to other types of digital advertising for the client on which they spend the most time.231

             Figure 33. Share of Ad Agency Respondents Who Would Divert Spending




           188.      Respondents who indicated that they would divert spending were then asked in Q5

 to identify which types of advertising they would divert spending to. As summarized in Figure


 231
       Exhibit 81.

                                                   115
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 34, the most common responses were social (62 percent of respondents who would divert

 spending), search (45 percent of respondents who would divert spending), and digital video (40

 percent of respondents who would divert spending).232

                                Figure 34. Share of Ad Agency Respondents
                            Who Would Divert Spending to Each Advertising Type




           189.      In Q6, most respondents indicated that the extent to which they would divert

 spending to each advertising type selected in Q5 was between 7 and 10 on a 0 to 10 point scale

 (where 0 represents no change in spending on a given type of advertising, and 10 represents a

 substantial increase in spending on a given type of advertising).233       In other words, most

 respondents indicated that they would make relatively substantial increases to their spending on

 other types of advertising in response to an increase in the cost of programmatic display

 advertising.



 232
       Exhibit 82.
 233
       Exhibit 85.

                                                  116
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                              Figure 35. Share of Ad Agency Respondents
                             by Extent of Spending Increase (0 to 10 scale)




 Use of Ad Buying Tools for Programmatic Display Ads

           190.    In response to Q7 regarding usage of different ad buying tools for the client on

 which they spend the most time, the most commonly used ad buying tools for programmatic

 display advertising were Google Ads (58 percent of respondents), Google DV360 (41 percent of

 respondents), Amazon DSP (39 percent of respondents), The Trade Desk DSP (26 percent of

 respondents), and Adobe Advertising Cloud (18 percent of respondents).234




 234
       Exhibit 86. Approximately 72 percent of respondents used at least one of Google Ads and Google DV360.
       Exhibit 88.

                                                     117
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                  Figure 36. Share of Ad Agency Respondents Using Ad Buying Tool
                                       (10 Most Popular Tools)




           191.     As noted above, “Ad Step Technologies” and “Quorexx” were included as

 decoy/control ad buying tool names in Q7. Approximately 8 percent of respondents indicated that

 they used Ad Step Technologies and 4 percent of respondents indicated that they used Quorexx.235

 In addition, QS16 regarding social media platform usage included a decoy social media platform

 “FriendLinx,” and about 5 percent of respondents selected this option.236 Overall, approximately

 13 percent of respondents in the analytical sample selected at least one of the three decoy response

 options.237 In this section, I present certain results regarding use of multiple buying tools both

 including and excluding respondents who selected one or more decoy response options. As

 demonstrated below, the main results are very similar regardless of whether respondents who

 selected one or more decoy response options are included in or excluded from the analysis. Given



 235
       Exhibit 86.
 236
       See Exhibit 78.
 237
       A total of 50 respondents selected at least one decoy response option (or approximately 13 percent of the overall
       analytical sample of 381 respondents). See Appendix J, at Exhibit 68.

                                                          118
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 that these selections might have been inadvertent, these respondents were not excluded from the

 analytical sample.238

           192.     Across the full analytical sample, approximately 73 percent of respondents

 indicated using more than one ad buying tool for programmatic display advertising for the client

 on which they spend the most time.239 Respondents reported using an average of 3.1 ad buying

 tools in the past year for the client on which they spend the most time.240 Respondents who

 indicated using more than one ad buying tool in the past year were asked an open-ended question

 regarding why they used multiple ad buying tools. In response, respondents mentioned a variety

 of reasons including, for example, testing the relative performance of different tools (e.g.,

 Respondent 1402: “Compare the advertising effectiveness of different platforms…”; Respondent

 1824: “Experiment with different tools to find the most effective strategies for optimizing

 campaign performance and ROI.”; and Respondent 2034: “Testing and optimization”) and

 mitigating risk of potential technical failures (e.g., Respondent 2688: “Relying on a single ad

 buying tools can be risky if that platform experience technical changes.”; Respondent 3378:

 “Using multiple ad buying tools reduces the risk in technical issued or policy changes etc.”).241

           193.     Excluding respondents who selected one or more decoy response options from the

 analysis, approximately 71 percent of respondents indicated using more than one ad buying tool

 for programmatic display advertising for the client on which they spend the most time.242




 238
       An alternative set of results for all questions based on an analytical sample that excludes respondents who selected
       one or more decoy response options is in Appendix J.
 239
       Exhibit 87. The decoy ad buying tools were not included in the count of ad buying tools used by each respondent.
       In other words, if a respondent indicated using The Trade Desk DSP, Google DV360, and Quorexx, he or she
       was considered to use only two ad buying tools (The Trade Desk DSP and Google DV360).
 240
       Exhibit 87.
 241
       Appendix H.3.
 242
       Appendix J, at Exhibit 87.

                                                            119
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 Respondents reported using an average of 2.9 ad buying tools for the client on which they spend

 the most time.243

           194.     Users of Google ad buying tools also indicated using multiple ad buying tools. For

 the full analytical sample, approximately 83 percent of respondents who use Google Ads indicated

 using at least one other ad buying tool for programmatic display for the client on which they spend

 the most time and 79 percent of respondents who use Google Ads indicated using at least one other

 non-Google ad buying tool for programmatic display for the client on which they spend the most

 time.244,245 These results are illustrated in Figure 37 below. Excluding respondents who selected

 one or more decoy response options from the analysis, approximately 81 percent of respondents

 who use Google Ads indicated using at least one other ad buying tool for programmatic display

 for the client on which they spend the most time and 77 percent of respondents who use Google

 Ads indicated using at least one other non-Google ad buying tool for programmatic display for the

 client on which they spend the most time.246




 243
       Appendix J, at Exhibit 87.
 244
       Exhibit 89. As noted above, the decoy ad buying tools were not included in the count of ad buying tools used by
       each respondent.
 245
       As shown in Exhibits 91 to 93, most respondents who use only Google Ads for programmatic display advertising
       also use other types of digital advertising (including social, search, digital video, and/or email, among others),
       and spend less than 40 percent of their overall advertising budget on programmatic display advertising.
 246
       Appendix J, at Exhibit 89.

                                                           120
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                  Figure 37. Share of Google Ads Users Using Other Ad Buying Tools
                                   Among Ad Agency Respondents




           195.     As shown in Figure 38, for the full analytical sample, approximately 94 percent of

 respondents who use Google DV360 indicated using at least one other ad buying tool for

 programmatic display for the client on which they spend the most time and 88 percent of

 respondents who use Google DV360 indicated using at least one other non-Google ad buying tool

 for programmatic display for the client on which they spend the most time.247 Excluding

 respondents who selected one or more decoy response options from the analysis, approximately

 93 percent of respondents who use Google DV360 indicated using at least one other ad buying

 tool for programmatic display for the client on which they spend the most time and 87 percent of




 247
       Exhibit 89. As noted above, the decoy ad buying tools were not included in the count of ad buying tools used by
       each respondent.

                                                          121
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 respondents who use Google DV360 indicated using at least one other non-Google ad buying tool

 for programmatic display for the client on which they spend the most time.248

               Figure 38. Share of Google DV360 Users Using Other Ad Buying Tools
                                  Among Ad Agency Respondents




           196.     All respondents were asked whether they expected to use the same number, more,

 or fewer ad buying tools for programmatic display advertising next year for the client on which

 they spend the most time. Approximately 54 percent of respondents indicated that they expect to

 use the same number of ad buying tools for programmatic display next year, approximately 22

 percent indicated that they expected to use more ad buying tools for programmatic display, and 22

 percent indicated that they expected to use fewer ad buying tools for programmatic display.249

 When asked to explain (in an open-ended response) why they expected to use more ad buying



 248
       Appendix J, at Exhibit 89.
 249
       Exhibit 94.

                                                  122
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 tools next year, some respondents mentioned reasons relating to performance optimization (e.g.,

 Respondent 3348: “Based on experience, we wanna try new platforms for better performance”;

 Respondent 1676: “In order to optimize ad campaigns and evaluate the tool that delivers the best

 performance and ROI.”), testing different tools (e.g., Respondent 2743: “As more players come in

 the market we like to test and see who outperforms.”), and specific features offered (e.g.,

 Respondent 2493: “Exploring tools that offer unique features, technologies, or partnerships that

 can enhance campaign capabilities.”), among other reasons.250 Respondents who indicated that

 they expected to use fewer ad buying tools next year also mentioned a variety of reasons, including

 wanting to consolidate or simplify (e.g., Respondent 1801: “Consolidation leading to efficiency”;

 Respondent 2063: “Easier to use less”) and focusing on tools that had better performance (e.g.,

 Respondent 1792: “we tested more programs over the past year and are consolidating to top

 performers”; Respondent 1791: “After testing tools against eachother [sic] and measuring results,

 we will cut tools that underperformed their competitors.”), among other reasons.251

          197.    All respondents were asked in Q11 to identify, from a closed-ended list of options,

 which factors they consider when deciding to use a particular ad buying tool for programmatic

 display advertising for the client on which they spend the most time. The most popular responses

 included “Targeting criteria and capabilities” (47 percent of respondents), “Cost” (45 percent of

 respondents), and “Ad placement effectiveness” (45 percent of respondents).252

          198.    Respondents were also asked about their past decisions to start and/or stop using

 certain buying tools for the client on which they spend the most time. Approximately 31 percent

 of respondents indicated that they started using at least one ad buying tool for programmatic



 250
       Appendix H.3.
 251
       Appendix H.3.
 252
       Exhibit 95.

                                                  123
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 display in the past year.253 In explaining this decision, some respondents mentioned reasons

 relating to performance optimization (e.g., Respondent 1854: “Expectation of improved return on

 investment.”; Respondent 2118: “better ROI”) and specific features of the tool (e.g., Respondent

 1491: “Forecasting tools”; Respondent 2110: “Trying new features”), among other reasons.254

 Approximately 21 percent of respondents indicated that they stopped using at least one ad buying

 tool for programmatic display in the past year.255 When asked to explain why, several respondents

 mentioned reasons relating to poor performance (e.g., Respondent 1149: “Poor results”;

 Respondent 1407: “The ad buying tool we stopped using underperformed in terms of delivering

 the desired results, such as click-through rates, conversions, or return on ad spend.”) or high costs

 (e.g., Respondent 1378: “Mainly cost but also poor support”; Respondent 1321: “COST”).256

 Assessment of Programmatic Display Ad Performance

          199.    In Q16, the most popular metrics used to assess the performance of programmatic

 display ads for the client on which respondents spend the most time included “Conversions” (49

 percent of respondents), “Return on Investment (ROI)” (46 percent of respondents), “Return on

 Ad Spend (ROAS)” (46 percent of respondents), and “Cost per Click” (46 percent of

 respondents).257




 253
       Exhibit 97.
 254
       Appendix H.3.
 255
       Exhibit 96.
 256
       Appendix H.3.
 257
       Exhibit 98.

                                                 124
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           Figure 39. Share of Ad Agency Respondents Using Each Performance Metric




           200.      Approximately 20 percent of respondents indicated that Return on Investment

 (ROI) was the most important metric for accurately assessing performance for the client on which

 they spend the most time and approximately 14 percent of respondents indicated that Return on

 Ad Spend (ROAS) was most important.258 As shown in Figure 40, Return on Investment (ROI)

 and Return on Ad Spend (ROAS) were ranked as the most important metric by a greater share of

 respondents than any other metric.259




 258
       Exhibit 99.
 259
       Exhibit 99.

                                                 125
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                               Figure 40. Share of Ad Agency Respondents
                              Ranking Performance Metric Most Important




           201.    Approximately 82 percent of respondents indicated that they measure or assess

 performance of programmatic display advertising at least monthly for the client on which they

 spend the most time.260

           202.    Approximately 61 percent of respondents ran experiments on programmatic display

 ads in the past year for the client on which they spend the most time.261 Among those respondents,

 approximately 64 percent ran experiments related to audiences, 58 percent ran experiments related

 to creatives, and 55 percent ran experiments related to ROI/ROAS.262




 260
       Exhibit 100. Specifically, approximately 9 percent of respondents indicated measuring performance daily, 39
       percent indicated measuring performance weekly, and 34 percent indicated measuring performance monthly.
 261
       Exhibit 101.
 262
       Exhibit 102.

                                                        126
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          D.     Key Implications of the Findings

          203.   Performance measurement:       The results of the survey show that ad agency

 employees typically rely on multiple performance measures, including Return on Investment

 (ROI) and/or Return on Ad Spend (ROAS) (among other measures), which tend to be reviewed

 often.   Based on these and other measures, ad agency employees can assess the relative

 effectiveness or ineffectiveness of the various advertising tools they use, including programmatic

 display, and potentially react to performance changes on behalf of clients.

          204.   Substitution: Using the performance feedback that they receive regarding costs and

 returns, ad agency employees can adjust their advertising spending allocation. To further examine

 the actions taken (or not taken) as a result of identifying a cost increase, respondents were

 presented with a hypothetical scenario involving a “small but significant” increase in the cost of

 programmatic display advertising, assuming that the costs associated with other digital advertising

 types remain the same. The results indicated that most ad agency employees (54 percent) would

 have diverted spending to other advertising types, including social, search, and digital video. Thus,

 the findings indicate that at least social, search, and digital video serve as substitutes for

 programmatic display advertising, and many ad agency employees would reallocate advertising

 spending if they determine that their programmatic display advertising is less cost effective than it

 previously was. In other words, the findings suggest that if the cost of programmatic display

 advertising increases, many ad agency employees will take action as a result, and the parties

 responsible for such cost increases will likely lose share to other advertising channels.

          205.   Multi-homing: The survey results also show that most ad agency employees use

 multiple digital advertising types and, within programmatic display advertising specifically,

 employ multiple ad buying tools. In particular, the survey results indicated that most ad agency



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 employees used multiple other types of digital advertising in addition to programmatic display for

 the client on which they spend the most time, with the most popular types being social, search,

 digital video, and email. In addition, the survey results showed that most ad agency employees

 (approximately 73 percent) used multiple ad buying tools for programmatic display advertising for

 the client on which they spend the most time.263 The survey results also indicated that multi-

 homing is common for users of Google ad buying tools. Specifically, approximately 83 percent

 of Google Ads users use at least one other platform for display ads.264

           206.    Thus, the survey findings indicate that most ad agency employees use a variety of

 other digital advertising types and employ multiple ad buying tools for display advertising for the

 client on which they spend the most time, suggesting they have a variety of alternatives to Google

 ad buying tools. That is, ad agencies, by and large, already practice multi-homing, which facilitates

 flexible allocations and tool selection as desired.

           207.    Programmatic display spending: Consistent with the results of the Higher-Spend

 Advertiser and Lower-Spend Advertiser surveys, most ad agency employees indicated that

 programmatic display advertising accounts for a relatively small portion of digital advertising

 spending for the clients on which they spend the most time. Specifically, programmatic display

 accounts for an average share of approximately 31 percent and a median share of 20 percent of the

 overall digital advertising budget for the clients on which respondents spent the most time.265

           208.    Sophistication of ad agencies: The survey also informs us about the level of

 sophistication of most ad agencies. Similar to higher-spend advertisers, most ad agencies also

 conduct experiments to examine the effectiveness of advertising aspects such as the creatives,


 263
       Exhibit 87.
 264
       Exhibit 89. Approximately 79 percent of Google Ads users use at least one non-Google ad buying tool for
       programmatic display. Exhibit 89.
 265
       Exhibit 80.

                                                      128
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 audiences, ROI/ROAS, bid strategies, and ad buying tool performance to further optimize their

 spending.



                                                                   ______________________

                                                                       Itamar Simonson, Ph.D.
                                                                                 July 30, 2024




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                                                    EXHIBIT 1

                                HIGHER-SPEND ADVERTISER SURVEY
                                     RESPONSE STATISTICS


       Status                                                                              #              %
 [1] Invited to Complete Survey                                                                4,978       100%
 [2] Clicked on Survey Link                                                                    2,348       100%
 [3] Screened Out of Survey                                                                    1,538        66%
 [4]     CAPTCHA                                                                                  13         1%
 [5]     Age                                                                                       9         0%
 [6]     State                                                                                     8         0%
 [7]     Job Responsibilities                                                                   394         17%
 [8]     Not Employed by a Advertiser/Marketer                                                  678         29%
 [9]     Annual Advertising Spend Less than $500K                                               230         10%
[10]     No Digital Advertising Spend                                                              1         0%
[11]     Did Not Use Display Advertising                                                          95         4%
[12]     Did Not Use Programmatic Display                                                         57         2%
[13]     Not Involved in Decision Making Roles for Display Advertising                            35         1%
[14]     Failed Attention Check                                                                   16         1%
[15]     Nonsensical Responses                                                                     2         0%
[16]     Overquota Respondents                                                                     -         0%
[17] Self-Termination                                                                            207         9%
[18]    Completed the Survey                                                                    603        100%
[19]     Removed from Sample                                                                    101         17%
[20]      Slowpokes and Speeders                                                                  7          1%
[21]      Asked to be Excluded                                                                   94         16%
[22]      Analytical Sample                                                                     502           83%


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
       “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Advertiser/Marketer” were screened out of the study.



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                                                    EXHIBIT 1

                                HIGHER-SPEND ADVERTISER SURVEY
                                     RESPONSE STATISTICS


     Notes & Sources (cont.):
 [9] Respondents who indicated in QS10 that their company spent less than $500,000 on all advertising in the last 12 months
      or selected “Don’t know / Unsure” were screened out of the study.
[10] Respondents who indicated in QS11 that the percentage of their total advertising budget spent on digital
      (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS12 that they used display advertising in the past year were screened
      out of the study.
[12] Respondents who did not indicate in QS13 that their business unit/team used programmatic transaction methods to purchase
      display ad inventory, or selected “Don’t know / Unsure” were screened out of the study.
[13] Respondents who selected “None of the above” or “Don’t know / Unsure” in QS15 were screened out of the study.
[14] Respondents who did not select “Somewhat likely” in QS16 were screened out of the study.
[15] Removed by survey vendor from raw data for providing nonsensical responses to open-ended questions, such as “R5U54U”
      and “The study is quite nice to carry on.”
[16] Respondents were terminated due to entering the survey after it had been closed for sampling.
[17] Respondents who only completed part of the survey.
[20] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the
      survey were removed from the analysis.
[21] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
      who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[22] These respondents were used in the analysis.




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                                                          EXHIBIT 2

                                         HIGHER-SPEND ADVERTISER SURVEY
                                        SURVEY PARTICIPATION PREFERENCE


 QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
  pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
  digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
  reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
  do not want to participate in this survey, please click “Exclude my responses” below.




                             600
                                               84%
                                               509
                             500
     Number of Respondents




                             400


                             300


                             200                               INTERNAL FLAG
                                                                                     16%
                                                                                      94
                             100


                               0
                                        Include my responses               Exclude my responses


 Notes & Sources:
 From Higher-Spend Advertiser Survey.
 Includes respondents who completed the survey.
 Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
   by the panel vendor.
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                                              EXHIBIT 3

                         HIGHER-SPEND ADVERTISER SURVEY
                            RESPONDENT DEMOGRAPHICS


                                                      #            %
                                                     [A]           [B]
                   Age
                [1] 18 - 34                                  100         20%
                [2] 35 - 49                                  336         67%
                [3] 50 - 64                                   66         13%
                [4] 65 or above                                -          0%
                [5] Total                                    502         100%

                      Gender
                [6]    Female                                135         27%
                [7]    Male                                  367         73%
                [8]    Other                                   -          0%
                [9]    Prefer not to answer                    -          0%
               [10] Total                                    502         100%


                      Source:
                      From Higher-Spend Advertiser Survey.
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                                                  EXHIBIT 4

                             HIGHER-SPEND ADVERTISER SURVEY
                                     MARKET SECTORS


      QS8: Which of the following, if any, best characterizes the market sector/industry
       your company is in? (Please select only one option.)

                                                                                  Total Respondents
                            Market Sector / Industry                              #               %
                                       [A]                                       [B]             [C]
   [1] Advertising or Marketing                                                       161            32%
   [2] Retail (including Ecommerce)                                                     70           14%
   [3] B2B/Services for Businesses                                                      47            9%
   [4] Apparel/Fashion                                                                  30            6%
   [5] Food and Beverage                                                                26            5%
   [6] Media and Entertainment                                                          24            5%
   [7] Financial Products/Services for Consumers (including Fintech)                    24            5%
   [8] Consumer Electronics                                                             16            3%
   [9] Travel and Hospitality                                                           15            3%
  [10] Home Products/Appliances                                                         14            3%
  [11] Health Care or Medical Services                                                  13            3%
  [12] Health and Beauty Products                                                       12            2%
  [13] Telecommunications                                                               10            2%
  [14] Restaurants                                                                       9            2%
  [15] Automotive                                                                        6            1%
  [16] Pharmaceuticals and Remedies (Rx or OTC)                                          6            1%
  [17] Education                                                                         3            1%
  [18] Government                                                                        2            0%
  [19] Non-Profit                                                                        1            0%
  [20] Other                                                                            13            3%
  [21] Total                                                                           502         100%


      Notes & Sources:
      From Higher-Spend Advertiser Survey.
      Sorted in descending order based on column [B], except for “Other.”
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                                                  EXHIBIT 5

                            HIGHER-SPEND ADVERTISER SURVEY
                                      JOB TITLES


         QS9: Which of the following best characterizes your current job title/level? (Please select only
          one option.)

                                                                             Total Respondents
                              Job Title / Level                              #               %
                                    [A]                                     [B]             [C]
      [1] Director                                                               160            32%
      [2] C-Level (CEO, COO, CMO, etc.)                                          118            24%
      [3] Vice President, SVP, EVP, President, etc.                              101            20%
      [4] Manager                                                                  72           14%
      [5] Supervisor/Department Head/Group Manager                                 33            7%
      [6] Strategist                                                               10            2%
      [7] Planner                                                                   3            1%
      [8] Associate                                                                 2            0%
      [9] Analyst                                                                   2            0%
     [10] Buyer                                                                     1            0%
     [11] Other                                                                     -            0%
     [12] Total                                                                  502             100%


         Notes & Sources:
         From Higher-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other.”
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                                                        EXHIBIT 6

                                           HIGHER-SPEND ADVERTISER SURVEY
                                                  ANNUAL AD SPEND


   QS10: Approximately how much did your company spend in the last 12 months on all advertising, including
    all digital types (e.g., display, video, audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)?
    (Please select only one option.)




                              100
                                                       87
                              90
                                          78
      Number of Respondents




                              80                              74
                                                                       68
                              70
                                                 57
                              60
                              50                                                  43
                              40    31                                                      33
                              30                                                                       21
                              20
                                                                                                                 10
                              10
                               0
                                                                                             INTERNAL FLAG




   Notes & Sources:
   From Higher-Spend Advertiser Survey.
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                                               EXHIBIT 7

                   HIGHER-SPEND ADVERTISER SURVEY
            PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING


        QS11: Please think about your business unit/team’s total advertising budget. In the past year, what
         percentage of your business unit/team’s total advertising budget was used for digital (online)
         advertising, as opposed to offline advertising? Please give your best estimate.

                                                                           Median


                                                    25th Percentile




                                                                                75th Percentile

                                              10th Percentile                              90th Percentile




                                                                               INTERNAL FLAG




        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Respondents who entered zero for digital (online) advertising were screened out of the survey.
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                                         EXHIBIT 8

                     HIGHER-SPEND ADVERTISER SURVEY
                    TYPES OF DIGITAL ADVERTISING USED


                     QS12: Which of the following types of digital advertising, if any,
                      have you used in the past year? Please review the description of
                      each advertising type carefully. (Please select all that apply.)

                                                     Total Respondents
                          Advertising Type            #            %
                                 [A]                 [B]            [C]
                  [1] Display                              502        100%
                  [2] Social                               381         76%
                  [3] Search                               377         75%
                  [4] Digital Video                        324         65%
                  [5] Email                                307         61%
                  [6] eCommerce Platforms                  274         55%
                  [7] Connected TV                         236         47%
                  [8] App/In-App                           222         44%
                  [9] Digital Audio                        205         41%
                 [10] Other                                  2          0%
                 [11] Total                                502        100%


                     Notes & Sources:
                     From Higher-Spend Advertiser Survey.
                     Respondents who did not select “Display” were screened out of the
                       survey.
                     Percentages do not add up to 100% because respondents can
                       select multiple options.
                     Sorted in descending order based on column [B], except for “Other.”
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                                              EXHIBIT 9

                  HIGHER-SPEND ADVERTISER SURVEY
             NUMBER OF TYPES OF DIGITAL ADVERTISING USED


                     QS12: Which of the following types of digital advertising, if any,
                      have you used in the past year? Please review the description of
                      each advertising type carefully. (Please select all that apply.)

                                                              Total Respondents
                         Number of Types Selected              #            %
                                   [A]                         [B]            [C]
               [1]                   1                               75          15%
               [2]                   2                                9           2%
               [3]                   3                               17           3%
               [4]                   4                               44           9%
               [5]                   5                               69          14%
               [6]                   6                               79          16%
               [7]                   7                               66          13%
               [8]                   8                               60          12%
               [9]                   9                               81          16%
              [10]                  10                                2           0%
              [11] Total                                             502        100%


                     Notes & Sources:
                     From Higher-Spend Advertiser Survey.
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                                          EXHIBIT 10

                    HIGHER-SPEND ADVERTISER SURVEY
               DISPLAY ADVERTISING TRANSACTION METHODS


                QS13: Which of the following transaction methods has your business unit/team
                 (or your ad agency) used to purchase display ad inventory in the past year?
                 (Please select all that apply.)

                                                           Total Respondents
                        Transaction Method                 #               %
                                [A]                       [B]             [C]
             [1] Programmatic Only                             206            41%
             [2] Programmatic and Direct Deals                 296            59%
             [3] Total                                         502             100%


                Notes & Sources:
                From Higher-Spend Advertiser Survey.
                Respondents who selected “Direct Deals Only,” “None of the Above” or
                  “Don’t know / Unsure” were screened out of the survey.
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                                          EXHIBIT 11

                      HIGHER-SPEND ADVERTISER SURVEY
                       SOCIAL MEDIA PLATFORMS USED


                  QS14: You indicated that your business unit/team has used social
                   advertising in the past year. Which of the following social media
                   platforms, if any, has your business unit/team advertised on in the
                   past year? (Please select all that apply.)


                                                         Total Respondents
                       Social Media Platform             #              %
                               [A]                      [B]               [C]
               [1] Facebook                                   336               88%
               [2] Instagram                                  301               79%
               [3] LinkedIn                                   255               67%
               [4] Twitter                                    218               57%
               [5] Tiktok                                     207               54%
               [6] Snapchat                                   133               35%
               [7] Pinterest                                  133               35%
               [8] Reddit                                      83               22%
               [9] Tumblr                                      15                4%
              [10] FriendLinx                                   7                2%
              [11] Other                                        5                1%
              [12] None of the Above                            -                0%
              [13] Don’t know / Unsure                          -                0%
              [14] Total Shown Question                       381            100%


                  Notes & Sources:
                  From Higher-Spend Advertiser Survey.
                  Sorted in descending order based on column [B], except for “Other,”
                    “None of the above,” and “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can
                    select multiple options.
                  Respondents were only shown QS14 if they indicated in QS12 that
                    their business unit/team had used social advertising in the past year.
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                                               EXHIBIT 12

                           HIGHER-SPEND ADVERTISER SURVEY
                                  USE OF AD AGENCY


          Q2: Do you or do you not use an ad agency for digital advertising?
           (Please select only one option.)

                               Response Options                           #           %
                                       [A]                               [B]          [C]
       [1] Yes, I use an ad agency for digital advertising                     337       67%
       [2] No, I do not use an ad agency for digital advertising               160       32%
       [3] Don’t know / Unsure                                                   5        1%
       [4] Total Shown Question                                                502     100%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
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                                                       EXHIBIT 13

                                   HIGHER-SPEND ADVERTISER SURVEY
                                      PURPOSE OF AD AGENCY USE


     Q3: For which, if any, of the following do you use an ad agency? (Please select all that apply.)

                                                                                               Total Respondents
                                    Response Options                                           #               %
                                          [A]                                                 [B]             [C]
 [1] Media/marketing strategies                                                                     229             68%
 [2] Implementation of advertising (e.g., placing bids, interacting with DSPs)                      212             63%
 [3] Tracking advertising performance                                                               195             58%
 [4] Running advertising tests/experiments                                                          177             53%
 [5] Content and/or creatives                                                                       173             51%
 [6] Allocating advertising funds across advertising types                                          144             43%
 [7] Customer research                                                                              131             39%
 [8] Consulting services                                                                            126             37%
 [9] Budgeting decisions                                                                            101             30%
[10] Inventory access                                                                                89             26%
[11] Other                                                                                            -              0%
[12] None of the above                                                                                -              0%
[13] Don’t know / Unsure                                                                              -              0%
[14] Total Shown Question                                                                           337             100%


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
     Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know / Unsure.”
     Respondents were only shown Q3 if they indicated in Q2 that they used an ad agency for digital advertising.
     Percentages do not add up to 100% because respondents can select multiple options.
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                                                       EXHIBIT 14

                                  HIGHER-SPEND ADVERTISER SURVEY
                                 DIGITAL ADVERTISING BUDGET SHARE


        Q4: What is your best estimate of the share of your business unit/team’s digital advertising budget that was used
         for each of these types of advertising in the past year? Specifically, please allocate 100% across the different types
         of digital advertising shown below based on the share of your total digital advertising budget spent on each type. The
         total should add up to 100%.

             Advertising Type            # of Respondents                 Mean                       Median
                   [A]                          [B]                         [C]                        [D]
    [1] Programmatic Display                              494                        29%                         15%
    [2] Social                                            374                        13%                         10%
    [3] Search                                            371                        16%                         10%
    [4] Digital Video                                     318                         8%                          5%
    [5] Email                                             301                         6%                          5%
    [6] Direct Deals Display                              289                         7%                          5%
    [7] eCommerce Platforms                               268                         8%                          5%
    [8] Connected TV                                      230                         6%                          0%
    [9] App/In-App                                        216                         5%                          0%
   [10] Digital Audio                                     200                         4%                          0%
   [11] Other                                               2                         0%                          0%
   [12] Don’t know / Unsure                                 8                         n/a                         n/a
   [13] Total Shown Question                              502


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
        Respondents were shown their responses from QS12 and QS13. They were asked to allocate across all selected types.
        Respondents can hover their mouse over each digital advertising type to review the type description.
    [B] Shows number of respondents who allocated a budget for each advertising type.
[C]-[D] Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the advertising type in QS12
          or QS13.
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                                                EXHIBIT 15

                    HIGHER-SPEND ADVERTISER SURVEY
            RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


        Q5: Now suppose that, based on your analysis, the cost of programmatic display advertising has
         recently increased by a small but significant amount, and will remain elevated for the foreseeable
         future. Assume further that, based on similar analyses for other digital advertising types, the costs
         of other digital advertising types have not changed and are not expected to change. So if the cost
         of programmatic display advertising increases (while the cost of other advertising types remains
         the same), will you or won’t you divert some of your advertising spending for the coming year
         to other types of digital advertising?

               Response Options                         #                               %
                       [A]                             [B]                             [C]
     [1] Will Divert Spending                                       295                            59%
     [2] Will Not Divert Spending                                   179                            36%
     [3] Don’t know / Unsure                                         28                             6%
     [4] Total Shown Question                                       502                           100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
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                                               EXHIBIT 16

                  HIGHER-SPEND ADVERTISER SURVEY
       ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
            DUE TO PROGRAMMATIC DISPLAY COST INCREASE


         Q6: To which other types of digital advertising below, if any, would you divert your advertising
          spending for the coming year as a result of the increase in the cost of programmatic display advertising?

                                                  Respondents Indicating They Would Divert
                                                      Spending to the Advertising Type
                Advertising Type                       #                            %
                        [A]                           [B]                             [C]
      [1] Social                                                   159                           54%
      [2] Search                                                   157                           53%
      [3] Digital Video                                            125                           42%
      [4] Direct Deals Display                                     102                           35%
      [5] eCommerce Platforms                                      101                           34%
      [6] Connected TV                                              99                           34%
      [7] Email                                                     95                           32%
      [8] App/In-App                                                80                           27%
      [9] Digital Audio                                             74                           25%
     [10] Other                                                      2                            1%
     [11] None of the above                                          1                            0%
     [12] Don’t know / Unsure                                        4                            1%
     [13] Total Shown Question                                     295                          100%


         Notes & Sources:
         From Higher-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other,” “None of the above,”
           and “Don’t know / Unsure.”
         Respondents can hover their mouse over each digital advertising type to review the advertising type
           description.
         Percentages do not add up to 100% because respondents can select multiple options.
         Respondents were only shown Q6 if they indicated in Q5 that they would divert advertising spending to
           other types of digital advertising.
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                                                   EXHIBIT 17

                 HIGHER-SPEND ADVERTISER SURVEY
NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
           DUE TO PROGRAMMATIC DISPLAY COST INCREASE


            Q6: To which other types of digital advertising below, if any, would you divert your advertising
             spending for the coming year for the client you spend the most time on, as a result of the increase
             in the cost of programmatic display advertising?

                                                      Respondents Indicating They Would Divert
               Number of Advertising                 Spending to the Number of Advertising Types
             Types Diverted Spending To                    #                             %
                         [A]                              [B]                             [C]
      [1]                  0                                             1                             0%
      [2]                  1                                            31                            11%
      [3]                  2                                            80                            27%
      [4]                  3                                            73                            25%
      [5]                  4                                            33                            11%
      [6]                  5                                            36                            12%
      [7]                  6                                            16                             5%
      [8]                  7                                             5                             2%
      [9]                  8                                             3                             1%
     [10]                  9                                            13                             4%
     [11]                 10                                             -                             0%
     [12]        Don’t know / Unsure                                     4                             1%
     [13] Total Shown Question                                         295                          100%


            Notes & Sources:
            From Higher-Spend Advertiser Survey.
            Respondents were only shown Q6 if they indicated in Q5 that they would divert advertising spending to
              other types of digital advertising.
            Respondents can hover their mouse over each digital advertising type to review
              the advertising type description.
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                                                                                                EXHIBIT 18

                                                   HIGHER-SPEND ADVERTISER SURVEY
                             EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


    Q7: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will lead you to divert some of your advertising spending to the types
     of digital advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for
     the coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.


                                 Total         Average Extent                                            Number of Respondents by Extent of Increase                                           Don’t know
      Advertising Type       Respondents         of Increase        0          1           2             3         4          5             6         7         8           9         10        / Unsure
              [A]                 [B]               [C]            [D]        [E]         [F]           [G]       [H]        [I]           [J]        [K]      [L]        [M]         [N]         [O]
 [1] Social                              159              6.6            -          1           4          17        10            18            15      33          25      24          11             1
 [2] Search                              157              6.8            -          2           4           5        13            15            18      32          35      24           8             1
 [3] Digital Video                       125              6.8            1          -           5          10         6            13            15      17          24      22          12             -
 [4] Direct Deals Display                102              7.1            -          1           3           8         -             6            11      24          19      18          10             2
 [5] eCommerce Platforms                 101              7.9            -          -           -           3         1             3             7      19          26      24          16             2
 [6] Connected TV                         99              6.9            -          3           3           6         4             8            15      12          20      14          13             1
 [7] Email                                95              6.9            2          2           3           4         3             5            11      21          19      16           9             -
 [8] App/In-App                           80              7.7            -          -           1           1         3             1             8      17          24      14          11             -
 [9] Digital Audio                        74              7.2            -          3           1           3         2             8             8       2          22      18           7             -
[10] Other                                 2              4.5            -          -           -           1         -             -             1       -           -       -           -             -


                                 Total         Average Extent                                             Share of Respondents by Extent of Increase                                           Don’t know
      Advertising Type       Respondents         of Increase        0          1           2             3         4          5             6         7         8           9         10        / Unsure
              [A]                 [B]               [C]            [D]        [E]         [F]           [G]       [H]        [I]           [J]        [K]      [L]        [M]         [N]         [O]
 [1] Social                          100%                 n/a        0%         1%          3%           11%        6%        11%            9%        21%      16%        15%          7%          1%
 [2] Search                          100%                 n/a        0%         1%          3%            3%        8%        10%           11%        20%      22%        15%          5%          1%
 [3] Digital Video                   100%                 n/a        1%         0%          4%            8%        5%        10%           12%        14%      19%        18%         10%          0%
 [4] Connected TV                    100%                 n/a        0%         1%          3%            8%        0%          6%          11%        24%      19%        18%         10%          2%
 [5] Direct Deals Display            100%                 n/a        0%         0%          0%            3%        1%          3%           7%        19%      26%        24%         16%          2%
 [6] Email                           100%                 n/a        0%         3%          3%            6%        4%          8%          15%        12%      20%        14%         13%          1%
 [7] Digital Audio                   100%                 n/a        2%         2%          3%            4%        3%          5%          12%        22%      20%        17%          9%          0%
 [8] eCommerce Platforms             100%                 n/a        0%         0%          1%            1%        4%          1%          10%        21%      30%        18%         14%          0%
 [9] App/In-App                      100%                 n/a        0%         4%          1%            4%        3%        11%           11%         3%      30%        24%          9%          0%
[10] Other                           100%                 n/a        0%         0%          0%           50%        0%          0%          50%         0%       0%         0%          0%          0%




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                                                                                           EXHIBIT 18

                                                  HIGHER-SPEND ADVERTISER SURVEY
                            EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were shown their answer choices from Q6.
    Respondents were only shown Q7 if they did not select “None of the above” or “Don’t know/Unsure” in Q6.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average extent of increase in [D] through [N], weighted by the number of respondents.




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                                                       EXHIBIT 19

                      HIGHER-SPEND ADVERTISER SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


         Q7: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will
          lead you to divert some of your advertising spending to the types of digital advertising listed below. Please use
          the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
          spending for the coming year to each type of digital advertising that you just indicated. For each digital advertising
          type below, please select 0 if you expect to keep spending on that type of digital advertising for the coming year and 10
          if you expect to substantially increase spending on that type of digital advertising.


                                     Total          Number of Respondents by Extent of Increase          Don’t know
           Advertising Type       Respondents         0–3            4–6              7 – 10              / Unsure
                   [A]                 [B]              [C]               [D]               [E]              [F]
      [1] Social                             159               22                43                93                1
      [2] Search                             157               11                46                99                1
      [3] Digital Video                      125               16                34                75                -
      [4] Direct Deals Display               102               12                17                71                2
      [5] eCommerce Platforms                101                3                11                85                2
      [6] Connected TV                        99               12                27                59                1
      [7] Email                               95               11                19                65                -
      [8] App/In-App                          80                2                12                66                -
      [9] Digital Audio                       74                7                18                49                -
     [10] Other                                2                1                 1                 -                -

                                     Total           Share of Respondents by Extent of Increase          Don’t know
           Advertising Type       Respondents         0–3             4–6               7 – 10            / Unsure
                   [A]                 [B]              [C]               [D]               [E]              [F]
      [1] Social                          100%                14%               27%               58%              1%
      [2] Search                          100%                 7%               29%               63%              1%
      [3] Digital Video                   100%                13%               27%               60%              0%
      [4] Direct Deals Display            100%                12%               17%               70%              2%
      [5] eCommerce Platforms             100%                 3%               11%               84%              2%
      [6] Connected TV                    100%                12%               27%               60%              1%
      [7] Email                           100%                12%               20%               68%              0%
      [8] App/In-App                      100%                 3%               15%               83%              0%
      [9] Digital Audio                   100%                 9%               24%               66%              0%
     [10] Other                           100%                50%               50%                0%              0%




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                                                      EXHIBIT 19

                      HIGHER-SPEND ADVERTISER SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other.”
        Respondents were shown their answer choices from Q6.
        Respondents were only shown Q7 if they did not select “None of the above” or “Don’t know/Unsure” in Q6.
        Respondents can hover their mouse over each digital advertising type to review the type description.
        Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total
          number of people selecting the advertising type to which to divert spending.




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                                                                         EXHIBIT 20

                                                   HIGHER-SPEND ADVERTISER SURVEY
                                                   AD BUYING TOOLS USED IN PAST YEAR


    Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad
     inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include
     demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the
     past year for programmatic display advertising?

                                                                    Total Respondents           $500K – $15M Ad Spend            > Than $15M Ad Spend
                        Ad Buying Tool                              #              %               #            %                   #            %
                              [A]                                  [B]             [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          330             66%             169             67%             161             65%
 [2] Google DV360                                                        213             42%             110             43%             103             41%
 [3] Amazon DSP                                                          180             36%              86             34%              94             38%
 [4] Adobe Advertising Cloud                                             118             24%              51             20%              67             27%
 [5] The Trade Desk DSP                                                  102             20%              37             15%              65             26%
 [6] Yahoo DSP (formerly Verizon Media DSP)                               76             15%              30             12%              46             18%
 [7] Criteo                                                               61             12%              20              8%              41             16%
 [8] Taboola                                                              46              9%              20              8%              26             10%
 [9] MediaMath DSP                                                        43              9%              11              4%              32             13%
[10] Adform                                                               41              8%              14              6%              27             11%
[11] Xandr Invest                                                         37              7%              13              5%              24             10%
[12] Outbrain                                                             36              7%              13              5%              23              9%
[13] StackAdapt                                                           36              7%              20              8%              16              6%
[14] Amobee                                                               34              7%               7              3%              27             11%
[15] Quantcast                                                            34              7%              13              5%              21              8%
[16] Simpli.fi                                                            34              7%               9              4%              25             10%
[17] Zeta Global                                                          32              6%               5              2%              27             11%
[18] Ad Step Technologies                                                 30              6%               5              2%              25             10%
[19] Basis by Centro                                                      26              5%              11              4%              15              6%
[20] Illumin (formerly AcuityAds)                                         24              5%               9              4%              15              6%
[21] Adelphic                                                             21              4%               8              3%              13              5%
[22] Quorexx                                                              21              4%               5              2%              16              6%
[23] Beeswax                                                              14              3%               5              2%               9              4%
[24] Other                                                                10              2%               7              3%               3              1%
[25] Don’t know / Unsure                                                   5              1%               1              0%               4              2%
[26] Total Shown Question                                                502             100%            253          100%               249            100%




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                                                                  EXHIBIT 20

                                              HIGHER-SPEND ADVERTISER SURVEY
                                              AD BUYING TOOLS USED IN PAST YEAR


Notes & Sources:
From Higher-Spend Advertiser Survey.
Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
Percentages do not add up to 100% because respondents can select multiple options.




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                                                                 EXHIBIT 21

                                       HIGHER-SPEND ADVERTISER SURVEY
                                  NUMBER OF AD BUYING TOOLS USED IN PAST YEAR


    Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically
     on display ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory.
     Ad buying tools include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your
     business unit/team used during the past year for programmatic display advertising?



              Number of Ad Buying                    Total Respondents           $500K – $15M Ad Spend            > Than $15M Ad Spend
                Tools Selected                       #              %               #            %                   #            %
                       [A]                           [B]             [C]            [D]             [E]             [F]             [G]
[1] Zero                                                     3              1%              1              0%               2              1%
[2] One                                                    118             24%             76             30%              42             17%
[3] More Than One                                          376             75%            175             69%             201             81%
[4] Two                                                    136             27%             68             27%              68             27%
[5] Three                                                   91             18%             50             20%              41             16%
[6] Four or More                                           149             30%             57             23%              92             37%
[7] Don’t know / Unsure                                      5              1%              1              0%               4              2%
[8] Total Shown Question                                   502         100%               253          100%               249          100%

[9] Average # of Ad Buying Tools Selected                  3.1                            2.7                             3.6


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
     Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
[A] Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
 [9] Calculated as the average number of ad buying tools selected by respondents. Excludes respondents who selected “Don’t know / Unsure.”
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                                                                        EXHIBIT 22

                                                   HIGHER-SPEND ADVERTISER SURVEY
                                                    USE OF GOOGLE AD BUYING TOOLS


   Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to automatically on display ad inventory
    from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side
    platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for
    programmatic display advertising?

                                                                   Total Respondents           $500K – $15M Ad Spend            > Than $15M Ad Spend
                      Ad Buying Tool(s)                            #              %               #            %                   #            %
                              [A]                                 [B]             [C]             [D]             [E]             [F]             [G]
[1] Neither Google Ads nor Google DV360                                 120             24%              60             24%              60             24%
[2] At least one of Google Ads and Google DV360                         377             75%             192             76%             185             74%
[3] Google Ads Only                                                     164             33%              82             32%              82             33%
[4] Google DV360 Only                                                    47              9%              23              9%              24             10%
[5] Both Google Ads and Google DV360                                    166             33%              87             34%              79             32%
[6] Don’t know / Unsure                                                   5              1%               1              0%               4              2%
[7] Total Shown Question                                                502          100%               253          100%               249          100%


   Notes & Sources:
   From Higher-Spend Advertiser Survey.
   Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
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                                                                                 EXHIBIT 23

                                                            HIGHER-SPEND ADVERTISER SURVEY
                                                                     GOOGLE USERS
                                                            NUMBER OF OTHER AD BUYING TOOLS


       Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from
        a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms,
        or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for programmatic display advertising?

                                                                           Google Ads Users                                           Google DV360 Users
                   # of Other Ad Buying                                     $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                 Tools (Incl. Google Tools)           Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
 [1]                          0                                      43                  25                  18                  15                  10                  5
 [2]                          1                                      99                  56                  43                  47                  27                 20
 [3]                          2                                      68                  38                  30                  43                  28                 15
 [4]                          3                                      43                  17                  26                  36                  15                 21
 [5]                         4+                                      77                  33                  44                  72                  30                 42
 [6]                 Total Respondents                              330                 169                 161                 213                 110                103

 [7] Average # of Other Ad Buying Tools                              2.5                2.1                 3.0                 3.2                 2.6                3.9

                                                                           Google Ads Users                                           Google DV360 Users
                   # of Other Ad Buying                                     $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                 Tools (Incl. Google Tools)           Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
 [8]                          0                                    13%                 15%                 11%                  7%                  9%                 5%
 [9]                          1                                    30%                 33%                 27%                 22%                 25%                19%
[10]                          2                                    21%                 22%                 19%                 20%                 25%                15%
[11]                          3                                    13%                 10%                 16%                 17%                 14%                20%
[12]                         4+                                    23%                 20%                 27%                 34%                 27%                41%
[13]                 Total Respondents                             100%                100%                100%                100%                100%               100%




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                                                                                 EXHIBIT 23

                                                            HIGHER-SPEND ADVERTISER SURVEY
                                                                     GOOGLE USERS
                                                            NUMBER OF OTHER AD BUYING TOOLS


       Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from
        a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms,
        or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for programmatic display advertising?

                                                                           Google Ads Users                                           Google DV360 Users
                     # of Non-Google                                        $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                     Ad Buying Tools                  Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
[14]                          0                                      78                  47                  31                  50                  32                 18
[15]                          1                                      99                  56                  43                  47                  27                 20
[16]                          2                                      66                  31                  35                  41                  21                 20
[17]                          3                                      38                  20                  18                  31                  18                 13
[18]                         4+                                      49                  15                  34                  44                  12                 32
[19]                 Total Respondents                              330                 169                 161                 213                 110                103

[20] Average # of Non-Google Ad Buying Tools                         2.0                1.6                 2.5                 2.4                 1.8                3.1

                                                                           Google Ads Users                                           Google DV360 Users
                     # of Non-Google                                        $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                     Ad Buying Tools                  Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
[21]                          0                                    24%                 28%                 19%                 23%                 29%                17%
[22]                          1                                    30%                 33%                 27%                 22%                 25%                19%
[23]                          2                                    20%                 18%                 22%                 19%                 19%                19%
[24]                          3                                    12%                 12%                 11%                 15%                 16%                13%
[25]                         4+                                    15%                  9%                 21%                 21%                 11%                31%
[26]                 Total Respondents                             100%                100%                100%                100%                100%               100%


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
[A] Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
    Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected ad buying tools by the total
      number of people choosing “Google Ads” or “Google DV360.”




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                                                 EXHIBIT 24

                         HIGHER-SPEND ADVERTISER SURVEY
                  USE OF GOOGLE ADS AND OTHER AD BUYING TOOLS


   Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies
    to bid automatically on display ad inventory from a wide range of publishers. Some ad buying tools can also be
    used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
    the following ad buying tools, if any, have you and/or your business unit/team used during the past year
    for programmatic display advertising?


                                                                                        Total Respondents
                                 Ad Buying Tool(s)                                       #            %
                                       [A]                                              [B]           [C]
[1] Google Ads and At Least One Other Ad Buying Tool                                          287        87%
[2] Google Ads and DV360 Only                                                                  35       11%
[3] Google Ads, DV360 and At Least One Non-Google Ad Buying Tool                              131       40%
[4] Google Ads Only and At Least One Non-Google Ad Buying Tool                                121       37%
[5] Google Ads and No Other Ad Buying Tool                                                     43        13%
[6] Total Respondents Using Google Ads                                                        330       100%


   Notes & Sources:
   From Higher-Spend Advertiser Survey.
   Limited to respondents who selected Google Ads in Q8.
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                                                                 EXHIBIT 25

                                    HIGHER-SPEND ADVERTISER SURVEY
                          OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                          WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review
        the description of each advertising type carefully. (Please select all that apply.)

                                                         Respondents Who Use Google                   Respondents Who Use Google
                                                         Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                                                        Tools for Programmatic Display            Buying Tools for Programmatic Display
          Other Digital Advertising Types Used              #                   %                        #                   %
                          [A]                              [B]                    [C]                    [D]                 [E]
    [1] Social                                                       19                  44%                      51               65%
    [2] Search                                                       19                  44%                      53               68%
    [3] Email                                                        19                  44%                      45               58%
    [4] Digital Video                                                13                  30%                      39               50%
    [5] Direct Display                                               12                  28%                      31               40%
    [6] eCommerce Platforms                                          10                  23%                      26               33%
    [7] App/In-App                                                   10                  23%                      22               28%
    [8] Connected TV                                                  2                   5%                      19               24%
    [9] Digital Audio                                                 2                   5%                      19               24%
   [10] Other                                                         -                     -                      -                  -
   [11] Total                                                        43                 100%                      78               100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other.”
    [A] Includes the non-programmatic display advertising types respondents selected in QS12 and QS13.
[B]-[C] Limited to respondents who selected Google Ads and no other buying tools (including Google DV360) in Q8. Includes 2 respondents who
          selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q8. Includes 3
          respondents who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
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                                                                     EXHIBIT 26

                                  HIGHER-SPEND ADVERTISER SURVEY
                    NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                        WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


          QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the
           description of each advertising type carefully. (Please select all that apply.)


                                                            Respondents Who Use Google                   Respondents Who Use Google
                                                            Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                      Number of Other                      Tools for Programmatic Display            Buying Tools for Programmatic Display
               Display Advertising Types Used                  #                   %                        #                   %
                             [A]                               [B]                   [C]                    [D]                  [E]
    [1]                       0                                         19                  44%                      20                26%
    [2]                       1                                          2                   5%                       3                 4%
    [3]                       2                                          1                   2%                       1                 1%
    [4]                       3                                          5                  12%                       8                10%
    [5]                       4                                          4                   9%                       6                 8%
    [6]                       5                                          6                  14%                      14                18%
    [7]                       6                                          2                   5%                      10                13%
    [8]                       7                                          3                   7%                      10                13%
    [9]                       8                                          1                   2%                       2                 3%
   [10]                       9                                          -                   0%                       4                 5%
   [11] Total                                                           43                 100%                      78                100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
    [A] Counts the number of non-programmatic display advertising types respondents
          selected in QS12 and QS13.
[B]-[C] Limited to respondents who selected Google Ads and no other buying tools (including Google DV360) in Q8. Includes 2 respondents
          who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q8. Includes 3
          respondents who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
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                                                              EXHIBIT 27

                             HIGHER-SPEND ADVERTISER SURVEY
                      PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
             BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


    Q4: What is your best estimate of the share of your business unit/team’s digital advertising budget that was used
     for each of these types of advertising in the past year? Specifically, please allocate 100% across the different
     types of digital advertising shown below based on the share of your total digital advertising budget spent on
     each type. The total should add up to 100%.

                                                     Respondents Who Use Google                   Respondents Who Use Google
                                                     Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
              % of Budget Allocated                 Tools for Programmatic Display            Buying Tools for Programmatic Display
       to Programmatic Display Advertising              #                   %                        #                   %
                      [A]                               [B]                   [C]                    [D]                 [E]
     % of Digital Advertising Budget
 [1] 0% – 10%                                                    11                  26%                      25               32%
 [2] 10% – 20%                                                    6                  14%                      17               22%
 [3] 20% – 30%                                                    3                   7%                      11               14%
 [4] 30% – 40%                                                    2                   5%                       3                4%
 [5] 40% – 50%                                                    1                   2%                       1                1%
 [6] 50% – 60%                                                    1                   2%                       1                1%
 [7] 60% – 70%                                                    -                   0%                       -                0%
 [8] 70% – 80%                                                    -                   0%                       -                0%
 [9] 80% – 90%                                                    -                   0%                       -                0%
[10] 90% – 100%                                                  19                  44%                      20               26%
[11] Total                                                       43                 100%                      78               100%

     % of Overall Advertising Budget
[12] 0% – 10%                                                    15                  35%                      34               44%
[13] 10% – 20%                                                    4                   9%                      15               19%
[14] 20% – 30%                                                    1                   2%                       4                5%
[15] 30% – 40%                                                    4                   9%                       5                6%
[16] 40% – 50%                                                    7                  16%                       7                9%
[17] 50% – 60%                                                    4                   9%                       4                5%
[18] 60% – 70%                                                    4                   9%                       4                5%
[19] 70% – 80%                                                    4                   9%                       5                6%
[20] 80% – 90%                                                    -                   0%                       -                0%
[21] 90% – 100%                                                   -                   0%                       -                0%
[22] Total                                                       43                 100%                      78               100%


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                                                                EXHIBIT 27

                               HIGHER-SPEND ADVERTISER SURVEY
                        PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
               BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
  [B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q8. Includes 2 respondents who
            selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
  [D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q7. Includes 3 respondents
            who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[12]-[21] Calculated as the % of budget allocated to programmatic display in Q4 * the % of budget allocated to online advertising
            in QS11.




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                                          EXHIBIT 28

                     HIGHER-SPEND ADVERTISER SURVEY
                      CHANGE IN AD BUYING TOOL USE


                   Q10: Do you and/or your business unit/team expect to use the
                    same number, more, or fewer ad buying tools for programmatic
                    display advertising next year? (Please select only one option.)

                         Response Options               #             %
                                [A]                    [B]           [C]
                [1] More                                     118        24%
                [2] Fewer                                     84        17%
                [3] Same Number                              278        56%
                [4] Don’t know / Unsure                       17         3%
                [5] Total Shown Question                     497       100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q10 if they did not select “Don’t know / Unsure”
                     in Q8.
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                                              EXHIBIT 29

                  HIGHER-SPEND ADVERTISER SURVEY
         FACTORS CONSIDERED WHEN CHOOSING AD BUYING TOOLS
               FOR PROGRAMMATIC DISPLAY ADVERTISING


          Q12: Which of the following factors, if any, do you and/or your business unit/team consider when
           deciding to use a particular ad buying tool for programmatic display advertising? (Please select all that apply.)

                                                                      Respondents Indicating the
                                                                       Factor was Considered
                                   Factor                                 #              %
                                      [A]                                 [B]             [C]
       [1] Ad placement effectiveness                                           239             48%
       [2] Targeting criteria and capabilities                                  233             47%
       [3] Audience scale/Reach                                                 225             45%
       [4] Media optimization of placements during a campaign                   222             45%
       [5] Cost                                                                 221             44%
       [6] Ease of use/User interface                                           186             37%
       [7] Reporting features                                                   172             35%
       [8] Brand safety/fraud protection                                        162             33%
       [9] API and integrations                                                 153             31%
      [10] Budget management tools                                              144             29%
      [11] Forecasting tools                                                    119             24%
      [12] Support                                                              117             24%
      [13] Troubleshooting capabilities                                          99             20%
      [14] Identity management                                                   96             19%
      [15] Other                                                                  4              1%
      [16] Don’t know / Unsure                                                    2              0%
      [17] Total Shown Question                                                 497          100%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
          Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
          Respondents were shown Q12 if they did not select “Don’t know / Unsure” in Q8.
          Percentages do not add up to 100% because respondents can select multiple options.
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                                          EXHIBIT 30

                    HIGHER-SPEND ADVERTISER SURVEY
                 DISCONTINUATION OF AD BUYING TOOL USE


                   Q13: Have you and/or your business unit/team stopped using
                    any ad buying tool(s) for programmatic display advertising
                    in the past year? (Please select only one option.)

                         Response Options              #               %
                                [A]                   [B]              [C]
                [1] Yes                                     113           23%
                [2] No                                      350           70%
                [3] Don’t know / Unsure                      34            7%
                [4] Total Shown Question                    497         100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q13 if they did not select
                     “Don’t know / Unsure” in Q8.
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                                          EXHIBIT 31

                     HIGHER-SPEND ADVERTISER SURVEY
                       START OF AD BUYING TOOL USE


                   Q15: Have you and/or your business unit/team started using
                    any ad buying tool(s) for programmatic display advertising
                    in the past year? (Please select only one option.)

                         Response Options              #             %
                                [A]                   [B]            [C]
                [1] Yes                                     198         40%
                [2] No                                      257         52%
                [3] Don’t know / Unsure                      42          8%
                [4] Total Shown Question                    497        100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q15 if they did not select “Don’t know / Unsure”
                     in Q8.
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                                                                            EXHIBIT 32

                                                        HIGHER-SPEND ADVERTISER SURVEY
                                                       PERFORMANCE ASSESSMENT METRICS


    Q17: Which of the following metrics, if any, are you and/or your business unit/team using to assess the performance of programmatic display ads,
     direct deals display ads, social media ads, and/or digital video ads? (Please select all that apply in each column.)

                                                       Programmatic                    Direct Deals                Social Media                 Digital Video
                                                        Display Ads                    Display Ads                     Ads                           Ads
                      Metric                          #             %              #                  %          #             %              #              %
                       [A]                          [B]            [C]            [D]             [E]           [F]           [G]            [H]           [I]
 [1] Conversions                                          241         48%               116          39%              183        48%               135           42%
 [2] Return on Investment (ROI)                           239         48%               129          44%              165        43%               137           42%
 [3] Return on Ad Spend (ROAS)                            238         47%               133          45%              195        51%               153           47%
 [4] Cost per click (CPC)                                 237         47%               146          49%              191        50%               127           39%
 [5] Click through rate (CTR)                             225         45%               144          49%              210        55%               140           43%
 [6] Cost per impression (CPM)                            199         40%               125          42%              165        43%               143           44%
 [7] Impressions                                          190         38%               120          41%              179        47%               162           50%
 [8] Cost per action (CPA)                                186         37%               113          38%              168        44%               124           38%
 [9] Clicks                                               182         36%               107          36%              168        44%               125           39%
[10] Other                                                 11          2%                 3           1%               10         3%                 9            3%
[11] None of the above                                      1          0%                 1           0%                1         0%                 1            0%
[12] Don’t know / Unsure                                    1          0%                 -           0%                1         0%                 2            1%
[13] Total Shown Question                                 502        100%               296           100%            381       100%               324          100%


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “None of the above” and “Don’t know / Unsure.”
    Respondents were only asked about each of the above advertising types if they had indicated in QS12 and QS13 that their business unit/team had used those
      advertising types in the past year.
    Percentages do not add up to 100% because respondents can select multiple options.
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                                                            EXHIBIT 33

                                   HIGHER-SPEND ADVERTISER SURVEY
                             RANKING OF PERFORMANCE ASSESSMENT METRICS


    Q18: You indicated that you use the following metrics to assess the performance of programmatic display ads for the client you
     spend the most time on. Please rank these metrics in terms of how important they are to accurately assessing
     the performance of programmatic display ads, with 1 being the most important and [NUMBER OF MEASURES SELECTED IN Q16]
     being the least important. (Please rank the following metrics, or select “Don’t know / Unsure”.)

                                                 Respondents Ranking Metric                   Respondents Ranking Metric
                                                     As Most Important                       Among the Top 3 Most Important
                   Metric                         #                    %                       #                     %
                      [A]                        [B]                    [C]                     [D]                     [E]
 [1] Return on Investment (ROI)                          108                    22%                      193                   39%
 [2] Return on Ad Spend (ROAS)                            84                    17%                      195                   39%
 [3] Conversions                                          73                    15%                      170                   34%
 [4] Cost per click (CPC)                                 58                    12%                      141                   28%
 [5] Cost per action (CPA)                                48                    10%                      121                   24%
 [6] Click through rate (CTR)                             40                     8%                      128                   26%
 [7] Cost per impression (CPM)                            36                     7%                      106                   21%
 [8] Clicks                                               30                     6%                       90                   18%
 [9] Impressions                                          22                     4%                       84                   17%
[10] Other                                                 1                     0%                        4                    1%
[11] Total                                               500                   100%                      500                  100%


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are only shown Q18 if they indicate that they used more than one metric to assess the performance of programmatic
      display ads in Q17. Respondents who selected only one metric in Q17 are assumed to have that metric ranked as most important.
    Total includes respondents who ranked metrics in Q18 or selected only one metric in Q17.
    0 (0% of respondents who selected at least one metric to assess the performance of programmatic display ads) respondents selected “Don’t
      know / Unsure.”
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                                           EXHIBIT 34

                    HIGHER-SPEND ADVERTISER SURVEY
                 FREQUENCY OF PERFORMANCE ASSESSMENT


               Q19: How often, if at all, do you and/or your business unit/team measure
                or assess the performance of your programmatic display advertising?
                (Please select only one option.)

                 If you are using an ad agency and they are responsible for measuring
                 or assessing performance of your programmatic display advertising,
                 please indicate how often you receive information about the performance
                 of your programmatic display advertising from the agency.

                               Frequency                        #              %
                                  [A]                          [B]            [C]
            [1] Daily                                                 59         12%
            [2] Weekly                                               186         37%
            [3] Monthly                                              142         28%
            [4] Quarterly                                             94         19%
            [5] Annually                                              18          4%
            [6] Don’t know / Unsure                                    3          1%
            [7] Total Shown Question                                 502        100%


               Notes & Sources:
               From Higher-Spend Advertiser Survey.
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                                          EXHIBIT 35

                  HIGHER-SPEND ADVERTISER SURVEY
              EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS


                   Q20: In the past year, have you and/or your business unit/team
                    run any experiments or test & learn initiatives on your programmatic
                    display ads? (Please select only one option.)

                         Response Options               #             %
                                [A]                    [B]           [C]
                [1] Yes                                      295        59%
                [2] No                                       188        37%
                [3] Don’t know / Unsure                       19         4%
                [4] Total Shown Question                     502       100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
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                                          EXHIBIT 36

                   HIGHER-SPEND ADVERTISER SURVEY
         TYPES OF EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS


                  Q21: Which of the following types of experiments or test & learn initiatives,
                   if any, have you and/or your business unit/team run in the past year on your
                   programmatic display ads?

                         Experiment Type                #               %
                               [A]                     [B]              [C]
               [1] Creatives                                 175              59%
               [2] Audiences                                 160              54%
               [3] ROI/ROAS                                  148              50%
               [4] Bid strategies                            145              49%
               [5] Ad buying tool performance                142              48%
               [6] Publishers                                 87              29%
               [7] Other                                       4               1%
               [8] Don’t know / Unsure                         -               0%
               [9] Total Shown Question                      295            100%


                  Notes & Sources:
                  From Higher-Spend Advertiser Survey.
                  Sorted in descending order based on column [B], except for “Other” and
                    “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can select
                    multiple options.
                  Respondents were only shown Q21 if they indicated in Q20 that they
                    had conducted experiments or test & learn initiatives on their
                    programmatic display ads in the past year.
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                                                   EXHIBIT 37

                                LOWER-SPEND ADVERTISER SURVEY
                                     RESPONSE STATISTICS


       Status                                                                             #                 %
 [1] Invited to Complete Survey                                                               2,268         100%
 [2] Clicked on Survey Link                                                                   1,067         100%
 [3] Screened Out of Survey                                                                     623          58%
 [4]     CAPTCHA                                                                                  6           1%
 [5]     Age                                                                                      9           1%
 [6]     State                                                                                    2           0%
 [7]     Job Responsibilities                                                                  171           16%
 [8]     Not Employed by a Products/Services Business                                          178           17%
 [9]     Annual Advertising Spend Above $500K                                                  149           14%
[10]     No Digital Advertising Spend                                                             3           0%
[11]     Did Not Use Display Advertising                                                         94           9%
[12]     Not Involved in Decision Making Roles for Display Advertising                            4           0%
[13]     Failed Attention Check                                                                   7           1%
[14]     Overquota Respondents                                                                    -           0%
[15] Self-Termination                                                                            42           4%
[16]    Completed the Survey                                                                   402          100%
[17]     Removed from Sample                                                                   100           25%
[18]      Slowpokes and Speeders                                                                 5            1%
[19]      Asked to be Excluded                                                                  95           24%
[20]      Analytical Sample                                                                    302          100%
[21]       Respondents with Less than $50K Annual Ad Spend                                     138           46%
[22]       Respondents with $50K – $500K Annual Ad Spend                                       164           54%


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.




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                                                     EXHIBIT 37

                                 LOWER-SPEND ADVERTISER SURVEY
                                      RESPONSE STATISTICS


     Notes & Sources (cont.):
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
      “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Products/Service Business” were screened out
      of the study.
 [9] Respondents who indicated in QS10 that their company spent $500,000 or more on all advertising in the last 12 months
      or selected “Don't know / Unsure” were screened out of the study.
[10] Respondents who indicated in QS11 that the percentage of their total advertising budget spent on digital
      (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS12 that they used display advertising in the past year were screened
      out of the study.
[12] Respondents who did not select “I determine overall strategies and/or budgets for digital display,” “I determine which tools
      and/or platforms to use for digital display,” “I regularly manage digital display campaigns,” or “I oversee a
      team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” in QS13 were screened
      out of the study.
[13] Respondents who did not select “Somewhat likely” in QS14 were screened out of the study.
[14] Respondents were terminated due to entering the survey after it had been closed for sampling.
[15] Respondents who only completed part of the survey.
[18] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the survey
      were removed from the analysis.
[19] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
      who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[20] These respondents were used in the analysis.




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                                                  EXHIBIT 38

                              LOWER-SPEND ADVERTISER SURVEY
                             SURVEY PARTICIPATION PREFERENCE


QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
 pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
 digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
 reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
 do not want to participate in this survey, please click “Exclude my responses” below.
  Number of Respondents

        350

                                   76%
        300


        250
                                   167
        200


        150

                                                                                   24%
        100

                                   140
         50                                                                         95


          0
                           Include my responses                            Exclude my responses
                                   < Than $50K Ad Spend        $50K – $500K Ad Spend




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                                                  EXHIBIT 38

                              LOWER-SPEND ADVERTISER SURVEY
                             SURVEY PARTICIPATION PREFERENCE


Notes & Sources:
From Lower-Spend Advertiser Survey.
Includes respondents who completed the survey.
Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
  by the panel vendor.
Information about annual ad spend for the 95 respondents who selected to exclude their responses is not available.




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                                                              EXHIBIT 39

                                              LOWER-SPEND ADVERTISER SURVEY
                                                RESPONDENT DEMOGRAPHICS


                                       Total Respondents            < Than $50K Ad Spend          $50K – $500K Ad Spend
                                      #                %              #              %              #              %
    Age                              [A]              [B]           [C]             [D]            [E]            [F]
 [1] 18 - 34                                  54            18%            22              16%            32              20%
 [2] 35 - 49                                 223            74%           107              78%           116              71%
 [3] 50 - 64                                  25             8%             9               7%            16              10%
 [4] 65 or above                               -             0%             -               0%             -               0%
 [5] Total                                   302            100%          138             100%           164            100%

       Gender
 [6]    Female                                49            16%            12               9%            37              23%
 [7]    Male                                 253            84%           126              91%           127              77%
 [8]    Other                                  -             0%             -               0%             -               0%
 [9]    Prefer not to answer                   -             0%             -               0%             -               0%
[10] Total                                   302            100%          138             100%           164            100%


       Source:
       From Lower-Spend Advertiser Survey.
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                                                                        EXHIBIT 40

                                                    LOWER-SPEND ADVERTISER SURVEY
                                                           MARKET SECTORS


    QS8: Which of the following, if any, best characterizes the market sector/industry your company is in? (Please select only one option.)

                                                                          Total Respondents         < Than $50K Ad Spend         $50K – $500K Ad Spend
                        Market Sector / Industry                           #             %             #            %               #            %
                                  [A]                                     [B]           [C]            [D]            [E]            [F]         [G]
 [1] Advertising or Marketing                                                   138        46%                59         43%                79      48%
 [2] Retail (including Ecommerce)                                                36        12%                23         17%                13       8%
 [3] B2B/Services for Businesses                                                 21         7%                 6          4%                15       9%
 [4] Apparel/Fashion                                                             14         5%                 8          6%                 6       4%
 [5] Food and Beverage                                                           13         4%                 7          5%                 6       4%
 [6] Health and Beauty Products                                                  12         4%                 6          4%                 6       4%
 [7] Restaurants                                                                  9         3%                 6          4%                 3       2%
 [8] Education                                                                    9         3%                 4          3%                 5       3%
 [9] Media and Entertainment                                                      8         3%                 1          1%                 7       4%
[10] Financial Products/Services for Consumers (including Fintech)                8         3%                 3          2%                 5       3%
[11] Home Products/Appliances                                                     5         2%                 3          2%                 2       1%
[12] Health Care or Medical Services                                              5         2%                 4          3%                 1       1%
[13] Consumer Electronics                                                         5         2%                 1          1%                 4       2%
[14] Telecommunications                                                           4         1%                 1          1%                 3       2%
[15] Automotive                                                                   3         1%                 2          1%                 1       1%
[16] Pharmaceuticals and Remedies (Rx or OTC)                                     2         1%                 -          0%                 2       1%
[17] Travel and Hospitality                                                       1         0%                 -          0%                 1       1%
[18] Non-Profit                                                                   -         0%                 -          0%                 -       0%
[19] Government                                                                   -         0%                 -          0%                 -       0%
[20] Other                                                                        9         3%                 4          3%                 5       3%
[21] Total                                                                      302       100%               138        100%               164    100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
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                                                                         EXHIBIT 41

                                                     LOWER-SPEND ADVERTISER SURVEY
                                                               JOB TITLES


    QS9: Which of the following best characterizes your current job title/level? (Please select only one option.)

                                                           Total Respondents                  < Than $50K Ad Spend               $50K – $500K Ad Spend
                   Job Title / Level                       #                 %                  #              %                    #             %
                         [A]                              [B]               [C]                [D]                  [E]           [F]            [G]
 [1] C-Level (CEO, COO, CMO, etc.)                              115               38%                 55                  40%            60            37%
 [2] Director                                                    67               22%                 31                  22%            36            22%
 [3] Vice President, SVP, EVP, President, etc.                   64               21%                 27                  20%            37            23%
 [4] Manager                                                     35               12%                 18                  13%            17            10%
 [5] Supervisor/Department Head/Group Manager                    10                3%                  3                   2%             7             4%
 [6] Associate                                                    3                1%                  -                   0%             3             2%
 [7] Buyer                                                        2                1%                  1                   1%             1             1%
 [8] Planner                                                      2                1%                  1                   1%             1             1%
 [9] Strategist                                                   1                0%                  1                   1%             -             0%
[10] Analyst                                                      1                0%                  -                   0%             1             1%
[11] Other                                                        2                1%                  1                   1%             1             1%
[12] Total                                                      302               100%               138                  100%          164         100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
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                                                          EXHIBIT 42

                                       LOWER-SPEND ADVERTISER SURVEY
                                              ANNUAL AD SPEND


QS10: Approximately how much did your company spend in the last 12 months on all advertising, including all digital types (e.g., display, video,
 audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)



Number of Respondents

           80                                                   74
           70
                                                                                                        61                  61
                                            58
           60

           50
                                                                                    42
           40

           30

           20

           10            6

            0




Notes & Sources:
From Lower-Spend Advertiser Survey.
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                                                                              EXHIBIT 43

                                                LOWER-SPEND ADVERTISER SURVEY
                                         PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING

                                 QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                  total advertising budget was used for digital (online) advertising, as opposed to offline
                                   advertising. Please give your best estimate.

                                                                                              Median
                           80
                                                                                              74

                           70

                                                                        25th Percentile
                           60                                                                            57      75th Percentile
   Number of Respondents




                           50                                                   47                                         90th Percentile
                                                            10th Percentile                                        40
                           40

                                                                                                                               30
                           30                                      27


                           20
                                                       14

                           10                                                                                                                8

                                  0          2
                           0
                                [0,10]     (10,20]   (20,30]    (30,40]       (40,50]       (50,60]    (60,70]   (70,80]    (80,90]    (90,100]
                                                                                        %
                                                                               All Respondents




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                                                                          EXHIBIT 43

                                                LOWER-SPEND ADVERTISER SURVEY
                                         PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING

                                 QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                  total advertising budget was used for digital (online) advertising, as opposed to offline
                                   advertising. Please give your best estimate.


                           80                                                            Median


                           70

                                                                           25th Percentile                  75th Percentile
                           60
   Number of Respondents




                           50
                                                                                          42                           90th Percentile
                           40


                           30
                                                               10th Percentile                                                25
                                                                                                    23
                           20                                               18
                                                                                                                13
                           10                          8
                                             2                   4
                                  0                                                                                                      2
                           0
                                [0,10]     (10,20]   (20,30]   (30,40]    (40,50]       (50,60]   (60,70]    (70,80]      (80,90]    (90,100]
                                                                                    %
                                                                         < Than $50K Ad Spend




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                                                                             EXHIBIT 43

                                                LOWER-SPEND ADVERTISER SURVEY
                                         PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING

                                  QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                   total advertising budget was used for digital (online) advertising, as opposed to offline
                                    advertising. Please give your best estimate.


                           80
                                                                                            Median
                           70
                                                                                                     75th Percentile
                           60                                                  25th
   Number of Respondents




                                                                             Percentile
                           50
                                                           10th Percentile
                                                                                                                            90th Percentile
                           40
                                                                                                        34
                                                                                             32
                                                                               29
                           30                                                                                          27
                                                                 23
                           20


                           10                          6
                                                                                                                                    5            6

                           0
                                [0,10]     (10,20]   (20,30]   (30,40]       (40,50]       (50,60]    (60,70]    (70,80]         (80,90]      (90,100]
                                                                                       %
                                                                         $50K – $500K Ad Spend




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                                               EXHIBIT 43

                    LOWER-SPEND ADVERTISER SURVEY
             PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING

         Notes & Sources:
         From Lower-Spend Advertiser Survey.
         Respondents who entered zero for digital (online) advertising were screened out of the survey.
         3 respondents selected “Don’t know / Unsure.”




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                                                     EXHIBIT 44

                                 LOWER-SPEND ADVERTISER SURVEY
                                TYPES OF DIGITAL ADVERTISING USED


    QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please
    review the description of each advertising type carefully. (Please select all that apply.)

                                    Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
         Advertising Type            #            %               #            %                #            %
                [A]                 [B]            [C]            [D]            [E]            [F]             [G]
 [1] Display                              302        100%               138        100%               164         100%
 [2] Social                               210         70%               100         72%               110          67%
 [3] Search                               193         64%                92         67%               101          62%
 [4] Digital Video                        163         54%                66         48%                97          59%
 [5] Email                                143         47%                50         36%                93          57%
 [6] eCommerce Platforms                  134         44%                55         40%                79          48%
 [7] Digital Audio                        131         43%                59         43%                72          44%
 [8] App/In-App                           119         39%                58         42%                61          37%
 [9] Connected TV                         113         37%                42         30%                71          43%
[10] Other                                  1          0%                 -          0%                 1           1%
[11] Total                                302        100%               138        100%               164        100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Respondents who did not select “Display” were screened out of the survey.
    Percentages do not add up to 100% because respondents can select multiple options.
    Sorted in descending order based on column [B].
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                                                             EXHIBIT 45

                                   LOWER-SPEND ADVERTISER SURVEY
                              NUMBER OF TYPES OF DIGITAL ADVERTISING USED


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please
       review the description of each advertising type carefully. (Please select all that apply.)

                                                 Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
           Number of Types Selected               #            %               #            %                #            %
                       [A]                       [B]            [C]            [D]            [E]            [F]         [G]
 [1]                     1                              42         14%                27         20%                15      9%
 [2]                     2                              14          5%                 6          4%                 8      5%
 [3]                     3                              52         17%                30         22%                22     13%
 [4]                     4                              25          8%                 7          5%                18     11%
 [5]                     5                              43         14%                11          8%                32     20%
 [6]                     6                              29         10%                 9          7%                20     12%
 [7]                     7                              33         11%                17         12%                16     10%
 [8]                     8                              13          4%                 4          3%                 9      5%
 [9]                     9                              51         17%                27         20%                24     15%
[10]                    10                               -          0%                 -          0%                 -      0%
[11] Total                                             302        100%               138        100%               164    100%


       Notes & Sources:
       From Lower-Spend Advertiser Survey.
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                                                               EXHIBIT 46

                                         LOWER-SPEND ADVERTISER SURVEY
                                       USE OF AD AGENCY AND/OR CONSULTANT


   Q2: Do you or do you not use an ad agency and/or consultant for digital advertising? (Please select only one option.)

                                                       Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend
                  Response Options                      #            %               #           %                 #           %
                          [A]                          [B]            [C]            [D]            [E]            [F]         [G]
[1] Yes, I use an ad agency and/or consultant.               202         67%               95          69%               107      65%
[2] No, I don’t use an ad agency and/or consultant.          100         33%               43          31%                57      35%
[3] Don’t know / Unsure                                        -          0%                -           0%                 -       0%
[4] Total Shown Question                                     302        100%               138        100%               164    100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                                                  EXHIBIT 47

                                                              LOWER-SPEND ADVERTISER SURVEY
                                                                PURPOSE OF AD AGENCY USE


     Q3: For which, if any, of the following do you use an ad agency and/or consultant? (Please select all that apply.)

                                                                                               Total Respondents          < Than $50K Ad Spend   $50K – $500K Ad Spend
                                      Response Options                                           #             %              #          %           #          %
                                            [A]                                                 [B]           [C]           [D]         [E]         [F]         [G]
 [1] Media/marketing strategies                                                                       121        60%              54       57%             67     63%
 [2] Implementation of advertising (e.g., placing bids, interacting with DSPs)                        106        52%              50       53%             56     52%
 [3] Tracking advertising performance                                                                 105        52%              46       48%             59     55%
 [4] Content and/or creatives                                                                          90        45%              43       45%             47     44%
 [5] Running advertising tests/experiments                                                             86        43%              39       41%             47     44%
 [6] Customer research                                                                                 74        37%              36       38%             38     36%
 [7] Budgeting decisions                                                                               65        32%              25       26%             40     37%
 [8] Allocating advertising funds across advertising types                                             64        32%              23       24%             41     38%
 [9] Consulting services                                                                               60        30%              17       18%             43     40%
[10] Inventory access                                                                                  46        23%              19       20%             27     25%
[11] Other                                                                                              -         0%               -        0%              -       0%
[12] None of the above                                                                                  -         0%               -        0%              -       0%
[13] Don’t know / Unsure                                                                                -         0%               -        0%              -       0%
[14] Total Shown Question                                                                             202       100%              95     100%             107    100%


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
     Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know/Unsure.”
     Respondents are only shown Q3 if they indicated in Q2 that they used an ad agency for digital advertising.
     Percentages do not add up to 100% because respondents can select multiple options.
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                                                                         EXHIBIT 48

                                                LOWER-SPEND ADVERTISER SURVEY
                                          DIGITAL DISPLAY PLATFORMS USED IN PAST YEAR


    Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a
     website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content.
     Display ads do not include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for
     digital display advertising?

                                                                    Total Respondents            < Than $50K Ad Spend            $50K – $500K Ad Spend
                            Platform                                #              %                #            %                  #            %
                             [A]                                   [B]              [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          191              63%              86             62%             105             64%
 [2] Amazon DSP                                                          151              50%              71             51%              80             49%
 [3] Google DV360                                                        106              35%              41             30%              65             40%
 [4] Adobe Advertising Cloud                                              82              27%              26             19%              56             34%
 [5] MediaMath DSP                                                        54              18%              21             15%              33             20%
 [6] Yahoo DSP (formerly Verizon Media DSP)                               49              16%              18             13%              31             19%
 [7] The Trade Desk DSP                                                   44              15%              15             11%              29             18%
 [8] Ad Step Technologies                                                 41              14%              10              7%              31             19%
 [9] Quantcast                                                            33              11%               9              7%              24             15%
[10] Criteo                                                               29              10%              10              7%              19             12%
[11] Amobee                                                               28               9%               9              7%              19             12%
[12] Other                                                                 4               1%               3              2%               1              1%
[13] Don’t know / Unsure                                                   3               1%               1              1%               2              1%
[14] Total Shown Question                                                302          100%                138         100%                164         100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other” and “Don’t know/Unsure.”
    Percentages do not add up to 100% because respondents can select multiple options.
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                                                                EXHIBIT 49

                                   LOWER-SPEND ADVERTISER SURVEY
                         NUMBER OF DIGITAL DISPLAY PLATFORMS USED IN PAST YEAR


    Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along
     the top or sides of a website, or sometimes in the middle of other content on a website. Examples of display ad formats include
     banner ads, animations, and interactive content. Display ads do not include ads placed on social media platforms. Which of the
      following platforms, if any, have you used during the last 12 months for digital display advertising?



                   Number of                        Total Respondents             < Than $50K Ad Spend           $50K – $500K Ad Spend
               Platforms Selected                   #              %                 #            %                 #            %
                       [A]                          [B]             [C]             [D]             [E]             [F]             [G]
[1] Zero                                                    -              0%               -              0%               -               0%
[2] One                                                    58             19%              29             21%              29              18%
[3] More Than One                                         241             80%             108             78%             133              81%
[4] Two                                                   114             38%              66             48%              48              29%
[5] Three                                                  61             20%              26             19%              35              21%
[6] Four or More                                           66             22%              16             12%              50              30%
[7] Don’t know/Unsure                                       3              1%               1              1%               2               1%
[8] Total Shown Question                                  302         100%                138          100%               164          100%

[9] Average # of Display Platforms Selected               2.6                             2.3                             2.9


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
[A] Count excludes Ad Step Technologies, which was a decoy option.
 [9] Calculated as the average number of display platforms selected by respondents. Excludes respondents who selected “Don’t know/Unsure.”
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                                                                         EXHIBIT 50

                                                    LOWER-SPEND ADVERTISER SURVEY
                                                      USE OF GOOGLE PLATFORMS


   Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a
    website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content.
    Display ads do not include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for
    digital display advertising?

                                                                   Total Respondents             < Than $50K Ad Spend           $50K – $500K Ad Spend
                           Platform(s)                             #              %                 #            %                 #            %
                              [A]                                  [B]             [C]             [D]             [E]             [F]             [G]
[1] Neither Google Ads nor Google DV360                                   77             25%              37             27%              40             24%
[2] At least one of Google Ads and Google DV360                          222             74%             100             72%             122             74%
[3] Google Ads Only                                                      116             38%              59             43%              57             35%
[4] Google DV360 Only                                                     31             10%              14             10%              17             10%
[5] Both Google Ads and Google DV360                                      75             25%              27             20%              48             29%
[6] Don’t know / Unsure                                                    3              1%               1              1%               2              1%
[7] Total Shown Question                                                 302         100%                138          100%               164          100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                                                EXHIBIT 51

                                                           LOWER-SPEND ADVERTISER SURVEY
                                                                   GOOGLE USERS
                                                         NUMBER OF OTHER DISPLAY PLATFORMS


       Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a website, or
        sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content. Display ads do not
        include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for digital display advertising?

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Other Display                                     < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
              Platforms (Inc. Google Tools)         Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
 [1]                         0                                      24                  12                  12                   3                   3                   -
 [2]                         1                                      74                  43                  31                  26                  12                  14
 [3]                         2                                      38                  16                  22                  30                  14                  16
 [4]                         3                                      30                  10                  20                  26                   7                  19
 [5]                        4+                                      25                   5                  20                  21                   5                  16
 [6]               Total Respondents                               191                  86                 105                 106                  41                  65

 [7] Average # of Other Platforms                                  1.8                 1.5                 2.1                 2.4                 2.0                 2.7

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Other Display                                     < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
              Platforms (Inc. Google Tools)         Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
 [8]                         0                                    13%                 14%                 11%                  3%                  7%                  0%
 [9]                         1                                    39%                 50%                 30%                 25%                 29%                 22%
[10]                         2                                    20%                 19%                 21%                 28%                 34%                 25%
[11]                         3                                    16%                 12%                 19%                 25%                 17%                 29%
[12]                        4+                                    13%                  6%                 19%                 20%                 12%                 25%
[13]               Total Respondents                              100%                100%                100%                100%                100%                100%




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                                                                                EXHIBIT 51

                                                           LOWER-SPEND ADVERTISER SURVEY
                                                                   GOOGLE USERS
                                                         NUMBER OF OTHER DISPLAY PLATFORMS


       Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a website, or
        sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content. Display ads do not
        include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for digital display advertising?

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Non-Google                                        < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
                        Platforms                   Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
[14]                         0                                      39                  17                  22                  18                   8                  10
[15]                         1                                      80                  48                  32                  32                  17                  15
[16]                         2                                      38                  13                  25                  30                  11                  19
[17]                         3                                      21                   7                  14                  17                   4                  13
[18]                        4+                                      13                   1                  12                   9                   1                   8
[19]               Total Respondents                               191                  86                 105                 106                  41                  65

[20] Average # of Non-Google Platforms                             1.4                 1.2                 1.7                 1.7                 1.3                 1.9

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Non-Google                                        < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
                        Platforms                   Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
[21]                         0                                    20%                 20%                 21%                 17%                 20%                 15%
[22]                         1                                    42%                 56%                 30%                 30%                 41%                 23%
[23]                         2                                    20%                 15%                 24%                 28%                 27%                 29%
[24]                         3                                    11%                  8%                 13%                 16%                 10%                 20%
[25]                        4+                                     7%                  1%                 11%                  8%                  2%                 12%
[26]               Total Respondents                              100%                100%                100%                100%                100%                100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
[A] Count excludes Ad Step Technologies, which was a decoy option.
    Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected platforms by the total
      number of people choosing “Google Ads” or “Google DV360.”


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                                                 EXHIBIT 52

                        LOWER-SPEND ADVERTISER SURVEY
                USE OF GOOGLE ADS AND OTHER DISPLAY PLATFORMS


     Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically
      website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads,
      animations, and interactive content. Display ads do not include ads placed on social media platforms. Which of the
      following platforms, if any, have you used during the last 12 months for digital display advertising?


                                                                                      Total Respondents
                                 Display Platform(s)                                   #            %
                                       [A]                                            [B]            [C]
  [1] Google Ads and At Least One Other Display Platform                                    167         87%
  [2] Google Ads and DV360 Only                                                              15          8%
  [3] Google Ads, DV360 and At Least One Non-Google Display Platforms                        60        31%
  [4] Google Ads Only and At Least One Non-Google Display Platform                           92        48%
  [5] Google Ads and No Other Display Platform                                               24         13%
  [6] Total Respondents Using Google Ads                                                    191        100%


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
     Limited to respondents who selected Google Ads in Q4.
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                                                      EXHIBIT 53

                          LOWER-SPEND ADVERTISER SURVEY
                OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                       WHO USE ONLY GOOGLE ADS FOR DISPLAY


    QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the
     description of each advertising type carefully. (Please select all that apply.)

                                                         Respondents Who Use Google Ads and                                                Respondents Who
                                                              No Other Display Platforms                                                   No Other Non-Goo
       Other Digital Advertising         Total Respondents     < Than $50K Ad Spend      $50K – $500K Ad Spend             Total Respondents
             Types Used                   #            %           #            %            #          %
                   [A]                   [B]           [C]             [D]          [E]            [F]           [G]
 [1] Social                                    11        46%                  6        50%                5        42%
 [2] Search                                     9        38%                  4        33%                5        42%
 [3] Email                                      6        25%                  2        17%                4        33%
 [4] Digital Video                              5        21%                  2        17%                3        25%
 [5] Connected TV                               2          8%                 -         0%                2        17%
 [6] Digital Audio                              1          4%                 1         8%                -          0%
 [7] eCommerce Platforms                        -          0%                 -         0%                -          0%
 [8] App/In-App                                 -          0%                 -         0%                -          0%
 [9] Other                                      -          0%                 -         0%                -          0%
[10] Total Shown Question                      24        100%                12       100%               12        100%

                                                         Respondents Who Use Google Ads and
                                                         No Other Non-Google Display Platforms
       Other Digital Advertising         Total Respondents      < Than $50K Ad Spend      $50K – $500K Ad Spend
             Types Used                   #            %            #           %             #          %
                   [A]                   [H]            [I]            [J]          [K]            [L]           [M]
 [1] Social                                    22          56%               10       59%                12        55%
 [2] Search                                    21          54%                8       47%                13        59%
 [3] Email                                     16          41%                5       29%                11        50%
 [4] Digital Video                             16          41%                7       41%                 9        41%
 [5] Connected TV                               7          18%                2       12%                 5        23%
 [6] Digital Audio                              7          18%                3       18%                 4        18%
 [7] eCommerce Platforms                        6          15%                4       24%                 2          9%
 [8] App/In-App                                 8          21%                5       29%                 3        14%
 [9] Other                                      -           0%                -         0%                -          0%
[10] Total Shown Question                      39        100%                17       100%               22        100%



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                                                        EXHIBIT 53

                              LOWER-SPEND ADVERTISER SURVEY
                    OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                           WHO USE ONLY GOOGLE ADS FOR DISPLAY


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other.”
     [A] Non-display advertising types respondents selected in QS12.
 [B]-[G] Limited to respondents who selected Google Ads and no other display platforms, aside from the decoy platform,
           Ad Step Technologies, in Q4.
[H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms, aside from the decoy
           platform, Ad Step Technologies, in Q4.




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                                                          EXHIBIT 54

                        LOWER-SPEND ADVERTISER SURVEY
       NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED AMONG RESPONDENTS
                     WHO USE ONLY GOOGLE ADS FOR DISPLAY


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the description of
        each advertising type carefully. (Please select all that apply.)

                                                           Respondents Who Use Google Ads and                                                                    Respondents W
                                                                No Other Display Platforms                                                                       No Other Non-
        Number of Other Digital          Total Respondents       < Than $50K Ad Spend      $50K – $500K Ad Spend                             Total Respondents
        Advertising Types Used            #            %             #             %          #            %
                   [A]                    [B]            [C]             [D]            [E]           [F]            [G]
 [1]                0                           11          46%                     6      50%               5          42%
 [2]                1                            2           8%                     1       8%               1           8%
 [3]                2                            4          17%                     2      17%               2          17%
 [4]                3                            4          17%                     2      17%               2          17%
 [5]                4                            3          13%                     1       8%               2          17%
 [6]                5                            -           0%                     -       0%               -           0%
 [7]                6                            -           0%                     -       0%               -           0%
 [8]                7                            -           0%                     -       0%               -           0%
 [9]                8                            -           0%                     -       0%               -           0%
[10] Total Shown Question                       24         100%                    12    100%               12         100%

                                                           Respondents Who Use Google Ads and
                                                           No Other Non-Google Display Platforms
        Number of Other Digital          Total Respondents        < Than $50K Ad Spend       $50K – $500K Ad Spend
        Advertising Types Used            #            %             #            %              #           %
                   [A]                    [H]            [I]                 [J]        [K]           [L]            [M]
 [1]                0                           11             28%                  6      35%               5         23%
 [2]                1                            2              5%                  1       6%               1           5%
 [3]                2                            7             18%                  2      12%               5         23%
 [4]                3                            5             13%                  2      12%               3         14%
 [5]                4                            6             15%                  2      12%               4         18%
 [6]                5                            3              8%                  1       6%               2           9%
 [7]                6                            3              8%                  2      12%               1           5%
 [8]                7                            1              3%                  -       0%               1           5%
 [9]                8                            1              3%                  1       6%               -           0%
[10] Total Shown Question                       39         100%                    17    100%               22         100%



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                                                         EXHIBIT 54

                        LOWER-SPEND ADVERTISER SURVEY
       NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED AMONG RESPONDENTS
                     WHO USE ONLY GOOGLE ADS FOR DISPLAY


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
     [A] Counts the number of non-display advertising types respondents selected in QS12.
 [B]-[G] Limited to respondents who selected Google Ads and no other display platforms, aside from the decoy platform,
           Ad Step Technologies, in Q4.
[H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms, aside from the decoy
           platform, Ad Step Technologies, in Q4.




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                                                                                                        EXHIBIT 55

                                                                           LOWER-SPEND ADVERTISER SURVEY
                                                                          DIGITAL ADVERTISING BUDGET SHARE
                                                                 BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR DISPLAY


         Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year. What is your best estimate of the share of your digital advertising spending that was used for each of
          these types of advertising in the past year? Specifically, please allocate 100% across the different types of digital advertising shown below based on the share of your total digital advertising spending spent
          on each type. The total should add up to 100%.

                                                              Respondents Who Use Google Ads and                                                         Respondents Who Use Google Ads and
                                                                   No Other Display Platforms                                                            No Other Non-Google Display Platforms
           % of Budget Allocated         Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend            Total Respondents            < Than $50K Ad Spend        $50K – $500K Ad Spend
           to Display Advertising         #            %               #           %                  #           %                 #            %                 #           %                #           %
                   [A]                [B]               [C]            [D]             [E]            [F]            [G]            [H]            [I]             [J]           [K]            [L]            [M]
         % of Digital Advertising Budget
     [1] 0% – 10%                          1                4%                1            8%                -           0%                8             21%              4         24%                4          18%
     [2] 10% – 20%                         3               13%                1            8%                2          17%                5             13%              3         18%                2           9%
     [3] 20% – 30%                         6               25%                3           25%                3          25%                7             18%              3         18%                4          18%
     [4] 30% – 40%                         -                0%                -            0%                -           0%                2              5%              -          0%                2           9%
     [5] 40% – 50%                         2                8%                -            0%                2          17%                3              8%              -          0%                3          14%
     [6] 50% – 60%                         1                4%                1            8%                -           0%                2              5%              1          6%                1           5%
     [7] 60% – 70%                         -                0%                -            0%                -           0%                -              0%              -          0%                -           0%
     [8] 70% – 80%                         -                0%                -            0%                -           0%                -              0%              -          0%                -           0%
     [9] 80% – 90%                         -                0%                -            0%                -           0%                -              0%              -          0%                -           0%
    [10] 90% – 100%                       11               46%                6           50%                5          42%               11             28%              6         35%                5          23%
    [11] Don’t know / Unsure               -                0%                -            0%                -           0%                1              3%              -          0%                1           5%
    [12] Total                                 24         100%               12         100%                12        100%                39        100%                 17        100%               22         100%

         % of Overall Advertising Budget
    [13] 0% – 10%                               3          13%                2           17%                1           8%               10             26%              5         29%                5          23%
    [14] 10% – 20%                              7          29%                3           25%                4          33%               10             26%              5         29%                5          23%
    [15] 20% – 30%                              3          13%                1            8%                2          17%                6             15%              1          6%                5          23%
    [16] 30% – 40%                              -           0%                -            0%                -           0%                -              0%              -          0%                -           0%
    [17] 40% – 50%                              9          38%                6           50%                3          25%               10             26%              6         35%                4          18%
    [18] 50% – 60%                              1           4%                -            0%                1           8%                1              3%              -          0%                1           5%
    [19] 60% – 70%                              -           0%                -            0%                -           0%                -              0%              -          0%                -           0%
    [20] 70% – 80%                              1           4%                -            0%                1           8%                1              3%              -          0%                1           5%
    [21] 80% – 90%                              -           0%                -            0%                -           0%                -              0%              -          0%                -           0%
    [22] 90% – 100%                             -           0%                -            0%                -           0%                -              0%              -          0%                -           0%
    [23] Don’t know / Unsure                    -           0%                -            0%                -           0%                1              3%              -          0%                1           5%
    [24] Total                                 24         100%               12         100%                12        100%                39        100%                 17        100%               22         100%


          Notes & Sources:
          From Lower-Spend Advertiser Survey.
  [B]-[G] Limited to respondents who selected Google Ads and no other display platforms, aside from the decoy display platform, Ad Step Technologies, in Q4.
 [H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms in Q4, aside from the decoy display platform, Ad Step Technologies.
[13]-[22] Calculated as the % of budget allocated to display in Q8 * the % of budget allocated to online advertising in QS11.
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                                                               EXHIBIT 56

                                            LOWER-SPEND ADVERTISER SURVEY
                                             SOCIAL MEDIA PLATFORMS USED


    Q5: You indicated that you have used social advertising in the past year. Social ads are digital ads placed on social
      media platforms such as Facebook, Instagram, LinkedIn, Snapchat, and Twitter. Which of the following social media
      platforms, if any, have you used during the last 12 months for social advertising? (Please select all that apply).

                                             Total Respondents              < Than $50K Ad Spend             $50K – $500K Ad Spend
          Social Media Platform              #              %                 #              %                  #             %
                   [A]                      [B]              [C]              [D]              [E]              [F]           [G]
 [1] Facebook                                     175              83%               84              84%               91           83%
 [2] Instagram                                    137              65%               65              65%               72           65%
 [3] Twitter                                      100              48%               43              43%               57           52%
 [4] LinkedIn                                      99              47%               39              39%               60           55%
 [5] Tiktok                                        89              42%               32              32%               57           52%
 [6] Snapchat                                      72              34%               29              29%               43           39%
 [7] Pinterest                                     58              28%               17              17%               41           37%
 [8] Reddit                                        47              22%               18              18%               29           26%
 [9] FriendLinx                                    25              12%               13              13%               12           11%
[10] Tumblr                                        17               8%                7               7%               10            9%
[11] Other social media platforms                   2               1%                1               1%                1            1%
[12] Don’t know / Unsure                            -               0%                -               0%                -            0%
[14] Total Shown Question                         210            100%               100           100%                110        100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column Total Respondents, except for “Other,” “None of the above,” and “Don't know/Unsure.”
    Percentages do not add up to 100% because respondents can select multiple options.
    Respondents were shown Q5 if they indicated that they had used social advertising in the past year in QS12.
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                                                   EXHIBIT 57

                              LOWER-SPEND ADVERTISER SURVEY
                             DIGITAL ADVERTISING BUDGET SHARE


     Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year.
      What is your best estimate of the share of your digital advertising spending that was used for each of these
      types of advertising in the past year? Specifically, please allocate 100% across the different types of digital
      advertising shown below based on the share of your total digital advertising budget spent on each type.
      The total should add up to 100%.

                                                                 Total Respondents                                      < Than $50K Ad Spend
          Advertising Type            # of Respondents                 Mean                       Median
                 [A]                         [B]                        [C]                         [D]
  [1] Display                                          284                        33%                        20%
  [2] Social                                           196                        15%                        10%
  [3] Search                                           176                        12%                        10%
  [4] Digital Video                                    151                        10%                         5%
  [5] Email                                            129                         7%                         0%
  [6] eCommerce Platforms                              124                         7%                         0%
  [7] Digital Audio                                    114                         6%                         0%
  [8] App/In-app                                       104                         6%                         0%
  [9] Connected TV                                      98                         6%                         0%
 [10] Other                                              -                         0%                         0%
 [11] Don’t know / Unsure                                7                         n/a                        n/a
 [12] Total Shown Question                             302
                                                              < Than $50K Ad Spend
          Advertising Type            # of Respondents                Mean                        Median
                 [A]                         [E]                         [F]                        [G]
  [1] Display                                          124                        37%                        27%
  [2] Social                                            88                        16%                        10%
  [3] Search                                            78                        13%                        10%
  [4] Digital Video                                     57                         8%                         0%
  [5] Email                                             38                         4%                         0%
  [6] eCommerce Platforms                               46                         6%                         0%
  [7] Digital Audio                                     45                         5%                         0%
  [8] App/In-app                                        46                         6%                         0%
  [9] Connected TV                                      33                         4%                         0%
 [10] Other                                              -                         0%                         0%
 [11] Don’t know / Unsure                                5                         n/a                        n/a
 [12] Total Shown Question                             138



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                                                          EXHIBIT 57

                                     LOWER-SPEND ADVERTISER SURVEY
                                    DIGITAL ADVERTISING BUDGET SHARE


            Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year.
             What is your best estimate of the share of your digital advertising spending that was used for each of these
             types of advertising in the past year? Specifically, please allocate 100% across the different types of digital
             advertising shown below based on the share of your total digital advertising budget spent on each type.
             The total should add up to 100%.

                                                                    $50K – $500K Ad Spend
                 Advertising Type            # of Respondents               Mean                         Median
                       [A]                          [H]                         [I]                        [J]
        [1] Display                                           160                        29%                        20%
        [2] Social                                            108                        14%                        10%
        [3] Search                                             98                        12%                        10%
        [4] Digital Video                                      94                        11%                        10%
        [5] Email                                              91                         8%                         5%
        [6] eCommerce Platforms                                78                         7%                         0%
        [7] Digital Audio                                      69                         6%                         0%
        [8] App/In-app                                         58                         6%                         0%
        [9] Connected TV                                       65                         7%                         0%
       [10] Other                                               -                         0%                         0%
       [11] Don’t know / Unsure                                 2                         n/a                        n/a
       [12] Total Shown Question                              164


            Notes & Sources:
            From Lower-Spend Advertiser Survey.
            Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
            Respondents are shown their responses from QS12. They are asked to allocate across all selected types.
            Respondents can hover their mouse over each digital advertising type to review the type description.
            Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the
              advertising type in QS12.
[B],[E],[H] Shows number of respondents who allocated a budget for each advertising type.




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                                                                      EXHIBIT 58

                                                 LOWER-SPEND ADVERTISER SURVEY
                                                RESPONSE TO DISPLAY COST INCREASE


   Q9: Now suppose that, based on your analysis, the cost of display advertising has recently increased by a small but significant amount, and will remain
    elevated for the foreseeable future. Assume further that, based on similar analyses for other digital advertising types, the costs
    of other digital advertising types have not changed and are not expected to change. So if the cost of display advertising increases (while the cost
    of other advertising types remains types remains the same), will you or won’t you divert some of your advertising spending for the
    coming year to other types of digital advertising?

                                             Total Respondents                    < Than $50K Ad Spend                   $50K – $500K Ad Spend
          Response Options                  #                 %                    #                %                      #               %
                  [A]                      [B]               [C]                  [D]              [E]                    [F]             [G]
[1] Will Divert Spending                         185             61%                     97            70%                       88            54%
[2] Will Not Divert Spending                     103             34%                     37            27%                       66            40%
[3] Don’t know / Unsure                           14              5%                      4             3%                       10             6%
[4] Total Shown Question                         302               100%                  138               100%                  164              100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                            EXHIBIT 59

                              LOWER-SPEND ADVERTISER SURVEY
                   ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
                                DUE TO DISPLAY COST INCREASE


    Q10: To which other types of digital advertising below, if any, would you divert your advertising spending for the coming year as a result
      of the increase in the cost of display advertising?

                                             Respondents Indicating They Would Divert Spending to the Advertising Type
                                           Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
           Advertising Type                #              %              #             %               #               %
                   [A]                    [B]              [C]             [D]             [E]              [F]             [G]
 [1] Social                                     108              58%             62              64%              46              52%
 [2] Email                                       79              43%             32              33%              47              53%
 [3] Search                                      79              43%             42              43%              37              42%
 [4] Digital Audio                               75              41%             33              34%              42              48%
 [5] Digital Video                               74              40%             39              40%              35              40%
 [6] eCommerce Platforms                         62              34%             31              32%              31              35%
 [7] Connected TV                                59              32%             23              24%              36              41%
 [8] App/In-app                                  54              29%             27              28%              27              31%
 [9] Other                                        1               1%              -               0%               1               1%
[10] None of the above                            -               0%              -               0%               -               0%
[11] Don’t know / Unsure                          -               0%              -               0%               -               0%
[12] Total Shown Question                       185          100%                97           100%                88           100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know/Unsure.”
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages do not add up to 100% because respondents can select multiple options.
    Respondents were only shown Q10 if they indicated that they would divert advertising spending to other types of digital advertising in Q9.
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                                                                    EXHIBIT 60

                                LOWER-SPEND ADVERTISER SURVEY
                NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
                                 DUE TO DISPLAY COST INCREASE


       Q10: To which other types of digital advertising below, if any, would you divert your advertising spending for the coming year as a result of the
        increase in the cost of display advertising?

                                               Respondents Indicating They Would Divert Spending to the Number of Advertising Types
        Number of Advertising Types            Total Respondents             < Than $50K Ad Spend            $50K – $500K Ad Spend
           Diverted Spending to                #               %               #               %                #                %
                    [A]                       [B]               [C]               [D]               [E]               [F]              [G]
 [1]                 0                                -                0%                 -                0%                -                0%
 [2]                 1                               23               12%                11               11%               12               14%
 [3]                 2                               31               17%                21               22%               10               11%
 [4]                 3                               68               37%                43               44%               25               28%
 [5]                 4                               32               17%                13               13%               19               22%
 [6]                 5                               19               10%                 2                2%               17               19%
 [7]                 6                                8                4%                 5                5%                3                3%
 [8]                 7                                1                1%                 1                1%                -                0%
 [9]                 8                                3                2%                 1                1%                2                2%
[10]                 9                                -                0%                 -                0%                -                0%
[11]        Don’t know / Unsure                       -                0%                 -                0%                -                0%
[12]       Total Shown Question                     185            100%                  97            100%                 88             100%


       Notes & Sources:
       From Lower-Spend Advertiser Survey.
       Respondents were shown Q10 if they indicated that they would divert advertiser spending to other types of digital advertising in Q9.
       Respondents can hover their mouse over each digital advertising type to review the type description.
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                                                                                    EXHIBIT 61

                                                   LOWER-SPEND ADVERTISER SURVEY
                                   EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


   Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
    advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
    coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
    of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     All Respondents
                             Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
     Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7           8         9        10       / Unsure
             [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[1] Social                        108                 8.0           -          -         -          -         2         4          7     22      30        26        17              -
[2] Email                          79                 7.4           1          2         2          -         1         3          6     14      28        16          6             -
[3] Search                         79                 7.9           -          1         2          -         1         2          6     14      18        26          9             -
[4] Digital Audio                  75                 7.8           -          -         1          1         1         -          6     18      20        23          5             -
[5] Digital Video                  74                 7.8           1          -         -          -         1         1          4     23      22        14          8             -
[6] eCommerce Platforms            62                 7.8           -          -         -          2         -         3          3     15      18        14          7             -
[7] Connected TV                   59                 7.5           -          1         1          -         2         4          4     13      15        14          5             -
[8] App/In-app                     54                 7.8           -          -         -          1         2         2          5       6     20        10          8             -
[9] Other                           1                10.0           -          -         -          -         -         -          -       -       -         -         1             -


                             Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
     Advertising Type     Respondents   of Increase            0         1         2           3        4       5         6         7           8         9        10       / Unsure
             [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]      [N]          [O]
[1] Social                      100%                  n/a       0%         0%        0%         0%        2%        4%         6%       20%     28%       24%      16%            0%
[2] Email                       100%                  n/a       1%         3%        3%         0%        1%        4%         8%       18%     35%       20%       8%            0%
[3] Search                      100%                  n/a       0%         1%        3%         0%        1%        3%         8%       18%     23%       33%      11%            0%
[4] Digital Audio               100%                  n/a       0%         0%        1%         1%        1%        0%         8%       24%     27%       31%       7%            0%
[5] Digital Video               100%                  n/a       1%         0%        0%         0%        1%        1%         5%       31%     30%       19%      11%            0%
[6] eCommerce Platforms         100%                  n/a       0%         0%        0%         3%        0%        5%         5%       24%     29%       23%      11%            0%
[7] Connected TV                100%                  n/a       0%         2%        2%         0%        3%        7%         7%       22%     25%       24%       8%            0%
[8] App/In-app                  100%                  n/a       0%         0%        0%         2%        4%        4%         9%       11%     37%       19%      15%            0%
[9] Other                       100%                  n/a       0%         0%        0%         0%        0%        0%         0%        0%      0%        0%     100%            0%




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                                                                                     EXHIBIT 61

                                                      LOWER-SPEND ADVERTISER SURVEY
                                      EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


    Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
     coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

    < Than $50K Ad Spend
                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
      Advertising Type     Respondents   of Increase            0         1         2           3        4       5         6         7           8         9        10       / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[10] Social                           62               8.3           -          -         -          -         1         1          4      8      17        19        12              -
[11] Email                            32               7.5           -          -         1          -         -         3          3      4      13          7         1             -
[12] Search                           42               8.2           -          -         1          -         1         1          2      4      10        16          7             -
[13] Digital Audio                    33               7.8           -          -         1          -         -         -          3     11        5         9         4             -
[14] Digital Video                    39               8.1           -          -         -          -         -         -          3      9      13          8         6             -
[15] eCommerce Platforms              31               7.9           -          -         -          -         -         -          2     10      10          6         3             -
[16] Connected TV                     23               7.8           -          -         -          -         -         1          2      8        3         7         2             -
[17] App/In-app                       27               8.0           -          -         -          -         -         1          3      4      11          4         4             -
[18] Other                             -                 -           -          -         -          -         -         -          -      -        -         -         -             -


                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
      Advertising Type     Respondents   of Increase            0         1         2           3        4       5         6         7           8         9        10       / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[10] Social                      100%                  n/a       0%         0%        0%         0%        2%        2%         6%       13%     27%       31%       19%           0%
[11] Email                       100%                  n/a       0%         0%        3%         0%        0%        9%         9%       13%     41%       22%        3%           0%
[12] Search                      100%                  n/a       0%         0%        2%         0%        2%        2%         5%       10%     24%       38%       17%           0%
[13] Digital Audio               100%                  n/a       0%         0%        3%         0%        0%        0%         9%       33%     15%       27%       12%           0%
[14] Digital Video               100%                  n/a       0%         0%        0%         0%        0%        0%         8%       23%     33%       21%       15%           0%
[15] eCommerce Platforms         100%                  n/a       0%         0%        0%         0%        0%        0%         6%       32%     32%       19%       10%           0%
[16] Connected TV                100%                  n/a       0%         0%        0%         0%        0%        4%         9%       35%     13%       30%        9%           0%
[17] App/In-app                  100%                  n/a       0%         0%        0%         0%        0%        4%       11%        15%     41%       15%       15%           0%
[18] Other                           -                 n/a       0%         0%        0%         0%        0%        0%         0%        0%      0%        0%        0%           0%




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                                                                                     EXHIBIT 61

                                                      LOWER-SPEND ADVERTISER SURVEY
                                      EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


    Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
     coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

    $50K – $500K Ad Spend
                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                     Don’t know
      Advertising Type     Respondents   of Increase            0         1         2           3        4       5         6         7           8         9        10         / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]          [O]
[19] Social                           46               7.7           -          -         -          -         1         3          3     14      13            7         5            -
[20] Digital Audio                    47               7.4           1          2         1          -         1         -          3     10      15            9         5            -
[21] Email                            37               7.5           -          1         1          -         -         1          4     10        8          10         2            -
[22] Search                           42               7.9           -          -         -          1         1         -          3       7     15           14         1            -
[23] Digital Video                    35               7.4           1          -         -          -         1         1          1     14        9           6         2            -
[24] eCommerce Platforms              31               7.7           -          -         -          2         -         3          1       5       8           8         4            -
[25] Connected TV                     36               7.3           -          1         1          -         2         3          2       5     12            7         3            -
[26] App/In-app                       27               7.7           -          -         -          1         2         1          2       2       9           6         4            -
[27] Other                             1              10.0           -          -         -          -         -         -          -       -       -           -         1            -


                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                     Don’t know
      Advertising Type     Respondents   of Increase            0         1         2           3        4       5         6         7           8         9        10         / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]          [O]
[19] Social                      100%                  n/a       0%         0%        0%         0%        2%        7%         7%       30%     28%       15%       11%            0%
[20] Digital Audio               100%                  n/a       2%         4%        2%         0%        2%        0%         6%       21%     32%       19%       11%            0%
[21] Email                       100%                  n/a       0%         3%        3%         0%        0%        3%       11%        27%     22%       27%        5%            0%
[22] Search                      100%                  n/a       0%         0%        0%         2%        2%        0%         7%       17%     36%       33%        2%            0%
[23] Digital Video               100%                  n/a       3%         0%        0%         0%        3%        3%         3%       40%     26%       17%        6%            0%
[24] eCommerce Platforms         100%                  n/a       0%         0%        0%         6%        0%      10%          3%       16%     26%       26%       13%            0%
[25] Connected TV                100%                  n/a       0%         3%        3%         0%        6%        8%         6%       14%     33%       19%        8%            0%
[26] App/In-app                  100%                  n/a       0%         0%        0%         4%        7%        4%         7%        7%     33%       22%       15%            0%
[27] Other                       100%                  n/a       0%         0%        0%         0%        0%        0%         0%        0%      0%        0%      100%            0%




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                                                                                    EXHIBIT 61

                                                   LOWER-SPEND ADVERTISER SURVEY
                                   EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are shown their answer choices from Q10.
    Respondents were shown Q11 if they did not select “None of the above” or “Don’t know/Unsure” in Q10.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average of extent of increase in [D] through [N], weighted by the number of respondents.




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                                                  EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


     Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
      divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
      below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
      spending for the coming year to each type of digital advertising that you just indicated. For each digital
      advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
      coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

       All Respondents
                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
  [1] Social                           108                -                 13             95                  -
  [2] Email                             79                5                 10             64                  -
  [3] Search                            79                3                  9             67                  -
  [4] Digital Audio                     75                2                  7             66                  -
  [5] Digital Video                     74                1                  6             67                  -
  [6] eCommerce Platforms               62                2                  6             54                  -
  [7] Connected TV                      59                2                 10             47                  -
  [8] App/In-app                        54                1                  9             44                  -
  [9] Other                              1                -                  -              1                  -


                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
              [A]                [B]             [C]                 [D]             [E]               [F]
  [1] Social                      100%                  0%                 12%           88%                 0%
  [2] Email                       100%                  6%                 13%           81%                 0%
  [3] Search                      100%                  4%                 11%           85%                 0%
  [4] Digital Audio               100%                  3%                  9%           88%                 0%
  [5] Digital Video               100%                  1%                  8%           91%                 0%
  [6] eCommerce Platforms         100%                  3%                 10%           87%                 0%
  [7] Connected TV                100%                  3%                 17%           80%                 0%
  [8] App/In-app                  100%                  2%                 17%           81%                 0%
  [9] Other                       100%                  0%                  0%          100%                 0%




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                                                  EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


     Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
      divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
      below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
      spending for the coming year to each type of digital advertising that you just indicated. For each digital
      advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
      coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     < Than $50K Ad Spend
                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [10] Social                           62                 -                  6              56                 -
 [11] Email                            32                 1                  6              25                 -
 [12] Search                           42                 1                  4              37                 -
 [13] Digital Audio                    33                 1                  3              29                 -
 [14] Digital Video                    39                 -                  3              36                 -
 [15] eCommerce Platforms              31                 -                  2              29                 -
 [16] Connected TV                     23                 -                  3              20                 -
 [17] App/In-app                       27                 -                  4              23                 -
 [18] Other                             -                 -                  -               -                 -


                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
              [A]                [B]             [C]                 [D]             [E]               [F]
 [10] Social                      100%                  0%                 10%             90%               0%
 [11] Email                       100%                  3%                 19%             78%               0%
 [12] Search                      100%                  2%                 10%             88%               0%
 [13] Digital Audio               100%                  3%                  9%             88%               0%
 [14] Digital Video               100%                  0%                  8%             92%               0%
 [15] eCommerce Platforms         100%                  0%                  6%             94%               0%
 [16] Connected TV                100%                  0%                 13%             87%               0%
 [17] App/In-app                  100%                  0%                 15%             85%               0%
 [18] Other                          0%                 0%                  0%              0%               0%




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                                                  EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


     Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
      divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
      below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
      spending for the coming year to each type of digital advertising that you just indicated. For each digital
      advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
      coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     $50K – $500K Ad Spend
                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [19] Social                           46                 -                  7             39                  -
 [20] Digital Audio                    47                 4                  4             39                  -
 [21] Email                            37                 2                  5             30                  -
 [22] Search                           42                 1                  4             37                  -
 [23] Digital Video                    35                 1                  3             31                  -
 [24] eCommerce Platforms              31                 2                  4             25                  -
 [25] Connected TV                     36                 2                  7             27                  -
 [26] App/In-app                       27                 1                  5             21                  -
 [27] Other                             1                 -                  -              1                  -


                               Total         Number of Respondents by Extent of Increase          Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10              / Unsure
              [A]                [B]             [C]                 [D]             [E]               [F]
 [19] Social                      100%                  0%                 15%           85%                 0%
 [20] Digital Audio               100%                  9%                  9%           83%                 0%
 [21] Email                       100%                  5%                 14%           81%                 0%
 [22] Search                      100%                  2%                 10%           88%                 0%
 [23] Digital Video               100%                  3%                  9%           89%                 0%
 [24] eCommerce Platforms         100%                  6%                 13%           81%                 0%
 [25] Connected TV                100%                  6%                 19%           75%                 0%
 [26] App/In-app                  100%                  4%                 19%           78%                 0%
 [27] Other                       100%                  0%                  0%          100%                 0%




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                                                EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are shown their answer choices from Q10.
    Respondents were shown Q11 if they did not select “None of the above” or “Don’t know/Unsure” in Q10.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type
      by the total number of people selecting the advertising type to which to divert spending.




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                                                EXHIBIT 63

                            LOWER-SPEND ADVERTISER SURVEY
                           PERFORMANCE ASSESSMENT METRICS


      Q12: Which of the following metrics, if any, are you using to assess the performance of display ads and/or
       social media ads? (Please select all that apply in each column.)

        All Respondents
                                                            Display Ads              Social Media Ads
                        Metric                          #                 %          #              %
                           [A]                         [B]            [C]           [D]            [E]
   [1] Return on Investment (ROI)                            119         39%               90         43%
   [2] Cost per click (CPC)                                  117         39%              103         49%
   [3] Clicks                                                116         38%               92         44%
   [4] Click through rate (CTR)                              107         35%              103         49%
   [5] Return on Ad Spend (ROAS)                             106         35%               85         40%
   [6] Cost per impression (CPM)                             106         35%               75         36%
   [7] Cost per action (CPA)                                 104         34%               80         38%
   [8] Conversions                                           102         34%               73         35%
   [9] Impressions                                            93         31%               64         30%
  [10] Other                                                   3          1%                -          0%
  [11] None of the above                                       1          0%                -          0%
  [12] Don’t know / Unsure                                     3          1%                3          1%
  [13] Total Shown Question                                  302          100%            210        100%

      < Than $50K Ad Spend
                                                            Display Ads              Social Media Ads
                        Metric                          #                 %          #              %
                           [A]                         [B]            [C]           [D]            [E]
  [14] Return on Investment (ROI)                             62         45%               47         47%
  [15] Cost per click (CPC)                                   55         40%               52         52%
  [16] Clicks                                                 48         35%               45         45%
  [17] Click through rate (CTR)                               47         34%               51         51%
  [18] Return on Ad Spend (ROAS)                              43         31%               41         41%
  [19] Cost per impression (CPM)                              50         36%               36         36%
  [20] Cost per action (CPA)                                  47         34%               34         34%
  [21] Conversions                                            38         28%               37         37%
  [22] Impressions                                            42         30%               26         26%
  [23] Other                                                   -          0%                -          0%
  [24] None of the above                                       -          0%                -          0%
  [25] Don’t know / Unsure                                     3          2%                3          3%
  [26] Total Shown Question                                  138          100%            100        100%



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                                                EXHIBIT 63

                            LOWER-SPEND ADVERTISER SURVEY
                           PERFORMANCE ASSESSMENT METRICS


      Q12: Which of the following metrics, if any, are you using to assess the performance of display ads and/or
       social media ads? (Please select all that apply in each column.)

      $50K – $500K Ad Spend
                                                            Display Ads              Social Media Ads
                        Metric                          #                 %          #              %
                           [A]                         [B]            [C]           [D]            [E]
  [27] Return on Investment (ROI)                             57         35%               43         39%
  [28] Cost per click (CPC)                                   62         38%               51         46%
  [29] Clicks                                                 68         41%               47         43%
  [30] Click through rate (CTR)                               60         37%               52         47%
  [31] Return on Ad Spend (ROAS)                              63         38%               44         40%
  [32] Cost per impression (CPM)                              56         34%               39         35%
  [33] Cost per action (CPA)                                  57         35%               46         42%
  [34] Conversions                                            64         39%               36         33%
  [35] Impressions                                            51         31%               38         35%
  [36] Other                                                   3          2%                -          0%
  [37] None of the above                                       1          1%                -          0%
  [38] Don’t know / Unsure                                     -          0%                -          0%
  [39] Total Shown Question                                  164          100%            110        100%


      Notes & Sources:
      From Lower-Spend Advertiser Survey.
      Sorted in descending order based on column [B], except for “Don’t know/Unsure” and “None of the above.”
      Respondents were only asked about each of the above advertising types if they had indicated in QS12 that
        they had used those advertising types in the past year.
      Percentages do not add up to 100% because respondents can select multiple options.




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                                                             EXHIBIT 64

                                    LOWER-SPEND ADVERTISER SURVEY
                              RANKING OF PERFORMANCE ASSESSMENT METRICS


    Q13: You indicated that you use the following metrics to assess the performance of display ads.
     Please rank these metrics in terms of how important they are to accurately assessing the performance of digital display ads, with 1
      being the most important and [NUMBER OF MEASURES SELECTED IN Q12] being the least important.
     (Please rank the following metrics, or select “Don’t know / Unsure”.)

      All Respondents
                                                 Respondents Ranking Metric                    Respondents Ranking Metric
                                                     As Most Important                        Among the Top 3 Most Important
                   Metric                         #                    %                        #                     %
                      [A]                         [B]                    [C]                      [D]                     [E]
 [1] Return on Investment (ROI)                            52                    18%                      100                     34%
 [2] Clicks                                                40                    14%                       85                     29%
 [3] Cost per click (CPC)                                  40                    14%                       85                     29%
 [4] Return on Ad Spend (ROAS)                             36                    12%                       84                     28%
 [5] Cost per action (CPA)                                 31                    10%                       77                     26%
 [6] Cost per impression (CPM)                             30                    10%                       77                     26%
 [7] Conversions                                           28                     9%                       75                     25%
 [8] Click through rate (CTR)                              26                     9%                       80                     27%
 [9] Impressions                                           13                     4%                       56                     19%
[10] Other                                                  -                     0%                        1                      0%
[11] Total                                                296                   100%                      296                   100%
    < Than $50K Ad Spend
                                                 Respondents Ranking Metric                    Respondents Ranking Metric
                                                     As Most Important                        Among the Top 3 Most Important
                   Metric                         #                    %                        #                     %
                      [A]                         [B]                    [C]                      [D]                     [E]
[12] Return on Investment (ROI)                            28                    21%                        51                    38%
[13] Clicks                                                15                    11%                        33                    25%
[14] Cost per click (CPC)                                  22                    17%                        39                    29%
[15] Return on Ad Spend (ROAS)                             18                    14%                        33                    25%
[16] Cost per action (CPA)                                 14                    11%                        36                    27%
[17] Cost per impression (CPM)                             14                    11%                        36                    27%
[18] Conversions                                            7                     5%                        26                    20%
[19] Click through rate (CTR)                              11                     8%                        35                    26%
[20] Impressions                                            4                     3%                        24                    18%
[21] Other                                                  -                     0%                         -                     0%
[22] Total                                                133                   100%                      133                   100%



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                                                             EXHIBIT 64

                                    LOWER-SPEND ADVERTISER SURVEY
                              RANKING OF PERFORMANCE ASSESSMENT METRICS


    Q13: You indicated that you use the following metrics to assess the performance of display ads.
     Please rank these metrics in terms of how important they are to accurately assessing the performance of digital display ads, with 1
      being the most important and [NUMBER OF MEASURES SELECTED IN Q12] being the least important.
     (Please rank the following metrics, or select “Don’t know / Unsure”.)

    $50K – $500K Ad Spend
                                                 Respondents Ranking Metric                     Respondents Ranking Metric
                                                     As Most Important                         Among the Top 3 Most Important
                   Metric                         #                    %                         #                     %
                      [A]                         [B]                     [C]                     [D]                     [E]
[23] Return on Investment (ROI)                            24                     15%                       49                    30%
[24] Clicks                                                25                     15%                       52                    32%
[25] Cost per click (CPC)                                  18                     11%                       46                    28%
[26] Return on Ad Spend (ROAS)                             18                     11%                       51                    31%
[27] Cost per action (CPA)                                 17                     10%                       41                    25%
[28] Cost per impression (CPM)                             16                     10%                       41                    25%
[29] Conversions                                           21                     13%                       49                    30%
[30] Click through rate (CTR)                              15                      9%                       45                    28%
[31] Impressions                                            9                      6%                       32                    20%
[32] Other                                                  -                      0%                        1                     1%
[33] Total                                                163                   100%                       163                   100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are only shown Q13 if they indicate that they used more than one metric to assess the performance of display
      ads in Q12. Respondents who selected only one metric in Q12 are assumed to have that metric ranked as most important.
    Total includes respondents who ranked metrics in Q13 or selected only one metric in Q12.
    2 respondents (less than 1 percent of respondents who used at least one metric to assess the performance of display ads) selected
      “Don’t know/Unsure.” These respondents had an annual ad spend of less than $50,000.




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                                                         EXHIBIT 65

                                  LOWER-SPEND ADVERTISER SURVEY
                               FREQUENCY OF PERFORMANCE ASSESSMENT


   Q14: How often, if at all, do you measure or assess the performance of your display advertising? (Please select only one option.)

     If you are using an ad agency and/or consultant and they are responsible for measuring or assessing performance of your
     display advertising, please indicate how often you receive information about the performance of your display advertising from
     the agency.

                                            Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend
               Frequency                     #            %               #            %               #            %
                  [A]                       [B]            [C]            [D]            [E]            [F]            [G]
[1] Daily                                          28          9%                 9          7%                19         12%
[2] Weekly                                        123         41%                69         50%                54         33%
[3] Monthly                                        96         32%                38         28%                58         35%
[4] Quarterly                                      46         15%                16         12%                30         18%
[5] Annually                                        8          3%                 5          4%                 3          2%
[6] Don’t know / Unsure                             1          0%                 1          1%                 -          0%
[7] Total Shown Question                          302        100%               138        100%               164        100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                       EXHIBIT 66

                                   LOWER-SPEND ADVERTISER SURVEY
                                     EXPERIMENTS ON DISPLAY ADS


   Q15: In the past year, have you run any experiments or test & learn initiatives on your digital display ads?
    (Please select only one option.)

                                        Total Respondents           < Than $50K Ad Spend          $50K – $500K Ad Spend
         Response Options                #            %                #            %                #            %
                 [A]                    [B]            [C]             [D]            [E]            [F]          [G]
[1] Yes                                       180         60%                 88         64%                92       56%
[2] No                                        119         39%                 49         36%                70       43%
[3] Don’t know / Unsure                         3          1%                  1          1%                 2        1%
[4] Total Shown Question                      302        100%                138        100%               164     100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                                EXHIBIT 67

                                        LOWER-SPEND ADVERTISER SURVEY
                                      TYPES OF EXPERIMENTS ON DISPLAY ADS


   Q16: Which of the following types of experiments or test & learn initiatives, if any, have you run in the past year on your
    digital display ads?

                                         Total Respondents               < Than $50K Ad Spend              $50K – $500K Ad Spend
         Experiment Type                 #              %                   #            %                    #             %
                  [A]                    [B]              [C]              [D]              [E]               [F]                [G]
[1] Creatives                                  111              62%              58               66%               53                 58%
[2] Audiences                                   84              47%              29               33%               55                 60%
[3] ROI/ROAS                                    74              41%              36               41%               38                 41%
[4] Ad buying tool performance                  74              41%              33               38%               41                 45%
[5] Bid strategies                              66              37%              27               31%               39                 42%
[6] Publishers                                  63              35%              25               28%               38                 41%
[7] Other                                        -               0%               -                0%                -                  0%
[8] Don’t know / Unsure                          1               1%               -                0%                1                  1%
[9] Total Shown Question                       180           100%                88            100%                 92             100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
   Sorted in descending order based on column [B], except for “Other” and “Don’t know/Unsure.”
   Percentages do not add up to 100% because respondents can select multiple options.
   Respondents were shown Q16 if they indicated in Q15 that they had conducted experiments or test & learn initiatives on their
     display ads in the past year.
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                                                   EXHIBIT 68

                                            AGENCY SURVEY
                                          RESPONSE STATISTICS


       Status                                                                             #                 %
 [1] Invited to Complete Survey                                                               3,916         100%
 [2] Clicked on Survey Link                                                                   1,909         100%
 [3] Screened Out of Survey                                                                   1,368          72%
 [4]     CAPTCHA                                                                                 12           1%
 [5]     Age                                                                                     14           1%
 [6]     State                                                                                   11           1%
 [7]     Job Responsibilities                                                                  235           12%
 [8]     Not Employed by a Media Agency or Full Service Agency                                 681           36%
 [9]     Full Service Agency Not Focused on Media Strategy                                     171            9%
[10]     No Digital Advertising Spend                                                             -           0%
[11]     Did Not Use Display Advertising                                                         83           4%
[12]     Did Not Use Programmatic Display                                                        24           1%
[13]     Not Involved in Decision Making Roles for Display Advertising                           19           1%
[14]     Failed Attention Check                                                                  11           1%
[15]     Overquota Respondents                                                                 107            6%
[16] Self-Termination                                                                            78           4%
[17]    Completed the Survey                                                                   463          100%
[18]     Removed from Sample                                                                    82           18%
[19]      Slowpokes and Speeders                                                                11            2%
[20]      Asked to be Excluded                                                                  71           15%
[21]      Analytical Sample                                                                    381              82%


     Notes & Sources:
     From Agency Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.




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                                                    EXHIBIT 68

                                              AGENCY SURVEY
                                            RESPONSE STATISTICS


     Notes & Sources (cont.):
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
      “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Media Agency” or “Full Service Agency” were screened
      out of the study.
 [9] Respondents who indicated in QS7 that they work for a “Full Service Agency” but not in “Media Strategy” in QS8
      were screened out of the study.
[10] Respondents who indicated in QS13 that the percentage of the client they spend the most time on’s total advertising
      budget spent on digital (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS14 that the client they spend the most time on used display advertising in the past
      year were screened out of the study.
[12] Respondents who did not indicate in QS15 that the client they spend the most time on used programmatic transaction
      methods to purchase display ad inventory were screened out of the study.
[13] Respondents who did not select “I determine or advise the client regarding overall strategies and/or budgets for digital
      display,” “I determine or advise the client regarding which buying tools and/or demand-side platforms (DSPs) to use for
      digital display,” “I regularly use self-serve ad platforms to manage digital display campaigns,” or “I oversee a
      team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” responses in QS17 were
      screened out of the study.
[14] Respondents who did not select “Somewhat likely” in QS18 were screened out of the study.
[15] Respondents were terminated due to entering the survey after it had been closed for sampling.
[16] Respondents who only completed part of the survey.
[19] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the
      survey were removed from the analysis.
[20] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
      who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[21] These respondents were used in the analysis.




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                                                                           EXHIBIT 69

                                                               AGENCY SURVEY
                                                      SURVEY PARTICIPATION PREFERENCE


                         QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
                          pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
                          digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
                          reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
                          do not want to participate in this survey, please click “Exclude my responses” below.




                        450
                                                      85%
                                                      392
                        400

                        350
Number of Respondents




                        300

                        250

                        200

                        150
                                                                                                              15%
                        100
                                                                                                               71
                         50

                          0
                                             Include my responses                                   Exclude my responses

                         Notes & Sources:
                         From Agency Survey.
                         Includes respondents who completed the survey.
                         Respondents who indicated that they wanted their responses excluded from the survey were removed from the data by the
                           panel vendor.
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                                            EXHIBIT 70

                                   AGENCY SURVEY
                              RESPONDENT DEMOGRAPHICS


                                                    #               %
                                                   [A]              [B]
                 Age
              [1] 18 - 34                                 94              25%
              [2] 35 - 49                                239              63%
              [3] 50 - 64                                 47              12%
              [4] 65 or above                              1               0%
              [5] Total                                  381              100%

                    Gender
              [6]    Female                              125              33%
              [7]    Male                                255              67%
              [8]    Other                                 -               0%
              [9]    Prefer not to answer                  1               0%
             [10] Total                                  381              100%


                    Source:
                    From Agency Survey.
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                                                   EXHIBIT 71

                                           AGENCY SURVEY
                                             JOB TITLES


         QS9: Which of the following best characterizes your current job title/level? (Please select only
          one option.)

                                                                             Total Respondents
                               Job Title / Level                             #                 %
                                     [A]                                    [B]               [C]
      [1] C-Level (CEO, COO, CMO, etc.)                                           140               37%
      [2] Strategist                                                               50               13%
      [3] Social Media Manager                                                     45               12%
      [4] Media Planner                                                            32                8%
      [5] Account Manager / Account Executive                                      31                8%
      [6] Project Manager                                                          24                6%
      [7] Media Buyer                                                              20                5%
      [8] Business Development Manager                                             16                4%
      [9] Data Scientist / Data Analyst                                             2                1%
     [10] Traffic Manager                                                           2                1%
     [11] Analyst / Researcher                                                      1                0%
     [12] Editor / Writer                                                           1                0%
     [13] Other                                                                    17                4%
     [13] Total                                                                   381               100%


         Notes & Sources:
         From Agency Survey.
         Sorted in descending order based on column [B], except for “Other.”
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                                                 EXHIBIT 72

                                           AGENCY SURVEY
                                           MARKET SECTORS


      QS11: Which of the following, if any, best characterizes the market sector/industry
       of the client you spend the most time on? (Please select only one option.)

                                                                                  Total Respondents
                            Market Sector / Industry                              #               %
                                       [A]                                       [B]             [C]
   [1] Advertising or Marketing                                                         139            36%
   [2] Retail (including Ecommerce)                                                      38            10%
   [3] B2B/Services for Businesses                                                       25             7%
   [4] Apparel/Fashion                                                                   24             6%
   [5] Media and Entertainment                                                           21             6%
   [6] Travel and Hospitality                                                            16             4%
   [7] Automotive                                                                        15             4%
   [8] Food and Beverage                                                                 15             4%
   [9] Financial Products/Services for Consumers (including Fintech)                     14             4%
  [10] Pharmaceuticals and Remedies (Rx or OTC)                                          12             3%
  [11] Health Care or Medical Services                                                   12             3%
  [12] Health and Beauty Products                                                        11             3%
  [13] Telecommunications                                                                 9             2%
  [14] Restaurants                                                                        7             2%
  [15] Education                                                                          6             2%
  [16] Consumer Electronics                                                               5             1%
  [17] Non-Profit                                                                         4             1%
  [18] Home Products/Appliances                                                           2             1%
  [19] Government                                                                         1             0%
  [20] Other                                                                              5             1%
  [21] Total                                                                            381            100%


      Notes & Sources:
      From Agency Survey.
      Sorted in descending order based on column [B], except for “Other.”
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                                                             EXHIBIT 73

                                                           AGENCY SURVEY
                                                          ANNUAL AD SPEND


QS12: In the last 12 months, approximately how much did the client you spend the most time on spend on all advertising, includes all digital
 types (e.g., display, video, audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)




                            80
                                                                      69
                            70                                                      65
    Number of Respondents




                            60
                                                                              48
                            50                               45
                                                                                            39
                            40
                                                        29
                            30                                                                             26
                                                                                                    21
                            20
                                            8                                                                       9       10
                            10       5           6
                                 0                                                                                                  1
                            0




Notes & Sources:
From Agency Survey.
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                                                                             EXHIBIT 74

                                                          AGENCY SURVEY
                                           PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING


                               QS13: Please think about the total advertising budget for the client you spend the most time on. In the past year,
                                what percentage of the total advertising budget for the client you spend the most time on was used for digital
                                (online) advertising, as opposed to offline advertising? Please give your best estimate.


                                                                                                             Median
                                                                                                                               Median
                         100                                                               25th Percentile
                                                                                                                89
                          90                                                                                            75th Percentile
                                                                                                   81
                          80                                                                                                           90th Percentile
                                                                         10th Percentile
Number of Respondents




                          70                                                                                                   63
                          60
                          50
                                                                                    41                                                      41
                          40
                          30                                            27
                                                                                                                                                            19
                          20                               13
                          10                    5
                                    1
                           0
                                 [0, 10]     (10, 20]    (20, 30]    (30, 40]    (40, 50]       (50, 60]     (60, 70]       (70, 80]      (80, 90]       (90, 100]
                                                            Percent of Advertising Budget Spent on Digital Advertising




                               Notes & Sources:
                               From Agency Survey
                               Respondents who entered zero for digital (online) advertising were screened out of the survey.
                               1 respondent selected “Don’t know / Unsure.”
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                                           EXHIBIT 75

                               AGENCY SURVEY
                     TYPES OF DIGITAL ADVERTISING USED


                    QS14: Which of the following types of digital advertising, if any, have
                     you used in the past year for the client you spend the most time on?
                     Please review the description of each advertising type carefully.
                     (Please select all that apply.)

                                                        Total Respondents
                             Advertising Type            #            %
                                  [A]                   [B]            [C]
                 [1] Display                                  381        100%
                 [2] Social                                   299         78%
                 [3] Search                                   262         69%
                 [4] Digital Video                            248         65%
                 [5] Email                                    194         51%
                 [6] eCommerce Platforms                      191         50%
                 [7] Connected TV                             185         49%
                 [8] App/In-App                               174         46%
                 [9] Digital Audio                            160         42%
                [10] Other                                      2          1%
                [11] Total                                    381        100%


                    Notes & Sources:
                    From Agency Survey.
                    Respondents who did not select “Display” were screened out of the survey.
                    Percentages do not add up to 100% because respondents can select
                      multiple options.
                    Sorted in descending order based on column [B], except for “Other.”
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                                            EXHIBIT 76

                           AGENCY SURVEY
             NUMBER OF TYPES OF DIGITAL ADVERTISING USED


                       QS14: Which of the following types of digital advertising, if any, have
                        you used in the past year for the client you spend the most time on?
                        Please review the description of each advertising type carefully.
                        (Please select all that apply.)

                                Number of                  Total Respondents
                              Types Selected                #            %
                                    [A]                    [B]            [C]
                 [1]                  1                           48         13%
                 [2]                  2                           12          3%
                 [3]                  3                           17          4%
                 [4]                  4                           39         10%
                 [5]                  5                           62         16%
                 [6]                  6                           49         13%
                 [7]                  7                           63         17%
                 [8]                  8                           47         12%
                 [9]                  9                           44         12%
                [10]                 10                            -          0%
                [11] Total                                       381        100%


                       Notes & Sources:
                       From Agency Survey.
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                                            EXHIBIT 77

                            AGENCY SURVEY
               DISPLAY ADVERTISING TRANSACTION METHODS


                QS15: Which of the following transaction methods have you used to purchase
                 display ad inventory in the past year for the client you spend the most time on?
                 (Please select all that apply.)

                                                             Total Respondents
                        Transaction Method                   #                 %
                                [A]                         [B]               [C]
             [1] Programmatic Only                                204               54%
             [2] Programmatic and Direct Deals                    177               46%
             [3] Total                                            381               100%


                Notes & Sources:
                From Agency Survey.
                Respondents who selected “Direct Deals Only,” “None of the Above,” or
                  “Don’t know / Unsure” were screened out of the survey.
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                                          EXHIBIT 78

                                AGENCY SURVEY
                         SOCIAL MEDIA PLATFORMS USED


                  QS16: You indicated that you have used social advertising in the past year
                   for the client you spend the most time on. Which of the following social
                   media platforms, if any, have you used in the past year for the client you
                   spend the most time on? (Please select all that apply.)

                                                        Total Respondents
                       Social Media Platform            #                 %
                               [A]                     [B]               [C]
               [1] Facebook                                  270               90%
               [2] Instagram                                 252               84%
               [3] LinkedIn                                  181               61%
               [4] Twitter                                   156               52%
               [5] Tiktok                                    151               51%
               [6] Snapchat                                  112               37%
               [7] Pinterest                                 102               34%
               [8] Reddit                                     76               25%
               [9] Tumblr                                     26                9%
              [10] FriendLinx                                 15                5%
              [11] Other                                       5                2%
              [12] None of the Above                           -                0%
              [13] Don’t know / Unsure                         1                0%
              [14] Total Shown Question                      299            100%


                  Notes & Sources:
                  From Agency Survey.
                  Sorted in descending order based on column [B], except for “Other,”
                    “None of the Above,” and “Don’t know / Unsure.”
                  Percentages do not add to 100% because respondents can select multiple options.
                  Respondents were only shown QS16 if they indicated in QS14 that they had used
                    social advertising in the past year for the client they spend the most time on.
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                                                 EXHIBIT 79

                                      AGENCY SURVEY
                               ROLE OF AGENCY VS. THE CLIENT


      Q2: Which of the following best describes your involvement in each of these activities for the client you
       spend the most time on? (Please select a value on the slider between 0 and 100 for each activity. If you
       do not have an answer, please select “Don’t know / Unsure”)

                                     Roles                                    Mean             Median
                                       [A]                                      [B]              [C]
   [1] Determining initial advertising budget                                         70                75
   [2] Allocating budget across different advertising types                           74                78
   [3] Increasing/decreasing spending on a particular type of advertising             73                77
   [4] Increasing/decreasing spending on a particular ad campaign                     73                76
   [5] Making changes to a campaign based on its performance                          74                77
   [6] Deciding where to advertise                                                    74                78
   [7] Deciding whether to purchase display ads programmatically or                   72                75
         through direct deals with publishers
   [8] Measuring performance of display ad campaigns                                  71                76


      Notes & Sources:
      From Agency Survey.
      0 is labeled as “I am not involved in these decisions” and 100 is labeled as “I am the primary decision maker.”
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                                                       EXHIBIT 80

                                           AGENCY SURVEY
                                  DIGITAL ADVERTISING BUDGET SHARE


        Q3: What is your best estimate of the share of the digital advertising budget of the client you
         spend the most time on that was used for each of these types of advertising in the past year?
         Specifically, please allocate 100% across the different types of digital advertising shown
         below based on the share of your client’s total digital advertising budget spent on each type.
         The total should add up to 100%.

             Advertising Type            # of Respondents                  Mean                       Median
                   [A]                          [B]                         [C]                           [D]
    [1] Programmatic Display                                377                       31%                         20%
    [2] Social                                              295                       15%                         12%
    [3] Search                                              258                       13%                         10%
    [4] Digital Video                                       244                        9%                         10%
    [5] Email                                               191                        5%                          0%
    [6] eCommerce Platforms                                 190                        7%                          0%
    [7] Connected TV                                        183                        7%                          0%
    [8] Direct Deals Display                                174                        5%                          0%
    [9] App/In-app                                          171                        5%                          0%
   [10] Digital Audio                                       158                        4%                          0%
   [11] Other                                                 2                        0%                          0%
   [12] Don’t know / Unsure                                   4                        n/a                         n/a
   [13] Total Shown Question                                381


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
        Respondents were shown their responses from QS14 and QS15. They are asked to allocate across all selected types.
        Respondents can hover their mouse over each digital advertising type to review the type description.
    [B] Shows number of respondents who allocated a budget for each advertising type.
[C]-[D] Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the advertising type
          in QS14 or QS15.
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                                               EXHIBIT 81

                            AGENCY SURVEY
            RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


        Q4: Now suppose that, based on your analysis, the cost of programmatic display advertising has
         recently increased by a small but significant amount, and will remain elevated for the foreseeable
         future. Assume further that, based on similar analyses for other digital advertising types, the
         costs of other digital advertising types have not changed and are not expected to change.
         So, for the client you spend the most time on, if the cost of programmatic display advertising
         increases (while the cost of other advertising types remains the same), will you or won’t you
         divert some of your advertising spending for the coming year for the client you spend the most
         time on to other types of digital advertising?

               Response Options                        #                              %
                       [A]                            [B]                            [C]
     [1] Will Divert Spending                                     206                            54%
     [2] Will Not Divert Spending                                 156                            41%
     [3] Don’t know / Unsure                                       19                             5%
     [4] Total Shown Question                                     381                          100%


        Notes & Sources:
        From Agency Survey.
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                                                EXHIBIT 82

                           AGENCY SURVEY
       ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
            DUE TO PROGRAMMATIC DISPLAY COST INCREASE


         Q5: To which other types of digital advertising below, if any, would you divert your advertising
          spending for the coming year for the client you spend the most time on, as a result of the increase
          in the cost of programmatic display advertising?

                                                  Respondents Indicating They Would Divert
                                                      Spending to the Advertising Type
                Advertising Type                       #                            %
                      [A]                             [B]                          [C]
      [1] Social                                                 128                              62%
      [2] Search                                                   93                             45%
      [3] Digital Video                                            82                             40%
      [4] eCommerce Platforms                                      77                             37%
      [5] Direct Deals Display                                     74                             36%
      [6] Connected TV                                             73                             35%
      [7] Digital Audio                                            53                             26%
      [8] Email                                                    54                             26%
      [9] App/In-app                                               47                             23%
     [10] Other                                                     1                              0%
     [11] None of the above                                         1                              0%
     [12] Don’t know / Unsure                                       1                              0%
     [13] Total Shown Question                                      206                         100%


         Notes & Sources:
         From Agency Survey.
         Sorted in descending order based on column [B], except for “Other,” “None of the above,”
           and “Don’t know / Unsure.”
         Respondents can hover their mouse over each digital advertising type to review the advertising
           type description.
         Percentages do not add up to 100% because respondents can select multiple options.
         Respondents were only shown Q5 if they indicated in Q4 that they would divert advertising spending to
           other types of digital advertising for the client they spending the most time on.
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                                                   EXHIBIT 83

                         AGENCY SURVEY
NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
           DUE TO PROGRAMMATIC DISPLAY COST INCREASE


            Q5: To which other types of digital advertising below, if any, would you divert your advertising
             spending for the coming year for the client you spend the most time on, as a result of the increase
             in the cost of programmatic display advertising?

                                                      Respondents Indicating They Would Divert
               Number of Advertising                 Spending to the Number of Advertising Types
             Types Diverted Spending To                    #                             %
                         [A]                              [B]                             [C]
      [1]                  0                                             1                             0%
      [2]                  1                                            33                            16%
      [3]                  2                                            58                            28%
      [4]                  3                                            41                            20%
      [5]                  4                                            28                            14%
      [6]                  5                                            16                             8%
      [7]                  6                                             7                             3%
      [8]                  7                                             5                             2%
      [9]                  8                                             3                             1%
     [10]                  9                                            13                             6%
     [11]                 10                                             -                             0%
     [12]        Don’t know / Unsure         \                           1                             0%
     [13] Total Shown Question                                         206                          100%


            Notes & Sources:
            From Agency Survey.
            Respondents were only shown Q5 if they indicated in Q4 that they would divert advertising spending to other
              types of digital advertising for the client they spending the most time on.
            Respondents can hover their mouse over each digital advertising type to review the advertising type description.
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                                                                                               EXHIBIT 84

                                                              AGENCY SURVEY
                              EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


    Q6: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will lead you to divert some of your advertising types of digital spending to the
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the coming year
      for the client you spend the most time on to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending
     on that type of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

                                 Total         Average Extent                                           Number of Respondents by Extent of Increase                                         Don't know
      Advertising Type       Respondents         of Increase       0           1          2             3          4          5          6         7           8          9          10      / Unsure
              [A]                 [B]               [C]           [D]         [E]        [F]           [G]        [H]        [I]        [J]        [K]        [L]        [M]        [N]         [O]
 [1] Social                              128              6.9           -           -          6             6          6          11         14      27            31      13         12              2
 [2] Search                               93              6.7           1           1          3             3          2          14         13      24            12      13          7              -
 [3] Digital Video                        82              6.6           1           2          3             6          6           2          9      17            17      11          7              1
 [4] eCommerce Platforms                  77              7.3           2           -          2             2          1           7          5      18            13      16         10              1
 [5] Direct Deals Display                 74              6.9           3           -          3             4          4           5          4      14            14      11         11              1
 [6] Connected TV                         73              6.8           -           1          2             7          5           5          3      14            23       8          5              -
 [7] Digital Audio                        53              7.0           2           -          2             -          5           6          2       6            11      15          4              -
 [8] Email                                54              6.8           3           -          4             1          2           2          4       9            15      10          4              -
 [9] App/In-app                           47              7.2           2           -          -             1          -           5          3      12            11       5          7              1
[10] Other                                 1              3.0           -           -          -             1          -           -          -       -             -       -          -              -

                                 Total         Average Extent                                             Share of Respondents by Extent of Increase                                        Don't know
      Advertising Type       Respondents         of Increase       0           1          2             3          4          5          6         7           8          9          10      / Unsure
              [A]                 [B]               [C]           [D]         [E]        [F]           [G]        [H]        [I]        [J]        [K]        [L]        [M]        [N]         [O]
 [1] Social                          100%                 n/a       0%          0%         5%            5%         5%          9%       11%        21%        24%        10%         9%          2%
 [2] Search                          100%                 n/a       1%          1%         3%            3%         2%        15%        14%        26%        13%        14%         8%          0%
 [3] Digital Video                   100%                 n/a       1%          2%         4%            7%         7%          2%       11%        21%        21%        13%         9%          1%
 [4] eCommerce Platforms             100%                 n/a       3%          0%         3%            3%         1%          9%        6%        23%        17%        21%        13%          1%
 [5] Direct Deals Display            100%                 n/a       4%          0%         4%            5%         5%          7%        5%        19%        19%        15%        15%          1%
 [6] Connected TV                    100%                 n/a       0%          1%         3%           10%         7%          7%        4%        19%        32%        11%         7%          0%
 [7] Digital Audio                   100%                 n/a       4%          0%         4%            0%         9%        11%         4%        11%        21%        28%         8%          0%
 [8] Email                           100%                 n/a       6%          0%         7%            2%         4%          4%        7%        17%        28%        19%         7%          0%
 [9] App/In-app                      100%                 n/a       4%          0%         0%            2%         0%        11%         6%        26%        23%        11%        15%          2%
[10] Other                           100%                 n/a       0%          0%         0%          100%         0%          0%        0%         0%         0%         0%         0%          0%




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                                                                                            EXHIBIT 84

                                                              AGENCY SURVEY
                              EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were shown their answer choices from Q5.
    Respondents were only shown Q6 if they did not select “None of the above” or “Don’t know/Unsure” in Q5.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average extent of increase in [D] through [N], weighted by the number of respondents.




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                                                       EXHIBIT 85

                                AGENCY SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


         Q6: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will
          lead you to divert some of your advertising types of digital spending to the advertising listed below. Please use
          the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase)
          advertising spending for the coming year for the client you spend the most time on to each type of digital
          advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to
          keep spending on that type of digital advertising for the coming year and 10 if you expect to substantially
          increase spending on that type of digital advertising.


                                     Total          Number of Respondents by Extent of Increase          Don't know
           Advertising Type       Respondents         0–3            4–6              7 – 10              / Unsure
                   [A]                 [B]              [C]               [D]              [E]               [F]
      [1] Social                             128               12                31               83                  2
      [2] Search                              93                8                29               56                  -
      [3] Digital Video                       82               12                17               52                  1
      [4] eCommerce Platforms                 77                6                13               57                  1
      [5] Direct Deals Display                74               10                13               50                  1
      [6] Connected TV                        73               10                13               50                  -
      [7] Digital Audio                       53                4                13               36                  -
      [8] Email                               54                8                 8               38                  -
      [9] App/In-app                          47                3                 8               35                  1
     [10] Other                                1                1                 -                -                  -

                                     Total           Share of Respondents by Extent of Increase          Don't know
           Advertising Type       Respondents         0–3             4–6               7 – 10            / Unsure
                   [A]                 [B]              [C]               [D]              [E]               [F]
      [1] Social                          100%               9%                 24%              65%               2%
      [2] Search                          100%               9%                 31%              60%               0%
      [3] Digital Video                   100%              15%                 21%              63%               1%
      [4] eCommerce Platforms             100%               8%                 17%              74%               1%
      [5] Direct Deals Display            100%              14%                 18%              68%               1%
      [6] Connected TV                    100%              14%                 18%              68%               0%
      [7] Digital Audio                   100%               8%                 25%              68%               0%
      [8] Email                           100%              15%                 15%              70%               0%
      [9] App/In-app                      100%               6%                 17%              74%               2%
     [10] Other                           100%             100%                  0%               0%               0%




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                                                      EXHIBIT 85

                                AGENCY SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other.”
        Respondents were shown their answer choices from Q5.
        Respondents were only shown Q6 if they did not select “None of the above” or “Don’t know/Unsure” in Q5.
        Respondents can hover their mouse over each digital advertising type to review the type description.
        Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total
          number of people selecting the advertising type to which to divert spending.




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                                                                         EXHIBIT 86

                                                            AGENCY SURVEY
                                                   AD BUYING TOOLS USED IN PAST YEAR


    Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
     ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
     include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
     advertising for the client you spend the most time on? (Please select all that apply.)

                                                                   Total Respondents             < Than $15M Ad Spend           > Than $15M Ad Spend
                        Ad Buying Tool                             #              %                 #            %                 #            %
                               [A]                                 [B]             [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          222             58%             125             60%              96             56%
 [2] Google DV360                                                        156             41%              83             40%              72             42%
 [3] Amazon DSP                                                          147             39%              81             39%              66             39%
 [4] The Trade Desk DSP                                                  100             26%              48             23%              51             30%
 [5] Adobe Advertising Cloud                                              70             18%              40             19%              30             18%
 [6] Yahoo DSP (formerly Verizon Media DSP)                               50             13%              27             13%              23             14%
 [7] Criteo                                                               49             13%              22             10%              27             16%
 [8] MediaMath DSP                                                        41             11%              24             11%              17             10%
 [9] Xandr Invest                                                         37             10%              17              8%              20             12%
[10] Simpli.fi                                                            36              9%              14              7%              22             13%
[11] Taboola                                                              34              9%              18              9%              16              9%
[12] Quantcast                                                            30              8%              16              8%              14              8%
[13] Adform                                                               31              8%              17              8%              14              8%
[14] StackAdapt                                                           29              8%              17              8%              12              7%
[15] Zeta Global                                                          28              7%              12              6%              16              9%
[16] Basis by Centro                                                      26              7%              13              6%              13              8%
[17] Amobee                                                               27              7%              13              6%              14              8%
[18] Outbrain                                                             25              7%              17              8%               8              5%
[19] Beeswax                                                              20              5%               9              4%              11              6%
[20] Adelphic                                                             15              4%               6              3%               9              5%
[21] Illumin (formerly AcuityAds)                                         15              4%               4              2%              11              6%
[22] Ad Step Technologies                                                 29              8%               9              4%              20             12%
[23] Quorexx                                                              15              4%               7              3%               8              5%
[24] Other                                                                 7              2%               5              2%               2              1%
[25] Don’t know / Unsure                                                   1              0%               1              0%               -              0%
[26] Total Shown Question                                                381             100%            210         100%                170         100%




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                                                                          EXHIBIT 86

                                                               AGENCY SURVEY
                                                      AD BUYING TOOLS USED IN PAST YEAR


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
        Percentages do not add up to 100% because respondents can select multiple options.




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                                                                           EXHIBIT 87

                                                          AGENCY SURVEY
                                            NUMBER OF AD BUYING TOOLS USED IN PAST YEAR


        Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
         ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
         include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
         advertising for the client you spend the most time on? (Please select all that apply.)

                            Number of                               Total Respondents            < Than $15M Ad Spend            > Than $15M Ad Spend
                      Ad Buying Tools Selected                      #              %                #            %                  #            %
                                 [A]                                [B]             [C]             [D]             [E]             [F]            [G]
    [1] Zero                                                                2              1%               2              1%               -             0%
    [2] One                                                               101             27%              64             30%              37            22%
    [3] More than One                                                     277             73%             143             68%             133            78%
    [4] Two                                                                73             19%              30             14%              43            25%
    [5] Three                                                              87             23%              50             24%              36            21%
    [6] Four or More                                                      117             31%              63             30%              54            32%
    [7] Don’t know / Unsure                                                 1              0%               1              0%               -             0%
    [8] Total Shown Question                                              381         100%                210         100%                170         100%

    [9] Average # of Ad Buying Tools Selected                             3.1                             3.0                             3.3


         Notes & Sources:
         From Agency Survey.
    [A] Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
     [9] Calculated as the average number of ad buying tools selected by respondents. Excludes respondents who selected “Don’t know / Unsure.”
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                                                                            EXHIBIT 88

                                                                AGENCY SURVEY
                                                        USE OF GOOGLE AD BUYING TOOLS


        Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
         ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
         include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
         advertising for the client you spend the most time on? (Please select all that apply.)

                                                                       Total Respondents           < Than $15M Ad Spend            > Than $15M Ad Spend
                          Ad Buying Tool(s)                            #               %               #              %               #              %
                                  [A]                                 [B]             [C]             [D]            [E]             [F]             [G]
    [1] Neither Google Ads nor Google DV360                                 105             28%              63            30%              42             25%
    [2] At least one of Google Ads and Google DV360                         275             72%             146            70%             128             75%
    [3] Google Ads Only                                                     119             31%              63            30%              56             33%
    [4] Google DV360 Only                                                    53             14%              21            10%              32             19%
    [5] Both Google Ads and Google DV360                                    103             27%              62            30%              40             24%
    [6] Don’t know / Unsure                                                   1              0%               1             0%               -              0%
    [7] Total Shown Question                                                381         100%                210         100%               170         100%


        Notes & Sources:
        From Agency Survey.
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
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                                                                                             EXHIBIT 89

                                                                                  AGENCY SURVEY
                                                                                   GOOGLE USERS
                                                                          NUMBER OF OTHER AD BUYING TOOLS


       Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from a wide
        range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
        the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the client you spend the most time on? (Please select
        all that apply.)

                                                                              Google Ads Users                                                       Google DV360 Users
                 # of Other Ad Buying                                           < Than $15M             > Than $15M                                      < Than $15M             > Than $15M
               Tools (Incl. Google Tools)             Total Respondents           Ad Spend                Ad Spend            Total Respondents            Ad Spend                Ad Spend
                           [A]                               [B]                     [C]                      [D]                     [E]                     [F]                    [G]
 [1]                        0                                          38                      22                      16                       10                       7                      3
 [2]                        1                                          39                      15                      24                       18                       9                      9
 [3]                        2                                          54                      34                      19                       40                      23                     16
 [4]                        3                                          27                      15                      12                       22                       9                     13
 [5]                       4+                                          64                      39                      25                       66                      35                     31
 [6]               Total Respondents                                  222                     125                      96                     156                       83                     72

 [7] Average # of Other Ad Buying Tools                               2.7                      2.7                     2.7                     3.5                     3.3                     3.8

                                                                              Google Ads Users                                                       Google DV360 Users
                 # of Other Ad Buying                                           < Than $15M             > Than $15M                                      < Than $15M             > Than $15M
               Tools (Incl. Google Tools)             Total Respondents           Ad Spend                Ad Spend            Total Respondents            Ad Spend                Ad Spend
                           [A]                               [B]                     [C]                      [D]                     [E]                     [F]                    [G]
 [8]                        0                                        17%                     18%                     17%                       6%                      8%                   4%
 [9]                        1                                        18%                     12%                     25%                      12%                     11%                  13%
[10]                        2                                        24%                     27%                     20%                      26%                     28%                  22%
[11]                        3                                        12%                     12%                     13%                      14%                     11%                  18%
[12]                       4+                                        29%                     31%                     26%                      42%                     42%                  43%
[13]               Total Respondents                                100%                    100%                    100%                    100%                     100%                  100%




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                                                                                                       EXHIBIT 89

                                                                                            AGENCY SURVEY
                                                                                             GOOGLE USERS
                                                                                    NUMBER OF OTHER AD BUYING TOOLS


                 Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from a wide
                  range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
                  the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the client you spend the most time on? (Please select
                  all that apply.)

                                                                                        Google Ads Users                                                       Google DV360 Users
                              # of Non-Google                                             < Than $15M             > Than $15M                                      < Than $15M             > Than $15M
                              Ad Buying Tools                   Total Respondents           Ad Spend                Ad Spend            Total Respondents            Ad Spend                Ad Spend
                                     [A]                               [B]                     [C]                      [D]                     [E]                     [F]                    [G]
          [14]                        0                                          46                      27                      19                       18                      12                      6
          [15]                        1                                          57                      28                      28                       36                      22                     13
          [16]                        2                                          45                      23                      22                       31                      12                     19
          [17]                        3                                          30                      22                       8                       25                      16                      9
          [18]                       4+                                          44                      25                      19                       46                      21                     25
          [19]               Total Respondents                                  222                     125                      96                     156                       83                     72

          [20] Average # of Non-Google Ad Buying Tools                          2.2                      2.2                     2.3                     2.9                     2.6                     3.2

                                                                                        Google Ads Users                                                       Google DV360 Users
                              # of Non-Google                                             < Than $15M             > Than $15M                                      < Than $15M             > Than $15M
                              Ad Buying Tools                   Total Respondents           Ad Spend                Ad Spend            Total Respondents            Ad Spend                Ad Spend
                                     [A]                               [B]                     [C]                      [D]                     [E]                     [F]                    [G]
          [21]                        0                                        21%                     22%                     20%                      12%                     14%                   8%
          [22]                        1                                        26%                     22%                     29%                      23%                     27%                  18%
          [23]                        2                                        20%                     18%                     23%                      20%                     14%                  26%
          [24]                        3                                        14%                     18%                      8%                      16%                     19%                  13%
          [25]                       4+                                        20%                     20%                     20%                      29%                     25%                  35%
          [26]               Total Respondents                                100%                    100%                    100%                    100%                     100%                  100%


                Notes & Sources:
                From Agency Survey.
            [A] Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
[C]-[D],[F]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
                Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected ad buying tools by the total number of people
                  choosing “Google Ads” or “Google DV360.”




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                                                  EXHIBIT 90

                                 AGENCY SURVEY
                  USE OF GOOGLE ADS AND OTHER AD BUYING TOOLS


     Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies
      to bid automatically on display ad inventory from a wide range of publishers. Some ad buying tools can also
      be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which
      of the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the
      client you spend the most time on? (Please select all that apply.)

                                                                                        Total Respondents
                                 Ad Buying Tool(s)                                       #            %
                                       [A]                                              [B]            [C]
  [1] Google Ads and At Least One Other Ad Buying Tool                                        184         83%
  [2] Google Ads and DV360 Only                                                                 8          4%
  [3] Google Ads, DV360 and At Least One Non-Google Ad Buying Tool                             95        43%
  [4] Google Ads Only and At Least One Non-Google Ad Buying Tool                               81        36%
  [5] Google Ads and No Other Ad Buying Tool                                                   38         17%
  [6] Total Respondents Using Google Ads                                                      222        100%


     Notes & Sources:
     From Agency Survey.
     Limited to respondents who selected Google Ads in Q7.
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                                                                EXHIBIT 91

                                           AGENCY SURVEY
                         OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                         WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


        QS14: Which of the following types of digital advertising, if any, have you used in the past year for the client you spend
         the most time on? Please review the description of each advertising type carefully. (Please select all that apply.)

                                                     Respondents Who Use Google                   Respondents Who Use Google
                                                      Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                    Other Digital                    Tools for Programmatic Display            Buying Tools for Programmatic Display
                Advertising Types Used                  #                    %                        #                    %
                         [A]                            [B]                    [C]                    [D]                     [E]
    [1] Social                                                   26                   68%                       34                   74%
    [1] Search                                                   24                   63%                       32                   70%
    [2] Digital Video                                            22                   58%                       29                   63%
    [3] Email                                                    21                   55%                       26                   57%
    [4] Connected TV                                             19                   50%                       22                   48%
    [5] eCommerce Platforms                                      16                   42%                       18                   39%
    [6] Digital Audio                                            14                   37%                       18                   39%
    [7] App/In-App                                               11                   29%                       14                   30%
    [8] Direct Display                                           11                   29%                       14                   30%
    [9] Other                                                     -                      -                       -                      -
   [10] Total                                                    38                  100%                       46                   100%


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other.”
    [A] Includes the non-programmatic display advertising types respondents selected in QS14 and QS15.
[B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7. Includes 1
          respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q7. Includes 1
          respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
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                                                                  EXHIBIT 92

                                        AGENCY SURVEY
                 NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                      WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


          QS14: Which of the following types of digital advertising, if any, have you used in the past year for the client you spend
           the most time on? Please review the description of each advertising type carefully. (Please select all that apply.)

                                                       Respondents Who Use Google                   Respondents Who Use Google
                                                        Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                    Number of Other                    Tools for Programmatic Display            Buying Tools for Programmatic Display
            Digital Advertising Types Used                #                    %                        #                    %
                           [A]                            [B]                    [C]                    [D]                     [E]
    [1]                     0                                        8                  21%                        8                   17%
    [2]                     1                                        3                   8%                        3                    7%
    [3]                     2                                        3                   8%                        4                    9%
    [4]                     3                                        3                   8%                        4                    9%
    [5]                     4                                        1                   3%                        4                    9%
    [6]                     5                                        5                  13%                        5                   11%
    [7]                     6                                        3                   8%                        3                    7%
    [8]                     7                                        3                   8%                        3                    7%
    [9]                     8                                        3                   8%                        4                    9%
   [10]                     9                                        6                  16%                        8                   17%
   [11] Total                                                      38                  100%                       46                   100%


        Notes & Sources:
        From Agency Survey.
    [A] Counts the number of non-programmatic display advertising types respondents selected in QS14 and QS15.
[B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7. Includes 1
          respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tools in Q7. Includes 1
          respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
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                                                               EXHIBIT 93

                                      AGENCY SURVEY
                      PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
             BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


    Q3: What is your best estimate of the share of the digital advertising budget of the client you spend the most time
     on that was used for each of these types of advertising in the past year? Specifically, please allocate 100% across
     the different types of digital advertising shown below based on the share of your client’s total digital advertising
     budget spent on each type. The total should add up to 100%.


                                                      Respondents Who Use Google                     Respondents Who Use Google
                                                       Ads and No Other Ad Buying                  Ads and No Other Non-Google Ad
              % of Budget Allocated                   Tools for Programmatic Display             Buying Tools for Programmatic Display
       to Programmatic Display Advertising               #                    %                         #                    %
                      [A]                                [B]                    [C]                     [D]                 [E]
     % of Digital Advertising Budget
 [1] 0% – 10%                                                     10                    26%                      12                26%
 [2] 10% – 20%                                                    12                    32%                      15                33%
 [3] 20% – 30%                                                     4                    11%                       5                11%
 [4] 30% – 40%                                                     1                     3%                       2                 4%
 [5] 40% – 50%                                                     -                     0%                       1                 2%
 [6] 50% – 60%                                                     3                     8%                       3                 7%
 [7] 60% – 70%                                                     -                     0%                       -                 0%
 [8] 70% – 80%                                                     -                     0%                       -                 0%
 [9] 80% – 90%                                                     -                     0%                       -                 0%
[10] 90% – 100%                                                    8                    21%                       8                17%
[11] Don’t know / Unsure                                           -                     0%                       -                 0%
[12] Total                                                        38                  100%                       46               100%

     % of Overall Advertising Budget
[13] 0% – 10%                                                     16                    42%                      19                41%
[14] 10% – 20%                                                     7                    18%                       9                20%
[15] 20% – 30%                                                     4                    11%                       5                11%
[16] 30% – 40%                                                     4                    11%                       6                13%
[17] 40% – 50%                                                     3                     8%                       3                 7%
[18] 50% – 60%                                                     3                     8%                       3                 7%
[19] 60% – 70%                                                     -                     0%                       -                 0%
[20] 70% – 80%                                                     -                     0%                       -                 0%
[21] 80% – 90%                                                     1                     3%                       1                 2%
[22] 90% – 100%                                                    -                     0%                       -                 0%
[23] Don’t know / Unsure                                           -                     0%                       -                 0%
[24] Total                                                        38                  100%                       46               100%




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                                                                  EXHIBIT 93

                                        AGENCY SURVEY
                        PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
               BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY


          Notes & Sources:
          From Agency Survey.
  [B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7. Includes 1
            respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
  [D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tools in Q7. Includes 1
            respondent who selected Google Ads and one of the decoy ad buying tools, Ad Step Technologies and Quorexx.
[13]-[23] Calculated as the % of budget allocated to programmatic display in Q3 * the % of budget allocated to online advertising
            in QS13.




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                                          EXHIBIT 94

                               AGENCY SURVEY
                         CHANGE IN AD BUYING TOOL USE


                   Q9: Do you expect to use the same number, more, or fewer ad buying tools
                    for programmatic display advertising next year for the client you spend the
                    most time on? (Please select only one option.)

                         Response Options               #              %
                                [A]                    [B]            [C]
                [1] More                                      83         22%
                [2] Fewer                                     83         22%
                [3] Same Number                              206         54%
                [4] Don’t know / Unsure                        8          2%
                [5] Total Shown Question                     380        100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q9 if they did not select “Don’t know / Unsure” in Q7.
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                                              EXHIBIT 95

                          AGENCY SURVEY
         FACTORS CONSIDERED WHEN CHOOSING AD BUYING TOOLS
               FOR PROGRAMMATIC DISPLAY ADVERTISING


          Q11: Which of the following factors, if any, do you consider when deciding to use a particular ad buying
           tool for programmatic display advertising for the client you spend the most time on? (Please select all that apply.)

                                                                      Respondents Indicating the
                                                                       Factor was Considered
                                   Factor                                 #              %
                                      [A]                                 [B]             [C]
       [1] Targeting criteria and capabilities                                  178             47%
       [2] Cost                                                                 171             45%
       [1] Ad placement effectiveness                                           170             45%
       [2] Media optimization of placements during a campaign                   169             44%
       [3] Audience scale/Reach                                                 166             44%
       [4] Ease of use/User interface                                           155             41%
       [5] Reporting features                                                   149             39%
       [6] Brand safety/fraud protection                                        139             37%
       [7] API and integrations                                                 128             34%
       [8] Budget management tools                                              113             30%
       [9] Forecasting tools                                                    110             29%
      [10] Support                                                              102             27%
      [11] Identity management                                                   91             24%
      [12] Troubleshooting capabilities                                          80             21%
      [13] Other                                                                  2              1%
      [14] Don’t know / Unsure                                                    1              0%
      [15] Total Shown Question                                                 380         100%


          Notes & Sources:
          From Agency Survey.
          Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
          Respondents were show Q11 if they did not select “Don’t know / Unsure” in Q7.
          Percentages do not add up to 100% because respondents can select multiple options.
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                                          EXHIBIT 96

                            AGENCY SURVEY
                 DISCONTINUATION OF AD BUYING TOOL USE


                   Q12: Have you stopped using any ad buying tool(s) for programmatic display
                    advertising in the past year for the client you spend the most time on?
                    (Please select only one option.)

                         Response Options              #             %
                                [A]                   [B]           [C]
                [1] Yes                                      81        21%
                [2] No                                      290        76%
                [3] Don’t know / Unsure                       9         2%
                [4] Total Shown Question                    380       100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q12 if they did not select “Don’t know / Unsure” in Q7.
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                                          EXHIBIT 97

                          AGENCY SURVEY
      REASONS FOR STARTING USE OF AT LEAST ONE AD BUYING TOOL


                   Q14: Have you started using any ad buying tool(s) in the past year for
                    programmatic display advertising for the client you spend the most time on?
                    (Please select only one option.)

                         Response Options              #              %
                                [A]                   [B]            [C]
                [1] Yes                                     118         31%
                [2] No                                      256         67%
                [3] Don’t know / Unsure                       6          2%
                [4] Total Shown Question                    380        100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q14 if they did not select “Don’t know / Unsure” in Q7.
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                                                                       EXHIBIT 98

                                                              AGENCY SURVEY
                                                      PERFORMANCE ASSESSMENT METRICS


    Q16: Which of the following metrics, if any, do you use to assess the performance of programmatic display ads, direct deals display ads, social media ads,
     and/or digital video ads for the client you spend the most time on? (Please select all that apply in each column.)

                                            Programmatic                     Direct Deals                Social Media                  Digital Video
                                             Display Ads                     Display Ads                     Ads                            Ads
                Metric                     #             %               #                  %          #             %               #              %
                    [A]                   [B]            [C]            [D]             [E]           [F]            [G]            [H]            [I]
 [1] Conversions                                187         49%                75          42%              158         53%               102            41%
 [2] Return on Investment (ROI)                 177         46%                70          40%              135         45%               103            42%
 [3] Cost per click (CPC)                       175         46%                83          47%              145         48%                88            35%
 [4] Return on Ad Spend (ROAS)                  175         46%                85          48%              157         53%               109            44%
 [5] Impressions                                170         45%                68          38%              139         46%               118            48%
 [6] Cost per impression (CPM)                  161         42%                79          45%              133         44%               126            51%
 [7] Click through rate (CTR)                   156         41%                83          47%              163         55%               100            40%
 [8] Cost per action (CPA)                      146         38%                75          42%              143         48%                93            38%
 [9] Clicks                                     140         37%                68          38%              130         43%                89            36%
[10] Other                                        8          2%                 3           2%                8          3%                15             6%
[11] None of the above                            -          0%                 1           1%                -          0%                 -             0%
[12] Don’t know / Unsure                          1          0%                 2           1%                2          1%                 2             1%
[13] Total Shown Question                       381        100%               177           100%            299        100%               248        100%


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “None of the above” and “Don’t know / Unsure.”
    Respondents were only asked about each of the above advertising types if they had indicated in QS14 and QS15 that the client they spend the most time
      on used those advertising types in the past year.
    Percentages do not add up to 100% because respondents can select multiple options.
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                                                            EXHIBIT 99

                                               AGENCY SURVEY
                                       PERFORMANCE ASSESSMENT METRICS


    Q17: You indicated that you use the following metrics to assess the performance of programmatic display ads for the client you
     spend the most time on. Please rank these metrics in terms of how important they are to accurately assessing
     the performance of programmatic display ads, with 1 being the most important and [NUMBER OF MEASURES SELECTED IN Q16]
     being the least important. (Please rank the following metrics, or select “Don’t know / Unsure”.)

                                                 Respondents Ranking Metric                   Respondents Ranking Metric
                                                     As Most Important                       Among the Top 3 Most Important
                  Metric                          #                    %                       #                    %
                      [A]                         [B]                    [C]                    [D]                     [E]
 [1] Return on Investment (ROI)                            77                    20%                    148                    39%
 [2] Return on Ad Spend (ROAS)                             54                    14%                    139                    37%
 [3] Conversions                                           45                    12%                    138                    36%
 [4] Cost per action (CPA)                                 40                    11%                    102                    27%
 [5] Cost per click (CPC)                                  35                     9%                     97                    26%
 [6] Cost per impression (CPM)                             35                     9%                     95                    25%
 [7] Impressions                                           34                     9%                     90                    24%
 [8] Clicks                                                29                     8%                     70                    18%
 [9] Click through rate (CTR)                              27                     7%                     98                    26%
[10] Other                                                  3                     1%                      7                     2%
[11] Total                                                379                   100%                    379                   100%


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were only shown Q17 if they indicate that they used more than one metric to assess the performance of programmatic
      display ads in Q16. Respondents who selected only one metric in Q16 are assumed to have that metric ranked as most important.
      Total includes respondents who ranked metrics in Q17 or selected only one metric in Q16.
    1 respondent (less than 1% of respondents who selected at least one metric to assess the performace of programmatic display ads) selected
      “Don’t know / Unsure.”
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                                           EXHIBIT 100

                            AGENCY SURVEY
                 FREQUENCY OF PERFORMANCE ASSESSMENT


               Q18: How often, if at all, do you measure or assess the performance of the programmatic
                 display advertising for the client you spend the most time on? (Please select only one option.)

                               Frequency                          #             %
                                  [A]                            [B]            [C]
            [1] Daily                                                   36           9%
            [2] Weekly                                                 147          39%
            [3] Monthly                                                131          34%
            [4] Quarterly                                               53          14%
            [5] Annually                                                14           4%
            [6] Don’t know / Unsure                                      -           0%
            [7] Total Shown Question                                   381        100%


               Notes & Sources:
               From Agency Survey.
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                                          EXHIBIT 101

                           AGENCY SURVEY
              EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS


                  Q19: In the past year, have you run any experiments or test & learn initiatives
                   to assess the performance of the programmatic display ads for the client you
                   spend the most time on? (Please select only one option.)

                         Response Options                #               %
                               [A]                     [B]              [C]
               [1] Yes                                       233              61%
               [2] No                                        132              35%
               [3] Don’t know / Unsure                        16               4%
               [4] Total Shown Question                      381             100%


                  Notes & Sources:
                  From Agency Survey.
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                                          EXHIBIT 102

                          AGENCY SURVEY
         TYPES OF EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS


                  Q20: Which of the following types of experiments or test & learn initiatives,
                   if any, have you run in the past year to assess the performance of the
                   programmatic display ads for the client you spend the most time on?

                         Experiment Type                #                %
                               [A]                     [B]              [C]
               [1] Audiences                                 149              64%
               [2] Creatives                                 136              58%
               [3] ROI/ROAS                                  127              55%
               [4] Bid strategies                            113              48%
               [5] Ad buying tool performance                113              48%
               [6] Publishers                                 73              31%
               [7] Other                                       1               0%
               [8] Don’t know / Unsure                         -               0%
               [9] Total Shown Question                      233             100%


                  Notes & Sources:
                  From Agency Survey.
                  Sorted in descending order based on column [B], except for “Other” and
                    “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can select
                    multiple options.
                  Respondents were only shown Q20 if they indicated in Q19 that they
                    had conducted experiments or test & learn initiatives on their
                    programmatic display ads in the past year.
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                                                                                          EXHIBIT 103

                                                          SENSITIVITY ANALYSIS BY RESPONDENT DEMOGRAPHIC


                                          Complete Sample           Gender                                      Age                                               Region
                Response Options           Survey Results     Female       Male         18 – 34       35 – 49         50 – 64      65+          NE         MW              S          W
                       [A]                       [B]            [C]          [D]           [E]          [F]            [G]          [H]         [I]         [J]            [K]        [L]
        Higher-Spend Advertiser Survey
    [1] Will Divert Spending                           59%         65%          56%          65%          57%             56%             n/a     66%         54%              54%      60%
    [2] Used Multiple Ad Buying Tools                  75%         77%          74%          76%          75%             74%             n/a     82%         80%              75%      68%
    [3] Sample Size (N)                                 502         135          367          100          336              66              -      115          70              155      162

        Lower-Spend Advertiser Survey
    [4] Will Divert Spending                           61%         49%          64%          57%          63%             56%             n/a     57%         69%              57%      65%
    [5] Used Multiple Display Platforms                80%         67%          82%          78%          80%             80%             n/a     72%         85%              79%      82%
    [6] Sample Size (N)                                 302          49          253           54          223              25              -       54          61              119       68

        Agency Survey
    [7] Will Divert Spending                           54%         51%          56%          65%          51%             49%        100%         57%         64%              51%      50%
    [8] Used Multiple Ad Buying Tools                  73%         78%          70%          74%          71%             77%        100%         81%         80%              75%      61%
    [9] Sample Size (N)                                 381         125          255           94          239              47          1          100          45              119      117


         Notes & Sources:
         From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
     [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of programmatic display
           advertising.
     [2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
     [4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform. Count excludes Ad Step Technologies, which was a decoy answer option.
     [7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response to an increase in the cost of
           programmatic display advertising.
     [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on. Count excludes Quorexx and Ad Step Technologies, which were
           decoy answer options.
[C]-[D] From QS4 in Higher-Spend Advertiser Survey, QS4 in Lower-Spend Advertiser Survey, and QS4 in Agency Survey.
[E]-[H] From QS3 in Higher-Spend Advertiser Survey, QS3 in Lower-Spend Advertiser Survey, and QS3 in Agency Survey.
 [I]-[L] From QS5 in Higher-Spend Advertiser Survey, QS5 in Lower-Spend Advertiser Survey, and QS5 in Agency Survey. Each respondent’s state of residence is categorized into regions based on the U.S.
           census regions. See Census Regions and Divisions of the United States, U.S. Census Bureau, available at https://www2.census.gov/geo/pdfs/maps-data/maps/reference/us_regdiv.pdf.
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                                                                                                                     EXHIBIT 104

                                                                               SENSITIVITY ANALYSIS BY RESPONDENT ANNUAL AD SPEND


                                                                                                                                               Annual Ad Spend
                                           Complete Sample Less than $10K to          $25K to     $50K to    $100K to $250K to $500K to       $1M to      $3M to     $7M to     $15M to    $30M to     $50M to $100M to $250M to
                Response Options            Survey Results  $10K      $25K             $50K        $100K      $250K    $500K     $1M           $3M         $7M        $15M       $30M       $50M        $100M   $250M    $500M $500M+
                       [A]                        [B]            [C]        [D]         [E]         [F]        [G]        [H]         [I]        [J]        [K]        [L]        [M]         [N]        [O]         [P]        [Q]      [R]
        Higher-Spend Advertiser Survey
    [1] Will Divert Spending                            59%         n/a        n/a         n/a        n/a        n/a         n/a       61%        55%        56%        66%         61%        56%        58%         61%        48%      60%
    [2] Used Multiple Ad Buying Tools                   75%         n/a        n/a         n/a        n/a        n/a         n/a       58%        60%        63%        85%         84%        79%        72%         79%        95%      80%
    [3] Sample Size (N)                                  502        n/a        n/a         n/a        n/a        n/a         n/a         31         78         57         87          74         68         43          33         21       10

        Lower-Spend Advertiser Survey
    [4] Will Divert Spending                            61%        67%        74%        68%         62%        54%        48%          n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a
    [5] Used Multiple Display Platforms                 80%        67%        84%        74%         86%        84%        75%          n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a
    [6] Sample Size (N)                                  302         6          58         74          42         61         61         n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a

        Agency Survey
    [7] Will Divert Spending                            54%            -          -           -      80%        63%        83%         62%        60%        49%        52%         49%        38%        62%         69%        56%      40%
    [8] Used Multiple Ad Buying Tools                   73%            -          -           -      60%        75%        50%         69%        71%        59%        79%         72%        82%        86%         69%        89%     100%
    [9] Sample Size (N)                                  381           -          -           -        5          8          6           29         45         69         48          65         39         21          26         9        10


         Notes & Sources:
         From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
     [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of programmatic display advertising.
     [2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
     [4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform. Count excludes Ad Step Technologies, which was a decoy answer option.
     [7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response to an increase in the cost of programmatic display advertising.
     [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
[C]-[R] From QS10 in Higher-Spend Advertiser Survey, QS10 in Lower-Spend Advertiser Survey, and QS12 in Agency Survey. Agency Results do not include one respondent who answered “Don’t know / Unsure” to QS12.
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                                                                     EXHIBIT 105

                          SENSITIVITY ANALYSIS BY RESPONDENT SURVEY COMPLETION TIME


                                               Survey Results in Sample that Excludes Completion Time Outliers                        Test of H0
           Response Options                    1.67 Minutes - 3 Hours                    3 Minutes - 2 Hours                  z-score          p-value
                   [A]                                   [B]                                       [C]                          [D]                [E]
    Higher-Spend Advertiser Survey
[1] Will Divert Spending                                                  59%                                       63%          -1.46                   0.15
[2] Used Multiple Ad Buying Tools                                         75%                                       82%          -2.73**                 0.01
[3] Sample Size (N)                                                        502                                       453

    Lower-Spend Advertiser Survey
[4] Will Divert Spending                                                  61%                                       65%          -1.02                   0.31
[5] Used Multiple Display Platforms                                       80%                                       84%          -1.47                   0.14
[6] Sample Size (N)                                                        302                                       277

    Agency Survey
[7] Will Divert Spending                                                  54%                                       56%          -0.58                   0.57
[8] Used Multiple Ad Buying Tools                                         73%                                       75%          -0.82                   0.41
[9] Sample Size (N)                                                        381                                       365


    Notes & Sources:
    From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
[1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost
      of programmatic display advertising.
[2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool. Count excludes Quorexx and Ad Step Technologies,
      which were decoy answer options.
[4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost
      of display advertising.
[5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform. Count excludes Ad Step Technologies, which was a
      decoy answer option.
[7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response
      to an increase in the cost of programmatic display advertising.




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                                                                            EXHIBIT 105

                             SENSITIVITY ANALYSIS BY RESPONDENT SURVEY COMPLETION TIME


     Notes & Sources (continued):
 [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on. Count excludes Quorexx
      and Ad Step Technologies, which were decoy answer options.
[B] Limited to respondents with qtime between 1.67 minutes (100 seconds) and 3 hours (10,800 seconds).
[C] Limited to respondents with qtime between 3 minutes (180 seconds) and 2 hours (7,200 seconds).
[D] Significance tests reflect the difference in the percentage of respondents in columns [B] and [C] saying they will divert spending or use multiple ad tools,
      between outlier completion time exclusions. The z-scores are based on a two-tailed test with z = ( p 1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 );
      a z-score of ±1.96, for example, corresponds to a significance at the 95% confidence level. One asterisk (*) denotes significance at the 0.1 level with
      p < 0.1 and two asterisks (**) denote significance at the 0.05 level with p < 0.05.
[E] Reflects significance levels of the difference of percentages in [B] and [C].




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                                                                     EXHIBIT 106

                                         SUMMARY OF SELECTED RESULTS ACROSS SURVEYS


                                                                                    Higher-Spend        Lower-Spend
                                                                                   Advertiser Survey   Advertiser Survey              Test of H0
                                 Survey Results                                     %            N      %            N       z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]       [F]                 [G]
 [1] Respondents Who Would Divert Spending                                            59%        502      61%          302           -0.70               0.48
 [2] Respondents Who Use More Than One Advertising Type                               85%        502      86%          302           -0.41               0.69
 [3] Respondents Who Use More Than One Ad Buying Tool/Display Platform                75%        502      80%          302           -1.63               0.10
 [4] Google Ads Users Using At Least One Other Non-Google Ad                          76%        330      80%          191           -0.86               0.39
      Buying Tool/Display Platform

                                                                                    Higher-Spend            Agency
                                                                                   Advertiser Survey        Survey                    Test of H0
                                 Survey Results                                     %            N      %            N       z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]       [F]                 [G]
 [5] Respondents Who Would Divert Spending                                            59%        502      54%          381            1.39               0.16
 [6] Respondents Who Use More Than One Advertising Type                               85%        502      87%          381           -1.01               0.31
 [7] Respondents Who Use More Than One Ad Buying Tool                                 75%        502      73%          381            0.73               0.46
 [8] Google Ads Users Using At Least One Other Non-Google Ad Buying Tool              76%        330      79%          222           -0.81               0.42

                                                                                    Lower-Spend             Agency
                                                                                   Advertiser Survey        Survey                    Test of H0
                                 Survey Results                                     %            N      %            N       z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]       [F]                 [G]
 [9] Respondents Who Would Divert Spending                                            61%        302      54%          381       1.90*                   0.06
[10] Respondents Who Use More Than One Advertising Type                               86%        302      87%          381         -0.50                 0.62
[11] Respondents Who Use More Than One Ad Buying Tool/Display Platform                80%        302      73%          381      2.19**                   0.03
[12] Google Ads Users Using At Least One Other Non-Google Ad                          80%        191      79%          222          0.08                 0.94
      Buying Tool/Display Platform




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                                                                            EXHIBIT 106

                                             SUMMARY OF SELECTED RESULTS ACROSS SURVEYS


     Notes & Sources:
     From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
 [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey and Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending
       as a response to an increase in the cost of display advertising. In the Higher-Spend Advertiser Survey, this question referred to programmatic display advertising
       specifically.
 [2] Respondents who, in QS12 of the Higher- and Lower-Spend Advertiser Surveys, indicated that they had used more than one type of digital advertising in the past
       year.
 [3] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q4 of the Lower-Spend Advertiser Survey, selected more than one ad buying tool/display
       platform. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
 [4] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q4 of the Lower-Spend Advertiser Survey, indicated using Google Ads, and who selected at
       least one non-Google ad buying tool/display platform. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options.
 [5] Respondents who, in Q5 of the Higher-Spend Advertiser Survey and Q4 of the Agency Survey, indicated that they would divert advertising spending as a response to
       an increase in the cost of programmatic display advertising. In the Agency Survey, respondents were asked to answer the question for the client they spend
       the most time on.
 [6] Respondents who, in QS12 of the Higher-Advertiser Survey and QS14 of the Agency Survey, indicated that they had used more than one type of digital advertising
       in the past year. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
 [7] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q7 of the Agency Survey, selected more than one ad buying tool. Count excludes Quorexx and
       Ad Step Technologies, which were decoy answer options. In the Agency Survey, respondents were asked to answer the question for the client they spend the
       most time on.
 [8] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q7 of the Agency Survey, indicated using Google Ads, and who selected at least one
       non-Google ad buying tool. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options. In the Agency Survey, respondents
       were asked to answer the question for the client they spend the most time on.
 [9] Respondents who, in Q4 of the Agency Survey and Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to
       an increase in the cost of display advertising. In the Agency Survey, this referred to programmatic display advertising specifically and respondents were
       asked to answer the question for the client they spend the most time on.
[10] Respondents who, in QS14 of the Agency Survey and QS12 of the Lower-Spend Advertiser Survey, indicated that they had used more than one type of digital
       advertising in the past year. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
[11] Respondents who, in Q7 of the Agency Survey and Q4 of the Lower-Spend Advertiser Survey, selected more than one ad buying tool/display platform. Count
       excludes Quorexx and Ad Step Technologies, which were decoy answer options. In the Agency Survey, respondents were asked to answer the question for
       the client they spend the most time on.
[12] Respondents who, in Q7 of the Agency Survey and Q4 of the Lower-Spend Advertiser Survey, indicated using Google Ads, and who selected at least one
       non-Google ad buying tool/display platform. Count excludes Quorexx and Ad Step Technologies, which were decoy answer options. In the Agency Survey,
       respondents were asked to answer the question for the client they spend the most time on.



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                                                                              EXHIBIT 106

                                              SUMMARY OF SELECTED RESULTS ACROSS SURVEYS


     Notes & Sources (continued):
 [F] Significance tests reflect the difference in the survey results in columns [B] and [D] across the Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
       The z-scores are based on a two-tailed test with z = ( p 1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 ); a z-score of ±1.96, for example, corresponds to a
       significance at the 95% confidence level. One asterisk (*) denotes significance at the 0.1 level with p < 0.1 and two asterisks (**) denote significance at the 0.05
       level with p < 0.05.
[G] Reflects significance levels of the difference of percentages in [B] and [D].




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                                                                                    EXHIBIT 107

                                                                LOWER-SPEND ADVERTISER SURVEY
                                                                 SUMMARY OF SELECTED RESULTS


                                                                                                    Full Sample         < Than $50K Ad Spend                 Test of H0
                                           Survey Results                                          %            N            %            N            z-score         p-value
                                          [A]                                                     [B]          [C]          [D]           [E]            [F]              [G]
    [1] Respondents Who Would Divert Spending                                                       61%          302          70%           138            -1.88*               0.06
    [2] Respondents Who Use More Than One Advertising Type                                          86%          302          80%           138              1.44               0.15
    [3] Respondents Who Use More Than One Display Platform                                          80%          302          78%           138              0.37               0.71
    [4] Google Ads Users Using At Least One Other Non-Google Display Platform                       80%          191          80%             86            -0.13               0.90


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
     [1] Respondents who, in Q9, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [2] Respondents who, in QS12, indicated that they have used more than one type of digital advertising in the past year.
     [3] Respondents who, in Q4, selected more than one display platform. Count excludes Ad Step Technologies, which was a decoy answer option.
     [4] Respondents who, in Q4, indicated using Google Ads, and who selected at least one non-Google display platform. Count excludes Ad Step Technologies which
           was a decoy answer option.
[B]-[C] Full respondent sample.
[D]-[E] Limited to respondents with an annual ad spend of less than $50,000.
     [F] Significance tests reflect the difference in the survey results in columns [B] and [D]. The z-scores are based on a two-tailed test with
           z = ( p1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 ); a z-score of ±1.96, for example, corresponds to a significance at the 95% confidence level. One asterisk
           (*) denotes significance at the 0.1 level with p<0.1 and two asterisks (**) denote significance at the 0.05 level with p <0.05.
    [G] Reflects significance levels of the difference of percentages in [B] and [D].
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                                                    EXHIBIT 108

                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                             Would Divert         Would Not Divert
                                                            Spending in Q5         Spending in Q5
                     Respondent Subgroup                      (N = 295)              (N = 179)
                              [A]                                  [B]                  [C]
       Age
    [1] 18 - 34                                                          22.0%                16.2%
    [2] 35 - 49                                                          65.4%                72.6%
    [3] 50 - 64                                                          12.5%                11.2%
    [4] 65 or above                                                           -                    -

          Gender
    [5]    Female                                                        29.8%                19.0%
    [6]    Male                                                          70.2%                81.0%

          Percent of Advertising Budget Spent on Digital
    [7]    Average                                                       66.5%                64.1%
    [8]    Median                                                        68.0%                65.0%

          Annual Ad Spend
    [9]    $500,000 to less than $1 million                               6.4%                 5.0%
   [10]    $1 million to less than $3 million                            14.6%                16.8%
   [11]    $3 million to less than $7 million                            10.8%                11.7%
   [12]    $7 million to less than $15 million                           19.3%                14.5%
   [13]    $15 million to less than $30 million                          15.3%                14.0%
   [14]    $30 million to less than $50 million                          12.9%                15.6%
   [15]    $50 million to less than $100 million                          8.5%                 8.9%
   [16]    $100 million to less than $250 million                         6.8%                 6.7%
   [17]    $250 million to less than $500 million                         3.4%                 5.0%
   [18]    $500 million or more                                           2.0%                 1.7%




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                                             EXHIBIT 108

                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                           Would Divert          Would Not Divert
                                                          Spending in Q5          Spending in Q5
                    Respondent Subgroup                     (N = 295)               (N = 179)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [19] Search                                                          82.0%                 63.1%
   [20] Display                                                        100.0%                100.0%
   [21] Email                                                           69.5%                 46.4%
   [22] Digital Audio                                                   46.4%                 33.5%
   [23] Social                                                          84.1%                 63.1%
   [24] App/In-App                                                      52.9%                 34.6%
   [25] Digital Video                                                   72.2%                 55.3%
   [26] Connected TV                                                    52.9%                 40.2%
   [27] eCommerce                                                       61.7%                 45.8%
   [28] Other                                                            0.7%                      -

   [29] Average Number of Advertising Types Used                           6.2                   4.8

          Use of Direct Deals
   [30]    Uses Direct Deals                                           65.4%                  52.5%
   [31]    Does Not Use Direct Deals                                   34.6%                  47.5%

          Use of Ad Agency
   [32]    Uses Ad Agency                                              73.6%                  60.3%
   [33]    Does Not Use Ad Agency                                      26.1%                  39.7%

   [34] Average % of Digital Budget Allocated to                       21.1%                  40.5%
        Programmatic Display

   [35] Use of Multiple Ad Buying Tools                                85.1%                  60.9%

       Metrics Used to Measure Performance of
       Programmatic Display
   [36] ROI                                                            50.5%                  44.7%
   [37] ROAS                                                           49.5%                  43.0%




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                                                 EXHIBIT 108

                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                              Would Divert           Would Not Divert
                                                             Spending in Q5           Spending in Q5
                     Respondent Subgroup                       (N = 295)                (N = 179)
                          [A]                                      [B]                       [C]
        Frequency of Measuring Performance
    [38] Daily                                                            13.2%                     10.6%
    [39] Weekly                                                           34.6%                     40.8%
    [40] Monthly                                                          26.8%                     28.5%
    [41] Quarterly                                                        21.0%                     15.6%
    [42] Annually                                                          3.7%                      3.9%

        Use of Experiments
    [43] Has run experiments in past year                                 69.5%                     42.5%
    [44] Has not run experiments in past year                             27.1%                     56.4%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
      [B] Respondents who, in Q5, indicated that they would divert advertising spending as a response to an increase
            in the cost of programmatic display advertising.
      [C] Respondents who, in Q5, indicated that they would not divert advertising spending as a response to an increase
            in the cost of programmatic display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS11.
 [9]-[18] Computed based on responses to QS10.
[19]-[29] Computed based on responses to QS12.
[30]-[31] Computed based on responses to QS13.
[32]-[33] Computed based on responses to Q2.
     [34] Computed based on responses to Q4.
     [35] Computed based on responses to Q8.
[36]-[37] Computed based on responses to Q17.
[38]-[42] Computed based on responses to Q19.
[43]-[44] Computed based on responses to Q20.




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                                                EXHIBIT 109

                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE


                                                           Would Divert         Would Not Divert
                                                          Spending in Q9         Spending in Q9
                     Respondent Subgroup                    (N = 185)              (N = 103)
                              [A]                                [B]                  [C]
       Age
    [1] 18 - 34                                                        16.8%                19.4%
    [2] 35 - 49                                                        75.7%                75.7%
    [3] 50 - 64                                                         7.6%                 4.9%
    [4] 65 or above                                                         -                    -

          Gender
    [5]    Female                                                      13.0%                19.4%
    [6]    Male                                                        87.0%                80.6%

          Percent of Advertising Budget Spent on Digital Advertising
    [7]    Average                                                     63.7%                58.0%
    [8]    Median                                                      65.0%                60.0%

          Annual Ad Spend
    [9]    Less than $10,000                                            2.2%                 1.0%
   [10]    $10,000 to less than $25,000                                23.2%                13.6%
   [11]    $25,000 to less than $50,000                                27.0%                21.4%
   [12]    $50,000 to less than $100,000                               14.1%                15.5%
   [13]    $100,000 to less than $250,000                              17.8%                23.3%
   [14]    $250,000 to less than $500,000                              15.7%                25.2%




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                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE


                                                           Would Divert          Would Not Divert
                                                          Spending in Q9          Spending in Q9
                   Respondent Subgroup                      (N = 185)               (N = 103)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [15] Search                                                          68.1%                 55.3%
   [16] Display                                                        100.0%                100.0%
   [17] Email                                                           48.6%                 42.7%
   [18] Digital Audio                                                   45.9%                 40.8%
   [19] Social                                                          74.6%                 60.2%
   [20] App/In-App                                                      41.1%                 38.8%
   [21] Digital Video                                                   55.1%                 51.5%
   [22] Connected TV                                                    37.8%                 38.8%
   [23] eCommerce                                                       47.6%                 40.8%
   [24] Other                                                            0.5%                      -

   [25] Average Number of Advertising Types Used                           5.2                   4.7

          Use of Ad Agency
   [26]    Uses Agency                                                 76.2%                  51.5%
   [27]    Does Not Use Agency                                         23.8%                  48.5%

   [28] Average % of Digital Budget Allocated to                       29.0%                  40.3%
        Display

   [29] Use of Multiple Display Platforms                              89.7%                  64.1%

       Metrics Used to Measure Performance of Display
   [30] ROI                                                            43.8%                  32.0%
   [31] ROAS                                                           33.0%                  35.0%




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                                                 EXHIBIT 109

                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE


                                                             Would Divert            Would Not Divert
                                                            Spending in Q9            Spending in Q9
                     Respondent Subgroup                      (N = 185)                 (N = 103)
                          [A]                                     [B]                        [C]
        Frequency of Measuring Performance
    [32] Daily                                                            8.6%                     10.7%
    [33] Weekly                                                          41.1%                     39.8%
    [34] Monthly                                                         34.1%                     29.1%
    [35] Quarterly                                                       12.4%                     19.4%
    [36] Annually                                                         3.8%                      1.0%

        Use of Experiments
    [37] Has run experiments in past year                                74.1%                     35.9%
    [38] Has not run experiments in past year                            24.9%                     63.1%


          Notes & Sources:
          From Lower-Spend Advertiser Survey.
      [B] Respondents who, in Q9, indicated that they would divert advertising spending as a response to an
            increase in the cost of display advertising.
      [C] Respondents who, in Q9, indicated that they would not divert advertising spending as a response to an
            increase in the cost of display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS11.
 [9]-[14] Computed based on responses to QS10.
[15]-[25] Computed based on responses to QS12.
[26]-[27] Computed based on responses to Q2.
     [28] Computed based on responses to Q8.
     [29] Computed based on responses to Q4.
[30]-[31] Computed based on responses to Q12.
[32]-[36] Computed based on responses to Q14.
[37]-[38] Computed based on responses to Q15.




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                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                             Would Divert        Would Not Divert
                                                            Spending in Q4        Spending in Q4
                     Respondent Subgroup                      (N = 206)             (N = 156)
                              [A]                                  [B]                 [C]
       Age
    [1] 18 - 34                                                          29.6%               17.3%
    [2] 35 - 49                                                          58.7%               68.6%
    [3] 50 - 64                                                          11.2%               14.1%
    [4] 65 or above                                                       0.5%                    -

          Gender
    [5]    Female                                                        31.1%               31.4%
    [6]    Male                                                          68.9%               67.9%

          Percent of Advertising Budget Spent on Digital
    [7]    Average                                                       65.8%               62.4%
    [8]    Median                                                        70.0%               60.0%

          Annual Ad Spend
    [9]    $50,000 to less than $100,000                                  1.9%                0.6%
   [10]    $100,000 to less than $250,000                                 2.4%                0.6%
   [11]    $250,000 to less than $500,000                                 2.4%                0.6%
   [12]    $500,000 to less than $1 million                               8.7%                6.4%
   [13]    $1 million to less than $3 million                            13.1%               10.3%
   [14]    $3 million to less than $7 million                            16.5%               20.5%
   [15]    $7 million to less than $15 million                           12.1%               12.8%
   [16]    $15 million to less than $30 million                          15.5%               20.5%
   [17]    $30 million to less than $50 million                           7.3%               14.7%
   [18]    $50 million to less than $100 million                          6.3%                3.2%
   [19]    $100 million to less than $250 million                         8.7%                3.8%
   [20]    $250 million to less than $500 million                         2.4%                2.6%
   [21]    $500 million or more                                           1.9%                3.2%




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                                             EXHIBIT 110

                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                           Would Divert          Would Not Divert
                                                          Spending in Q4          Spending in Q4
                    Respondent Subgroup                     (N = 206)               (N = 156)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [22] Search                                                          77.2%                 54.5%
   [23] Display                                                        100.0%                100.0%
   [24] Email                                                           52.4%                 46.2%
   [25] Digital Audio                                                   52.4%                 26.3%
   [26] Social                                                          85.4%                 66.7%
   [27] App/In-App                                                      45.6%                 43.6%
   [28] Digital Video                                                   73.8%                 51.3%
   [29] Connected TV                                                    59.2%                 32.7%
   [30] eCommerce                                                       52.9%                 45.5%
   [31] Other                                                            1.0%                      -

   [32] Average Number of Advertising Types Used                           6.0                   4.7

          Use of Direct Deals
   [33]    Uses Direct Deals                                           52.4%                  39.1%
   [34]    Does Not Use Direct Deals                                   47.6%                  60.9%

   [35] Average % of Digital Budget Allocated to                       23.6%                  41.1%
        Programmatic Display

   [36] Use of Multiple Ad Buying Tools                                78.2%                  66.7%

       Metrics Used to Measure Performance of
       Programmatic Display
   [37] ROI                                                            53.4%                  35.9%
   [38] ROAS                                                           48.5%                  40.4%




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                                                  EXHIBIT 110

                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE


                                                              Would Divert            Would Not Divert
                                                             Spending in Q4            Spending in Q4
                     Respondent Subgroup                       (N = 206)                 (N = 156)
                           [A]                                     [B]                        [C]
         Frequency of Measuring Performance
     [39] Daily                                                            6.3%                      12.2%
     [40] Weekly                                                          41.7%                      34.6%
     [41] Monthly                                                         34.5%                      33.3%
     [42] Quarterly                                                       13.6%                      16.0%
     [43] Annually                                                         3.9%                       3.8%

         Use of Experiments
     [44] Has run experiments in past year                                68.9%                      52.6%
     [45] Has not run experiments in past year                            26.7%                      45.5%


          Notes & Sources:
          From Agency Survey.
      [B] Respondents who, in Q4, indicated that they would divert advertising spending for the client they spend
            the most time on as a response to an increase in the cost of programmatic display advertising.
      [C] Respondents who, in Q4, indicated that they would not divert not advertising spending for the client they
            spend the most time on as a response to an increase in the cost of programmatic display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS13.
 [9]-[21] Computed based on responses to QS12.
[22]-[32] Computed based on responses to QS14.
[33]-[34] Computed based on responses to QS15.
     [35] Computed based on responses to Q3.
     [36] Computed based on responses to Q7.
[37]-[38] Computed based on responses to Q16.
[39]-[43] Computed based on responses to Q18.
[44]-[45] Computed based on responses to Q19.




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                         APPENDIX A
                             CV




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ADDRESSES                                                                  April 2024

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   Seattle address: 5416 Kirkwood Pl. N.                    itamars@stanford.edu
   Seattle, WA 98103
    Cell: (650) 387-7677
    itamar.simonson@gmail.com

   EDUCATION

   Ph.D.                       Duke University, Fuqua School of Business
                               Major: Marketing; May 1987

   M.B.A.                             UCLA, Graduate School of Management
                               Major: Marketing; March 1978

   B.A.                        Hebrew University, Jerusalem, Israel
                               Major: Economics, Political Science; August 1976

   ACADEMIC POSITIONS

   July 1987 - June 1993       University of California, Berkeley
                                Haas School of Business
                                Assistant Professor

   July 1993 – Aug. 1996              Stanford Graduate School of Business
                                 Associate Professor of Marketing

   Sept. 1996 – Aug. 1999        Stanford Graduate School of Business
                                 Professor of Marketing

   Sept. 1999 – Dec. 2020        Stanford Graduate School of Business
                                 Sebastian S. Kresge Professor of Marketing

   Jan. 2021 – Present         Stanford Graduate School of Business
                               Sebastian S. Kresge Emeritus Professor of Marketing
   1994 – 2000                   Stanford Graduate School of Business
                                 Marketing Group Head
   2000, 2004, 2012              Visiting Professor of Marketing: MIT; NYU; Columbia


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 AWARDS
 - Best Article in the Journal of Consumer Research during the period 1987-1989.
 - The 1997 O'Dell Award (for the Journal of Marketing Research article that has had the greatest
   impact on the marketing field in the previous five years).
 - The 2001 O’Dell Award.
 - Honorary Doctorate: University of Paris II – Sorbonne Universities.
 - The American Marketing Association Best Book in Marketing Award.
 - Elected Fellow of the Association for Consumer Research.
 - The 2007 Society for Consumer Psychology Distinguished Scientific Achievement Award.
 - Finalist for the O'Dell Award: 1995; 2002; 2004; 2005; 2007; 2008; 2012.
 - Best Article in the Journal of Public Policy & Marketing during the period 1993-1995.
 - The 2016 Association for Consumer Research Conference Best Paper Award.
 - The 2002 American Marketing Association Award for the Best Article on Services Marketing.
 - The Association for Consumer Research 1990 "Ferber Award."
 - Finalist for the 2003 Paul Green Award (for the Journal of Marketing Research article with the
   greatest potential to contribute to the practice of marketing research).
 - Runner-up for the 2005 Journal of Consumer Research Best Article Award.
 - Winner in the Marketing Science Institute and Direct Marketing Association competition on
   "Understanding and Measuring the Effect of Direct Marketing."
 - Runner-up for the 1993 California Management Review Best Article Award.
 - National Science Foundation Grant (for 1996-8).
 - Outstanding Reviewer Award, Journal of Consumer Research, 2005, 2009.
 - Honorable Mention for the Sloan Executive Program Teaching Award.


 TEACHING EXPERIENCE
 Stanford University:
        Marketing Management (for MBAs and the Sloan Executive Program)
        Marketing to Businesses (for MBAs); Technology Marketing (for MBAs)
        Critical Analytical Thinking (for MBAs)
        Research Methods for Studying Consumer Behavior (a Ph.D. Course)
        Applied Behavioral Economics (at the MBA and Ph.D. levels)
        Buyer Behavior (a Ph.D. course)
 University Of California, Berkeley:
        MBA, Ph.D. and Executive Education Classes on Marketing Management and
        Consumer Behavior.




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 BUSINESS EXPERIENCE

 October 1978-August 1983 Motorola, Inc.
 Worked in an international subsidiary; responsibilities included marketing research and customer
 analysis, customer surveys, definition of new products, pricing, analysis of sales force
 performance, competitive intelligence, and forecasting. Conducted studies of consumers and
 markets for various communications products. Last two years served as Product Marketing
 Manager for communications products.

 Consulting:

 Consulted for clients from a wide range of industries such as technology, communications,
 services, and manufacturing sectors.
 Expert witness assignments: surveys, trademarks, branding, impact of product features, antitrust
 surveys, deceptive advertising, consumer behavior, marketing management, retailing, class
 actions, assessment of demand drivers, and other marketing and decision making issues.


 PUBLICATIONS

 Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson (2023), “The Upscaling Effect,”
    Journal of Consumer Research, Vol. 50, 492-509.
 Ioannis Evangelidis, Sudeep Bhatia, Jonathan Levav, and Itamar Simonson, “50 Years of
    Research on Context Effects: Historical Overview and Directions for Future Research,”
    Journal of Consumer Research, Forthcoming.
 Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson (2022), “A Reexamination of the
    Impact of Decision Conflict on Choice Deferral,” Management Science, Forthcoming.
 Itamar Simonson (2022), “Experimentation, Serendipity, and Strategy in Research Discovery,”
     Review of Marketing Research.
 David Gal and Itamar Simonson (2021), “Predicting Consumers’ Choices in the Age of the
    Internet, AI, and Almost Perfect Tracking: Some Things Change, the Key Challenges Do
    Not,” Consumer Psychology Review, 4 (1), 135-152.
 Itamar Simonson (2020), “The Real Time Cognitive Value of Eating Kale, Helping, and Doing
     Something Special: “Concurrent Experience Evaluation” (CEE), Its Drivers and Moderators,
     and Research Directions,” Journal of Consumer Psychology, 30, 688-711.
 Franklin Shaddy, Ayelet Fishbach, and Itamar Simonson (2021), “Tradeoffs in Choice,” Annual
    Review in Psychology, 72, 181-206.
 Haiyang Yang, Ziv Carmon, and Itamar Simonson (2020), “Preference for Practical versus
   Theoretical Knowledge: Conceptualization and Consumer Behavior Predictions,” Review of
   Marketing Research, Vol. 17, Dawn Iaccabucci Editor.
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   Motivational Aspect of Children’s Delayed Gratification: Values and Decision Making in
   Middle Childhood,” Frontiers in Psychology.
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     Utilitarian Attributes: The Role of Dimensional Comparability and Compromisibility,”
     Journal of Environmental Analysis & Ecology Studies, Vol. 3.
Itamar Simonson and Ran Kivetz (2018), “Bringing (Contingent) Loss Aversion Down to Earth
   – A Comment,” Journal of Consumer Psychology, Journal of Consumer Psychology, 28, 517-
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    Context Effects on Advantaged versus Disadvantaged Options,” Journal of Marketing
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   Case of Extremeness Aversion,” Journal of the Association for Consumer Research, 2, 3, 322-
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    User Reviews in Consumer Decision Making,” Journal of Consumer Research, 42, 840-845.
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 Leilei Gao and Itamar Simonson (2016), “The positive effect of assortment size on purchase
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 (HBR Blog: “Three Long-Held Concepts Every Marketer Should Rethink,” January 22, 2014)
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 Aner Sela, Itamar Simonson, and Ran Kivetz (2013), “Beating the Market: The Allure of
    Unintended Value,” Journal of Marketing Research, Vol. L (December), 691-705.
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    Selection: An Approach to the Study of Consumer Judgment and Choice,” Journal of
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 Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys:
    The Importance of Marketplace Conditions,” Ch. 11 in Trademark and False Advertising
    Surveys, Edited by Shari Diamond and Jerre Swann, American Bar Association.
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    Exploratory Approach for Studying Genetic Effects on Judgment and Choice,” Journal of
    Consumer Research, 37, 951-66.
 Stephen Nowlis, Ravi Dhar, and Itamar Simonson (2010), “The Effect of Decision Order on
    Purchase Quantity Decisions,” Journal of Marketing Research, 40 (4), 725-737.
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    Conformity Motives, and Decision Making," Journal of Consumer Psychology, 15 (4), 351-
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 Ravi Dhar and Itamar Simonson (1999), "Making Complementary Choices in Consumption
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 Houghton, David, ..., and Itamar Simonson (1999), “Correction Processes in Consumer Choice,”
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 Joel Huber, …, and Itamar Simonson (1997), "Thinking About Values in Prospect and
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    Analysis and Measurement Implications," Journal of Public Policy and Marketing, 13(2),
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 Itamar Simonson (1994), "An Empirical Investigation of the Meaning and Measurement of
    Genericness," Trademark Reporter, 84 (2), 199-223.
 Itamar Simonson, Ziv Carmon, and Suzanne O'Curry (1994), "Experimental Evidence on the
    Negative Effect of Product Features and Sales Promotions on Brand Choice," Marketing
    Science, 13 (1), 23-40.
 Itamar Simonson (1993), "Get Closer to Your Customers by Understanding How They Make
    Choices," California Management Review, 35 (4), 68-84.
 Itamar Simonson (1993), "The Effect of Survey Method on Likelihood of Confusion Estimates:
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 Itamar Simonson, Stephen Nowlis, and Katherine Lemon (1993), "The Effect of Local
    Consideration Sets on Global Choice Between Lower Price and Higher Quality," Marketing
    Science, 12 (4), 357-377.
 Itamar Simonson, Stephen Nowlis, and Yael Simonson (1993), "The Effect of Irrelevant
    Preference Arguments on Consumer Choice," Journal of Consumer Psychology, 2 (3), 287-
    306.
 Eldar Shafir, Itamar Simonson, and Amos Tversky (1993), "Reasons-Based Choice," Cognition,
    49, 11-36.
 Amos Tversky and Itamar Simonson (1993), "Context-Dependent Preferences," Management
    Science, 39 (10), 1179-1189.
 Itamar Simonson (1992), "Influences of Anticipating Regret and Responsibility on Purchase
    Decisions," Journal of Consumer Research, 19 (June), 105-118.
 Itamar Simonson and Peter Nye (1992), "The Effect of Accountability on Susceptibility to
    Decision Errors", Organizational Behavior and Human Decision Processes, 51 (3), 416-446.
 Itamar Simonson and Amos Tversky (1992), "Choice in Context: Tradeoff Contrast and
    Extremeness Aversion," Journal of Marketing Research, 29 (August), 281-295.


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 Itamar Simonson and Barry Staw (1992), "De-Escalation Strategies: A Comparison of
    Techniques for Reducing Commitment to Losing Courses of Action," Journal of Applied
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 Itamar Simonson and Russell S. Winer (1992), "The Influence of Purchase Quantity and Display
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 Ravi Dhar and Itamar Simonson (1992), "The Effect of the Focus of Comparison on Consumer
    Preferences," Journal of Marketing Research, 29 (November), 430-440.
 William T. Ross and Itamar Simonson (1991), "Evaluations of Pairs of Experiences: A
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 Itamar Simonson (1991), "The Effect of Buying Decisions on Consumers' Assessments of Their
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 Itamar Simonson (1990), "The Effect of Purchase Quantity and Timing on Variety Seeking
    Behavior," Journal of Marketing Research, 27 (May), 150-162.
 Itamar Simonson (1989), "Choice Based on Reasons: The Case of Attraction and Compromise
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 Itamar Simonson, Joel Huber, and John Payne (1988), "The Relationship Between Prior Brand
    Knowledge and Information Acquisition Order", Journal of Consumer Research, (March), 14,
    566-78.


 ARTICLES UNDER REVIEW/REVISION

 Franklin Shaddy, Ayelet Fishbach, and Itamar Simonson, “Why Invoking the Self Attenuates
    Variety Seeking, the Compromise Effect, and Balancing.” (Revised for resubmission)
Wendy Liu and Itamar Simonson, “Shortlisting – Not Overwhelmed But Biased.” (Revised for
 resubmission)
Aner Sela and Itamar Simonson, “The Feeling of Preference: Preference Expression in the
  Absence of Preferences.” (Revised for resubmission)
Jen Park and Itamar Simonson, “Rejection and Closure: Why Options that Survive Rejection Are
   More Attractive.”


 Doctoral Dissertations Chaired:

 Ravi Dhar (Chaired Professor, Yale U.)
 Aimee Drolet (Chaired Professor, UCLA)
 Stephen Nowlis (Chaired Professor, Washington U., St. Louis)
 Ziv Carmon (Chaired Professor, INSEAD)
 Ran Kivetz (Chaired Professor, Columbia U.)
 Donnel Briley (Professor, U.O. Sydney)
 Thomas Kramer (Professor, U.O. California, Riverside)
 Wendy Liu (Professor, U.O. California, San Diego)


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 Sanjay Sood (Professor, UCLA)
 Song-Oh Yoon (Professor, Korea University)
 Michal Maimaran (Clinical Professor, Kellogg School)
 Leilei Gao (Professor, Chinese University, Hong Kong)
 Wendy De La Rosa (Assistant Professor, Wharton School, U.O. Penn.)
 Aner Sela (Professor, U. O. Florida)
 Jonah Berger (Associate Professor, Wharton School, U.O. Penn.)
 Jen Park (Assistant Professor, University of British Columbia)


 EDITORIAL ACTIVITIES

 Co-Editor of Consumer Psychology Review
 Editorial Boards: Journal of Marketing Research, Journal of Consumer Psychology, Journal of
 Consumer Research, International Journal of Research in Marketing, Journal of Marketing in
 Emerging Economies, Marketing Letters, Journal of Academy of Marketing Science, Review of
 Marketing Research.
 Reviewer for Marketing Science, Journal of Behavioral Decision Making, Science, Management
 Science, Journal of Retailing and Consumer Services, Journal of Marketing, Journal of
 Retailing, Organizational Behavior and Human Decision Processes, Journal of Experimental
 Psychology, Psychological Review, Psychological Bulletin, Journal of Personality and Social
 Psychology, Psychological Science, California Management Review, Journal of Economic
 Psychology, European Journal of Social Psychology, Journal of Judgment and Decision Making,
 Medical Decision Making, and National Science Foundation.

 PROFESSIONAL AFFILIATIONS
                             Association for Consumer Research
                             Judgment and Decision Making Society




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                   APPENDIX B
                 TESTIMONY LIST




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  Cases in which Dr. Itamar Simonson Testified as an Expert at Trial or by Deposition in the Past
                                              Ten Years

         1.      Nike, Inc. v. StockX LLC (SDNY; 22-cv-983-VEC) (Deposition).
         2.      Mark Patane et al. v. Nestle Waters North America, Inc. (USDC of CT; 3:17- CV-
                 01381) (Deposition).
         3.      Promotion In Motion v. Haribo America (Dist. of NJ; 19-cv-14183-MCA- LDW)
                 (Deposition).
         4.      MGFB Properties, Inc. et al. v. Viacom, Inc. et al. (Nor. Dist. FL; 5:19-00257)
                 (Deposition).
         5.      American Eagle Outfitters v. Walmart (W.D. of PA; 2:20-cv-00412) (Deposition).
         6.      The People of the State of California v. Macy’s Inc. (Superior Court of CA, County
                 of Los Angeles; BC643040) (Trial).
         7.      Fujifilm North America Corp. v. Polaroid, IP (SDNY; 1:17-cv-08796) (Deposition).
         8.      In the Matter of Certain Portable Battery Jump Starters (ITC; Inv. # 337-TA- 1360)
                 (Trial).
         9.      Jerome’s Furniture Warehouse v. Ashley Furniture Industries (South. Dist. CA; 20-
                 cv-1765) (Deposition).
         10.     Warner Bros. Entertainment v. Random Tuesday, Inc. (Cent. Dist. CA; 2:20-cv-
                 02416) (Deposition).
         11.     Delta Air Lines, Inc. v. Marriott International (Nor. Dist. of GA; 1:20-01125)
                 (Deposition).
         12.     Stitch, Ltd. v. TikTok, Inc. (SD-CA; 3:21-cv-00626) (Trial).
         13.     Koss Corp. v. Apple Inc. (WDTX; 6:20-cv-00665) (Deposition).
         14.     Margarita Delgado, et al. v. Ocwen Loan Servicing et al. (East. Dist. of NY; 1:13-
                 cv-04427) (Deposition).
         15.     Thrive Natural Care v. Thrive Causemetics (Cent. Dist. of CA; 2:20-cv-9091- PA-
                 AS) (Deposition).
         16.     Contour IP v. GoPro, Inc. (N.D. of CA; 21-cv-2143) (Deposition).
         17.     Burnett, Camp, et al. v. Conseco Life Insurance (So. Dist. of Indiana; 1:18-cv-
                 00200-JPH-DML) (Deposition).




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        18.     In Re. Distribution of Cable Royalty Funds (Testified at trial on behalf of the Public
                Television Claimants Before the Cable Royalty Judges; Washington, D.C.).
        19.     Ericsson Inc. v. Apple Inc. (EDTX, Marshall Div.; 2:21-cv-336 (Deposition).
        20.     New Chapter, Inc. v. Advanced Nutrition, Inc. (EDNY; 22-cv-37-34) (Deposition).
        21.     G+ Communications, LLC v. Samsung Electronics Co. (ED-TX; 2-22-cv-78)
                (Deposition).
        22.     Duracell U. S. Operations v. Energizer Brands (SDNY; 1:20-cv-07318)
                (Depositions).
        23.     IPA Technologies Inc. v. Amazon.com, Inc. (Dist. of Delaware; 1:16-cv-01266-
                RGA) (Deposition).
        24.     Rovi Guides, Inc. v. Videotron LTD. (Federal Court, Ottawa; Docket T-921-17)
                (Trial).
        25.     Federal Trade Commission v. LendingClub Corp. (Nor. Dist. Of CA; 3:18-cv-
                02454-JSC) (Deposition).
        26.     ID Tech v. Samsung Electronics (Cent. Dist. of CA.; 8:17-cv-01748) (Deposition).
        27.     Instagram, LLC v. Instagoods Pty Ltd (USPTO, Application no.: 88923261)
                (Deposition).
        28.     Willis Electric Co. v. Polygroup Trading Ltd. (US Dist. Of Minnesota; 5-cv- 3443)
                (Trial).
        29.     Innovation Sciences v. Amazon.com et al. (East. Dist. of TX, Sherman Div.; 4:18-
                cv-00474) (Deposition).
        30.     Strategic Partners, Inc. v. Figs, Inc. (CD-CA; 2:19-cv-02286) (Trial).
        31.     Re. Apple iPhone Antitrust litigation (Nor. Dist. CA, Oakland Div.; 4:11-cv- 06714-
                YG) (Deposition).
        32.     Monster Energy Company v. BeastUp LLC (East. Dist. of CA; 17cv1605 KJM-
                JDP) (Trial).
        33.     The People of the State of California v. HRB Tax Group et al. (Superior Court,
                County of LA; 19STCV15742) (Deposition).
        34.     Apple Inc. v. The USPTO (E.D. of VA; 1-22-cv-1231-MSN) (Deposition).
        35.     Jackpocket, Inc. v. LottoMatrix NY LLC et al. (SDNY; 22-cv-05772) (Deposition).
        36.     Veterinary Hospital Managers Association, Inc., v. Eastern States Veterinary
                Association, Inc. (USPTO, Ser. No. 88/850,803) (Deposition).




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        37.     GeoTag, Inc. v. AT&T et al. (Nor. Dist. of Texas, Dallas Div.; 2:10-CV-57O)
                (Deposition).
        38.     Poquito Mas Licensing Corp. v. Taco Bell Corp. (Cent. Dist. of CA; 8:13-CV-
                01933) (Deposition).
        39.     Whirlpool Corp. Front-Loading Washer Products Liability Litigation (Nor. Dist.
                Ohio; 1:08-wp-65000; MDL 2001) (Trial).
        40.     Playtex Products, LLC v. Munchkin, Inc. (Cent. Dist. CA; CASE NO. CV 11- 0503
                AHM (RZX) (Trial).
        41.     SRI International, Inc. v. Cisco Systems, Inc. (US Dist. of Del., 13-1534)
                (Deposition).
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        44.     Skye Astiana et al. v. Kashi Company (South. dist. of CA; 11-CV-1967-HBGS)
                (Deposition).
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        47.     Car Freshner v. Exotica Fresheners (SDNY; 14-CV-391) (Trial).
        48.     Laura McCabe et al. v. Six Continents Hotels, Inc. (No. Dist. of CA, SF Div., 12–
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        53.     Lena Thodos et al. v. Nicor, Inc. et al. (Circuit Ct. of Cook County, IL, Chancery
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        54.     Christopher Corcoran et al. v. CVS Pharmacy (Nor. Dis. of CA; 15-CV-3504)
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        56.     Lights Out Holdings and Shawne Merriman v. Nike, Inc. (South. Dist. Of CA, 3:14-
                cv- 00872-JAH-NLS) (Deposition).
        57.     Koninklijke Philips Electronics N.V. v. Hunt Control Systems (Dist. of NJ, 11-
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                00124) (Deposition).
        60.     Adidas America, Inc. et al. v. Skechers USA, Inc. (Dist. of Oregon, Portland Div.;
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        62.     Exxon Mobil Corp. v. FX Networks et al. (South. Dist. of TX; 4:13– CV– 02906)
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        63.     Car Freshner Corp. v. Crocs, Inc. (Nor. Dist. of NY; 7:16-cv-0068) (Deposition).
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        66.     Oracle America, Inc. v. Google Inc. (No. Dist. of CA; C 10-03561) (Deposition).
        67.     TrueCar, Inc. v. Sonic Automotive, Inc. (Cent. Dist. of CA, West. Div.; 13-cv-
                05812) (Deposition).
        68.     World Trade Centers Association, Inc. v. The Port Authority of New York and New
                Jersey (So. Dist. of NY; 15-cv-7411) (Deposition).
        69.     TCL Communication Technology Holdings v. Telefonaktoebol LM Ericsson, et al.
                (Cent. Dist. of CA, 8:14-CV-00341 JVS-DFMx) (Trial).
        70.     (on behalf of Sound Exchange) In the Matter of Determination of Rates and Terms
                for Preexisting Subscription Services and Satellite Digital Audio Radio Services
                (United States Copyright Judges, Washington, D.C., trial).
        71.     Adidas America, Inc. et al. v. TRB Acquisitions et al. (Dist. of Oregon; 3:15- cv-
                02113-SI) (Deposition).
        72.     THX LTD. v. Apple Inc. (Nor. Dist. of CA; 3:16-cv-01161) (Deposition).




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        73.     Price, et al. v. L’Oreal USA, Inc., et al. (S.D.N.Y.; 1:17-cv-00614) (Deposition).
        74.     San Diego County Credit Union v. Citizens Equity First Credit Union (S.D. Cal.;
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        75.     Maldonado v. Apple, Inc. (N.D. Cal.; 3:16-cv-04067) (Deposition).
        76.     McMorrow v. Mondelez International, Inc. (S.D. Cal.; 17-cv-2327) (Deposition).
        77.     Black Card, LLC v. Visa U.S.A., Inc. (D. Wyo.; 2:15-cv-00027) (Trial).
        78.     Hadley v. Kellogg Sales Company (N.D. Cal.; 16-CV-04955) (Deposition).
        79.     Combe Inc. v. Dr. August Wolff GmBH & Co. (E.D. Va.; 1:17-cv-00935)
                (Deposition).
        80.     Schechner v. Whirlpool Corporation (E.D. Mich.; 2:16-cv-12409) (Deposition).
        81.     Fitzhenry-Russell v. Keurig Dr. Pepper Inc. (N.D. Cal.; 5:17-cv-00564)
                (Deposition).
        82.     Cross-Fit, Inc. v. National Strength and Conditioning Association (S.D. Cal.; 14-cv-
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        85.     State of Arizona et al. v. Volkswagen AG et al. (Sup. Ct. of Ariz., Maricopa County;
                16-cv-005112) (Deposition).
        86.     Saxon Glass Technologies v. Apple Inc. (W.D.N.Y.; 1:15-cv-00581) (Deposition).
        87.     Tempur-Pedic NA et al. v. Mattress Firm (S.D. Tex.; 4:17-cv-1068) (Deposition).
        88.     RingCentral, Inc. v. Nextiva, Inc. (N.D. Cal.; 5:19-cv-02626) (Deposition).
        89.     Droplets, Inc. v. Yahoo, Inc. (N.D. Cal.; 12-cv-03733) (Deposition).
        90.     Thomas Luca v. Wyndham Worldwide et al. (W.D. Pa.; 2:16-cv-00746)
                (Deposition).
        91.     Smith-Brown et al. v. Ulta Beauty, Inc. et al. (N.D. Ill.; 1:18-cv-610) (Deposition).
        92.     William Brady v. Bayer et al. (Cal. Superior Court, Orange County; 0-2016-
                00839608-CU-MC-CXC) (Deposition).
        93.     Sprint Spectrum et al. v. AT&T Mobility (S.D.N.Y.; 19-cv-1215) (Deposition).




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        94.     Jill Hennessey v. Kohl’s Corp. (E.D. Mo.; 4:19-01866) (Deposition).
        95.     Maxell, Ltd. v. Apple Inc. (E.D. Tex.; 5:19-cv-0036) (Deposition).
        96.     Polaris PowerLED Technologies v. Samsung Electronics America et al. (E.D. Tex.;
                2-17-cv-00715) (Deposition).
        97.     Apple Inc. v. Qualcomm Inc. (S.D. Cal.; 17-cv-0108 & 3:17-cv-1375) (Depositions).
        98.     Milan et al. v. Clif Bar & Company (N.D. Cal.; 18-02354) (Deposition).
        99.     ICON Health & Fitness v. Nautilus, Inc. (D. Utah; 1-17-cv-00164-DAK)
                (Deposition).
        100. CFA Institute v. American Retirement Association (W.D. Va.; 3:19-cv-00012)
             (Deposition).
        101. Social Technologies v. Apple Inc. (N.D. Cal.; 3:18-cv-05945-VC) (Deposition).
        102. American Airlines v. Delta Airlines (N.D. Tex.; 4:19-cv-01053-O) (Deposition).
        103. Re: MacBook Keyboard Litigation (N.D. Cal.; 5:18-cv-02813-EJD-VKD)
             (Deposition).
        104. Simmons et al. v. Ford Motor Company (S.D. Fla.; 18-cv-81558-RAR) (Deposition).
        105. (on behalf of Sound Exchange) Determination of Royalty Rates and Terms for
             Ephemeral Recording and Digital Performance of Sound Recordings (Web V)
             (United States Copyright Judges, Washington, D.C.; 14-CRB-0001-WR) (Trial).
        106. Federal Trade Commission v. Meta Platforms (US Dist. Of Columbia; 20-cv-03590)
             (Deposition).
        107. Apollo Health and Beauty Care v. Sol de Janeiro IP, Inc. (S.D.N.Y; 22-cv-07719)
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        108. I-META Holdings, Inc., v. Meta Platforms, Inc., (Eighth Judicial District Court,
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        109. Apple, Inc. v. Masimo Corporation (D. Del.; 22-cv-1378) (Deposition).
        110. United States, et al. v. Google, LLC (E.D. Virginia; 23-cv-00108) (Deposition).
        111. Simmons et al. v. Ford Motor Company (S.D. FL; 18-cv-81558-RAR) (Deposition).
        112. SEVEN Networks v. Motorola Mobility (Nor. Dist. of TX, Dallas Div.; 3:21-cv-
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        113. In re: HomeAdvisor, Inc. Litigation (16-CV-01849-PAB-KLM) (Deposition).




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         APPENDIX C
    DOCUMENTS RELIED UPON




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                                                     Bates Ranges


                          GOOG-AT-MDL-001272416            –   GOOG-AT-MDL-001272493
                          GOOG-AT-MDL-002038336            –   GOOG-AT-MDL-002038380
                          GOOG-AT-MDL-008928829            –   GOOG-AT-MDL-008928914
                            GOOG-DOJ-11021167              –     GOOG-DOJ-11021216
                           GOOG-DOJ-AT-00748293            –    GOOG-DOJ-AT-00748396
                           GOOG-DOJ-AT-00839664            –    GOOG-DOJ-AT-00839764
                           GOOG-DOJ-AT-02524665            –    GOOG-DOJ-AT-02524749

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          APPENDIX D
    PRELIMINARY INTERVIEW
            GUIDE




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                                        Preliminary Interview Guide

 1.       Introduction

 Hello, am I speaking to [FIRST NAME]?
 My name is [NAME] and I will be interviewing you. Thank you for agreeing to speak with me today.
 This interview is not being recorded. I have not been told your identity, including the company you work
 for. I only know your job title and the industry category you work in. All information you provide will be
 analyzed across the entire sample of interviews.
 This interview is being conducted by consultants that have been retained on behalf of Google in
 connection with pending antitrust lawsuits in which the plaintiffs allege that Google engaged in
 anticompetitive conduct related to digital advertising. Based on our research, we understand that your
 company is not a participant in those lawsuits. We are interviewing people who work in advertising and
 would like to ask you some questions about your work. Would you be willing to participate in this
 interview?
 As we go through, please let me know if any of my questions are unclear or if I use any terms you are
 unfamiliar with.
 I will ask you about several different topics. If I start asking about any topics that don’t apply to you or
 your company, please just let me know and I can move on to the next topic.
 When answering, please give as much detail as possible. However, if you do not know the answer, that is
 okay -- just let me know.
 Do you have any questions before I begin?



 2.       General Background

      1. Do you work in a particular group or area within your company? What group or area is that?
              a. How is your advertising group organized? Does it, e.g., cover specific products, customer
                 segments, etc.?
      2. How would you describe your current role?
      3. How long have you been in this role? How long have you worked on digital advertising over the
         course of your career?
      4. In your current role, what, if any, responsibilities do you have with respect to digital advertising?
      5. If you know, roughly what share or percentage of your ad spending is on digital, online
         advertising vs. offline advertising?
      6. How would you describe the role you play in deciding how advertising dollars are spent? What
         are your specific responsibilities?
      7. Do you work with advertising agencies for digital advertising?



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              a. [If yes:] From your perspective, what would you describe as the purpose of working with
                 advertising agencies? What types of tasks or goals do you expect from them versus what
                 do you keep in-house?

 3.       Advertising Channels and Usage

      8. What do you think of as an “advertising campaign”?
      9. Some advertisers but not others set advertising objectives based on the concept of the marketing
         funnel (i.e., awareness, preference, action). Do you set specific funnel objectives for each
         campaign?
      10. Can you give me some examples of advertising campaigns you’ve run in the past year?
              a. [For each of the first 3 campaigns mentioned, ask:]
              b. What was your overall objective for the campaign?
              c. What kinds of media did you advertise on? [By media, we mean: Digital, TV, print,
                 radio, out-of-home, directories. If respondent is unsure/unclear, explain and ask them
                 what term they would use to describe these categories.]
      11. Let’s focus on your use of digital advertising. Which, if any, of the following digital advertising
          channels have you used over the past year?
              a. [Allow respondents to answer, and probe for the below options if not already mentioned.
                 For each channel the respondent mentions, ask how they define it.]
              b. Display?
              c. Search?
              d. Social?
              e. Web?
              f.   In-app?
              g. Is there anything else we haven’t covered?
      12. How do you use each of the digital advertising channels you just mentioned?
              a. [Probe for each channel mentioned previously:]
                       i. Display
                      ii. Search
                      iii. Social
                      iv. Web
                      v. In-app




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 4.       Budget and Spending Decisions and Process

      13. Next, let’s talk about budgeting and spending decisions. If I ask any questions that you don’t
          know the answer to, just let me know.
      14. What is your best estimate of the percentage of your digital advertising budget spent in each
          channel over the last 12 months? Please allocate 100% across these channels.
              a. [List channels the respondent already indicated that they use and have them allocate
                 100% across these channels]
      15. Is your current budget/spending allocation roughly the same or different than last year?
              a. If the same: Why didn’t you make changes? Was that a deliberate decision to keep the
                 same allocation as before or did you just not see a reason to change?
              b. If different: What caused you to change the allocation of your spending across channels?
                 Any other reasons for changing this allocation?
      16. At a high level, how do you or those you work with decide how and where to spend advertising
          dollars?
              a. [Allow respondent to answer however they wish. Follow up with potential additional
                 questions to guide discussion:
                       i. Is there an overall advertising budget for your organization? How is that
                          determined?
                      ii. Is there a budget for your unit or group? How is that determined?
                     iii. Is there a budget for digital advertising specifically? How is that determined?
                      iv. Are there separate budgets for different digital ad channels? How are those
                          determined?
                      v. How, if at all, do you or those you work with decide how much to spend on a
                         particular advertising campaign?
                      vi. How, if at all, do you or those you work with decide how to allocate spending
                          (e.g., across different types of advertising)?]
      17. When deciding how to allocate your digital advertising budget, how many people participate in
          that decision?
      18. How often do you revisit this budget allocation and consider when to make changes? Who is
          involved in those decisions?
      19. Do you adjust spending during the course a campaign? Between campaigns? Why?




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 5.       Display Advertising Terms and Usage

      20. My next questions will focus in on display advertising. First, I’d like to understand a bit more
          about what you consider to be display advertising. How do you define display advertising?
              a. Does it include advertising on social media sites?
              b. Does it include in-app advertising?
              c. Does it include instream video advertising? Outstream video advertising?
              d. Does it include direct advertising or just programmatic advertising using third-party
                 tools?
      21. [After respondent has explained how they define “display advertising”] Thank you for explaining
          how you define the term display advertising. For the purposes of the rest of our interview, I will
          use “display advertising” to mean digital ads placed on websites that are not social media
          platforms. In my definition of “display advertising,” I include only ads that are purchased
          programmatically, and do not include ads that are purchased directly from publishers. I do not
          include instream video ads or in-app ads. Please let me know if anything is unclear in any of the
          questions I ask.
      22. Why do you use display advertising? In your view, what are the advantages relative to other
          forms of advertising?
      23. Next, I am going to ask you some questions about what you view as alternatives to certain types
          of display advertising?
              a. Do you view social media advertising as an alternative for display advertising?
              b. Do you view in-app advertising as an alternative for display advertising?
              c. Do you view video display advertising as a substitute for static image display
                 advertising?
              d. Do you view purchasing display ads directly from publishers as a substitute for
                 purchasing display ads programmatically?
      24. How have you bought display ads in the past 12 months?
              a. Have you bought display ads via direct deals with publishers?
              b. Have you bought display ads via programmatic methods?
              c. Have you bought display ads via private marketplaces?
              d. Have you bought display ads via open exchanges?
              e. [If multiple:] Why do you use each of these methods? Why would you choose one option
                 over another?
      25. [If respondent indicates that they have purchased display ads via direct deals:]
              a. What is your best estimate of the percentage of your spending on display ads in the past
                 12 months that was through direct deals with publishers?


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              b. Has this percentage stayed relatively constant over the past several 5 years, or has it
                 changed?
                       i. [If it has changed:] How has it changed? Why?
              c. Do you expect this percentage to be roughly the same or different in the coming year?
                 Why?
              d. In your view, what are the advantages and disadvantages of buying display ads directly
                 vs. programmatically?



 6.       Multihoming (DSPs)

      26. Next, let’s talk about your use of different DSPs and buying tools. First, how do you define a
          demand side platform, or “DSP”?
      27. How do you define a buying tool for display advertising? In your view, is a buying tool different
          from a DSP?
      28. In the following questions, I will use the term “buying tool” to include both DSPs that can be
          used to buy open web display ads as well as user interfaces for buying ads on owned and operated
          platforms, such as Facebook.
      29. In the past year, have you used one or more than one buying tool to buy digital ads?
              a. Please list the buying tools you’ve used in the past year. [Probe for: Google Ads, Google
                 DV360, Criteo, The Trade Desk, Facebook, Amazon, TikTok]
      30. [If respondent uses multiple buying tools:] Roughly how many buying tools have you used to buy
          digital ads in the past year?
              a. Do you expect to increase or decrease the number of buying tools you use in the coming
                 year? What makes you say that?
              b. Why do you use multiple buying tools, and for what purposes?
              c. Are there advantages or disadvantages to using multiple buying tools?
              d. Have you heard of self-competition related to using multiple buying tools? What does
                 that mean to you?
              e. Do you have any concerns about self-competition when using multiple buying tools?
              f.   Do you perceive that some buying tools have access to some consumers or publisher
                   inventory that others don’t have access to?
                       i. [If yes:] Is that one motivation behind using multiple buying tools?
              g. If there were important publisher inventory that you felt you did not have good access to
                 with the buying tools you are currently using, would you use another buying tool?
      31. [If respondent uses only one buying tool:] Why do you use one buying tool instead of multiple?



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              a. Do you expect to use any additional buying tools in the coming year? What makes you
                 say that?
              b. If there were important publisher inventory that you felt you did not have good access to
                 with the buying tool you are currently using, would you use another buying tool?
      32. [If respondent uses Google Ads:]
              a. What experiences or factors led you to start using Google Ads for display advertising?
              b. What do you use Google Ads for? Do you use other DSPs for the same purpose?
      33. [If respondent uses DV360:]
              a. What do you use Google DV360 for? Do you use other DSPs for the same purpose?
      34. Do you use the terms “DSP” and “exchanges” in the same way or do they mean different things?
              a. [[If different:]] Do you or don’t you choose specific exchanges?
              b. [[If they do:]] What factors do you consider when choosing an exchange?

 7.       Measuring/Tracking Display Ad Performance

      35. Next, let’s talk about how you assess the performance of digital ads, and display ads in particular.
      36. What metrics do you use to measure how well or poorly your display ads are performing?
              a. [Let respondent answer generally. Probe for specific metrics, such as: impressions,
                 clicks, conversions, cost per impression, cost per click, cost per conversion, return on
                 investment (ROI), return on ad spend (ROAS)]
              b. In your opinion, which metrics are the most informative?
      37. Do the terms return on investment (ROI) and return on ad spend (ROAS) mean anything to you?
              a. Do you measure ROI and/or ROAS? How?
              b. What’s the difference between ROI and ROAS?
              c. How precise do you think those measurements are?
      38. What factors do you consider in choosing…
              a. Between web display ads vs. in-app ads?
              b. Between display vs. social?
              c. Between one buying tool vs. another buying tool?
              d. Between direct vs. programmatic?
      39. Do you run experiments to assess the performance of your display ads?
              a. Generally, what types of experiments do you find to be most informative? Why?
              b. Can you give some examples of experiments you’ve run in the past year?



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           c. [For each:] What did you find? How did that affect your advertising?
   40. Do you monitor the performance of display ads while they are running?
           a. If so, how frequently do you check the performance?
           b. How do you use that information?
   41. Do you measure performance of display ads after the campaign ends?
           a. If so, how do you use that information?
   42. Do you compare performance across types of digital ads within a campaign? For example, do you
       ever compare performance of display ads with social media ads or search ads?
           a. Do you shift spending from one type of digital ad to another based on their relative
              performance?
                    i. If so, when do you make those changes?
   43. In the last 2 years, have you increased or decreased the amount you’re spending on particular
       display ads based on their performance?
           a. If so, please give details as to what performance criteria triggered the change.
           b. If so, what changes have you made? Can you give an example?
           c. How, if at all, did those changes affect your spending on other advertising channels?
                    i. Have you shifted spending to/from other advertising channels? If so, what
                       channels and why?
                           1. [Probe for in-app, social media, other DSPs, purchasing channels
                              (direct vs. programmatic)]
                           2. [Probe for changes in formats, including between static and instream
                              and outstream video]
                   ii. Have you experienced any difficulties in shifting spending across different
                       advertising channels? If so, please describe.
           d. When have you made these changes? While the campaign is running? At the start of the
              next campaign?
   44. Can you think of an example of a time when you were running a campaign and you noticed that
       the performance of your display ads had declined or was lower than you expected?
           a. [If yes:] How did you notice the decline in display ad performance? What performance
              metrics showed this?
           b. When did you notice the decline in display ad performance? [While the campaign was
              running? After the campaign concluded?]
           c. What, if anything, did you do about the decline in display ad performance?
           d. Did you change how much you were spending on those display ads? How?



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                       i. [If yes:] Did you shift that spending somewhere else? If so, where?
                              1. [Probe for in-app, social media, other DSPs, purchasing channels
                                 (direct vs. programmatic)]
                              2. [Probe for changes in formats, including between static and instream
                                 and outstream video]
      45. Let’s talk about a hypothetical situation. Please imagine a situation in which you notice that the
          ROI of your programmatic display ads goes down by 5 percentage points. Assume that you have
          observed this trend across several campaigns, and the lower performance appears to be persistent.
              a. Would you change how much you are spending on those programmatic display ads?
                 What changes would you make?
              b. [If respondent says they would not change much:] Suppose instead that the ROI of your
                 programmatic display ads goes down by 10 percentage points. Would you change how
                 much you are spending on those programmatic display ads?
              c. [If respondent says they would decrease spending on display ads:] Would you shift that
                 spending somewhere else? If so, where?
                       i. Direct ads?
                       ii. In-app ads?
                     iii. Social media ads?
                     iv. To a different format? For example, from static display to instream and/or
                         outstream video ads?
              d. Would you make any changes to your use of different ways of purchasing display ads?
                 That is, would you change your allocation of spending on direct deals vs. programmatic?

 8.       Conclusion

      46. That is all I have for you today. Thinking back on our conversation, is there anything else you
          want to mention or clarify further?
      47. Thank you so much for your time.




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              APPENDIX E
         PRETEST MODERATOR
            INSTRUCTIONS




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                                            Pretest Moderator Instructions

 Instructions: The moderator’s script is highlighted in grey. Instructions and cues for the moderator are in
 bold and all caps.

 Section 1: Introduction & Questionnaire
 Hello.

 My name is ______. Thank you so much for agreeing to take this survey today. Please take the survey as
 you normally would. There is no correct or incorrect way to take this survey, we would like you to
 approach this as realistically as possible. After you’re done taking the survey, I will ask you a few follow-
 up questions.

 Does that all sound okay? [WAIT FOR AGREEMENT]

 Thank you! The link to the website you need to go to was provided in the email you received, please
 follow that link. [IF NECESSARY REMIND WHO THE SENDER OF THE EMAIL WAS] Please
 let me know when you have the link open.

 Thank you! You can start the survey. Please let me know when you complete the survey because I will
 have a few follow-up questions then.

 [ALLOW THE RESPONDENT TO TAKE THE SURVEY AND FINISH]

 Section 2: Follow-up Questions
 [QUESTIONS TO ASK AFTER THE RESPONDENT FINISHED RESPONDING TO ALL
 SURVEY QUESTIONS AND INDICATES SO]

 Q1. Did you have any problems or difficulties while taking the survey?

 Q2. Did you think any questions were unclear? If so, which ones and why?

 Q3. Did you think any answer options were unclear? If so, which ones and why?

 Q4. Did any questions in the survey make you feel that you should answer one way or the other? If so,
 which ones and why?

 Q5. What do you think might be the purpose for conducting this survey? What makes you think so?

 Section 3: Closing

 Q6. Is there anything else you would like to say about the survey?
 -------------------------------------------------------------------------------------------------------------------------------
 Thank you so much for your time. Your participation is much appreciated and a representative from
 Advertiser Perceptions will reach out regarding your compensation for completing this survey. Have a
 good day.




                                                              E-2
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       APPENDIX F
 HIGHER-SPEND ADVERTISER
         SURVEY
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       APPENDIX F.1
 HIGHER-SPEND ADVERTISER
      SURVEY SCRIPT




                                  F.1-1
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                            Higher-Spend Advertiser Survey
                  Screener and Main Survey Programmer Instructions

   LEGEND:

   [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
   Notes to respondent in italics

   FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
  [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
  ENTITIES TO BE EXCLUDED]
  [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S., AND
  WHOSE JOB FUNCTION RELATES TO MARKETING AND/OR ADVERTISING]
  [TARGET 500 COMPLETES]
  [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
  BUTTON WITHIN THE SURVEY]
  [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
  SPECIFIED]
  [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
  [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
  [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
  PARTICIPATION]
  [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
  YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




                                          F.1-2
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 Introduction and Screening

  QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
       to continue.
  [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]


  QS2. Thank you for participating in our study. Your opinions are very important to us. If you
       don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
       Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
       There are no right or wrong answers.

         Your responses will be kept anonymous and will be analyzed as part of a larger sample
         of responses. The results of this study will not be used to try to sell you anything.

         If you wear glasses or corrective lenses when using a desktop computer, laptop
         computer, or tablet, please wear them throughout the survey.

         Please do not use the “Back” button of your browser while taking the survey. When
         you are ready to get started, please select the “Continue” button.


  QS3. What is your age? (Please select only one option.)

  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
  TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]


  QS4. What is your gender? (Please select only one option.)
  [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer




                                             F.1-3
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  QS5. In which state do you live? (Please select only one option.)
  [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
  “DON’T KNOW / UNSURE”]
  [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]


  QS6. Which of the following do you have any involvement in as part of your job
       responsibilities? (Please select all that apply.)

  [RANDOMIZE; KEEP “OTHER” LAST]

      Hiring/HR
      IT/Tech
      Business intelligence/Data science
      Sales or account management
      Accounting/Finance
      Advertising or Marketing
      Website/Mobile App design/development
      Customer relationship management
      Data analysis/statistics
      Other (specify):

   [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]


  QS7. Which of the following best characterizes the type of company you work for? (Please
       select only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
    Advertiser/Marketer – your company sells products or services and advertises/markets
     its products or services
    Creative Agency – your company designs or produces marketing content and/or advises
     clients on their creative media/marketing strategies [TERMINATE]
    Media Agency – your company advises clients on their media/marketing strategies and/or
     how to spend their advertising funds [TERMINATE]
    Full Service Agency – your company handles both Creative and Media strategy and/or
     execution [TERMINATE]
    Other (please describe): [INSERT TEXT BOX] [TERMINATE]




                                             F.1-4
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  QS8. Which of the following, if any, best characterizes the market sector/industry your
       company is in? (Please select only one option.)
  [DO NOT RANDOMIZE]
    Advertising or Marketing
    Apparel/Fashion
    Automotive
    B2B/Services for Businesses
    Consumer Electronics
    Education
    Financial Products/Services for Consumers (including Fintech)
    Food and Beverage
    Government
    Health and Beauty Products
    Home Products/Appliances
    Health Care or Medical Services
    Media and Entertainment
    Non-Profit
    Pharmaceuticals and Remedies (Rx or OTC)
    Restaurants
    Retail (including Ecommerce)
    Telecommunications
    Travel and Hospitality
    Other (Please describe): [INSERT TEXT BOX]

  QS9. Which of the following best characterizes your current job title/level? (Please select
       only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
        C-Level (CEO, COO, CMO, etc.)
        Vice President, SVP, EVP, President, etc.
        Director
        Supervisor/Department Head/Group Manager
        Manager
        Strategist
        Associate
        Analyst
        Buyer
        Planner
        Other (please describe): [INSERT TEXT BOX]




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  QS10. Approximately how much did your company spend in the last 12 months on all
        advertising, including all digital types (e.g., display, video, audio, social) plus all
        nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
    Less than $10,000 [TERMINATE]
    $10,000 to less than $50,000 [TERMINATE]
    $50,000 to less than $100,000 [TERMINATE]
    $100,000 to less than $250,000 [TERMINATE]
    $250,000 to less than $500,000 [TERMINATE]
    $500,000 to less than $1 million
    $1 million to less than $3 million
    $3 million to less than $7 million
    $7 million to less than $15 million
    $15 million to less than $30 million
    $30 million to less than $50 million
    $50 million to less than $100 million
    $100 million to less than $250 million
    $250 million to less than $500 million
    $500 million or more
    Don’t know / Unsure [TERMINATE]

  QS11. Please think about your business unit/team’s total advertising budget. In the past year,
        what percentage of your business unit/team’s total advertising budget was used for
        digital (online) advertising, as opposed to offline advertising? Please give your best
        estimate. (Please enter a number from 0 to 100 for each type of advertising, or select
        “Don’t know / Unsure.” Values must add up to 100%)

     [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
     whole number between 0 and 100 for each advertising type, or select “Don’t know /
     Unsure.” Values must add up to 100.”][SHOW TOTAL AT BOTTOM]

     [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

     Percentage of budget spent on digital (online) advertising last year:
     Percentage of budget spent on offline advertising last year:
     TOTAL                                          [SHOW SUM OF NUMBERS ABOVE]

      Don’t know / Unsure [EXCLUSIVE]

     [TERMINATE IF DIGITAL (ONLINE) = 0]




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  QS12. Which of the following types of digital advertising, if any, has your business unit/team
        used in the past year? Please review the description of each advertising type carefully.
        (Please select all that apply.)

       [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
       LAST]

        Advertising Type                Description
       Search                          Digital ads placed on search engine result pages. Ads
                                        generally consist of a headline, description, and a link
                                        to the destination URL.
       Display                         Digital ads made up of text, image, video, and/or other
                                        multimedia components that typically appear along the
                                        top or sides of a website, or sometimes in the middle of
                                        other content on a website. Examples of display ad
                                        formats include banner ads, animations, and interactive
                                        content. Display ads do not include ads placed on
                                        social media platforms.
       Email                           Digital ads sent via email to current and potential
                                        customers.
       Digital Audio                   Recorded advertisements that play between or during
                                        songs, podcasts, or other digital audio content.
       Social                          Digital ads placed on social media platforms such as
                                        Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
       App/In-App                      Digital ads placed and displayed within mobile apps.
                                        Does not include ads placed on social media platforms.
       Digital Video                   Includes video ads that appear before, during, or after
                                        digital content in a video player, such as YouTube.
       Connected TV                    Includes digital advertising that appears on home
                                        screens of CTV devices and in-stream video ads that
                                        appear on CTVs from platforms like Hulu, Roku and
                                        YouTube. CTVs are TV sets connected to the internet
                                        through built-in internet capability or through another
                                        device such as a Blu-ray player, game console, set-top
                                        box (e.g., Apple TV, Google Chromecast, Roku), etc.
       eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                        as Amazon.com or Instacart.
       Other (specify and explain):
        [INSERT TEXT BOX]
        Don’t know / Unsure [EXCLUSIVE]

   [TERMINATE IF “DISPLAY” IS NOT SELECTED]




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  QS13. You indicated that your business unit/team has used display advertising in the past
        year. Display ad inventory can be purchased through programmatic transaction methods
        or through direct deals with publishers. Please review the below descriptions about
        these transaction methods.

        Programmatic: Ads that are purchased programmatically are transacted and fulfilled
        using automation. In programmatic transactions, the price of each impression is
        typically determined in an auction conducted automatically before the impression is
        served.

        Direct Deals: Ads that are purchased through a direct negotiation, or “direct deal,” with
        the publisher. In direct deals, the price of the ad inventory is typically set through a one-
        to-one negotiation between the advertiser and the publisher rather than through an
        auction. “Direct deals” include programmatic direct deals, such as programmatic
        guaranteed deals and preferred deals.

        Which of the following transaction methods has your business unit/team (or your ad
        agency) used to purchase display ad inventory in the past year? (Please select all that
        apply.)

        [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
        KNOW / UNSURE” LAST]

          Programmatic
          Direct Deals
          None of the above [EXCLUSIVE]
          Don’t know / Unsure [EXCLUSIVE]

       [TERMINATE IF “PROGRAMMATIC” IS NOT SELECTED]




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  QS14. [IF “SOCIAL” IS SELECTED IN QS12] You indicated that your business unit/team
        has used social advertising in the past year. Which of the following social media
        platforms, if any, has your business unit/team advertised on in the past year? (Please
        select all that apply.)
        [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
        “DON’T KNOW / UNSURE” LAST]
           Facebook
           Instagram
           Pinterest
           Snapchat
           TikTok
           Twitter
           LinkedIn
           Reddit
           Tumblr
           FriendLinx
           Other social media platforms (specify): [INSERT TEXT BOX]
           None of the above [EXCLUSIVE]
           Don’t know / Unsure [EXCLUSIVE]

  QS15. In which of the following ways have you personally been involved in your company’s
        digital display advertising efforts in the last 12 months? (Please select all that apply.)
  [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
  LAST]
           I determine overall strategies and/or budgets for digital display
           I determine which buying tools and/or demand-side platforms (DSPs) to use for
            digital display
           I regularly use self-serve ad platforms to manage digital display campaigns
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns
           I regularly set up audience/target parameters for programmatic digital display
            buying
           I oversee a team/individuals that set(s) up audience/target parameters for
            programmatic digital display buying
           I measure results of digital display campaigns
           I oversee a team/individuals that measure(s) results of digital display campaigns
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine overall strategies and/or budgets for digital
 display”, “I determine which buying tools and/or demand-side platforms (DSPs) to use for
 digital display”, “I regularly use self-serve ad platforms to manage digital display campaigns”,
 “I oversee a team/individuals that use(s) self-serve ad platforms to manage digital display
 campaigns” ARE SELECTED]



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  QS16. This question is testing whether or not you’re paying attention while taking this survey.
        Please select “Somewhat likely” below. (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
          Not at all likely [TERMINATE]
          Not likely [TERMINATE]
          Neither unlikely nor likely [TERMINATE]
          Somewhat likely
          Very likely [TERMINATE]
          Don’t know / Unsure [TERMINATE]




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 Main Questionnaire
 Q1. You have been selected to answer questions about advertising practices used by your
     business unit, or the team you work on. For each question, if you don’t know or are unsure,
     please don’t guess. Simply indicate this in your response by selecting the “Don’t know /
     Unsure” option. There are no right or wrong answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Use of Ad Agencies

 Q2. Do you or do you not use an ad agency for digital advertising? (Please select one option.)

 [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
 UNSURE” LAST]

         Yes, I use an ad agency for digital advertising
         No, I do not use an ad agency for digital advertising
         Don’t know / Unsure

 Q3. [IF RESPONDENT SELECTED “YES” IN Q2] For which, if any, of the following do
     you use an ad agency? (Please select all that apply.)

 [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
 KNOW / UNSURE” LAST]
        Content and/or creatives
        Consulting services
        Media/marketing strategies
        Allocating advertising funds across advertising types
        Budgeting decisions
        Customer research
        Implementation of advertising (e.g., placing bids, interacting with DSPs)
        Tracking advertising performance
        Inventory access
        Running advertising tests/experiments
        Other (specify): [INSERT TEXT BOX]
        None of the above [EXCLUSIVE]
        Don’t know / Unsure [EXCLUSIVE]




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 Budget Allocation and Substitution

 Q4. The following questions pertain to digital advertising.

      Previously, you mentioned that your business unit/team has used the following types of
      digital advertising in the past year. What is your best estimate of the share of your
      business unit/team’s digital advertising budget that was used for each of these types of
      advertising in the past year? Specifically, please allocate 100% across the different types of
      digital advertising shown below based on the share of your total digital advertising budget
      spent on each type. The total should add up to 100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS12 AND QS13 WITH TEXT
      BOX REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE
      ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW
      RUNNING TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE
      NUMBERS ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Programmatic Display:
       Direct Deals Display:
       Email:
       Digital Audio:
       Social:
       App/In-app:
       Digital Video:
       Connected TV:


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       eCommerce Platforms:
       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]

     Don’t know / Unsure [EXCLUSIVE]

 Q5. Please read carefully. Now suppose that, based on your analysis, the cost of programmatic
     display advertising has recently increased by a small but significant amount, and will
     remain elevated for the foreseeable future. Assume further that, based on similar
     analyses for other digital advertising types, the costs of other digital advertising types
     have not changed and are not expected to change.

      So if the cost of programmatic display advertising increases (while the cost of other
      advertising types remains the same), will you or won’t you divert some of your advertising
      spending for the coming year to other types of digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising.
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising. [SKIP TO Q8]
         Don’t know / Unsure [SKIP TO Q8]

 Q6. To which other types of digital advertising below, if any, would you divert your advertising
     spending for the coming year as a result of the increase in the cost of programmatic
     display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING. RANDOMIZE ORDER; KEEP
      “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW / UNSURE” LAST.]

           Search
           Direct Deals Display
           Email
           Digital Audio
           Social
           App/In-App
           Digital Video


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           Connected TV
           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q8]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q8]


 Q7. In your previous answer, you indicated that the increase in the cost of programmatic
     display advertising will lead you to divert some of your advertising spending to the types of
     digital advertising listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year to each type of
      digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q6. MATCH ORDER OF
      RESPONSES TO Q6. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM 0
      TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE.”
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

       Search                   [INSERT SLIDER]              Don’t know / Unsure
       Direct Deals Display     [INSERT SLIDER]              Don’t know / Unsure
       Email                    [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio            [INSERT SLIDER]              Don’t know / Unsure
       Social                   [INSERT SLIDER]              Don’t know / Unsure
       App/In-app               [INSERT SLIDER]              Don’t know / Unsure
       Digital Video            [INSERT SLIDER]              Don’t know / Unsure
       Connected TV             [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms      [INSERT SLIDER]              Don’t know / Unsure
       Other                    [INSERT SLIDER]              Don’t know / Unsure




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 Use of Ad Buying Tools for Programmatic Display (Multihoming)

 Q8. An ad buying tool is a programmatic advertising platform that allows advertisers and media
     buying agencies to bid automatically on display ad inventory from a wide range of
     publishers. Some ad buying tools can also be used to buy video and search ad inventory.
     Ad buying tools include demand side platforms, or “DSPs.”

      Which of the following ad buying tools, if any, have you and/or your business unit/team
      used during the past year for programmatic display advertising? (Please select all that
      apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
             Google Ads
             Google Display and Video 360 (DV360)
             illumin (formerly AcuityAds)
             Adelphic
             Adform
             Adobe Advertising Cloud
             Amazon DSP
             Amobee
             Basis by Centro
             Beeswax
             Criteo
             MediaMath DSP
             Outbrain
             Quantcast
             Simpli.fi
             StackAdapt
             Taboola
             The Trade Desk DSP
             Yahoo DSP (formerly Verizon Media DSP)
             Xandr Invest
             Zeta Global
             Quorexx
             Ad Step Technologies
             Other (please specify): [TEXT BOX]
             Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q17]

      [ADD FOLLOWING TEXT AS HOVER OVER FOR ALL INSTANCES OF “AD
      BUYING TOOL” IN FOLLOWING QUESTIONS: An ad buying tool is a
      programmatic advertising platform that allows advertisers and media buying agencies to
      bid automatically on display ad inventory from a wide range of publishers. Some ad buying
      tools can also be used to buy video and search ad inventory Ad buying tools include
      demand side platforms, or “DSPs.”.]




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 Q9. [IF MORE THAN ONE AD BUYING TOOL IS SELECTED IN Q8] Why did you
     and/or your business unit/team use more than one ad buying tool for programmatic
     display advertising in the past year? (Please type in your response, or select “Don’t know
     / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]

 Q10. Do you and/or your business unit/team expect to use the same number, more, or fewer ad
      buying tools for programmatic display advertising next year? (Please select only one
      option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]
          I expect to use more ad buying tools for programmatic display advertising next
           year.
          I expect to use fewer ad buying tools for programmatic display advertising next
           year.
          I expect to use the same number of ad buying tools for programmatic display
           advertising next year.
          Don’t know / Unsure

 Q11. [IF MORE OR FEWER IS SELECTED IN Q10] You indicated that, compared to the
      past year, you expect to use [PIPE IN BASED ON ANSWER IN Q10: “more” or
      “fewer”] ad buying tools for programmatic display advertising next year. Why do you
      and/or your business unit/team expect to use [PIPE IN BASED ON ANSWER IN Q10:
      “more” or “fewer”] ad buying tools for programmatic display advertising next year?
      (Please type in your response, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




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 Q12. Which of the following factors, if any, do you and/or your business unit/team consider
      when deciding to use a particular ad buying tool for programmatic display advertising?
      (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Ad placement effectiveness
          Audience scale / Reach
          Ease of use / User interface
          Targeting criteria and capabilities
          Reporting features
          Forecasting tools
          Budget management tools
          API and integrations
          Troubleshooting capabilities
          Media optimization of placements during a campaign
          Brand safety / fraud protection
          Identity management
          Support
          Cost
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE]

 Q13. Have you and/or your business unit/team stopped using any ad buying tool(s) for
      programmatic display advertising in the past year? (Please select only one option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

           Yes, I and/or my business unit/team stopped using at least one ad buying tool in the
            past year.
           No, I and/or my business unit/team have not stopped using any ad buying tools in
            the past year. [SKIP TO Q15]
           Don’t know / Unsure [SKIP TO Q15]

 Q14. [IF YES IN Q13] You indicated that you and/or your business unit/team stopped using at
      least one ad buying tool in the past year for programmatic display advertising. What
      factors led you and/or your business unit/team to stop using one or more ad buying tools
      for programmatic display advertising? (Please type your response in the text box below,
      or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




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 Q15. Have you and/or your business unit/team started using any ad buying tool(s) in the past
      year for programmatic display advertising? (Please select only one option.)
      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

           Yes, I and/or my business unit/team started using at least one ad buying tool in the
            past year.
           No, I and/or my business unit/team have not started using any ad buying tools in
            the past year.
           Don’t know / Unsure

 Q16. [IF YES IN Q15] You indicated that you and/or your business unit/team started using at
      least one ad buying tool in the past year for programmatic display advertising. What
      factors led you and/or your business unit/team to start using one or more ad buying tools
      for programmatic display advertising? (Please type your response in the text box below,
      or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




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 Measuring Performance

 Q17. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS12 AND QS13] Which
      of the following metrics, if any, are you and/or your business unit/team using to assess the
      performance of programmatic display ads, direct deals display ads, social media ads,
      and/or digital video ads?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type. (Please select all that apply in each column.)

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

      [RANDOMIZE ORDER OF ROWS; KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

                   Metric                Programmatic      Direct deals    Social       Digital
                                          display ads      display ads    media ads    video ads
       Impressions                                                                      
       Clicks                                                                           
       Conversions                                                                      
       Cost per impression (CPM)                                                        
       Cost per click (CPC)                                                             
       Cost per action (CPA)                                                            
       Return on Ad Spend (ROAS)                                                        
       Return on Investment (ROI)                                                       
       Click through rate (CTR)                                                         
       Other (please specify):                                                          
       [TEXT BOX]
       None of the above                                                                
       [EXCLUSIVE]
       Don’t know / Unsure                                                              
       [EXCLUSIVE]

 Q18. [ONLY IF MORE THAN ONE METRIC FOR PROGRAMMATIC DISPLAY ADS
      ARE SELECTED IN Q17] You indicated that you and/or your business unit/team use the
      following metrics to assess the performance of programmatic display ads. Please rank
      these metrics in terms of how important they are to accurately assessing the
      performance of programmatic display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED IN Q17] being the least important. (Please
      rank the following metrics, or select “Don’t know / Unsure”.)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED IN Q17 FOR EACH PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]



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 Q19. How often, if at all, do you and/or your business unit/team measure or assess the
      performance of your programmatic display advertising? (Please select only one option.)

      If you are using an ad agency and they are responsible for measuring or assessing
      performance of your programmatic display advertising, please indicate how often you
      receive information about the performance of your programmatic display advertising from
      the agency.

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Daily
           Weekly
           Monthly
           Quarterly
           Annually
           Don’t know / Unsure

 Q20. In the past year, have you and/or your business unit/team run any experimental or test &
      learn initiatives on your programmatic display ads? (Please select only one option.)
      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes
           No [SKIP TO QF1]
           Don’t know / Unsure [SKIP TO QF1]

 Q21. Which of the following types of experiments or test & learn initiatives, if any, have you
      and/or your business unit/team run in the past year on your programmatic display ads?

      I and/or my business unit/team have run experiments and/or test & learn initiatives
      testing… (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]




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 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




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          APPENDIX F.2
HIGHER-SPEND ADVERTISER SURVEY
         SCREENSHOTS




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                     INTRODUCTION AND SCREENING




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                         MAIN QUESTIONNAIRE




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                         FOLLOW UP QUESTION




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       APPENDIX F.3
 HIGHER-SPEND ADVERTISER
    SURVEY RAW DATA




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         PRODUCED AS NATIVE




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       APPENDIX G
 LOWER-SPEND ADVERTISER
         SURVEY
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       APPENDIX G.1
  LOWER-SPEND ADVERTISER
      SURVEY SCRIPT




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                            Lower-Spend Advertiser Survey
                  Screener and Main Survey Programmer Instructions

   LEGEND:

   [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
   Notes to respondent in italics

   FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
  [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
  ENTITIES TO BE EXCLUDED]
  [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S., AND
  WHOSE JOB FUNCTION RELATES TO MARKETING AND/OR ADVERTISING]
  [TARGET 300 COMPLETES]
  [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
  BUTTON WITHIN THE SURVEY]
  [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
  SPECIFIED]
  [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
  [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
  [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
  PARTICIPATION]
  [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
  YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




                                          G.1-2
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 Introduction and Screening

  QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
       to continue.
  [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]

  QS2. Thank you for participating in our study. Your opinions are very important to us. If you
       don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
       Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
       There are no right or wrong answers.

         Your responses will be kept anonymous and will be analyzed as part of a larger sample
         of responses. The results of this study will not be used to try to sell you anything.

         If you wear glasses or corrective lenses when using a desktop computer, laptop
         computer, or tablet, please wear them throughout the survey.

         Please do not use the “Back” button of your browser while taking the survey. When
         you are ready to get started, please select the “Continue” button.

  QS3. What is your age? (Please select only one option.)

  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
  TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]

  QS4. What is your gender? (Please select only one option.)
  [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer




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  QS5. In which state do you live? (Please select only one option.)
  [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
  “DON’T KNOW / UNSURE”]
  [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]

  QS6. Which of the following do you have any involvement in as part of your job
       responsibilities? (Please select all that apply.)

  [RANDOMIZE; KEEP “OTHER” LAST]

      Hiring/HR
      IT/Tech
      Business intelligence/Data science
      Sales or account management
      Accounting/Finance
      Advertising or Marketing
      Website/Mobile App design/development
      Customer relationship management
      Data analysis/statistics
      Other (specify):

   [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]

  QS7. Which of the following best characterizes the type of company you work for? (Please
       select only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
    Products/Services Business – your company sells products or services and
     advertises/markets its products or services
    Creative Agency – your company designs or produces marketing content and/or advises
     clients on their creative media/marketing strategies [TERMINATE]
    Media Agency – your company advises clients on their media/marketing strategies and/or
     how to spend their advertising funds [TERMINATE]
    Full Service Agency – your company handles both Creative and Media strategy and/or
     execution [TERMINATE]
    Other (please describe): [INSERT TEXT BOX] [TERMINATE]




                                            G.1-4
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  QS8. Which of the following, if any, best characterizes the market sector/industry your
       company is in? (Please select only one option.)
  [DO NOT RANDOMIZE]
    Advertising or Marketing
    Apparel/Fashion
    Automotive
    B2B/Services for Businesses
    Consumer Electronics
    Education
    Financial Products/Services for Consumers (including Fintech)
    Food and Beverage
    Government
    Health and Beauty Products
    Home Products/Appliances
    Health Care or Medical Services
    Media and Entertainment
    Non-Profit
    Pharmaceuticals and Remedies (Rx or OTC)
    Restaurants
    Retail (including Ecommerce)
    Telecommunications
    Travel and Hospitality
    Other (Please describe): [INSERT TEXT BOX]

  QS9. Which of the following best characterizes your current job title/level? (Please select
       only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
        C-Level (CEO, COO, CMO, etc.)
        Vice President, SVP, EVP, President, etc.
        Director
        Supervisor/Department Head/Group Manager
        Manager
        Strategist
        Associate
        Analyst
        Buyer
        Planner
        Other (please describe): [INSERT TEXT BOX]




                                             G.1-5
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  QS10. Approximately how much did your company spend in the last 12 months on all
        advertising, including all digital types (e.g., display, video, audio, social) plus all
        nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
    Less than $10,000
    $10,000 to less than $25,000
    $25,000 to less than $50,000
    $50,000 to less than $100,000
    $100,000 to less than $250,000
    $250,000 to less than $500,000
    $500,000 to less than $1 million [TERMINATE]
    $1 million to less than $3 million [TERMINATE]
    $3 million to less than $7 million [TERMINATE]
    $7 million to less than $15 million [TERMINATE]
    $15 million to less than $30 million [TERMINATE]
    $30 million to less than $50 million [TERMINATE]
    $50 million to less than $100 million [TERMINATE]
    $100 million to less than $250 million [TERMINATE]
    $250 million to less than $500 million [TERMINATE]
    $500 million or more [TERMINATE]
    Don’t know / Unsure [TERMINATE]

  QS11. Please think about your total advertising budget. In the past year, what percentage of
        your total advertising budget was used for digital (online) advertising, as opposed to
        offline advertising? Please give your best estimate. (Please enter a number from 0 to
        100 for each type of advertising, or select “Don’t know / Unsure.” Values must add up
        to 100%)

     [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
     whole number between 0 and 100 for each advertising type, or select “Don’t know /
     Unsure.” Values must add up to 100”][SHOW TOTAL AT BOTTOM]

     [RANDOMIZE ORDER, KEEP “DON’T KNOW / UNSURE” LAST]

     Percentage of budget spent on digital (online) advertising last year:
     Percentage of budget spent on offline advertising last year:
     TOTAL                                          [SHOW SUM OF NUMBERS ABOVE]

        Don’t know / Unsure [EXCLUSIVE]

     [TERMINATE IF DIGITAL (ONLINE) = 0]




                                               G.1-6
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  QS12. Which of the following types of digital advertising, if any, have you used in the past
        year? Please review the description of each advertising type carefully. (Please select
        all that apply.)

       [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
       LAST]

        Advertising Type                Description
       Search                          Digital ads placed on search engine result pages. Ads
                                        generally consist of a headline, description, and a link
                                        to the destination URL.
       Display                         Digital ads made up of text, image, video, and/or other
                                        multimedia components that typically appear along the
                                        top or sides of a website, or sometimes in the middle of
                                        other content on a website. Examples of display ad
                                        formats include banner ads, animations, and interactive
                                        content. Display ads do not include ads placed on
                                        social media platforms.
       Email                           Digital ads sent via email to current and potential
                                        customers.
       Digital Audio                   Recorded advertisements that play between or during
                                        songs, podcasts, or other digital audio content.
       Social                          Digital ads placed on social media platforms such as
                                        Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
       App/In-App                      Digital ads placed and displayed within mobile apps.
                                        Does not include ads placed on social media platforms.
       Digital Video                   Includes video ads that appear before, during, or after
                                        digital content in a video player, such as YouTube.
       Connected TV                    Includes digital advertising that appears on home
                                        screens of CTV devices and in-stream video ads that
                                        appear on CTVs from platforms like Hulu, Roku and
                                        YouTube. CTVs are TV sets connected to the internet
                                        through built-in internet capability or through another
                                        device such as a Blu-ray player, game console, set-top
                                        box (e.g., Apple TV, Google Chromecast, Roku), etc.
       eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                        as Amazon.com or Instacart.
       Other (specify and explain):
        [INSERT TEXT BOX]
        Don’t know / Unsure [EXCLUSIVE]

   [TERMINATE IF “DISPLAY” IS NOT SELECTED]




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  QS13. In which of the following ways have you personally been involved in your company’s
        digital display advertising efforts in the last 12 months? (Select all that apply.)
  [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
  LAST]
           I determine overall strategies and/or budgets for digital display.
           I determine which tools and/or platforms to use for digital display.
           I regularly use self-serve ad platforms to manage digital display campaigns.
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns.
           I regularly set up audience/target parameters for digital display campaigns.
           I measure results of digital display campaigns.
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine overall strategies and/or budgets for digital
 display”, “I determine which tools and/or platforms to use for digital display”, “I regularly use
 self-serve ad platforms to manage digital display campaigns”, AND “I oversee a
 team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” ARE
 SELECTED]

  QS14. This question is testing whether or not you’re paying attention while taking this survey.
        Please select “Somewhat likely” below. (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
           Not at all likely [TERMINATE]
           Not likely [TERMINATE]
           Neither unlikely nor likely [TERMINATE]
           Somewhat likely
           Very likely [TERMINATE]
           Don’t know / Unsure [TERMINATE]




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 Main Questionnaire
 Q1. You have been selected to answer questions about advertising practices you have used. For
     each question, if you don’t know or are unsure, please don’t guess. Simply indicate this in
     your response by selecting the “Don’t know / Unsure” option. There are no right or wrong
     answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Use of Ad Agencies

 Q2. Do you or do you not use an ad agency and/or a consultant for digital advertising? (Please
     select one option.)

 [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
 UNSURE” LAST]
        Yes, I use an ad agency and/or a consultant for digital advertising
        No, I do not use an ad agency and/or a consultant for digital advertising
        Don’t know / Unsure

 Q3. [IF RESPONDENT SELECTED “YES” IN Q2] For which, if any, of the following do
     you use an ad agency and/or a consultant? (Please select all that apply.)

 [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
 KNOW / UNSURE” LAST]
        Content and/or creatives
        Consulting services
        Media/marketing strategies
        Allocating advertising funds across advertising types
        Budgeting decisions
        Customer research
        Implementation of advertising (e.g., placing bids, interacting with DSPs)
        Tracking advertising performance
        Inventory access
        Running advertising tests/experiments
        Other (specify): [INSERT TEXT BOX]
        None of the above [EXCLUSIVE]
        Don’t know / Unsure [EXCLUSIVE]




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 Advertising Channels and Usage

 Q4. You mentioned that you have used digital display advertising in the last 12 months.

      Digital display ads are digital ads made up of text, image, video and/or other multimedia
      components that typically appear along the top or sides of a website, or sometimes in the
      middle of other content on a website. Examples of display ad formats include banner ads,
      animations, and interactive content. Display ads do not include ads placed on social media
      platforms.

      Which of the following platforms, if any, have you used during the last 12 months for
      digital display advertising? (Please select all that apply)

  [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND “DON’T
  KNOW / UNSURE” LAST]
          Google Ads
          Google Display and Video 360 (DV360)
          Adobe Advertising Cloud
          Amazon DSP
          Amobee
          MediaMath
          Quantcast
          The Trade Desk
          Yahoo DSP (formerly Verizon Media)
          Criteo
          Ad Step Technologies
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE]

 Q5. [IF “SOCIAL” WAS SELECTED IN QS12] You indicated that you have used social
     advertising in the last 12 months.

      Social ads are digital ads placed on social media platforms such as Facebook, Instagram,
      LinkedIn, Snapchat, and Twitter.

      Which of the following platforms, if any, have you used during the last 12 months for
      social advertising? (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
      “DON’T KNOW / UNSURE” LAST]
          Facebook
          Instagram
          Pinterest
          Snapchat
          TikTok


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           Twitter
           LinkedIn
           Reddit
           Tumblr
           FriendLinx
           Other social media platforms (specify): [INSERT TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]

 Q6. What factors do you consider when deciding where to buy digital ads from? (Please type
     your response in the text box below, or select “Don’t know / Unsure”.)

     [INSERT TEXT BOX]
     [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
     CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
     Don’t know / Unsure [EXCLUSIVE] [SKIP TO QS8]

 Q7. In addition to the factors you just mentioned, what other factors, if any, do you consider
     when deciding where to buy digital ads from?

     [INSERT TEXT BOX]
     [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
     CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
     Don’t know / Unsure [EXCLUSIVE]




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 Budget Allocation and Substitution

 Q8. The following questions pertain to digital advertising.

      Previously, you mentioned that you have used the following types of digital advertising in
      the past year. What is your best estimate of the share of your digital advertising spending
      that was used for each of these types of advertising in the past year? Specifically, please
      allocate 100% across the different types of digital advertising shown below based on the
      share of your total digital advertising spending on each type. The total should add up to
      100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS12 WITH TEXT BOX
      REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE ORDER;
      KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW RUNNING
      TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE NUMBERS
      ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Display:
       Email:
       Digital Audio:
       Social:
       App/In-App:
       Digital Video:
       Connected TV:
       eCommerce Platforms:


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       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]

     Don’t know / Unsure [EXCLUSIVE]

 Q9. Please read carefully. Now suppose that, based on your analysis, the cost of display
     advertising has recently increased by a small but significant amount, and will remain
     elevated for the foreseeable future. Assume further that, based on similar analyses for
     other digital advertising types, the costs of other digital advertising types have not
     changed and are not expected to change.

      So, if the cost of display advertising increases (while the cost of other advertising types
      remains the same), will you or won’t you divert some of your advertising spending for the
      coming year to other types of digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising [SKIP TO Q12]
         Don’t know / Unsure [SKIP TO Q12]

 Q10. To which other types of digital advertising below, if any, would you divert your advertising
      spending for the coming year as a result of the increase in the cost of display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE” AND
      “DON’T KNOW / UNSURE” LAST]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

           Search
           Email
           Digital Audio
           Social
           App/In-App
           Digital Video
           Connected TV


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           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q12]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q12]

 Q11. In your previous answer, you indicated that the increase in the cost of display advertising
      will lead you to divert some of your advertising spending to the types of digital advertising
      listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year to each type of
      digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q10. MATCH ORDER OF
      RESPONSES TO Q10. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM
      0 TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE”.
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]


       Search                    [INSERT SLIDER]              Don’t know / Unsure
       Email                     [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio             [INSERT SLIDER]              Don’t know / Unsure
       Social                    [INSERT SLIDER]              Don’t know / Unsure
       App/In-app                [INSERT SLIDER]              Don’t know / Unsure
       Digital Video             [INSERT SLIDER]              Don’t know / Unsure
       Connected TV              [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms       [INSERT SLIDER]              Don’t know / Unsure
       Other                     [INSERT SLIDER]              Don’t know / Unsure




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 Measuring Performance

 Q12. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS12] Which of the
      following metrics, if any, are you using to assess the performance of display ads [IF
      “SOCIAL” WAS SELECTED IN QS12, and/or social media ads]?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.
      (Please select all that apply in each column.)

      [RANDOMIZE ORDER OF ROWS, KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

                        Metric                        Display ads      Social media ads
       Impressions                                                            
       Clicks                                                                 
       Conversions                                                            
       Cost per impression (CPM)                                              
       Cost per click (CPC)                                                   
       Cost per action (CPA)                                                  
       Return on Ad Spend (ROAS)                                              
       Return on Investment (ROI)                                             
       Click through rate (CTR)                                               
       Other (please specify): [TEXT BOX]                                     
       None of the above [EXCLUSIVE]                                          
       Don’t know / Unsure [EXCLUSIVE]                                        

 Q13. [ONLY IF MORE THAN ONE METRIC UNDER DISPLAY ADS ARE SELECTED
      IN Q12] The following questions pertain to digital display advertising.

      You indicated that you use the following metrics to assess the performance of digital
      display ads. Please rank these metrics in terms of how important they are to accurately
      assessing the performance of digital display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED UNDER DISPLAY ADS IN Q12] being the
      least important. (Please rank the following metrics, or select “Don’t know / Unsure”)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED UNDER DISPLAY ADS IN Q12 FOR EACH
      PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]




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 Q14. How often, if at all, do you assess the performance of your digital display advertising?
      (Please select only one option)

      If you are using an ad agency and/or a consultant and they are responsible for measuring or
      assessing performance of your display advertising, please indicate how often you receive
      information about the performance of your digital display advertising from the agency.

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

     Daily
     Weekly
     Monthly
     Quarterly
     Annually
     Don’t know / Unsure

 Q15. In the past year, have you run any experiments or test & learn initiatives on your digital
      display ads? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

     Yes
     No
     Don’t know / Unsure

 Q16. [IF “YES” IN Q15] Which of the following types of experiments or test & learn
      initiatives, if any, have you run in the past year on your digital display ads?

      I have run experiments and/or test & learn initiatives testing… (Please select all that
      apply.)

      [RANDOMIZE ORDER, KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]




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 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




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         APPENDIX G.2
LOWER-SPEND ADVERTISER SURVEY
        SCREENSHOTS




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                     INTRODUCTION AND SCREENING




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                         MAIN QUESTIONNAIRE




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                         FOLLOW UP QUESTION




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      APPENDIX G.3
 LOWER-SPEND ADVERTISER
    SURVEY RAW DATA




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         PRODUCED AS NATIVE




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                  APPENDIX H
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                 APPENDIX H.1
                AGENCY SURVEY
                   SCRIPT




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                                   Agency Survey
                  Screener and Main Survey Programmer Instructions

   LEGEND:

   [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
   Notes to respondent in italics

   FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
  [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
  ENTITIES TO BE EXLCUDED]
  [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S.,
  WORK FOR AN ADVERTISING AGENCY, AND WHOSE JOB FUNCTION
  RELATES TO MARKETING AND/OR ADVERTISING]
  [TARGET 400 COMPLETES]
  [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
  BUTTON WITHIN THE SURVEY]
  [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
  SPECIFIED]
  [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
  [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
  [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
  PARTICIPATION]
  [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
  YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




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 Introduction and Screening

  QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
       to continue.
  [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]

  QS2. Thank you for participating in our study. Your opinions are very important to us. If you
       don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
       Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
       There are no right or wrong answers.

         Your responses will be kept anonymous and will be analyzed as part of a larger sample
         of responses. The results of this study will not be used to try to sell you anything.

         If you wear glasses or corrective lenses when using a desktop computer, laptop
         computer, or tablet, please wear them throughout the survey.

         Please do not use the “Back” button of your browser while taking the survey. When
         you are ready to get started, please select the “Continue” button.

  QS3. What is your age? (Please select only one option.)

  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
  TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]

  QS4. What is your gender? (Please select only one option.)
  [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer

  QS5. In which state do you live? (Please select only one option.)
  [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
  “DON’T KNOW / UNSURE”]
  [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]




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  QS6. Which of the following do you have any involvement in as part of your job
       responsibilities? (Please select all that apply.)

  [RANDOMIZE; KEEP “OTHER” LAST]

      Hiring/HR
      IT/Tech
      Business intelligence/Data science
      Sales or account management
      Accounting/Finance
      Advertising or Marketing
      Website/Mobile App design/development
      Customer relationship management
      Data analysis/statistics
      Other (specify):

 [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]

  QS7. Which of the following best characterizes the type of company you work for? (Please
       select only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
    Advertiser/Marketer – your company sells products or services and advertises/markets
     its products or services [TERMINATE]
    Creative Agency – your company designs or produces marketing content and/or advises
     clients on their creative media/marketing strategies [TERMINATE]
    Media Agency – your company advises clients on their media/marketing strategies and/or
     how to spend their advertising funds
    Full Service Agency – your company handles both Creative and Media strategy and/or
     execution
    Other (please describe): [INSERT TEXT BOX] [TERMINATE]

  QS8. [IF FULL SERVICE AGENCY SELECTED IN QS7] You indicated that you work
       for a Full Service Agency. Does your work primarily involve Creative strategy (i.e.,
       designing or producing marketing content and/or advising clients on creative strategies)
       or Media strategy (i.e., advising clients on media/marketing strategy and/or how to
       spend advertising funds)? (Please select only one option.)

         [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
         KNOW / UNSURE” LAST]

    Creative Strategy [TERMINATE]
    Media Strategy
    None of the above [TERMINATE]
    Don’t know / Unsure [TERMINATE]



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  QS9. Which of the following best characterizes your current job title/level? (Select only one
       option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
        C-Level (CEO, CMO, COO, etc.)
        Account Manager / Account Executive
        Business Development Manager
        Media Planner
        Media Buyer
        Project Manager
        Social Media Manager
        Editor / Writer
        Analyst / Researcher
        Strategist
        Data Scientist / Data Analyst
        Traffic Manager
        Other (please describe): [INSERT TEXT BOX]

  QS10. The following questions will ask you about your advertising decisions and practices.
        For these questions, please think about the client you spend the most time on and
        answer the question from the perspective of that client. If there are multiple clients you
        spend the most time on, please answer the following questions from the perspective of
        the most typical of those clients.

  QS11. Which of the following, if any, best characterizes the market sector/industry of the
        client you spend the most time on? (Please select only one option.)
  [DO NOT RANDOMIZE]
    Advertising or Marketing
    Apparel/Fashion
    Automotive
    B2B/Services for Businesses
    Consumer Electronics
    Education
    Financial Products/Services for Consumers (including Fintech)
    Food and Beverage
    Government
    Health and Beauty Products
    Home Products/Appliances
    Health Care or Medical Services
    Media and Entertainment
    Non-Profit
    Pharmaceuticals and Remedies (Rx or OTC)
    Restaurants
    Retail (including Ecommerce)
    Telecommunications
    Travel and Hospitality


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    Other (Please describe): [INSERT TEXT BOX]

  QS12. In the last 12 months, approximately how much did the client you spend the most time
        on spend on all advertising, including all digital types (e.g., display, video, audio,
        social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only
        one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
    Less than $10,000
    $10,000 to less than $50,000
    $50,000 to less than $100,000
    $100,000 to less than $250,000
    $250,000 to less than $500,000
    $500,000 to less than $1 million
    $1 million to less than $3 million
    $3 million to less than $7 million
    $7 million to less than $15 million
    $15 million to less than $30 million
    $30 million to less than $50 million
    $50 million to less than $100 million
    $100 million to less than $250 million
    $250 million to less than $500 million
    $500 million or more
    Don’t know / Unsure

  QS13. Please think about the total advertising budget for the client you spend the most time
        on. In the past year, what percentage of the total advertising budget for the client you
        spend the most time on was used for digital (online) advertising, as opposed to offline
        advertising? Please give your best estimate. (Please enter a number from 0 to 100 for
        each type of advertising or select “Don’t know / Unsure.” Values must add up to
        100%.)

     [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
     whole number between 0 and 100 for each advertising type, or select “Don’t know /
     Unsure.” Values must add up to 100”][SHOW TOTAL AT BOTTOM]

     Percentage of budget spent on digital (online) advertising last year:
     Percentage of budget spent on offline advertising last year:
       Don’t know / Unsure

   [TERMINATE IF DIGITAL (ONLINE) = 0]




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  QS14. Which of the following types of digital advertising, if any, have you used in the past
        year for the client you spend the most time on? Please review the description of each
        advertising type carefully. (Please select all that apply.)

       [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
       LAST]

        Advertising Type                Description
       Search                          Digital ads placed on search engine result pages. Ads
                                        generally consist of a headline, description, and a link
                                        to the destination URL.
       Display                         Digital ads made up of text, image, video, and/or other
                                        multimedia components that typically appear along the
                                        top or sides of a website, or sometimes in the middle of
                                        other content on a website. Examples of display ad
                                        formats include banner ads, animations, and interactive
                                        content. Display ads do not include ads placed on
                                        social media platforms.
       Email                           Digital ads sent via email to current and potential
                                        customers.
       Digital Audio                   Recorded advertisements that play between or during
                                        songs, podcasts, or other digital audio content.
       Social                          Digital ads placed on social media platforms such as
                                        Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
       App/In-App                      Digital ads placed and displayed within mobile apps.
                                        Does not include ads placed on social media platforms.
       Digital Video                   Includes video ads that appear before, during, or after
                                        digital content in a video player, such as YouTube.
       Connected TV                    Includes digital advertising that appears on home
                                        screens of CTV devices and in-stream video ads that
                                        appear on CTVs from platforms like Hulu, Roku and
                                        YouTube. CTVs are TV sets connected to the internet
                                        through built-in internet capability or through another
                                        device such as a Blu-ray player, game console, set-top
                                        box (e.g., Apple TV, Google Chromecast, Roku), etc.
       eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                        as Amazon.com or Instacart.
       Other (specify and explain):
        [INSERT TEXT BOX]
        Don’t know / Unsure [EXCLUSIVE]

   [TERMINATE IF “DISPLAY” IS NOT SELECTED]

  QS15. You indicated that you have used display advertising in the past year for the client you
        spend the most time on. Display ad inventory can be purchased through programmatic



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         transaction methods or through direct deals with publishers. Please review the below
         descriptions about these transaction methods.

         Programmatic: Ads that are purchased programmatically are transacted and fulfilled
         using automation. In programmatic transactions, the price of each impression is
         typically determined in an auction conducted automatically before the impression is
         served.

         Direct Deals: Ads that are purchased through a direct negotiation, or “direct deal,” with
         the publisher. In direct deals, the price of the ad inventory is typically set through a one-
         to-one negotiation between the advertiser and the publisher rather than through an
         auction. “Direct deals” include programmatic direct deals, such as programmatic
         guaranteed deals and preferred deals.

         Which of the following transaction methods have you used to purchase display ad
         inventory in the past year for the client you spend the most time on? (Please select all
         that apply.)

         [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
         KNOW / UNSURE” LAST]

           Programmatic
           Direct Deals
           None of the above [EXCLUSIVE]
           Don’t know / Unsure [EXCLUSIVE]

  [TERMINATE IF “PROGRAMMATIC” IS NOT SELECTED]

  QS16. [IF “SOCIAL” IS SELECTED IN QS14] You indicated that you have used social
        advertising in the past year for the client you spend the most time on. Which of the
        following social media platforms, if any, have you used in the past year for the client
        you spend the most time on? (Please select all that apply.)
       [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
       “DON’T KNOW / UNSURE” LAST]
          Facebook
          Instagram
          Pinterest
          Snapchat
          TikTok
          Twitter
          LinkedIn
          Reddit
          Tumblr
          FriendLinx
          Other social media platforms (specify): [INSERT TEXT BOX]
          None of the above [EXCLUSIVE]


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           Don’t know / Unsure [EXCLUSIVE]

  QS17. In the last 12 months, in which of the following ways have you personally been
        involved in digital display advertising efforts on behalf of the client you spend the
        most time on? (Select all that apply.)
  [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
  LAST]
           I determine or advise the client regarding overall strategies and/or budgets for
            digital display.
           I determine or advise the client regarding which buying tools and/or demand-side
            platforms (DSPs) to use for digital display.
           I regularly use self-serve ad platforms to manage digital display campaigns for the
            client.
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns for the client.
           I regularly set up audience/target parameters for programmatic digital display
            buying for the client.
           I oversee a team/individuals that set(s) up audience/target parameters for
            programmatic digital display buying for the client.
           I measure results of digital display campaigns for the client.
           I oversee a team/individuals that measure(s) results of digital display campaigns for
            the client.
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine or advise the client regarding overall strategies
 and/or budgets for digital display”, “I determine or advise the client regarding which buying
 tools and/or demand-side platforms (DSPs) to use for digital display”, “I regularly use self-serve
 ad platforms to manage digital display campaigns for the client”, and “I oversee a
 team/individuals that use(s) self-serve ad platforms to manage digital display campaigns for the
 client” ARE SELECTED]

  QS18. This question is testing whether or not you’re paying attention while taking this survey.
        Please select “Somewhat likely” below. (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
       Not at all likely [TERMINATE]
       Not likely [TERMINATE]
       Neither unlikely nor likely [TERMINATE]
       Somewhat likely
       Very likely [TERMINATE]
       Don’t know / Unsure [TERMINATE]




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 Main Questionnaire
 Q1. You have been selected to answer additional questions about your advertising practices for
     the client you spend the most time on. Please continue to think about the client you spend
     the most time on and answer the question from the perspective of that client. If there are
     multiple clients you spend the most time on, please answer the following questions from
     the perspective of the most typical of those clients.

      For each question, if you don’t know or are unsure, please don’t guess. Simply indicate this
      in your response by selecting the “Don’t know / Unsure” option. There are no right or
      wrong answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Relative Roles of Agency vs. the Client

 Q2. Which of the following best describes your involvement in each of these activities for the
     client you spend the most time on? (Please select a value on the slider between 0 and 100
     for each activity. If you do not have an answer, please select “Don’t know / Unsure”.)

      [SHOW SLIDER FOR EACH ROW FROM 0 TO 100, LABEL “I AM NOT
      INVOLVED IN THESE DECISIONS” 0 AND “I AM THE PRIMARY DECISION-
      MAKER” 100. INCLUDE OPTION FOR “DON’T KNOW / UNSURE”]

      [RANDOMIZE ORDER OF ROWS]

    Determining initial advertising budget
    Allocating budget across different advertising types
    Increasing/decreasing spending on a particular type of advertising
    Increasing/decreasing spending on a particular ad campaign
    Making changes to a campaign based on its performance
    Deciding where to advertise
    Deciding whether to purchase display ads programmatically or through direct deals with
        publishers
    Measuring performance of display ad campaigns




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 Budget Allocation and Substitution

 Q3. The following questions pertain to digital advertising.

      Previously, you mentioned that the client you spend the most time on has used the
      following types of digital advertising in the past year. What is your best estimate of the
      share of the digital advertising budget of the client you spend the most time on that was
      used for each of these types of advertising in the past year? Specifically, please allocate
      100% across the different types of digital advertising shown below based on the share of
      your client’s total digital advertising budget spent on each type. The total should add up to
      100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS14 AND QS15 WITH TEXT
      BOX REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE
      ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW
      RUNNING TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE
      NUMBERS ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Programmatic Display:
       Direct Deals Display:
       Email:
       Digital Audio:
       Social:
       App/In-app:
       Digital Video:


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       Connected TV:
       eCommerce Platforms:
       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]
     Don’t know / Unsure [EXCLUSIVE]

 Q4. Please read carefully. Now suppose that, based on your analysis, the cost of programmatic
     display advertising has recently increased by a small but significant amount, and will
     remain elevated for the foreseeable future. Assume further that, based on similar
     analyses for other digital advertising types, the costs of other digital advertising types
     have not changed and are not expected to change.

      So, for the client you spend the most time on, if the cost of programmatic display
      advertising increases (while the cost of other advertising types remains the same), will you
      or won’t you divert some of your advertising spending for the coming year to other types of
      digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising.
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising. [SKIP TO Q7]
         Don’t know / Unsure [SKIP TO Q7]

 Q5. To which other types of digital advertising below, if any, would you divert your advertising
     spending for the coming year for the client you spend the most time on, as a result of the
     increase in the cost of programmatic display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING. RANDOMIZE ORDER; KEEP
      “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW / UNSURE” LAST]

           Search
           Direct Deals Display
           Email
           Digital Audio
           Social
           App/In-App


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           Digital Video
           Connected TV
           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q7]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q7]

 Q6. In your previous answer, you indicated that the increase in the cost of programmatic
     display advertising will lead you to divert some of your advertising spending to the types of
     digital advertising listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year for the client you
      spend the most time on to each type of digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q5. MATCH ORDER OF
      RESPONSES TO Q5. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM 0
      TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE.”
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]


       Search                   [INSERT SLIDER]              Don’t know / Unsure
       Direct Deals Display     [INSERT SLIDER]              Don’t know / Unsure
       Email                    [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio            [INSERT SLIDER]              Don’t know / Unsure
       Social                   [INSERT SLIDER]              Don’t know / Unsure
       App/In-app               [INSERT SLIDER]              Don’t know / Unsure
       Digital Video            [INSERT SLIDER]              Don’t know / Unsure
       Connected TV             [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms      [INSERT SLIDER]              Don’t know / Unsure
       Other                    [INSERT SLIDER]              Don’t know / Unsure




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 Use of Ad Buying Tools for Programmatic Display (Multihoming)

 Q7. An ad buying tool is a programmatic advertising platform that allows advertisers and media
     buying agencies to bid automatically on display ad inventory from a wide range of
     publishers. Some ad buying tools can also be used to buy video and search ad inventory.
     Ad buying tools include demand side platforms, or “DSPs.”

      Which of the following ad buying tools, if any, have you used in the past year for
      programmatic display advertising for the client you spend the most time on? (Please
      select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Google Ads
          Google Display and Video 360 (DV360)
          illumin (formerly AcuityAds)
          Adelphic
          Adform
          Adobe Advertising Cloud
          Amazon DSP
          Amobee
          Basis by Centro
          Beeswax
          Criteo
          MediaMath DSP
          Outbrain
          Quantcast
          Simpli.fi
          StackAdapt
          Taboola
          The Trade Desk DSP
          Yahoo DSP (formerly Verizon Media DSP)
          Xandr Invest
          Zeta Global
          Quorexx
          Ad Step Technologies
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q16]

      [ADD FOLLOWING TEXT AS HOVER OVER FOR ALL INSTANCES OF “AD
      BUYING TOOL” IN FOLLOWING QUESTIONS: An ad buying tool is a
      programmatic advertising platform that allows advertisers and media buying agencies to
      bid automatically on display ad inventory from a wide range of publishers. Some ad buying
      tools can also be used to buy video and search ad inventory. Ad buying tools include
      demand side platforms, or “DSPs.”]




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 Q8. [IF MORE THAN ONE AD BUYING TOOL IS SELECTED IN Q7] Why did you use
     more than one ad buying tool for programmatic display advertising in the past year for
     the client you spend the most time on? (Please type in your response, or select “Don’t
     know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q9. Do you expect to use the same number, more, or fewer ad buying tools for programmatic
     display advertising next year for the client you spend the most time on? (Please select
     only one option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]
          I expect to use more ad buying tools for programmatic display advertising next year
           for the client I spend the most time on.
          I expect to use fewer ad buying tools for programmatic display advertising next
           year for the client I spend the most time on.
          I expect to use the same number of ad buying tools for programmatic display
           advertising next year for the client I spend the most time on.
          Don’t know / Unsure

 Q10. [IF MORE OR FEWER SELECTED IN Q9] You indicated that, compared to the past
      year, you expect to use [PIPE IN BASED ON ANSWER IN Q9: “more” or “fewer”] ad
      buying tools for programmatic display advertising next year for the client you spend the
      most time on. Why do you expect to use [PIPE IN BASED ON ANSWER IN Q9:
      “more” or “fewer”] ad buying tools for programmatic display advertising next year for the
      client you spend the most time on? (Please type in your response or select “Don’t know /
      Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q11. Which of the following factors, if any, do you consider when deciding to use a particular ad
      buying tool for programmatic display advertising for the client you spend the most time
      on? (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Ad placement effectiveness
          Audience scale / Reach



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           Ease of use / User interface
           Targeting criteria and capabilities
           Reporting features
           Forecasting tools
           Budget management tools
           API and integrations
           Troubleshooting capabilities
           Media optimization of placements during a campaign
           Brand safety / fraud protection
           Identity management
           Support
           Cost
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]

 Q12. Have you stopped using any ad buying tool(s) for programmatic display advertising in
      the past year for the client you spend the most time on? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes, I stopped using at least one ad buying tool in the past year for the client I
            spend the most time on.
           No, I have not stopped using any ad buying tools in the past year for the client I
            spend the most time on.
           Don’t know / Unsure

 Q13. [IF YES IN Q12] You indicated that you stopped using at least one ad buying tool in the
      past year for programmatic display advertising for the client you spend the most time
      on. What factors led you to stop using one or more ad buying tools for programmatic
      display advertising for the client you spend the most time on? (Please type your response
      in the text box below, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q14. Have you started using any ad buying tool(s) in the past year for programmatic display
      advertising for the client you spend the most time on? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]




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           Yes, I started using at least one ad buying tool in the past year for the client I spend
            the most time on.
           No, I have not started using any ad buying tools in the past year for the client I
            spend the most time on.
           Don’t know / Unsure

 Q15. [IF YES IN Q14] You indicated that you started using at least one ad buying tool in the
      past year for programmatic display advertising for the client you spend the most time
      on. What factors led you to start using one or more ad buying tools for programmatic
      display advertising for the client you spend the most time on? (Please type your response
      in the text box below, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]


 Measuring Performance

 Q16. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS13 AND QS15] Which
      of the following metrics, if any, do you use to assess the performance of programmatic
      display ads, direct deals display ads, social media ads, and/or digital video ads for the
      client you spend the most time on?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.
      (Please select all that apply in each column.)

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [RANDOMIZE ORDER OF ROWS, KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

                   Metric                Programmatic       Direct deals    Social       Digital
                                          display ads       display ads    media ads    video ads
       Impressions                                                                       
       Clicks                                                                            
       Conversions                                                                       
       Cost per impression (CPM)                                                         
       Cost per click (CPC)                                                              
       Cost per action (CPA)                                                             
       Return on Ad Spend (ROAS)                                                         
       Return on Investment (ROI)                                                        


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       Click through rate (CTR)                                                        
       Other (please specify):                                                         
       [TEXT BOX]
       None of the above                                                               
       [EXCLUSIVE]
       Don’t know / Unsure                                                             
       [EXCLUSIVE]


 Q17. [ONLY IF MORE THAN ONE METRIC FOR PROGRAMMATIC DISPLAY ADS
      ARE SELECTED IN Q16] You indicated that you use the following metrics to assess the
      performance of programmatic display ads for the client you spend the most time on.
      Please rank these metrics in terms of how important they are to accurately assessing the
      performance of programmatic display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED IN Q16] being the least important. (Please
      rank the following metrics, or select “Don’t know / Unsure”.)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED IN Q16 FOR EACH PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]

 Q18. How often, if at all, do you measure or assess the performance of the programmatic
      display advertising for the client you spend the most time on? (Please select only one
      option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Daily
           Weekly
           Monthly
           Quarterly
           Annually
           Don’t know / Unsure

 Q19. In the past year, have you run any experiments or test & learn initiatives to assess the
      performance of the programmatic display ads for the client you spend the most time on?
      (Please select only one option.)
      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes
           No
           Don’t know / Unsure




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 Q20. [IF YES IN Q19] Which of the following types of experiments or test & learn initiatives, if
      any, have you run in the past year to assess the performance of the programmatic display
      ads for the client you spend the most time on?

      I have run experiments and/or test & learn initiatives testing… (Please select all that
      apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]


 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




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               SCREENSHOTS




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                     INTRODUCTION AND SCREENING




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                         MAIN QUESTIONNAIRE




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                         FOLLOW UP QUESTION




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                  RAW DATA




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         PRODUCED AS NATIVE




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                                      Entity                                                         Type of Entity
33 Across                                                                        Ad Tech Provider
Accenture Federal Services                                                       Ad Agency
AccuWeather                                                                      Publisher
AdButler & Sparklit Networks, Inc.                                               Ad Tech Provider
AdClickMedia                                                                     Ad Tech Provider
Adform                                                                           Ad Tech Provider
AdGlare                                                                          Ad Tech Provider
Adning                                                                           Ad Tech Provider
Adobe Inc.                                                                       Ad Tech Provider
AdRecover                                                                        Ad Tech Provider
Adsmovil                                                                         Ad Agency
Adsterra                                                                         Ad Tech Provider
Advance Publications, Inc.                                                       Publisher
Advertising Council, Inc., The (AdCouncil)                                       Ad Agency
Aim Media Indiana Operating, LLC                                                 Publisher
AIM Media Midwest Operating, LLC                                                 Publisher
AIM Media Texas Operating, LLC                                                   Publisher
Alaska Department of Labor                                                       State Agency
Alaska Department Of Revenue                                                     State Agency
Alaska Office Of Veterans Affairs                                                State Agency
Alaska, State of                                                                 State / Territory
Alden Global Capital                                                             Publisher
Alhurra, Inc.                                                                    Advertiser
Ally Financial                                                                   Advertiser
Altice                                                                           Publisher
Amazon (including Twitch (ad server))                                            Ad Tech Provider
American Express                                                                 Advertiser
Amtrak (The National Railroad Passenger Corporation)                             Federal Agency
ANGI                                                                             Advertiser
Anheuser Busch Inbev                                                             Advertiser
Apco                                                                             Ad Agency
Apollo (including Verizon Media/Yahoo, Oath, Adapt.tv, Brightroll, Nexage, and   Ad Tech Provider
Michaels (Publisher))
Appen Media Group, Inc.                                                          Publisher


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Apple (including AppleNews (publisher))                                    Ad Tech Provider
AppLovin Corporation / MoPub                                               Ad Tech Provider
Aptive Resources, LLC                                                      Ad Agency
Arizona Game & Fish Department                                             State Agency
Arizona State University                                                   State Agency
Arizona, State of                                                          State / Territory
Arkansas Department of Parks, Heritage and Tourism                         State Agency
Arkansas Division Of Higher Education                                      State Agency
Arkansas, State of                                                         State / Territory
Arrieta, Nicholas                                                          Advertiser
Associated Newspapers Ltd.                                                 Publisher
Associated Press, The                                                      Publisher
Astarita, Mark J.                                                          Advertiser
AT&T and subsidiaries (Xandr [f/k/a AppNexus], Warner Bros.)               Ad Tech Provider
Autodesk                                                                   Advertiser
Bed, Bath, & Beyond                                                        Publisher
Berkshire Hathaway                                                         Advertiser
Best Buy Co., Inc.                                                         Advertiser
Bidvertiser                                                                Ad Tech Provider
Big Lens                                                                   Ad Agency
Bigler, Jason                                                              Ad Tech Provider
Billow Marketing                                                           Ad Agency
Blaine Warren                                                              Ad Agency
Blast Analytics & Marketing                                                GMP-certified partner
Bloomberg L.P.                                                             Publisher
Boeing                                                                     Advertiser
Boland, Brian                                                              Ad Tech Provider
Borgman, Christine L.                                                      Other
Bounteous                                                                  GMP-certified partner
Brightcom                                                                  Ad Tech Provider
Broadstreet                                                                Ad Tech Provider
Brown County Publishing Company Inc                                        Publisher
Browne, Simone                                                             Other
Brunet Garcia Advertising Inc.                                             Ad Agency


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Bully Pulpit Interactive                                                       Ad Agency
BuySellAds                                                                     Ad Tech Provider
Buzzfeed, Inc.                                                                 Publisher
CACI International                                                             Ad Agency
California Department Of Food & Agriculture                                    State Agency
California, State of                                                           State / Territory
Californians Aware                                                             Other
Campbell Ewald                                                                 Ad Agency
Capital Region Independent Media LLC                                           Publisher
Capitol One, Inc.                                                              Advertiser
Cardinal Path                                                                  Reseller
Carmax (including Edmunds)                                                     Publisher
CBC Creative                                                                   Ad Agency
Ceasar's Entertainment                                                         Advertiser
Center for Investigative Reporting, The (d/b/a Reveal)                         Publisher
Centers for Medicare and Medicaid Services                                     Federal Agency
Central Michigan University                                                    State Agency
Charles Tombras Advertising, Inc.                                              Ad Agency
Charleston Publishing Co., Inc.                                                Publisher
Choozle                                                                        Ad Tech Provider
Clarion Publishing Company, Inc.                                               Publisher
Clarke Publishing, Inc.                                                        Publisher
Clarksburg Publishing Company (doing business as WV News)                      Publisher
Clickso                                                                        Advertiser
Cliffy Care Landscaping LLC                                                    Advertiser
Coastal Point LLC                                                              Publisher
Coca-Cola                                                                      Advertiser
College Of Southern Nevada                                                     State Agency
College of Western Idaho                                                       State Agency
Colorado Office Of Early Childhood                                             State Agency
Colorado State University                                                      State Agency
Colorado, State of                                                             State / Territory
Comcast (including FreeWheel, Beeswax, NBCUniversal (Publisher), Fandango, and Publisher / Ad Tech Provider
Xfinity (Publisher))


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                                     Entity                                                     Type of Entity
Commonwealth Publishing Company, Inc.                                         Publisher
comScore Media Measurement                                                    Ad Tech Provider
CondeNast                                                                     Publisher
Connecticut Department Of Transportation                                      State Agency
Connecticut, State of                                                         State / Territory
Consumable                                                                    Ad Tech Provider
Consumer Financial Protection Bureau                                          Federal Agency
ContextLogic Inc.                                                             Advertiser
Criteo (including BidSwitch, Iponweb, and MediaGrid)                          Ad Tech Provider
Crosby Marketing                                                              Ad Agency
Custom Ink                                                                    Advertiser
CVP Corp. (f/k/a Atlas Research) OR Customer Value Partners, Inc.             Ad Agency
CVS Health Corp.                                                              Publisher
Daily Beast, The                                                              Publisher
Dallas Morning News, The                                                      Publisher
Daniel J. Edelman, Inc. (d/b/a Edelman)                                       Ad Agency
Deloitte                                                                      Ad Agency
Delta Air Lines, Inc.                                                         Advertiser
Delta Press Publishing Company, Inc.                                          Publisher
Delta-Democrat Publishing Company                                             Publisher
Demas, Bill (former Chief Executive Officer of Turn)                          Ad Tech Provider
Denton Media Company / Denton Record Chronicle                                Publisher
Dentsu                                                                        Ad Agency
Departamento de Educación de Puerto Rico                                      State Agency
Department of Defense (including U.S. Air Force, U.S. Army, and U.S. Navy)    Federal Agency
Devaney, Michael                                                              Advertiser
Diffie, Whitfield                                                             Other
Digg.com                                                                      Publisher
Digital Advertising Alliance                                                  Industry Trade Organization / Trade Association
Digital Content Next                                                          Industry Trade Organization / Trade Association
Digital Turbine (including AdColony and Fyber (SSP Mobile/In-app))            Ad Tech Provider
District Communications Group, LLC, The                                       Ad Agency
Dot Dash                                                                      Advertiser
DoubleVerify                                                                  Ad Tech Provider


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                                    Entity                                                  Type of Entity
Dow Jones & Company, Inc.                                                 Publisher
Dr. Pepper Snapple Group                                                  Advertiser
Drug Enforcement Administration (DEA)                                     Advertiser
DuckDuckGo                                                                Other
Duty First Consulting LLC                                                 Ad Agency
Eagle Printing Company                                                    Publisher
Eastern Kentucky University                                               State Agency
eBay                                                                      Publisher
ECENT Corporation                                                         Publisher
Elevation, Ltd.                                                           Ad Agency
Emmerich Newspapers, Incorporated                                         Publisher
Enterprise-Tocsin, Inc.                                                   Publisher
E-Planning (ePlanning)                                                    Ad Tech Provider
Epom                                                                      Ad Tech Provider
Epsilon                                                                   Ad Tech Provider
Equativ (including Smart AdServer, DynAdmic, and LiquidM)                 Ad Tech Provider
Etsy, Inc.                                                                Publisher
Evadav                                                                    Ad Tech Provider
Exeter Government Services                                                Ad Agency
Experian                                                                  Ad Tech Provider
Eyeo (including Trestle)                                                  Other
Ezoic                                                                     Ad Tech Provider
FanDuel 93.7                                                              Advertiser
Fannie Mae (Federal National Mortgage Association)                        Federal Agency
Farber, David                                                             Other
Federal Bureau of Investigation (FBI)                                     Advertiser
Federal Bureau of Prisons (FBP)                                           Advertiser
Federal Trade Commission                                                  Federal Agency
Fifty-Five                                                                GMP-certified partner
First Amendment Coalition                                                 Industry Trade Organization / Trade Association
Fischer, Addison                                                          Other
Flag Publications, Inc.                                                   Publisher
Fleishman Hillard                                                         Ad Agency
Florida Department Of Agriculture & Consumer Services                     State Agency


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                                      Entity                                                   Type of Entity
Florida Department Of Corrections                                            State Agency
Florida Department of Economic Opportunity                                   State Agency
Florida Department Of Education                                              State Agency
Florida Department Of Environmental Protection                               State Agency
Florida Department Of State                                                  State Agency
Florida Department Of Transportation                                         State Agency
Florida Fish & Wildlife Conservation Commission                              State Agency
Florida, State of                                                            State / Territory
Fors Marsh Group                                                             Ad Agency
Fox Corporation                                                              Publisher
Franklinton Publishing Co., Inc.                                             Publisher
Future of Privacy Forum                                                      Industry Trade Organization / Trade Association
Gale Force Media, LLC                                                        Publisher
Gannett Co., Inc.                                                            Publisher
General Motors                                                               Advertiser
Genius Media Group, Inc.                                                     Publisher
Gould Enterprises, Inc.                                                      Publisher
Grenada Star, Inc.                                                           Publisher
Guardian, The                                                                Publisher
GumGum                                                                       Ad Tech Provider
Hanson Law Firm, PC                                                          Advertiser
Hattiesburg Publishing, Inc.                                                 Publisher
Havas Media                                                                  Ad Agency
HD Media Company, LLC                                                        Publisher
Hearst Communications, Inc. (including the Houston Chronicle)                Publisher
Hilton Worldwide Holdings, Inc.                                              Advertiser
Hispanic Communications Network (HCN)                                        Ad Agency
Holt, Rush                                                                   Other
Horizon Media                                                                Ad Agency
I LOVE NY                                                                    State Agency
IAB Tech Lab                                                                 Industry Trade Organization / Trade Association
IAC (including Ask Media Group (ad agency))                                  Publisher
IBM (owner of The Weather Company)                                           Publisher
Idaho Department Of Health & Welfare                                         State Agency


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                                     Entity                                                       Type of Entity
Idaho Office Of Drug Policy                                                     State Agency
Idaho Transportation Department                                                 State Agency
Idaho, State of                                                                 State / Territory
Illinois Department Of Commerce & Economic Opportunity                          State Agency
Illinois, State of                                                              State / Territory
Imgur, Inc.                                                                     Publisher
Incubeta                                                                        Reseller
IndexExchange                                                                   Ad Tech Provider
Indiana Department Of Veterans' Affairs                                         State Agency
Indiana Municipal Power Agency                                                  State Agency
Indiana University                                                              State Agency
Indiana, State of                                                               State / Territory
InfoLinks                                                                       Ad Tech Provider
Inform, Inc.                                                                    Publisher
Inmar                                                                           Ad Agency
Innovid                                                                         Publisher Ad Server; Reseller
Inskin                                                                          Publisher
Inspire Brands                                                                  Advertiser
Instacart                                                                       Publisher
Instapundit.com                                                                 Ad Agency
Integral Ad Science                                                             Ad Tech Provider
Inter American Press Association                                                Industry Trade Organization / Trade Association
Internet Brands, Inc. (owner of PulsePoint (SSP) and WebMD Health Corp.         Publisher / Advertiser
(Publisher))
IPG (The Interpublic Group of Companies, Inc.) (including IPG DXTRA, Inc. d/b/a Ad Agency
Weber Shandwick; IW Group Inc.; McCann-Erickson USA, Inc.; Universal McCann
Worldwide, LLC)
J.O. Emmerich & Associates, Inc.                                                Publisher
J.R. Reingold & Associates, Inc. (d/b/a Reingold, Inc.)                         Ad Agency
Jacob's Eye                                                                     Ad Agency
Jellyfish                                                                       Reseller
JLaSalle Enterprises LLC                                                        Publisher
Johnson & Johnson                                                               Advertiser
Jonathan Kanter                                                                 Individual


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                                   Entity                                                  Type of Entity
Journal, Inc.                                                            Publisher
JumpFly                                                                  Ad Agency
Kantar Group (majority owned by Bain)                                    Ad Tech Provider
Kanter LLC                                                               Ad Agency
Kargo Global, Inc. (including StitcherAds)                               Ad Tech Provider
Kentucky Cabinet for Public Health                                       State Agency
Kentucky Community & Technical College System                            State Agency
Kentucky Tourism, Arts, and Heritage Cabinet                             State Agency
Kentucky, Commonwealth of                                                State / Territory
Kevel f/k/a AdZerk                                                       Ad Tech Provider
Kinin, Inc.                                                              Advertiser
Klonick, Kate                                                            Other
Kohl's Corp.                                                             Advertiser
Kosciusko Star-Herald, Inc.                                              Publisher
Kranzler Kingsley Communications Ltd.                                    Ad Agency
LA Times                                                                 Publisher
Lewis, Harry                                                             Other
LG Electronics                                                           Advertiser
Liberty Mutual                                                           Advertiser
Liftable Media                                                           Publisher
Liftoff (including information re Vungle)                                Ad Tech Provider
LinkedIn                                                                 Ad Tech Provider
LiveNation Entertainment Inc                                             Advertiser
LMI (Logistics Management Institute)                                     Federal Contractor
Long & Foster Real Estate Companies                                      Advertiser
Louisiana Dept of Children and Family Services                           State Agency
Louisiana Office of Tourism                                              State Agency
Louisiana State University                                               State Agency
Louisiana, State of                                                      State / Territory
Louisville Publishing, Inc.                                              Publisher
Lowe's Companies, Inc.                                                   Advertiser
LVMH                                                                     Advertiser
Macy's Inc.                                                              Publisher / Advertiser
MadAds Media                                                             Ad Tech Provider


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Magnite (including Rubicon Project, Telaria, Carbon, SpotX, RTK Header Bidding,   Ad Tech Provider
and SpringServe (ad server))
Mail Media, Inc. (Daily Mail)                                                     Publisher
Major League Baseball                                                             Publisher
Marin                                                                             Ad Tech Provider
Marion Publishing Company                                                         Publisher
Mars, Inc.                                                                        Advertiser
Marx, Gary                                                                        Other
Match Group                                                                       Advertiser
McClatchy Company, The                                                            Publisher
McNamee, Roger                                                                    Other
MDC Partners (Stagwell, Inc.)                                                     Ad Agency
Media Institute, The                                                              Other
Media.Monks                                                                       Reseller
Media.net                                                                         Ad Tech Provider
MediaMath, Inc.                                                                   Ad Tech Provider
Mediavine                                                                         Publisher
Merck                                                                             Advertiser
Meredith Corp.                                                                    Publisher
Merkle                                                                            Reseller
Meta Platforms, Inc. (f/k/a Facebook Inc.)                                        Ad Tech Provider
Michigan Department of Labor and Economic Opportunity                             State Agency
Michigan, State of                                                                State / Territory
Microsoft (including Xandr, MSN (Publisher), LinkedIn, Tapad, and Drawbridge)     Ad Tech Provider
Mighty Hive                                                                       GMP-certified partner
Mikula Web Solutions, Inc.                                                        Publisher
Mindshare USA, LLC                                                                Ad Agency
Minnesota Department Of Health                                                    State Agency
Minnesota, State of                                                               State / Territory
Mint Rose Day Spa LLC                                                             Advertiser
MIQ Digital USA Inc.                                                              Ad Agency
Mississippi Department Of Public Safety                                           State Agency
Mississippi Development Authority                                                 State Agency
Mississippi State University                                                      State Agency


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                                    Entity                                                   Type of Entity
Mississippi, State of                                                      State / Territory
Missouri Department Of Transportation                                      State Agency
Missouri Division of Tourism                                               State Agency
Missouri, State of                                                         State / Territory
MLex                                                                       Publisher
Monster Government Solutions Inc.                                          Ad Agency
Montana Office of Tourism                                                  State Agency
Montana State University                                                   State Agency
Montana, State of                                                          State / Territory
Montgomery Publishing Co., Inc.                                            Publisher
Monumetric                                                                 Ad Tech Provider
Mother Jones                                                               Publisher
Motley Fool                                                                Publisher
Mozilla                                                                    Other
Multi Media Channels LLC                                                   Publisher
Nation Company, L.P., The                                                  Publisher
National Aeronautics and Space Administration                              Federal Agency
National Football League                                                   Publisher
National Freedom of Information Coalition                                  Other
National Highway Traffic Safety Admininistration                           Federal Agency
National Press Photographers Association                                   Industry Trade Organization / Trade Association
Navy Federal Credit Union                                                  Advertiser
Nebraska Department Of Transportation                                      State Agency
Nebraska, State of                                                         State / Territory
Neeva                                                                      Advertiser
Negron, Kimberly                                                           Advertiser
Neighborhood Newspapers, Inc.                                              Publisher
Nestle                                                                     Advertiser
Netflix                                                                    Publisher
Network Advertising Initiative                                             Industry Trade Organization / Trade Association
Nevada Department of Health & Human Services [Voluntary Production]        State Agency
Nevada Department Of Motor Vehicles                                        State Agency
Nevada Department of Tourism & Cultural Affairs                            State Agency
Nevada Silver State Health Insurance Exchange                              State Agency


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                                    Entity                                                      Type of Entity
Nevada State Treaurer                                                        State Agency
Nevada, State of                                                             State / Territory
New Hampshire Department of Natural & Cultural Resources                     State Agency
New Hampshire, State of                                                      State / Territory
New Jersey Department Of Health & Senior Services                            State Agency
New Jersey, State of                                                         State / Territory
New York State Energy Research & Development Authority                       State Agency
New York Times Company, The                                                  Publisher
New York, State of                                                           State / Territory
News Corp.                                                                   Publisher
News Leaders Association, The                                                Other
News Media Alliance                                                          Industry Trade Organization / Trade Association
News Media Association                                                       Industry Trade Organization / Trade Association
Newton County Appeal Inc.                                                    Publisher
Nexstar                                                                      Publisher
Nexstar Media Group, Inc.                                                    Publisher
NextRoll (including AdRoll)                                                  Ad Tech Provider
Nielsen Holdings                                                             Ad Tech Provider
Nike                                                                         Advertiser
Nobid                                                                        Ad Tech Provider
North Carolina Department Of Health & Human Services                         State Agency
North Carolina, State of                                                     State / Territory
North Dakota Department Of Health (aka North Dakota Department of Health and State Agency
Human Services)
North Dakota Department of Human Services                                    State Agency
North Dakota, State of                                                       State / Territory
North Texas Tollway Authority                                                State Agency
Northrup Grunman                                                             Advertiser
NVR, Inc.                                                                    Advertiser
O’Kelley, Brian (former Chief Executive Officer of AppNexus)                 Ad Tech Provider
Omnicom Group, Inc. (including DDB Chicago, Inc., Team DDB, GMMB, GSD&M Ad Agency
LLC, Ketchum, Inc., OMD Worldwide, and Porter Novelli Inc.)
OneMobile                                                                    Ad Tech Provider
OpenX Technologies, Inc.                                                     Ad Tech Provider


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                                      Entity                                                           Type of Entity
Oracle (including Moat)                                                            Ad Tech Provider
Organic Panaceas, LLC                                                              Advertiser
Outbrain (including Zemanta (DSP) and AdNgin (Ad Server))                          Ad Tech Provider
Pandora (Sirius XM Radio Inc.)                                                     Publisher
Paramount Global (including CBS, Audacy Radio (owned by CBS), Viacom)              Publisher
PBS                                                                                Publisher
Peace Corps                                                                        Advertiser
Peel, Deborah C.                                                                   Other
Penske Media Corp.                                                                 Publisher
PepsiCo                                                                            Advertiser
Pinger                                                                             Publisher
Pinterest, Inc.                                                                    Ad Tech Provider
POLITICO LLC                                                                       Publisher
PopAds                                                                             Ad Tech Provider
PopCash                                                                            Ad Network
Prebid Header Bidding                                                              Ad Tech Provider
Prevention Magazine                                                                Publisher
Proctor & Gamble                                                                   Advertiser
Progressive Insurance                                                              Advertiser
Progressive, Inc., The                                                             Publisher
PropellerAds                                                                       Ad Tech Provider
Publica                                                                            Ad Tech Provider
Publicis Groupe, The (including Epsilon, Conversant, Publicis North America, and   Ad Agency
Publicis Media, Inc.)
PubMatic, Inc.                                                                     Ad Tech Provider
Puerto Rico Department of Labor and Human Resources                                State Agency
Puerto Rico Tourism Company                                                        State Agency
Puerto Rico, Commonwealth of                                                       State / Territory
Qualcomm                                                                           Advertiser
Quantcast                                                                          Ad Tech Provider
Raintree Medical And Chiropractic Center LLC                                       Advertiser
Reddit                                                                             Publisher
Rent-A-Center                                                                      Advertiser
Reporters Committee for Freedom of the Press, The                                  Other


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Reuters News & Media Inc.                                                  Publisher
RevContent                                                                 Ad Tech Provider
Revive                                                                     Ad Tech Provider
Rhode Island Department Of Health                                          State Agency
Rhode Island, State of                                                     State / Territory
Richter 7 Inc.                                                             Ad Agency
Robinson Communications Inc                                                Publisher
Rodrock Chiropractic Pa                                                    Advertiser
Roku, Inc. (including DataXu (DSP))                                        Ad Tech Provider
Rome News Media, LLC                                                       Publisher
Rutgers, The State University of New Jersey                                State Agency
Samsung Electronics America, Inc. (including Samsung NEXT, LLC)            Advertiser
Savannah Publishing Co., Inc.                                              Publisher
SC Department of Social Services                                           State Agency
Schneier, Bruce                                                            Other
Scott Publishing, Inc.                                                     Publisher
Search Discovery                                                           GMP-certified partner
Sharethrough Inc. (including DistrictM)                                    Ad Tech Provider
SHE Media                                                                  Ad Tech Provider
Simpson Publishing Co., Inc.                                               Publisher
Singh, Sunny                                                               Advertiser
Skechers                                                                   Advertiser
Skimlinks                                                                  Ad Tech Provider
SkinnySchool LLC d/b/a Maria Marques Fitness                               Advertiser
Smartly.io                                                                 Reseller
Smithsonian Institution                                                    Advertiser
Snap, Inc.                                                                 Ad Tech Provider
Society of Professional Journalists                                        Other
Something Extra Publishing, Inc.                                           Publisher
Sonobi                                                                     Ad Tech Provider
Sortable / Freestar                                                        Ad Tech Provider
South Carolina Department of Parks, Recreation, and Tourism                State Agency
South Carolina, State of                                                   State / Territory
South Dakota Department of Education                                       State Agency


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South Dakota Department Of Human Services                                  State Agency
South Dakota State University                                              State Agency
South Dakota, State of                                                     State / Territory
Southern Arkansas University                                               State Agency
Southern Community Newspapers, Inc.                                        Publisher
Southern Utah University                                                   State Agency
Sovrn Holdings, Inc.                                                       Ad Tech Provider
Spotify                                                                    Publisher
SPX Total Body Fitness LLC                                                 Advertiser
StackAdapt                                                                 Ad Tech Provider
Starbucks                                                                  Advertiser
State Farm                                                                 Advertiser
State University Of New York                                               State Agency
Static Media                                                               Publisher
Stellman, Michael                                                          Advertiser
Sterling International Consulting Group                                    Publisher
Stratacomm LLC                                                             Ad Agency
Strava                                                                     Publisher
Sunland Publishing Company, Inc.                                           Publisher
Surefreight Global LLC                                                     Advertiser
Susan Athey                                                                Individual
Sweepstakes Today, LLC                                                     Publisher
T. Rowe Price                                                              Advertiser
Taboola                                                                    Ad Tech Provider
Tallulah Publishing, Inc.                                                  Publisher
Target Corporation                                                         Publisher
Tate Record, Inc.                                                          Publisher
Teads                                                                      Ad Tech Provider
Tennessee Highway Safety Office                                            State Agency
Tennessee, State of                                                        State / Territory
Tennis.com                                                                 Publisher
Texas A&M University                                                       State Agency
Texas Department of Information Resources, The (DIR)                       State Agency
Texas Department Of Motor Vehicles                                         State Agency


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Texas Department Of Transportation                                           State Agency
Texas General Land Office, The                                               State Agency
Texas Office of the Governor, Economic Development & Tourism                 State Agency
Texas, State of                                                              State / Territory
The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)                Advertiser
The Goodway Group                                                            Ad Agency
TIAA                                                                         Advertiser
Ticketmaster                                                                 Publisher
Tiktok                                                                       Ad Tech Provider
Timehop (creator of Nimbus)                                                  Ad Tech Provider
Times Journal, Inc.                                                          Publisher
Tinuiti                                                                      Ad Agency
Trade Desk, Inc., The                                                        Ad Tech Provider
Tremor International Ltd. (including RhythmOne/Unruly (SSP), Unruly Group    Ad Tech Provider
Limited, Amobee, Inc., Tremor Video, and Spearad GmbH)
Trilogy Federal, LLC                                                         Ad Agency
TripAdvisor                                                                  Publisher / Advertiser
Triple Lift, Inc.                                                            Ad Tech Provider
Trustworthy Accountability Group                                             Industry Trade Organization / Trade Association
Tully Center for Free Speech                                                 Other
Turkle, Sherry                                                               Other
Turn                                                                         Ad Tech Provider
TWC Product & Tech                                                           Publisher
Twitch                                                                       Publisher
Twitter, Inc.                                                                Ad Tech Provider
U.S. Air Force                                                               Federal Agency
U.S. Army                                                                    Federal Agency
U.S. Census Bureau                                                           Federal Agency
U.S. Department of Agriculture                                               Federal Agency
U.S. Department of Defense                                                   Federal Agency
U.S. Department of Education                                                 Federal Agency
U.S. Department of Energy                                                    Federal Agency
U.S. Department of Health and Human Services                                 Federal Agency
U.S. Department of Homeland Security                                         Federal Agency


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U.S. Department of Housing and Urban Development                                      Federal Agency
U.S. Department of Interior                                                           Federal Agency
U.S. Department of Labor                                                              Federal Agency
U.S. Department of State                                                              Federal Agency
U.S. Department of Transportation                                                     Federal Agency
U.S. Department of Treasury                                                           Federal Agency
U.S. Department of Veterans Affairs                                                   Federal Agency
U.S. General Services Administration                                                  Federal Agency
U.S. Navy                                                                             Federal Agency
U.S. Postal Service                                                                   Federal Agency
Unilever                                                                              Advertiser
Union City Daily Messenger, Inc.                                                      Publisher
United States of America                                                              US Government
United States Social Security Administration                                          Federal Agency
Unity (including ironSource)                                                          Ad Tech Provider
Universidad de Puerto Rico                                                            State Agency
University of Alaska                                                                  State Agency
University Of Arkansas                                                                State Agency
University Of California                                                              State Agency
University Of Connecticut School Of Law                                               State Agency
University of Florida (including Florida Institute of Food & Agricultural Sciences)   State Agency
University Of Idaho                                                                   State Agency
University Of Illinois System                                                         State Agency
University Of Minnesota                                                               State Agency
University Of Missouri                                                                State Agency
University Of Montana, The                                                            State Agency
University Of Nebraska Omaha                                                          State Agency
University Of Nevada                                                                  State Agency
University Of North Carolina At Chapel Hill                                           State Agency
University Of North Dakota                                                            State Agency
University Of Rhode Island                                                            State Agency
University Of South Carolina                                                          State Agency
University Of South Dakota                                                            State Agency
University Of Tennessee, The                                                          State Agency


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                                     Entity                                                        Type of Entity
University Of Texas, The                                                       State Agency
University Of Virginia, The                                                    State Agency
University Of Washington                                                       State Agency
University System Of New Hampshire                                             State Agency
Univision                                                                      Publisher
URX                                                                            Ad Tech Provider
US Trade and Development Agency                                                Advertiser
Utah Department Of Health                                                      State Agency
Utah Office of Tourism                                                         State Agency
Utah, State of                                                                 State / Territory
Verizon                                                                        Ad Tech Provider
Verizon Communications
Verve Group, The (including Smaato and AppMonet)                               Ad Tech Provider
Viant Technology (including Adelphic Mobile)                                   Ad Tech Provider
Vimeo                                                                          Publisher
Virginia Department For Aging & Rehabilitative Services                        State Agency
Virginia, Commonwealth of                                                      State / Territory
Vitor Lindo                                                                    Advertiser
Vixie, Paul                                                                    Other
Vox Media, Inc. (Concert by Vox)                                               Ad Tech Provider
Walmart Inc.                                                                   Publisher
Walt Disney Company, The (including Hulu, ABC, and ESPN)                       Publisher
Warner Bros. Discovery (including CNN, Zedo (SSP), and Turner Entertainment)   Publisher / Ad Tech Provider
Washington Post, The (Nash Holdings LLC)                                       Publisher
Washington State Department Of Health                                          State Agency
Washington, State of                                                           State / Territory
Wayfair, Inc.                                                                  Advertiser
Weakley County Press, Inc                                                      Publisher
Wells Fargo                                                                    Advertiser
West Virginia Department Of Commerce                                           State Agency
West Virginia University                                                       State Agency
West Virginia, State of                                                        State / Territory
Western Nevada College                                                         State Agency
WNET                                                                           Publisher


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                                Entity                                                    Type of Entity
Wordpress (owned by Automattic; including OiO Publisher (ad server))   Publisher
WPP (including GroupM Worldwide LLC, VMLY&R, Wavemaker, and Young &    Ad Agency
Rubicam Inc.)
Yahoo Inc.                                                             Ad Tech Provider
Yazoo Newspaper Co., Inc.                                              Publisher
Yberra, Sara                                                           Advertiser
Yelp Inc.                                                              Publisher
Yieldmo, Inc.                                                          Ad Tech Provider
ylliX                                                                  Ad Tech Provider
Zedo, Inc.                                                             Ad Tech Provider
Zeta Global (Zeta Interactive)                                         Ad Tech Provider
Zuboff, Shoshana                                                       Other
Zynga (Take-Two Interactive; including Chartboost)                     Other




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          APPENDIX J
      EXHIBITS EXCLUDING
    RESPONDENTS SELECTING
    DECOY ANSWER OPTIONS
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                                            APPENDIX EXHIBIT 1

                         HIGHER-SPEND ADVERTISER SURVEY
                               RESPONSE STATISTICS
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Status                                                                             #                 %
 [1] Invited to Complete Survey                                                               4,978         100%
 [2] Clicked on Survey Link                                                                   2,348         100%
 [3] Screened Out of Survey                                                                   1,538          66%
 [4]     CAPTCHA                                                                                 13           1%
 [5]     Age                                                                                      9           0%
 [6]     State                                                                                    8           0%
 [7]     Job Responsibilities                                                                  394           17%
 [8]     Not Employed by a Advertiser/Marketer                                                 678           29%
 [9]     Annual Advertising Spend Less than $500K                                              230           10%
[10]     No Digital Advertising Spend                                                             1           0%
[11]     Did Not Use Display Advertising                                                         95           4%
[12]     Did Not Use Programmatic Display                                                        57           2%
[13]     Not Involved in Decision Making Roles for Display Advertising                           35           1%
[14]     Failed Attention Check                                                                  16           1%
[15]     Nonsensical Responses                                                                    2           0%
[16]     Overquota Respondents                                                                    -           0%
[17] Self-Termination                                                                           207           9%
[18]    Completed the Survey                                                                   603          100%
[19]     Removed from Sample                                                                   101           17%
[20]      Slowpokes and Speeders                                                                 7            1%
[21]      Asked to be Excluded                                                                  94           16%
[22]      Analytical Sample                                                                    502          100%
[23]       Selected a Decoy Option                                                              49           10%
[24]      Analytical Sample (Excluding Respondents Selecting a Decoy Option)                   453           90%


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.



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                                            APPENDIX EXHIBIT 1

                       HIGHER-SPEND ADVERTISER SURVEY
                             RESPONSE STATISTICS
              EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources (cont.):
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
      “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Advertiser/Marketer” were screened out of the study.
 [9] Respondents who indicated in QS10 that their company spent less than $500,000 on all advertising in the last 12 months
      or selected “Don’t know / Unsure” were screened out of the study.
[10] Respondents who indicated in QS11 that the percentage of their total advertising budget spent on digital
      (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS12 that they used display advertising in the past year were screened
      out of the study.
[12] Respondents who did not indicate in QS13 that their business unit/team used programmatic transaction methods to purchase
      display ad inventory, or selected “Don’t know / Unsure” were screened out of the study.
[13] Respondents who selected “None of the above” or “Don’t know / Unsure” in QS15 were screened out of the study.
[14] Respondents who did not select “Somewhat likely” in QS16 were screened out of the study.
[15] Removed by survey vendor from raw data for providing nonsensical responses to open-ended questions, such as “R5U54U”
      and “The study is quite nice to carry on.”
[16] Respondents were terminated due to entering the survey after it had been closed for sampling.
[17] Respondents who only completed part of the survey.
[20] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the
      survey were removed from the analysis.
[21] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
      who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[23] Respondents who selected one or more decoy options in the survey were removed from the analysis. These respondents
      selected “Ad Step Technologies,” “Quorexx” in Q8, and/or “FriendLinx” in Q5.
[24] These respondents were used in the analysis.




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                                                   APPENDIX EXHIBIT 2

                                       HIGHER-SPEND ADVERTISER SURVEY
                                      SURVEY PARTICIPATION PREFERENCE
                             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


 QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
  pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
  digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
  reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
  do not want to participate in this survey, please click “Exclude my responses” below.




                             600

                                                84%
                             500
                                                 50

                             400
     Number of Respondents




                             300

                             200                459
                                                                 INTERNAL FLAG
                                                                                      16%
                             100
                                                                                       94
                               0
                                        Include my responses                 Exclude my responses

                                         Did Not Select a Decoy Option        Selected a Decoy Option

 Notes & Sources:
 From Higher-Spend Advertiser Survey.
 Includes respondents who completed the survey.
 Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
   by the panel vendor.
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                                     APPENDIX EXHIBIT 3

                 HIGHER-SPEND ADVERTISER SURVEY
                    RESPONDENT DEMOGRAPHICS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                      #            %
                                                     [A]           [B]
                   Age
                [1] 18 - 34                                   88         19%
                [2] 35 - 49                                  301         66%
                [3] 50 - 64                                   64         14%
                [4] 65 or above                                -          0%
                [5] Total                                    453         100%

                      Gender
                [6]    Female                                122         27%
                [7]    Male                                  331         73%
                [8]    Other                                   -          0%
                [9]    Prefer not to answer                    -          0%
               [10] Total                                    453         100%


                      Source:
                      From Higher-Spend Advertiser Survey.
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                                         APPENDIX EXHIBIT 4

                   HIGHER-SPEND ADVERTISER SURVEY
                           MARKET SECTORS
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     QS8: Which of the following, if any, best characterizes the market sector/industry
      your company is in? (Please select only one option.)

                                                                                Total Respondents
                           Market Sector / Industry                             #               %
                                     [A]                                       [B]             [C]
  [1] Advertising or Marketing                                                      140            31%
  [2] Retail (including Ecommerce)                                                    63           14%
  [3] B2B/Services for Businesses                                                     46           10%
  [4] Apparel/Fashion                                                                 25            6%
  [5] Food and Beverage                                                               25            6%
  [6] Media and Entertainment                                                         21            5%
  [7] Financial Products/Services for Consumers (including Fintech)                   21            5%
  [8] Travel and Hospitality                                                          15            3%
  [9] Consumer Electronics                                                            14            3%
 [10] Home Products/Appliances                                                        13            3%
 [11] Health Care or Medical Services                                                 13            3%
 [12] Health and Beauty Products                                                      11            2%
 [13] Telecommunications                                                               9            2%
 [14] Restaurants                                                                      7            2%
 [15] Automotive                                                                       6            1%
 [16] Pharmaceuticals and Remedies (Rx or OTC)                                         5            1%
 [17] Education                                                                        3            1%
 [18] Government                                                                       2            0%
 [19] Non-Profit                                                                       1            0%
 [20] Other                                                                           13            3%
 [21] Total                                                                          453         100%


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
     Sorted in descending order based on column [B], except for “Other.”
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                                         APPENDIX EXHIBIT 5

                   HIGHER-SPEND ADVERTISER SURVEY
                             JOB TITLES
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         QS9: Which of the following best characterizes your current job title/level? (Please select only
          one option.)

                                                                             Total Respondents
                              Job Title / Level                              #               %
                                    [A]                                     [B]             [C]
      [1] Director                                                               151            33%
      [2] C-Level (CEO, COO, CMO, etc.)                                            97           21%
      [3] Vice President, SVP, EVP, President, etc.                                93           21%
      [4] Manager                                                                  62           14%
      [5] Supervisor/Department Head/Group Manager                                 33            7%
      [6] Strategist                                                               10            2%
      [7] Planner                                                                   2            0%
      [8] Associate                                                                 2            0%
      [9] Analyst                                                                   2            0%
     [10] Buyer                                                                     1            0%
     [11] Other                                                                     -            0%
     [12] Total                                                                  453             100%


         Notes & Sources:
         From Higher-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other.”
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                                                      APPENDIX EXHIBIT 6

                                        HIGHER-SPEND ADVERTISER SURVEY
                                                ANNUAL AD SPEND
                               EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   QS10: Approximately how much did your company spend in the last 12 months on all advertising, including
    all digital types (e.g., display, video, audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)?
    (Please select only one option.)




                               90
                                                         81
                               80         76
                                                               68
       Number of Respondents




                               70
                               60                56
                                                                       51
                               50
                                                                                  38
                               40
                                    31
                                                                                            28
                               30
                               20                                                                      15
                                                                                                                  9
                               10
                               0
                                                                                             INTERNAL FLAG




   Notes & Sources:
   From Higher-Spend Advertiser Survey.
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                                       APPENDIX EXHIBIT 7

                 HIGHER-SPEND ADVERTISER SURVEY
          PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        QS11: Please think about your business unit/team’s total advertising budget. In the past year, what
         percentage of your business unit/team’s total advertising budget was used for digital (online)
         advertising, as opposed to offline advertising? Please give your best estimate.

                                                                           Median


                                                    25th Percentile




                                                                                75th Percentile

                                              10th Percentile                              90th Percentile




                                                                               INTERNAL FLAG




        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Respondents who entered zero for digital (online) advertising were screened out of the survey.




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                                  APPENDIX EXHIBIT 8

                  HIGHER-SPEND ADVERTISER SURVEY
                 TYPES OF DIGITAL ADVERTISING USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                     QS12: Which of the following types of digital advertising, if any,
                      have you used in the past year? Please review the description of
                      each advertising type carefully. (Please select all that apply.)

                                                     Total Respondents
                          Advertising Type            #            %
                                 [A]                 [B]            [C]
                  [1] Display                              453        100%
                  [2] Social                               347         77%
                  [3] Search                               347         77%
                  [4] Digital Video                        292         64%
                  [5] Email                                282         62%
                  [6] eCommerce Platforms                  242         53%
                  [7] Connected TV                         204         45%
                  [8] App/In-App                           195         43%
                  [9] Digital Audio                        178         39%
                 [10] Other                                  2          0%
                 [11] Total                                453        100%


                     Notes & Sources:
                     From Higher-Spend Advertiser Survey.
                     Respondents who did not select “Display” were screened out of the
                       survey.
                     Percentages do not add up to 100% because respondents can
                       select multiple options.
                     Sorted in descending order based on column [B], except for “Other.”
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                                      APPENDIX EXHIBIT 9

                 HIGHER-SPEND ADVERTISER SURVEY
            NUMBER OF TYPES OF DIGITAL ADVERTISING USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                     QS12: Which of the following types of digital advertising, if any,
                      have you used in the past year? Please review the description of
                      each advertising type carefully. (Please select all that apply.)

                                                              Total Respondents
                         Number of Types Selected              #            %
                                   [A]                         [B]            [C]
               [1]                   1                               66          15%
               [2]                   2                                9           2%
               [3]                   3                               14           3%
               [4]                   4                               40           9%
               [5]                   5                               63          14%
               [6]                   6                               75          17%
               [7]                   7                               64          14%
               [8]                   8                               57          13%
               [9]                   9                               63          14%
              [10]                  10                                2           0%
              [11] Total                                             453        100%


                     Notes & Sources:
                     From Higher-Spend Advertiser Survey.
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                                   APPENDIX EXHIBIT 10

                  HIGHER-SPEND ADVERTISER SURVEY
             DISPLAY ADVERTISING TRANSACTION METHODS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                QS13: Which of the following transaction methods has your business unit/team
                 (or your ad agency) used to purchase display ad inventory in the past year?
                 (Please select all that apply.)

                                                           Total Respondents
                        Transaction Method                 #               %
                                [A]                       [B]             [C]
             [1] Programmatic Only                             195            43%
             [2] Programmatic and Direct Deals                 258            57%
             [3] Total                                         453             100%


                Notes & Sources:
                From Higher-Spend Advertiser Survey.
                Respondents who selected “Direct Deals Only,” “None of the Above” or
                  “Don’t know / Unsure” were screened out of the survey.
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                                  APPENDIX EXHIBIT 11

                 HIGHER-SPEND ADVERTISER SURVEY
                   SOCIAL MEDIA PLATFORMS USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  QS14: You indicated that your business unit/team has used social
                   advertising in the past year. Which of the following social media
                   platforms, if any, has your business unit/team advertised on in the
                   past year? (Please select all that apply.)


                                                         Total Respondents
                       Social Media Platform             #              %
                               [A]                      [B]               [C]
               [1] Facebook                                   310               89%
               [2] Instagram                                  271               78%
               [3] LinkedIn                                   231               67%
               [4] Twitter                                    192               55%
               [5] Tiktok                                     182               52%
               [6] Snapchat                                   115               33%
               [7] Pinterest                                  112               32%
               [8] Reddit                                      69               20%
               [9] Tumblr                                       9                3%
              [10] FriendLinx                                   -                0%
              [11] Other                                        5                1%
              [12] None of the Above                            -                0%
              [13] Don’t know / Unsure                          -                0%
              [14] Total Shown Question                       347            100%


                  Notes & Sources:
                  From Higher-Spend Advertiser Survey.
                  Sorted in descending order based on column [B], except for “Other,”
                    “None of the above,” and “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can
                    select multiple options.
                  Respondents were only shown QS14 if they indicated in QS12 that
                    their business unit/team had used social advertising in the past year.
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                                       APPENDIX EXHIBIT 12

                 HIGHER-SPEND ADVERTISER SURVEY
                        USE OF AD AGENCY
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          Q2: Do you or do you not use an ad agency for digital advertising?
           (Please select only one option.)

                               Response Options                           #           %
                                       [A]                               [B]          [C]
       [1] Yes, I use an ad agency for digital advertising                     301       66%
       [2] No, I do not use an ad agency for digital advertising               148       33%
       [3] Don’t know / Unsure                                                   4        1%
       [4] Total Shown Question                                                453     100%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
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                                               APPENDIX EXHIBIT 13

                         HIGHER-SPEND ADVERTISER SURVEY
                             PURPOSE OF AD AGENCY USE
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q3: For which, if any, of the following do you use an ad agency? (Please select all that apply.)

                                                                                               Total Respondents
                                    Response Options                                           #               %
                                          [A]                                                 [B]             [C]
 [1] Media/marketing strategies                                                                     205             68%
 [2] Implementation of advertising (e.g., placing bids, interacting with DSPs)                      191             63%
 [3] Tracking advertising performance                                                               172             57%
 [4] Running advertising tests/experiments                                                          158             52%
 [5] Content and/or creatives                                                                       158             52%
 [6] Allocating advertising funds across advertising types                                          126             42%
 [7] Consulting services                                                                            110             37%
 [8] Customer research                                                                              109             36%
 [9] Budgeting decisions                                                                             87             29%
[10] Inventory access                                                                                76             25%
[11] Other                                                                                            -              0%
[12] None of the above                                                                                -              0%
[13] Don’t know / Unsure                                                                              -              0%
[14] Total Shown Question                                                                           301             100%


     Notes & Sources:
     From Higher-Spend Advertiser Survey.
     Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know / Unsure.”
     Respondents were only shown Q3 if they indicated in Q2 that they used an ad agency for digital advertising.
     Percentages do not add up to 100% because respondents can select multiple options.
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                                               APPENDIX EXHIBIT 14

                         HIGHER-SPEND ADVERTISER SURVEY
                        DIGITAL ADVERTISING BUDGET SHARE
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q4: What is your best estimate of the share of your business unit/team’s digital advertising budget that was used
         for each of these types of advertising in the past year? Specifically, please allocate 100% across the different types
         of digital advertising shown below based on the share of your total digital advertising budget spent on each type. The
         total should add up to 100%.

             Advertising Type            # of Respondents                 Mean                       Median
                   [A]                          [B]                         [C]                        [D]
    [1] Programmatic Display                              445                        29%                         15%
    [2] Search                                            341                        17%                         10%
    [3] Social                                            340                        13%                         10%
    [4] Digital Video                                     286                         8%                          5%
    [5] Email                                             276                         6%                          5%
    [6] Direct Deals Display                              251                         7%                          5%
    [7] eCommerce Platforms                               236                         8%                          3%
    [8] Connected TV                                      198                         5%                          0%
    [9] App/In-App                                        189                         5%                          0%
   [10] Digital Audio                                     173                         3%                          0%
   [11] Other                                               2                         0%                          0%
   [12] Don’t know / Unsure                                 8                         n/a                         n/a
   [13] Total Shown Question                              453


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
        Respondents were shown their responses from QS12 and QS13. They were asked to allocate across all selected types.
        Respondents can hover their mouse over each digital advertising type to review the type description.
    [B] Shows number of respondents who allocated a budget for each advertising type.
[C]-[D] Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the advertising type in QS12
          or QS13.
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                                       APPENDIX EXHIBIT 15

                   HIGHER-SPEND ADVERTISER SURVEY
           RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q5: Now suppose that, based on your analysis, the cost of programmatic display advertising has
         recently increased by a small but significant amount, and will remain elevated for the foreseeable
         future. Assume further that, based on similar analyses for other digital advertising types, the costs
         of other digital advertising types have not changed and are not expected to change. So if the cost
         of programmatic display advertising increases (while the cost of other advertising types remains
         the same), will you or won’t you divert some of your advertising spending for the coming year
         to other types of digital advertising?

               Response Options                         #                               %
                       [A]                             [B]                             [C]
     [1] Will Divert Spending                                       262                            58%
     [2] Will Not Divert Spending                                   164                            36%
     [3] Don’t know / Unsure                                         27                             6%
     [4] Total Shown Question                                       453                           100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
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                                       APPENDIX EXHIBIT 16

                  HIGHER-SPEND ADVERTISER SURVEY
       ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
            DUE TO PROGRAMMATIC DISPLAY COST INCREASE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Q6: To which other types of digital advertising below, if any, would you divert your advertising
          spending for the coming year as a result of the increase in the cost of programmatic display advertising?

                                                  Respondents Indicating They Would Divert
                                                      Spending to the Advertising Type
                Advertising Type                       #                            %
                      [A]                             [B]                          [C]
      [1] Social                                                 143                             55%
      [2] Search                                                 140                             53%
      [3] Digital Video                                          109                             42%
      [4] Direct Deals Display                                     85                            32%
      [5] eCommerce Platforms                                      84                            32%
      [6] Email                                                    81                            31%
      [7] Connected TV                                             80                            31%
      [8] App/In-App                                               67                            26%
      [9] Digital Audio                                            59                            23%
     [10] Other                                                     2                             1%
     [11] None of the above                                         1                             0%
     [12] Don’t know / Unsure                                       4                             2%
     [13] Total Shown Question                                     262                          100%


         Notes & Sources:
         From Higher-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other,” “None of the above,”
           and “Don’t know / Unsure.”
         Respondents can hover their mouse over each digital advertising type to review the advertising type
           description.
         Percentages do not add up to 100% because respondents can select multiple options.
         Respondents were only shown Q6 if they indicated in Q5 that they would divert advertising spending to
           other types of digital advertising.
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                                           APPENDIX EXHIBIT 17

                 HIGHER-SPEND ADVERTISER SURVEY
NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
           DUE TO PROGRAMMATIC DISPLAY COST INCREASE
      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


            Q6: To which other types of digital advertising below, if any, would you divert your advertising
             spending for the coming year for the client you spend the most time on, as a result of the increase
             in the cost of programmatic display advertising?

                                                      Respondents Indicating They Would Divert
               Number of Advertising                 Spending to the Number of Advertising Types
             Types Diverted Spending To                    #                             %
                         [A]                              [B]                             [C]
      [1]                  0                                             1                             0%
      [2]                  1                                            31                            12%
      [3]                  2                                            73                            28%
      [4]                  3                                            64                            24%
      [5]                  4                                            31                            12%
      [6]                  5                                            29                            11%
      [7]                  6                                            12                             5%
      [8]                  7                                             5                             2%
      [9]                  8                                             3                             1%
     [10]                  9                                             9                             3%
     [11]                 10                                             -                             0%
     [12]        Don’t know / Unsure                                     4                             2%
     [13] Total Shown Question                                         262                          100%


            Notes & Sources:
            From Higher-Spend Advertiser Survey.
            Respondents were only shown Q6 if they indicated in Q5 that they would divert advertising spending to
              other types of digital advertising.
            Respondents can hover their mouse over each digital advertising type to review
              the advertising type description.
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                                                                                        APPENDIX EXHIBIT 18

                                                   HIGHER-SPEND ADVERTISER SURVEY
                             EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
                                          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q7: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will lead you to divert some of your advertising spending to the types
     of digital advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for
     the coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.


                                 Total         Average Extent                                            Number of Respondents by Extent of Increase                                            Don’t know
      Advertising Type       Respondents         of Increase        0          1           2             3         4          5             6         7         8           9         10         / Unsure
              [A]                 [B]               [C]            [D]        [E]         [F]           [G]       [H]        [I]           [J]        [K]      [L]        [M]         [N]          [O]
 [1] Social                              143              6.4            -          1           4          16        10            18            15      28          24      19             7            1
 [2] Search                              140              6.6            -          2           4           5        13            15            18      28          28      21             5            1
 [3] Digital Video                       109              6.7            1          -           5           8         6            12            14      16          17      20            10            -
 [4] Direct Deals Display                 85              7.0            -          1           3           6         -             6            11      19          16      15             7            1
 [5] eCommerce Platforms                  84              7.9            -          -           -           2         1             3             7      17          20      19            13            2
 [6] Email                                81              6.7            2          2           3           4         3             5            11      15          17      12             7            -
 [7] Connected TV                         80              6.6            -          3           3           6         4             7            14      10          15       7            11            -
 [8] App/In-App                           67              7.6            -          -           1           1         3             1             6      16          20      12             7            -
 [9] Digital Audio                        59              7.0            -          3           1           3         2             6             6       2          18      15             3            -
[10] Other                                 2              4.5            -          -           -           1         -             -             1       -           -       -             -            -


                                 Total         Average Extent                                             Share of Respondents by Extent of Increase                                            Don’t know
      Advertising Type       Respondents         of Increase        0          1           2             3         4          5             6         7         8           9         10         / Unsure
              [A]                 [B]               [C]            [D]        [E]         [F]           [G]       [H]        [I]           [J]        [K]      [L]        [M]         [N]          [O]
 [1] Social                          100%                 n/a        0%         1%          3%           11%        7%        13%           10%        20%      17%        13%          5%           1%
 [2] Search                          100%                 n/a        0%         1%          3%            4%        9%        11%           13%        20%      20%        15%          4%           1%
 [3] Digital Video                   100%                 n/a        1%         0%          5%            7%        6%        11%           13%        15%      16%        18%          9%           0%
 [4] Direct Deals Display            100%                 n/a        0%         1%          4%            7%        0%          7%          13%        22%      19%        18%          8%           1%
 [5] eCommerce Platforms             100%                 n/a        0%         0%          0%            2%        1%          4%           8%        20%      24%        23%         15%           2%
 [6] Email                           100%                 n/a        2%         2%          4%            5%        4%          6%          14%        19%      21%        15%          9%           0%
 [7] Connected TV                    100%                 n/a        0%         4%          4%            8%        5%          9%          18%        13%      19%         9%         14%           0%
 [8] App/In-App                      100%                 n/a        0%         0%          1%            1%        4%          1%           9%        24%      30%        18%         10%           0%
 [9] Digital Audio                   100%                 n/a        0%         5%          2%            5%        3%        10%           10%         3%      31%        25%          5%           0%
[10] Other                           100%                 n/a        0%         0%          0%           50%        0%          0%          50%         0%       0%         0%          0%           0%




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                                                                                   APPENDIX EXHIBIT 18

                                                  HIGHER-SPEND ADVERTISER SURVEY
                            EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
                                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were shown their answer choices from Q6.
    Respondents were only shown Q7 if they did not select “None of the above” or “Don’t know/Unsure” in Q6.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average extent of increase in [D] through [N], weighted by the number of respondents.




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                                                APPENDIX EXHIBIT 19

                      HIGHER-SPEND ADVERTISER SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Q7: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will
          lead you to divert some of your advertising spending to the types of digital advertising listed below. Please use
          the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
          spending for the coming year to each type of digital advertising that you just indicated. For each digital advertising
          type below, please select 0 if you expect to keep spending on that type of digital advertising for the coming year and 10
          if you expect to substantially increase spending on that type of digital advertising.


                                     Total          Number of Respondents by Extent of Increase          Don’t know
           Advertising Type       Respondents         0–3            4–6              7 – 10              / Unsure
                   [A]                 [B]              [C]               [D]               [E]              [F]
      [1] Social                             143               21                43                78                1
      [2] Search                             140               11                46                82                1
      [3] Digital Video                      109               14                32                63                -
      [4] Direct Deals Display                85               10                17                57                1
      [5] eCommerce Platforms                 84                2                11                69                2
      [6] Email                               81               11                19                51                -
      [7] Connected TV                        80               12                25                43                -
      [8] App/In-App                          67                2                10                55                -
      [9] Digital Audio                       59                7                14                38                -
     [10] Other                                2                1                 1                 -                -

                                     Total           Share of Respondents by Extent of Increase          Don’t know
           Advertising Type       Respondents         0–3             4–6               7 – 10            / Unsure
                   [A]                 [B]              [C]               [D]               [E]              [F]
      [1] Social                          100%                15%               30%               55%              1%
      [2] Search                          100%                 8%               33%               59%              1%
      [3] Digital Video                   100%                13%               29%               58%              0%
      [4] Direct Deals Display            100%                12%               20%               67%              1%
      [5] eCommerce Platforms             100%                 2%               13%               82%              2%
      [6] Email                           100%                14%               23%               63%              0%
      [7] Connected TV                    100%                15%               31%               54%              0%
      [8] App/In-App                      100%                 3%               15%               82%              0%
      [9] Digital Audio                   100%                12%               24%               64%              0%
     [10] Other                           100%                50%               50%                0%              0%



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                                              APPENDIX EXHIBIT 19

                      HIGHER-SPEND ADVERTISER SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other.”
        Respondents were shown their answer choices from Q6.
        Respondents were only shown Q7 if they did not select “None of the above” or “Don’t know/Unsure” in Q6.
        Respondents can hover their mouse over each digital advertising type to review the type description.
        Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total
          number of people selecting the advertising type to which to divert spending.




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                                                                APPENDIX EXHIBIT 20

                                             HIGHER-SPEND ADVERTISER SURVEY
                                             AD BUYING TOOLS USED IN PAST YEAR
                                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad
     inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include
     demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the
     past year for programmatic display advertising?

                                                                    Total Respondents           $500K – $15M Ad Spend            > Than $15M Ad Spend
                        Ad Buying Tool                              #              %               #            %                   #            %
                              [A]                                  [B]             [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          305             67%             164             67%             141             67%
 [2] Google DV360                                                        193             43%             106             43%              87             42%
 [3] Amazon DSP                                                          159             35%              83             34%              76             36%
 [4] Adobe Advertising Cloud                                              98             22%              47             19%              51             24%
 [5] The Trade Desk DSP                                                   90             20%              36             15%              54             26%
 [6] Yahoo DSP (formerly Verizon Media DSP)                               63             14%              26             11%              37             18%
 [7] Criteo                                                               54             12%              20              8%              34             16%
 [8] Taboola                                                              36              8%              19              8%              17              8%
 [9] StackAdapt                                                           32              7%              20              8%              12              6%
[10] Adform                                                               29              6%              11              5%              18              9%
[11] Outbrain                                                             28              6%              10              4%              18              9%
[12] MediaMath DSP                                                        26              6%              10              4%              16              8%
[13] Xandr Invest                                                         26              6%              12              5%              14              7%
[14] Zeta Global                                                          23              5%               5              2%              18              9%
[15] Quantcast                                                            22              5%              11              5%              11              5%
[16] Amobee                                                               21              5%               6              2%              15              7%
[17] Simpli.fi                                                            20              4%               7              3%              13              6%
[18] Illumin (formerly AcuityAds)                                         15              3%               7              3%               8              4%
[19] Basis by Centro                                                      14              3%               7              3%               7              3%
[20] Adelphic                                                             13              3%               7              3%               6              3%
[21] Beeswax                                                               8              2%               5              2%               3              1%
[22] Ad Step Technologies                                                  -                -              -                -              -                -
[23] Quorexx                                                               -                -              -                -              -                -
[24] Other                                                                10              2%               7              3%               3              1%
[25] Don’t know / Unsure                                                   5              1%               1              0%               4              2%
[26] Total Shown Question                                                453             100%            244          100%               209            100%




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                                                          APPENDIX EXHIBIT 20

                                      HIGHER-SPEND ADVERTISER SURVEY
                                      AD BUYING TOOLS USED IN PAST YEAR
                             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


Notes & Sources:
From Higher-Spend Advertiser Survey.
Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
Percentages do not add up to 100% because respondents can select multiple options.




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                                                          APPENDIX EXHIBIT 21

                                      HIGHER-SPEND ADVERTISER SURVEY
                                 NUMBER OF AD BUYING TOOLS USED IN PAST YEAR
                             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically
    on display ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory.
    Ad buying tools include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your
    business unit/team used during the past year for programmatic display advertising?



             Number of Ad Buying                    Total Respondents            $500K – $15M Ad Spend           > Than $15M Ad Spend
               Tools Selected                       #              %                #            %                  #            %
                       [A]                          [B]             [C]            [D]             [E]             [F]             [G]
[1] Zero                                                    -                -             -                -              -                -
[2] One                                                   113             25%             75             31%              38             18%
[3] More Than One                                         335             74%            168             69%             167             80%
[4] Two                                                   126             28%             66             27%              60             29%
[5] Three                                                  88             19%             50             20%              38             18%
[6] Four or More                                          121             27%             52             21%              69             33%
[7] Don’t know / Unsure                                     5              1%              1              0%               4              2%
[8] Total Shown Question                                  453         100%               244          100%               209          100%

[9] Average # of Ad Buying Tools Selected                 2.9                            2.6                             3.2


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
[9] Calculated as the average number of ad buying tools selected by respondents. Excludes respondents who selected “Don’t know / Unsure.”
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                                                               APPENDIX EXHIBIT 22

                                          HIGHER-SPEND ADVERTISER SURVEY
                                           USE OF GOOGLE AD BUYING TOOLS
                                 EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to automatically on display ad inventory
    from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side
    platforms, or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for
    programmatic display advertising?

                                                                   Total Respondents           $500K – $15M Ad Spend            > Than $15M Ad Spend
                      Ad Buying Tool(s)                            #              %               #            %                   #            %
                              [A]                                 [B]             [C]             [D]             [E]             [F]             [G]
[1] Neither Google Ads nor Google DV360                                 100             22%              57             23%              43             21%
[2] At least one of Google Ads and Google DV360                         348             77%             186             76%             162             78%
[3] Google Ads Only                                                     155             34%              80             33%              75             36%
[4] Google DV360 Only                                                    43              9%              22              9%              21             10%
[5] Both Google Ads and Google DV360                                    150             33%              84             34%              66             32%
[6] Don’t know / Unsure                                                   5              1%               1              0%               4              2%
[7] Total Shown Question                                                453          100%               244          100%               209          100%


   Notes & Sources:
   From Higher-Spend Advertiser Survey.
   Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
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                                                                           APPENDIX EXHIBIT 23

                                                       HIGHER-SPEND ADVERTISER SURVEY
                                                                GOOGLE USERS
                                                       NUMBER OF OTHER AD BUYING TOOLS
                                              EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from
        a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms,
        or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for programmatic display advertising?

                                                                           Google Ads Users                                           Google DV360 Users
                   # of Other Ad Buying                                     $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                 Tools (Incl. Google Tools)           Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
 [1]                          0                                      41                  25                  16                  15                  10                  5
 [2]                          1                                      97                  55                  42                  44                  27                 17
 [3]                          2                                      67                  38                  29                  43                  28                 15
 [4]                          3                                      42                  17                  25                  36                  15                 21
 [5]                         4+                                      58                  29                  29                  55                  26                 29
 [6]                 Total Respondents                              305                 164                 141                 193                 106                 87

 [7] Average # of Other Ad Buying Tools                              2.2                2.0                 2.4                 2.8                 2.4                3.3

                                                                           Google Ads Users                                           Google DV360 Users
                   # of Other Ad Buying                                     $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                 Tools (Incl. Google Tools)           Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
 [8]                          0                                    13%                 15%                 11%                  8%                  9%                 6%
 [9]                          1                                    32%                 34%                 30%                 23%                 25%                20%
[10]                          2                                    22%                 23%                 21%                 22%                 26%                17%
[11]                          3                                    14%                 10%                 18%                 19%                 14%                24%
[12]                         4+                                    19%                 18%                 21%                 28%                 25%                33%
[13]                 Total Respondents                             100%                100%                100%                100%                100%               100%




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                                                                           APPENDIX EXHIBIT 23

                                                    HIGHER-SPEND ADVERTISER SURVEY
                                                             GOOGLE USERS
                                                    NUMBER OF OTHER AD BUYING TOOLS
                                           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from
        a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms,
        or “DSPs.” Which of the following ad buying tools, if any, have you and/or your business unit/team used during the past year for programmatic display advertising?

                                                                           Google Ads Users                                           Google DV360 Users
                     # of Non-Google                                        $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                     Ad Buying Tools                  Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
[14]                          0                                      75                  47                  28                  49                  32                 17
[15]                          1                                      98                  55                  43                  45                  27                 18
[16]                          2                                      65                  31                  34                  41                  21                 20
[17]                          3                                      35                  19                  16                  29                  17                 12
[18]                         4+                                      32                  12                  20                  29                   9                 20
[19]                 Total Respondents                              305                 164                 141                 193                 106                 87

[20] Average # of Non-Google Ad Buying Tools                         1.7                1.5                 2.0                 2.0                 1.6                2.5

                                                                           Google Ads Users                                           Google DV360 Users
                     # of Non-Google                                        $500K – $15M         > Than $15M                            $500K – $15M       > Than $15M
                     Ad Buying Tools                  Total Respondents       Ad Spend             Ad Spend       Total Respondents       Ad Spend           Ad Spend
                            [A]                              [B]                 [C]                 [D]                 [E]                 [F]                [G]
[21]                          0                                    25%                 29%                 20%                 25%                 30%                20%
[22]                          1                                    32%                 34%                 30%                 23%                 25%                21%
[23]                          2                                    21%                 19%                 24%                 21%                 20%                23%
[24]                          3                                    11%                 12%                 11%                 15%                 16%                14%
[25]                         4+                                    10%                  7%                 14%                 15%                  8%                23%
[26]                 Total Respondents                             100%                100%                100%                100%                100%               100%


       Notes & Sources:
       From Higher-Spend Advertiser Survey.
       Respondents with annual ad spend of less than $500K or who selected “Don’t know / Unsure” in QS10 were screened out of the survey.
       Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected ad buying tools by the total
         number of people choosing “Google Ads” or “Google DV360.”




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                                         APPENDIX EXHIBIT 24

                     HIGHER-SPEND ADVERTISER SURVEY
              USE OF GOOGLE ADS AND OTHER AD BUYING TOOLS
           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q8: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies
    to bid automatically on display ad inventory from a wide range of publishers. Some ad buying tools can also be
    used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
    the following ad buying tools, if any, have you and/or your business unit/team used during the past year
    for programmatic display advertising?


                                                                                        Total Respondents
                                 Ad Buying Tool(s)                                       #            %
                                       [A]                                              [B]           [C]
[1] Google Ads and At Least One Other Ad Buying Tool                                          264        87%
[2] Google Ads and DV360 Only                                                                  34       11%
[3] Google Ads, DV360 and At Least One Non-Google Ad Buying Tool                              116       38%
[4] Google Ads Only and At Least One Non-Google Ad Buying Tool                                114       37%
[5] Google Ads and No Other Ad Buying Tool                                                     41        13%
[6] Total Respondents Using Google Ads                                                        305       100%


   Notes & Sources:
   From Higher-Spend Advertiser Survey.
   Limited to respondents who selected Google Ads in Q8.
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                                                         APPENDIX EXHIBIT 25

                                    HIGHER-SPEND ADVERTISER SURVEY
                          OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                          WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review
        the description of each advertising type carefully. (Please select all that apply.)

                                                         Respondents Who Use Google                   Respondents Who Use Google
                                                         Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                                                        Tools for Programmatic Display            Buying Tools for Programmatic Display
          Other Digital Advertising Types Used              #                   %                        #                   %
                         [A]                               [B]                    [C]                    [D]                 [E]
    [1] Social                                                       19                  46%                      50               67%
    [2] Search                                                       19                  46%                      52               69%
    [3] Email                                                        19                  46%                      44               59%
    [4] Digital Video                                                13                  32%                      38               51%
    [5] Direct Display                                               12                  29%                      30               40%
    [6] eCommerce Platforms                                          10                  24%                      25               33%
    [7] App/In-App                                                   10                  24%                      21               28%
    [8] Connected TV                                                  2                   5%                      18               24%
    [9] Digital Audio                                                 2                   5%                      18               24%
   [10] Other                                                         -                     -                      -                  -
   [11] Total                                                        41                 100%                      75               100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
        Sorted in descending order based on column [B], except for “Other.”
    [A] Includes the non-programmatic display advertising types respondents selected in QS12 and QS13.
[B]-[C] Limited to respondents who selected Google Ads and no other buying tools (including Google DV360) in Q8.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q8.
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                                                            APPENDIX EXHIBIT 26

                                  HIGHER-SPEND ADVERTISER SURVEY
                    NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                        WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the
           description of each advertising type carefully. (Please select all that apply.)


                                                            Respondents Who Use Google                   Respondents Who Use Google
                                                            Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                      Number of Other                      Tools for Programmatic Display            Buying Tools for Programmatic Display
               Display Advertising Types Used                  #                   %                        #                   %
                             [A]                               [B]                   [C]                    [D]                  [E]
    [1]                       0                                         17                  41%                      18                24%
    [2]                       1                                          2                   5%                       3                 4%
    [3]                       2                                          1                   2%                       1                 1%
    [4]                       3                                          5                  12%                       8                11%
    [5]                       4                                          4                  10%                       6                 8%
    [6]                       5                                          6                  15%                      14                19%
    [7]                       6                                          2                   5%                      10                13%
    [8]                       7                                          3                   7%                      10                13%
    [9]                       8                                          1                   2%                       2                 3%
   [10]                       9                                          -                   0%                       3                 4%
   [11] Total                                                           41                 100%                      75                100%


        Notes & Sources:
        From Higher-Spend Advertiser Survey.
    [A] Counts the number of non-programmatic display advertising types respondents
          selected in QS12 and QS13.
[B]-[C] Limited to respondents who selected Google Ads and no other buying tools (including Google DV360) in Q8.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q8.
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                                                      APPENDIX EXHIBIT 27

                             HIGHER-SPEND ADVERTISER SURVEY
                      PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
             BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q4: What is your best estimate of the share of your business unit/team’s digital advertising budget that was used
     for each of these types of advertising in the past year? Specifically, please allocate 100% across the different
     types of digital advertising shown below based on the share of your total digital advertising budget spent on
     each type. The total should add up to 100%.

                                                     Respondents Who Use Google                   Respondents Who Use Google
                                                     Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
               % of Budget Allocated                Tools for Programmatic Display            Buying Tools for Programmatic Display
       to Programmatic Display Advertising               #                     %                      #                  %
                      [A]                               [B]                   [C]                    [D]                 [E]
     % of Digital Advertising Budget
 [1] 0% – 10%                                                    11                  27%                      24               32%
 [2] 10% – 20%                                                    6                  15%                      17               23%
 [3] 20% – 30%                                                    3                   7%                      11               15%
 [4] 30% – 40%                                                    2                   5%                       3                4%
 [5] 40% – 50%                                                    1                   2%                       1                1%
 [6] 50% – 60%                                                    1                   2%                       1                1%
 [7] 60% – 70%                                                    -                   0%                       -                0%
 [8] 70% – 80%                                                    -                   0%                       -                0%
 [9] 80% – 90%                                                    -                   0%                       -                0%
[10] 90% – 100%                                                  17                  41%                      18               24%
[11] Total                                                       41                 100%                      75               100%

     % of Overall Advertising Budget
[12] 0% – 10%                                                    15                  37%                      33               44%
[13] 10% – 20%                                                    4                  10%                      15               20%
[14] 20% – 30%                                                    1                   2%                       4                5%
[15] 30% – 40%                                                    4                  10%                       5                7%
[16] 40% – 50%                                                    7                  17%                       7                9%
[17] 50% – 60%                                                    3                   7%                       3                4%
[18] 60% – 70%                                                    4                  10%                       4                5%
[19] 70% – 80%                                                    3                   7%                       4                5%
[20] 80% – 90%                                                    -                   0%                       -                0%
[21] 90% – 100%                                                   -                   0%                       -                0%
[22] Total                                                       41                 100%                      75               100%



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                                                           APPENDIX EXHIBIT 27

                                HIGHER-SPEND ADVERTISER SURVEY
                         PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
                BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
  [B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q8.
  [D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q7.
[12]-[21] Calculated as the % of budget allocated to programmatic display in Q4 * the % of budget allocated to online advertising
            in QS11.




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                                APPENDIX EXHIBIT 28

                 HIGHER-SPEND ADVERTISER SURVEY
                   CHANGE IN AD BUYING TOOL USE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q10: Do you and/or your business unit/team expect to use the
                    same number, more, or fewer ad buying tools for programmatic
                    display advertising next year? (Please select only one option.)

                         Response Options               #             %
                                 [A]                   [B]           [C]
                [1] More                                      95        21%
                [2] Fewer                                     78        17%
                [3] Same Number                              259        58%
                [4] Don’t know / Unsure                       16         4%
                [5] Total Shown Question                     448       100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q10 if they did not select “Don’t know / Unsure”
                     in Q8.
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                                      APPENDIX EXHIBIT 29

                 HIGHER-SPEND ADVERTISER SURVEY
        FACTORS CONSIDERED WHEN CHOOSING AD BUYING TOOLS
              FOR PROGRAMMATIC DISPLAY ADVERTISING
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          Q12: Which of the following factors, if any, do you and/or your business unit/team consider when
           deciding to use a particular ad buying tool for programmatic display advertising? (Please select all that apply.)

                                                                      Respondents Indicating the
                                                                       Factor was Considered
                                    Factor                                #              %
                                      [A]                                [B]            [C]
       [1] Ad placement effectiveness                                        220            49%
       [2] Targeting criteria and capabilities                               212            47%
       [3] Audience scale/Reach                                              207            46%
       [4] Cost                                                              206            46%
       [5] Media optimization of placements during a campaign                197            44%
       [6] Ease of use/User interface                                        168            38%
       [7] Reporting features                                                154            34%
       [8] Brand safety/fraud protection                                     146            33%
       [9] API and integrations                                              137            31%
      [10] Budget management tools                                           126            28%
      [11] Forecasting tools                                                 106            24%
      [12] Support                                                           103            23%
      [13] Identity management                                                85            19%
      [14] Troubleshooting capabilities                                       77            17%
      [15] Other                                                               4              1%
      [16] Don’t know / Unsure                                                 2              0%
      [17] Total Shown Question                                                 448          100%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
          Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
          Respondents were shown Q12 if they did not select “Don’t know / Unsure” in Q8.
          Percentages do not add up to 100% because respondents can select multiple options.
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                                APPENDIX EXHIBIT 30

                 HIGHER-SPEND ADVERTISER SURVEY
              DISCONTINUATION OF AD BUYING TOOL USE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q13: Have you and/or your business unit/team stopped using
                    any ad buying tool(s) for programmatic display advertising
                    in the past year? (Please select only one option.)

                         Response Options              #               %
                                 [A]                  [B]              [C]
                [1] Yes                                      96           21%
                [2] No                                      322           72%
                [3] Don’t know / Unsure                      30            7%
                [4] Total Shown Question                    448         100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q13 if they did not select
                     “Don’t know / Unsure” in Q8.
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                                APPENDIX EXHIBIT 31

                 HIGHER-SPEND ADVERTISER SURVEY
                    START OF AD BUYING TOOL USE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q15: Have you and/or your business unit/team started using
                    any ad buying tool(s) for programmatic display advertising
                    in the past year? (Please select only one option.)

                         Response Options              #             %
                                 [A]                  [B]            [C]
                [1] Yes                                     173         39%
                [2] No                                      238         53%
                [3] Don’t know / Unsure                      37          8%
                [4] Total Shown Question                    448        100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
                   Respondents were shown Q15 if they did not select “Don’t know / Unsure”
                     in Q8.
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                                                                    APPENDIX EXHIBIT 32

                                                HIGHER-SPEND ADVERTISER SURVEY
                                               PERFORMANCE ASSESSMENT METRICS
                                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q17: Which of the following metrics, if any, are you and/or your business unit/team using to assess the performance of programmatic display ads,
     direct deals display ads, social media ads, and/or digital video ads? (Please select all that apply in each column.)

                                                       Programmatic                    Direct Deals                Social Media                 Digital Video
                                                        Display Ads                    Display Ads                     Ads                           Ads
                      Metric                          #             %              #                  %          #             %              #              %
                         [A]                        [B]            [C]            [D]             [E]           [F]           [G]            [H]           [I]
 [1] Return on Investment (ROI)                           219         48%               113          44%              156        45%               124           42%
 [2] Return on Ad Spend (ROAS)                            219         48%               123          48%              179        52%               141           48%
 [3] Conversions                                          216         48%               104          40%              169        49%               126           43%
 [4] Cost per click (CPC)                                 216         48%               133          52%              179        52%               122           42%
 [5] Click through rate (CTR)                             209         46%               124          48%              197        57%               127           43%
 [6] Cost per impression (CPM)                            181         40%               114          44%              153        44%               131           45%
 [7] Impressions                                          175         39%               108          42%              172        50%               148           51%
 [8] Clicks                                               171         38%                93          36%              150        43%               112           38%
 [9] Cost per action (CPA)                                166         37%                94          36%              148        43%               111           38%
[10] Other                                                 11          2%                 3           1%               10         3%                 9            3%
[11] None of the above                                      1          0%                 1           0%                1         0%                 1            0%
[12] Don’t know / Unsure                                    1          0%                 -           0%                1         0%                 2            1%
[13] Total Shown Question                                 453        100%               258           100%            347       100%               292          100%


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “None of the above” and “Don’t know / Unsure.”
    Respondents were only asked about each of the above advertising types if they had indicated in QS12 and QS13 that their business unit/team had used those
      advertising types in the past year.
    Percentages do not add up to 100% because respondents can select multiple options.
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                                                    APPENDIX EXHIBIT 33

                               HIGHER-SPEND ADVERTISER SURVEY
                         RANKING OF PERFORMANCE ASSESSMENT METRICS
                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q18: You indicated that you use the following metrics to assess the performance of programmatic display ads for the client you
     spend the most time on. Please rank these metrics in terms of how important they are to accurately assessing
     the performance of programmatic display ads, with 1 being the most important and [NUMBER OF MEASURES SELECTED IN Q16]
     being the least important. (Please rank the following metrics, or select “Don’t know / Unsure”.)

                                                 Respondents Ranking Metric                   Respondents Ranking Metric
                                                     As Most Important                       Among the Top 3 Most Important
                   Metric                         #                    %                       #                     %
                      [A]                        [B]                    [C]                     [D]                     [E]
 [1] Return on Investment (ROI)                           98                    22%                      180                   40%
 [2] Return on Ad Spend (ROAS)                            81                    18%                      180                   40%
 [3] Conversions                                          67                    15%                      155                   34%
 [4] Cost per click (CPC)                                 50                    11%                      126                   28%
 [5] Cost per action (CPA)                                42                     9%                      106                   24%
 [6] Click through rate (CTR)                             35                     8%                      116                   26%
 [7] Clicks                                               29                     6%                       82                   18%
 [8] Cost per impression (CPM)                            27                     6%                       94                   21%
 [9] Impressions                                          21                     5%                       75                   17%
[10] Other                                                 1                     0%                        4                    1%
[11] Total                                               451                   100%                      451                  100%


    Notes & Sources:
    From Higher-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are only shown Q18 if they indicate that they used more than one metric to assess the performance of programmatic
      display ads in Q17. Respondents who selected only one metric in Q17 are assumed to have that metric ranked as most important.
    Total includes respondents who ranked metrics in Q18 or selected only one metric in Q17.
    0 (0% of respondents who selected at least one metric to assess the performance of programmatic display ads) respondents selected “Don’t
      know / Unsure.”
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                                  APPENDIX EXHIBIT 34

                 HIGHER-SPEND ADVERTISER SURVEY
              FREQUENCY OF PERFORMANCE ASSESSMENT
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


               Q19: How often, if at all, do you and/or your business unit/team measure
                or assess the performance of your programmatic display advertising?
                (Please select only one option.)

                 If you are using an ad agency and they are responsible for measuring
                 or assessing performance of your programmatic display advertising,
                 please indicate how often you receive information about the performance
                 of your programmatic display advertising from the agency.

                               Frequency                        #              %
                                  [A]                          [B]            [C]
            [1] Daily                                                 56         12%
            [2] Weekly                                               165         36%
            [3] Monthly                                              130         29%
            [4] Quarterly                                             83         18%
            [5] Annually                                              16          4%
            [6] Don’t know / Unsure                                    3          1%
            [7] Total Shown Question                                 453        100%


               Notes & Sources:
               From Higher-Spend Advertiser Survey.
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                                APPENDIX EXHIBIT 35

                 HIGHER-SPEND ADVERTISER SURVEY
            EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q20: In the past year, have you and/or your business unit/team
                    run any experiments or test & learn initiatives on your programmatic
                    display ads? (Please select only one option.)

                         Response Options               #             %
                                 [A]                   [B]           [C]
                [1] Yes                                      260        57%
                [2] No                                       174        38%
                [3] Don’t know / Unsure                       19         4%
                [4] Total Shown Question                     453       100%


                   Notes & Sources:
                   From Higher-Spend Advertiser Survey.
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                                 APPENDIX EXHIBIT 36

                   HIGHER-SPEND ADVERTISER SURVEY
         TYPES OF EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  Q21: Which of the following types of experiments or test & learn initiatives,
                   if any, have you and/or your business unit/team run in the past year on your
                   programmatic display ads?

                         Experiment Type                #               %
                                 [A]                   [B]              [C]
               [1] Creatives                                 154              59%
               [2] Audiences                                 143              55%
               [3] ROI/ROAS                                  128              49%
               [4] Bid strategies                            125              48%
               [5] Ad buying tool performance                118              45%
               [6] Publishers                                 73              28%
               [7] Other                                       4               2%
               [8] Don’t know / Unsure                         -               0%
               [9] Total Shown Question                      260            100%


                  Notes & Sources:
                  From Higher-Spend Advertiser Survey.
                  Sorted in descending order based on column [B], except for “Other” and
                    “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can select
                    multiple options.
                  Respondents were only shown Q21 if they indicated in Q20 that they
                    had conducted experiments or test & learn initiatives on their
                    programmatic display ads in the past year.
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                                                APPENDIX EXHIBIT 37

                             LOWER-SPEND ADVERTISER SURVEY
                                  RESPONSE STATISTICS
                   EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Status                                                                             #           %
 [1] Invited to Complete Survey                                                               2,268   100%
 [2] Clicked on Survey Link                                                                   1,067   100%
 [3] Screened Out of Survey                                                                     623    58%
 [4]     CAPTCHA                                                                                  6     1%
 [5]     Age                                                                                      9     1%
 [6]     State                                                                                    2     0%
 [7]     Job Responsibilities                                                                  171     16%
 [8]     Not Employed by a Products/Services Business                                          178     17%
 [9]     Annual Advertising Spend Above $500K                                                  149     14%
[10]     No Digital Advertising Spend                                                             3     0%
[11]     Did Not Use Display Advertising                                                         94     9%
[12]     Not Involved in Decision Making Roles for Display Advertising                            4     0%
[13]     Failed Attention Check                                                                   7     1%
[14]     Overquota Respondents                                                                    -     0%
[15] Self-Termination                                                                            42     4%
[16]    Completed the Survey                                                                   402    100%
[17]     Removed from Sample                                                                   100     25%
[18]      Slowpokes and Speeders                                                                 5      1%
[19]      Asked to be Excluded                                                                  95     24%
[20]      Analytical Sample                                                                    302    100%
[21]       Selected a Decoy Option                                                              59     20%
[22]       Analytical Sample (Excluding Respondents Selecting a Decoy Option)                  243     80%
[23]      Respondents with Less Than $50K Annual Ad Spend                                      138    100%
[24]       Respondents with Less Than $50K Annual Ad Spend Selecting a Decoy                    21     15%
[25]       Respondents with Less Than $50K Annual Ad Spend Not Selecting a Decoy               117     85%
[26]      Respondents with $50K – $500K Annual Ad Spend                                        164    100%
[27]       Respondents with $50K – $500K Annual Ad Spend Selecting a Decoy                      38     23%
[28]       Respondents with $50K – $500K Annual Ad Spend Not Selecting a Decoy                 126     77%




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                                                  APPENDIX EXHIBIT 37

                             LOWER-SPEND ADVERTISER SURVEY
                                  RESPONSE STATISTICS
                   EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
       “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Products/Service Business” were screened out
       of the study.
 [9] Respondents who indicated in QS10 that their company spent $500,000 or more on all advertising in the last 12 months
       or selected “Don't know / Unsure” were screened out of the study.
[10] Respondents who indicated in QS11 that the percentage of their total advertising budget spent on digital
       (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS12 that they used display advertising in the past year were screened
       out of the study.
[12] Respondents who did not select “I determine overall strategies and/or budgets for digital display,” “I determine which tools
       and/or platforms to use for digital display,” “I regularly manage digital display campaigns,” or “I oversee a
       team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” in QS13 were screened
       out of the study.
[13] Respondents who did not select “Somewhat likely” in QS14 were screened out of the study.
[14] Respondents were terminated due to entering the survey after it had been closed for sampling.
[15] Respondents who only completed part of the survey.
[18] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the survey
       were removed from the analysis.
[19] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
       who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[21] Respondents who selected one or more decoy options in the survey were removed from the analysis. These respondents
     selected “Ad Step Technologies” in Q4 and/or “FriendLinx” in Q5.
[22] These respondents were used in the analysis.




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                                             APPENDIX EXHIBIT 38

                      LOWER-SPEND ADVERTISER SURVEY
                     SURVEY PARTICIPATION PREFERENCE
            EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


 QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
  pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
  digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
  reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
  do not want to participate in this survey, please click “Exclude my responses” below.
      Number of Respondents

         350

                                       76%
         300
                                       59

         250


         200
                                       129

         150


                                                                                           24%
         100


          50                           119                                                 95


           0
                               Include my responses                               Exclude my responses

                  < Than $50K Ad Spend                  $50K – $500K Ad Spend                   Selected a Decoy Option




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                                          APPENDIX EXHIBIT 38

                      LOWER-SPEND ADVERTISER SURVEY
                     SURVEY PARTICIPATION PREFERENCE
            EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


 Notes & Sources:
 From Lower-Spend Advertiser Survey.
 Includes respondents who completed the survey.
 Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
   by the panel vendor.
 Information about annual ad spend for the 95 respondents who selected to exclude their responses is not available.




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                                                      APPENDIX EXHIBIT 39

                                         LOWER-SPEND ADVERTISER SURVEY
                                           RESPONDENT DEMOGRAPHICS
                               EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                       Total Respondents            < Than $50K Ad Spend          $50K – $500K Ad Spend
                                      #                %              #              %              #              %
       Age                           [A]              [B]           [C]             [D]            [E]            [F]
 [1]    18 - 34                               44            18%            19              16%            25              20%
 [2]    35 - 49                              177            73%            91              78%            86              68%
 [3]    50 - 64                               22             9%             7               6%            15              12%
 [4]    65 or above                            -             0%             -               0%             -               0%
 [5] Total                                   243            100%          117             100%           126            100%

       Gender
 [6]    Female                                41            17%            10               9%            31              25%
 [7]    Male                                 202            83%           107              91%            95              75%
 [8]    Other                                  -             0%             -               0%             -               0%
 [9]    Prefer not to answer                   -             0%             -               0%             -               0%
[10] Total                                   243            100%          117             100%           126            100%


       Source:
       From Lower-Spend Advertiser Survey.
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                                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                      46632 TO PROTECTIVE ORDER

                                                                     APPENDIX EXHIBIT 40

                                               LOWER-SPEND ADVERTISER SURVEY
                                                      MARKET SECTORS
                                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    QS8: Which of the following, if any, best characterizes the market sector/industry your company is in? (Please select only one option.)

                                                                                Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend
                            Market Sector / Industry                             #              %              #             %                #           %
                                      [A]                                       [B]            [C]            [D]            [E]              [F]         [G]
 [1] Advertising or Marketing                                                         106         44%               46          39%                 60       48%
 [2] Retail (including Ecommerce)                                                      34         14%               23          20%                 11        9%
 [3] B2B/Services for Businesses                                                       18          7%                6           5%                 12       10%
 [4] Apparel/Fashion                                                                   13          5%                7           6%                  6        5%
 [5] Food and Beverage                                                                 10          4%                7           6%                  3        2%
 [6] Health and Beauty Products                                                         8          3%                3           3%                  5        4%
 [7] Financial Products/Services for Consumers (including Fintech)                      7          3%                3           3%                  4        3%
 [8] Media and Entertainment                                                            6          2%                1           1%                  5        4%
 [9] Restaurants                                                                        5          2%                4           3%                  1        1%
[10] Education                                                                          5          2%                2           2%                  3        2%
[11] Health Care or Medical Services                                                    5          2%                4           3%                  1        1%
[12] Consumer Electronics                                                               4          2%                1           1%                  3        2%
[13] Telecommunications                                                                 4          2%                1           1%                  3        2%
[14] Home Products/Appliances                                                           3          1%                3           3%                  -          -
[15] Automotive                                                                         3          1%                2           2%                  1        1%
[16] Pharmaceuticals and Remedies (Rx or OTC)                                           2          1%                -             -                 2        2%
[17] Travel and Hospitality                                                             1          0%                -             -                 1        1%
[18] Non-Profit                                                                         -            -               -             -                 -          -
[19] Government                                                                         -            -               -             -                 -          -
[20] Other                                                                              9          4%                4           3%                  5        4%
[20] Total                                                                            243        100%               117        100%                 126    100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
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                                                                    46633 TO PROTECTIVE ORDER

                                                                 APPENDIX EXHIBIT 41

                                            LOWER-SPEND ADVERTISER SURVEY
                                                      JOB TITLES
                                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    QS9: Which of the following best characterizes your current job title/level? (Please select only one option.)

                                                           Total Respondents                  < Than $50K Ad Spend               $50K – $500K Ad Spend
                   Job Title / Level                       #                 %                  #              %                    #             %
                         [A]                              [B]               [C]                [D]                  [E]           [F]            [G]
 [1] C-Level (CEO, COO, CMO, etc.)                               88               36%                 45                  38%            43            26%
 [2] Director                                                    58               24%                 28                  24%            30            18%
 [3] Vice President, SVP, EVP, President, etc.                   50               21%                 23                  20%            27            16%
 [4] Manager                                                     29               12%                 14                  12%            15             9%
 [5] Supervisor/Department Head/Group Manager                     8                3%                  3                   3%             5             3%
 [6] Associate                                                    3                1%                  -                   0%             3             2%
 [7] Buyer                                                        2                1%                  1                   1%             1             1%
 [8] Planner                                                      2                1%                  1                   1%             1             1%
 [9] Strategist                                                   1                0%                  1                   1%             -             0%
[10] Analyst                                                      -                  -                 -                   0%             -             0%
[11] Other                                                        2                1%                  1                   1%             1             1%
[12] Total                                                      243               100%               117                  100%          164         100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
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                                                  APPENDIX EXHIBIT 42

                              LOWER-SPEND ADVERTISER SURVEY
                                     ANNUAL AD SPEND
                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


QS10: Approximately how much did your company spend in the last 12 months on all advertising, including all digital types (e.g., display, video,
 audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)



Number of Respondents

           70
                                                                60
           60
                                            51                                                                              53
           50                                                                                           47

           40

           30                                                                       26

           20

           10            6

            0




Notes & Sources:
From Lower-Spend Advertiser Survey.
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                                                                   46635 TO PROTECTIVE ORDER

                                                                APPENDIX EXHIBIT 43

                                           LOWER-SPEND ADVERTISER SURVEY
                                   PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
                                 EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                 QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                  total advertising budget was used for digital (online) advertising, as opposed to offline
                                   advertising. Please give your best estimate.

                                                                                            Median
                           70

                                                                                            60
                           60
                                                                                                               75th Percentile
                                                                      25th Percentile
                           50
                                                                                                                            90th Percentile
   Number of Respondents




                                                                              41                       41
                           40                             10th Percentile


                           30                                                                                       29
                                                                                                                                 28
                                                                 22

                           20

                                                     10
                           10                                                                                                                 8

                                  0        2
                           0
                                [0,10]   (10,20]   (20,30]    (30,40]       (40,50]       (50,60]    (60,70]      (70,80]      (80,90]    (90,100]
                                                                                      %
                                                                             All Respondents




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                                                                   46636 TO PROTECTIVE ORDER

                                                               APPENDIX EXHIBIT 43

                                           LOWER-SPEND ADVERTISER SURVEY
                                   PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
                                 EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION

                                 QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                  total advertising budget was used for digital (online) advertising, as opposed to offline
                                   advertising. Please give your best estimate.


                           80
                                                                                        Median
                           70

                                                                         25th Percentile
                           60
                                                                                                           75th Percentile
   Number of Respondents




                           50
                                                                                                                      90th Percentile
                           40
                                                                                        36

                           30
                                                             10th Percentile                                               25

                           20                                             17                       16

                           10                                                                                  9
                                                      6
                                                                4
                                           2                                                                                            2
                                  0
                           0
                                [0,10]   (10,20]   (20,30]   (30,40]    (40,50]       (50,60]    (60,70]    (70,80]      (80,90]    (90,100]
                                                                                  %
                                                                       < Than $50K Ad Spend




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                                           HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                    46637 TO PROTECTIVE ORDER

                                                                APPENDIX EXHIBIT 43

                                           LOWER-SPEND ADVERTISER SURVEY
                                   PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
                                 EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION

                                  QS11: Please think about your total advertising budget. In the past year, what percentage of your
                                   total advertising budget was used for digital (online) advertising, as opposed to offline
                                    advertising. Please give your best estimate.


                           80

                                                                                            Median
                           70


                           60
                                                                        25th Percentile
   Number of Respondents




                                                                                                     75th Percentile
                           50
                                                          10th Percentile
                                                                                                                 90th Percentile
                           40


                           30
                                                                              24            24         25
                                                                                                                   20
                           20                                   18


                           10
                                                                                                                                        6
                                                      4                                                                       3
                           0
                                [0,10]   (10,20]    (20,30]   (30,40]       (40,50]       (50,60]    (60,70]    (70,80]    (80,90]   (90,100]
                                                                                      %
                                                                        $50K – $500K Ad Spend




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                                      APPENDIX EXHIBIT 43

                  LOWER-SPEND ADVERTISER SURVEY
          PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION

        Notes & Sources:
        From Lower-Spend Advertiser Survey.
        Respondents who entered zero for digital (online) advertising were screened out of the survey.
        2 respondents selected “Don’t know / Unsure.”




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                                                APPENDIX EXHIBIT 44

                         LOWER-SPEND ADVERTISER SURVEY
                        TYPES OF DIGITAL ADVERTISING USED
               EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please
    review the description of each advertising type carefully. (Please select all that apply.)

                                    Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
         Advertising Type            #            %               #            %                #            %
                [A]                 [B]            [C]            [D]            [E]            [F]             [G]
 [1] Display                              243        100%               117        100%               126         100%
 [2] Social                               161         66%                80         68%                81          64%
 [3] Search                               151         62%                74         63%                77          61%
 [4] Digital Video                        119         49%                50         43%                69          55%
 [5] Email                                107         44%                39         33%                68          54%
 [6] Digital Audio                         93         38%                44         38%                49          39%
 [7] eCommerce Platforms                   90         37%                38         32%                52          41%
 [8] App/In-App                            83         34%                41         35%                42          33%
 [9] Connected TV                          79         33%                31         26%                48          38%
[10] Other                                  1          0%                 -          0%                 1           1%
[11] Total                                243        100%               117        100%               126        100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Respondents who did not select “Display” were screened out of the survey.
    Percentages do not add up to 100% because respondents can select multiple options.
    Sorted in descending order based on column [B].
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                                HIGHLY CONFIDENTIAL –#:SUBJECT
                                                         46640 TO PROTECTIVE ORDER

                                                       APPENDIX EXHIBIT 45

                                 LOWER-SPEND ADVERTISER SURVEY
                           NUMBER OF TYPES OF DIGITAL ADVERTISING USED
                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please
       review the description of each advertising type carefully. (Please select all that apply.)

                                                 Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
           Number of Types Selected               #            %               #            %                #            %
                       [A]                       [B]            [C]            [D]            [E]            [F]         [G]
 [1]                     1                              40         16%                26         22%                14      11%
 [2]                     2                              11          5%                 5          4%                 6       5%
 [3]                     3                              50         21%                30         26%                20      16%
 [4]                     4                              20          8%                 6          5%                14      11%
 [5]                     5                              34         14%                 9          8%                25      20%
 [6]                     6                              23          9%                 8          7%                15      12%
 [7]                     7                              23          9%                11          9%                12      10%
 [8]                     8                              12          5%                 4          3%                 8       6%
 [9]                     9                              30         12%                18         15%                12      10%
[10]                    10                               -          0%                 -          0%                 -       0%
[11] Total                                             243        100%               117        100%               126    100%


       Notes & Sources:
       From Lower-Spend Advertiser Survey.
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                                                           46641 TO PROTECTIVE ORDER

                                                       APPENDIX EXHIBIT 46

                                   LOWER-SPEND ADVERTISER SURVEY
                                 USE OF AD AGENCY AND/OR CONSULTANT
                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q2: Do you or do you not use an ad agency and/or consultant for digital advertising? (Please select only one option.)

                                                        Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend
                  Response Options                       #            %               #            %               #            %
                          [A]                           [B]            [C]            [D]            [E]            [F]          [G]
[1] Yes, I use an ad agency and/or consultant.                155         64%                77         66%                 78      62%
[2] No, I don’t use an ad agency and/or consultant.            88         36%                40         34%                 48      38%
[3] Don’t know / Unsure                                         -          0%                 -          0%                  -       0%
[4] Total Shown Question                                      243        100%               117        100%                126    100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                   HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                            46642 TO PROTECTIVE ORDER


                                                                         APPENDIX EXHIBIT 47

                                                    LOWER-SPEND ADVERTISER SURVEY
                                                       PURPOSE OF AD AGENCY USE
                                          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q3: For which, if any, of the following do you use an ad agency and/or consultant? (Please select all that apply.)

                                                                                            Total Respondents             < Than $50K Ad Spend   $50K – $500K Ad Spend
                                    Response Options                                          #             %                 #          %           #          %
                                          [A]                                                [B]           [C]              [D]         [E]         [F]        [G]
 [1] Media/marketing strategies                                                                     93        60%                 42       55%            51     65%
 [2] Implementation of advertising (e.g., placing bids, interacting with DSPs)                      83        54%                 41       53%            42     54%
 [3] Tracking advertising performance                                                               73        47%                 34       44%            39     50%
 [4] Content and/or creatives                                                                       72        46%                 35       45%            37     47%
 [5] Running advertising tests/experiments                                                          61        39%                 30       39%            31     40%
 [6] Customer research                                                                              56        36%                 30       39%            26     33%
 [7] Budgeting decisions                                                                            49        32%                 20       26%            29     37%
 [8] Allocating advertising funds across advertising types                                          42        27%                 15       19%            27     35%
 [9] Consulting services                                                                            40        26%                 10       13%            30     38%
[10] Inventory access                                                                               28        18%                 12       16%            16     21%
[11] Other                                                                                           -         0%                  -        0%             -       0%
[12] None of the above                                                                               -         0%                  -        0%             -       0%
[13] Don’t know / Unsure                                                                             -         0%                  -        0%             -       0%
[14] Total Shown Question                                                                          155       100%                 77     100%             78     100%


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
     Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know/Unsure.”
     Respondents are only shown Q3 if they indicated in Q2 that they used an ad agency for digital advertising.
     Percentages do not add up to 100% because respondents can select multiple options.
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                                           HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                    46643 TO PROTECTIVE ORDER

                                                                APPENDIX EXHIBIT 48

                                            LOWER-SPEND ADVERTISER SURVEY
                                      DIGITAL DISPLAY PLATFORMS USED IN PAST YEAR
                                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a
     website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content.
     Display ads do not include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for
     digital display advertising?

                                                                    Total Respondents            < Than $50K Ad Spend            $50K – $500K Ad Spend
                            Platform                                #              %                #            %                  #            %
                             [A]                                   [B]              [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          155              64%              74             63%              81             64%
 [2] Amazon DSP                                                          119              49%              60             51%              59             47%
 [3] Google DV360                                                         82              34%              33             28%              49             39%
 [4] Adobe Advertising Cloud                                              62              26%              20             17%              42             33%
 [5] Yahoo DSP (formerly Verizon Media DSP)                               38              16%              16             14%              22             17%
 [6] MediaMath DSP                                                        34              14%              14             12%              20             16%
 [7] The Trade Desk DSP                                                   30              12%              12             10%              18             14%
 [8] Quantcast                                                            21               9%               5              4%              16             13%
 [9] Criteo                                                               18               7%               8              7%              10              8%
[10] Amobee                                                               18               7%               7              6%              11              9%
[11] Ad Step Technologies                                                  -                 -              -                -              -                -
[12] Other                                                                 4               2%               3              3%               1              1%
[13] Don’t know / Unsure                                                   3               1%               1              1%               2              2%
[14] Total Shown Question                                                243          100%                117         100%                126         100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other” and “Don’t know/Unsure.”
    Percentages do not add up to 100% because respondents can select multiple options.
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                                   HIGHLY CONFIDENTIAL –#:SUBJECT
                                                            46644 TO PROTECTIVE ORDER

                                                         APPENDIX EXHIBIT 49

                                   LOWER-SPEND ADVERTISER SURVEY
                        NUMBER OF DIGITAL DISPLAY PLATFORMS USED IN PAST YEAR
                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along
    the top or sides of a website, or sometimes in the middle of other content on a website. Examples of display ad formats include
    banner ads, animations, and interactive content. Display ads do not include ads placed on social media platforms. Which of the
     following platforms, if any, have you used during the last 12 months for digital display advertising?



                  Number of                        Total Respondents              < Than $50K Ad Spend          $50K – $500K Ad Spend
              Platforms Selected                   #              %                  #            %                #            %
                      [A]                          [B]             [C]              [D]            [E]             [F]             [G]
[1] Zero                                                   -              0%                -             0%               -               0%
[2] One                                                   52             21%               25            21%              27              21%
[3] More Than One                                        188             77%               91            78%              97              77%
[4] Two                                                   97             40%               60            51%              37              29%
[5] Three                                                 50             21%               21            18%              29              23%
[6] Four or More                                          41             17%               10             9%              31              25%
[7] Don’t know/Unsure                                      3              1%                1             1%               2               2%
[8] Total Shown Question                                 243         100%                 117         100%               126          100%

[9] Average # of Display Platforms Selected              2.4                              2.2                            2.7


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
[9] Calculated as the average number of display platforms selected by respondents. Excludes respondents who selected “Don’t know/Unsure.”
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                                          HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                   46645 TO PROTECTIVE ORDER

                                                               APPENDIX EXHIBIT 50

                                            LOWER-SPEND ADVERTISER SURVEY
                                               USE OF GOOGLE PLATFORMS
                                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a
    website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content.
    Display ads do not include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for
    digital display advertising?

                                                                   Total Respondents             < Than $50K Ad Spend           $50K – $500K Ad Spend
                           Platform(s)                             #              %                 #            %                 #            %
                              [A]                                  [B]             [C]             [D]             [E]             [F]             [G]
[1] Neither Google Ads nor Google DV360                                   61             25%              29             25%              32             25%
[2] At least one of Google Ads and Google DV360                          179             74%              87             74%              92             73%
[3] Google Ads Only                                                       97             40%              54             46%              43             34%
[4] Google DV360 Only                                                     24             10%              13             11%              11              9%
[5] Both Google Ads and Google DV360                                      58             24%              20             17%              38             30%
[6] Don’t know / Unsure                                                    3              1%               1              1%               2              2%
[7] Total Shown Question                                                 243         100%                117          100%               126          100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                   HIGHLY CONFIDENTIAL –#:SUBJECT
                                                                            46646 TO PROTECTIVE ORDER


                                                                         APPENDIX EXHIBIT 51

                                                   LOWER-SPEND ADVERTISER SURVEY
                                                           GOOGLE USERS
                                                 NUMBER OF OTHER DISPLAY PLATFORMS
                                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a website, or
        sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content. Display ads do not
        include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for digital display advertising?

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Other Display                                     < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
              Platforms (Inc. Google Tools)         Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
 [1]                         0                                      23                  12                  11                   3                   3                   -
 [2]                         1                                      66                  40                  26                  25                  11                  14
 [3]                         2                                      31                  13                  18                  25                  11                  14
 [4]                         3                                      21                   6                  15                  17                   5                  12
 [5]                        4+                                      14                   3                  11                  12                   3                   9
 [6]               Total Respondents                               155                  74                  81                  82                  33                  49

 [7] Average # of Other Platforms                                  1.6                 1.3                 1.9                 2.2                 1.8                 2.4

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Other Display                                     < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
              Platforms (Inc. Google Tools)         Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
 [8]                         0                                    15%                 16%                 14%                  4%                  9%                  0%
 [9]                         1                                    43%                 54%                 32%                 30%                 33%                 29%
[10]                         2                                    20%                 18%                 22%                 30%                 33%                 29%
[11]                         3                                    14%                  8%                 19%                 21%                 15%                 24%
[12]                        4+                                     9%                  4%                 14%                 15%                  9%                 18%
[13]               Total Respondents                              100%                100%                100%                100%                100%                100%




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                                                                            46647 TO PROTECTIVE ORDER


                                                                         APPENDIX EXHIBIT 51

                                                   LOWER-SPEND ADVERTISER SURVEY
                                                           GOOGLE USERS
                                                 NUMBER OF OTHER DISPLAY PLATFORMS
                                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically appear along the top or sides of a website, or
        sometimes in the middle of other content on a website. Examples of display ad formats include banner ads, animations, and interactive content. Display ads do not
        include ads placed on social media platforms. Which of the following platforms, if any, have you used during the last 12 months for digital display advertising?

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Non-Google                                        < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
                        Platforms                   Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
[14]                         0                                      37                  16                  21                  17                   7                  10
[15]                         1                                      70                  44                  26                  29                  15                  14
[16]                         2                                      28                  10                  18                  22                   8                  14
[17]                         3                                      12                   3                   9                   8                   2                   6
[18]                        4+                                       8                   1                   7                   6                   1                   5
[19]               Total Respondents                               155                  74                  81                  82                  33                  49

[20] Average # of Non-Google Platforms                             1.3                 1.0                 1.4                 1.5                 1.2                 1.7

                                                                         Google Ads Users                                            Google DV360 Users
                    # of Non-Google                                        < Than $50K        $50K – $500K                              < Than $50K       $50K – $500K
                        Platforms                   Total Respondents       Ad Spend            Ad Spend         Total Respondents       Ad Spend           Ad Spend
                           [A]                              [B]                 [C]                 [D]                 [E]                 [F]                 [G]
[21]                         0                                    24%                 22%                 26%                 21%                 21%                 20%
[22]                         1                                    45%                 59%                 32%                 35%                 45%                 29%
[23]                         2                                    18%                 14%                 22%                 27%                 24%                 29%
[24]                         3                                     8%                  4%                 11%                 10%                  6%                 12%
[25]                        4+                                     5%                  1%                  9%                  7%                  3%                 10%
[26]               Total Respondents                              100%                100%                100%                100%                100%                100%


       Notes & Sources:
       From Lower-Spend Advertiser Survey.
       Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected platforms by the total
         number of people choosing “Google Ads” or “Google DV360.”


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                                         APPENDIX EXHIBIT 52

                     LOWER-SPEND ADVERTISER SURVEY
             USE OF GOOGLE ADS AND OTHER DISPLAY PLATFORMS
           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q4: Digital display ads are digital ads made up of text, image, video and/or other multimedia components that typically
      website, or sometimes in the middle of other content on a website. Examples of display ad formats include banner ads,
      animations, and interactive content. Display ads do not include ads placed on social media platforms. Which of the
      following platforms, if any, have you used during the last 12 months for digital display advertising?


                                                                                      Total Respondents
                                 Display Platform(s)                                   #            %
                                       [A]                                            [B]            [C]
  [1] Google Ads and At Least One Other Display Platform                                    132         85%
  [2] Google Ads and DV360 Only                                                              14          9%
  [3] Google Ads, DV360 and At Least One Non-Google Display Platforms                        44        28%
  [4] Google Ads Only and At Least One Non-Google Display Platform                           74        48%
  [5] Google Ads and No Other Display Platform                                               23         15%
  [6] Total Respondents Using Google Ads                                                    155        100%


     Notes & Sources:
     From Lower-Spend Advertiser Survey.
     Limited to respondents who selected Google Ads in Q4.
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                                                  46649 TO PROTECTIVE ORDER


                                               APPENDIX EXHIBIT 53

                         LOWER-SPEND ADVERTISER SURVEY
               OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                      WHO USE ONLY GOOGLE ADS FOR DISPLAY
               EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the
     description of each advertising type carefully. (Please select all that apply.)

                                                          Respondents Who Use Google Ads and                                               Respondents Who Us
                                                               No Other Display Platforms                                                  No Other Non-Google
       Other Digital Advertising         Total Respondents      < Than $50K Ad Spend      $50K – $500K Ad Spend            Total Respondents
             Types Used                   #            %            #            %            #          %
                  [A]                    [B]            [C]            [D]           [E]            [F]           [G]
 [1] Social                                    11         48%                 6        50%                 5        45%
 [2] Search                                     9         39%                 4        33%                 5        45%
 [3] Email                                      6         26%                 2        17%                 4        36%
 [4] Digital Video                              5         22%                 2        17%                 3        27%
 [5] Connected TV                               2           9%                -          0%                2        18%
 [6] Digital Audio                              1           4%                1          8%                -          0%
 [7] eCommerce Platforms                        -           0%                -          0%                -          0%
 [8] App/In-App                                 -           0%                -          0%                -          0%
 [9] Other                                      -           0%                -          0%                -          0%
[10] Total Shown Question                      23        100%                12        100%               11        100%

                                                          Respondents Who Use Google Ads and
                                                         No Other Non-Google Display Platforms
       Other Digital Advertising         Total Respondents      < Than $50K Ad Spend      $50K – $500K Ad Spend
             Types Used                   #            %            #           %              #         %
                   [A]                   [H]            [I]            [J]           [K]            [L]           [M]
 [1] Social                                    21          57%                9        56%                12        57%
 [2] Search                                    20          54%                7        44%                13        62%
 [3] Email                                     16          43%                5        31%                11        52%
 [4] Digital Video                             15          41%                6        38%                 9        43%
 [5] Connected TV                               7          19%                2        13%                 5        24%
 [6] Digital Audio                              7          19%                3        19%                 4        19%
 [7] eCommerce Platforms                        5          14%                3        19%                 2        10%
 [8] App/In-App                                 7          19%                4        25%                 3        14%
 [9] Other                                      -           0%                -          0%                -          0%
[10] Total Shown Question                      37        100%                16        100%               21        100%


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                                                     46650 TO PROTECTIVE ORDER


                                                 APPENDIX EXHIBIT 53

                             LOWER-SPEND ADVERTISER SURVEY
                   OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                          WHO USE ONLY GOOGLE ADS FOR DISPLAY
                   EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
         Sorted in descending order based on column [B], except for “Other.”
     [A] Non-display advertising types respondents selected in QS12.
 [B]-[G] Limited to respondents who selected Google Ads and no other display platforms.
[H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms.




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                                                     APPENDIX EXHIBIT 54

                    LOWER-SPEND ADVERTISER SURVEY
   NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED AMONG RESPONDENTS
                 WHO USE ONLY GOOGLE ADS FOR DISPLAY
         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       QS12: Which of the following types of digital advertising, if any, have you used in the past year? Please review the description of
        each advertising type carefully. (Please select all that apply.)

                                                            Respondents Who Use Google Ads and                                                                   Respondents Wh
                                                                 No Other Display Platforms                                                                      No Other Non-Go
         Number of Other Digital          Total Respondents       < Than $50K Ad Spend      $50K – $500K Ad Spend                            Total Respondents
         Advertising Types Used            #            %             #             %          #            %
                   [A]                    [B]            [C]              [D]            [E]           [F]            [G]
 [1]                0                           10          43%                      6      50%               4          36%
 [2]                1                            2           9%                      1       8%               1           9%
 [3]                2                            4          17%                      2      17%               2          18%
 [4]                3                            4          17%                      2      17%               2          18%
 [5]                4                            3          13%                      1       8%               2          18%
 [6]                5                            -           0%                      -       0%               -           0%
 [7]                6                            -           0%                      -       0%               -           0%
 [8]                7                            -           0%                      -       0%               -           0%
 [9]                8                            -           0%                      -       0%               -           0%
[10] Total Shown Question                       23         100%                     12    100%               11         100%

                                                            Respondents Who Use Google Ads and
                                                            No Other Non-Google Display Platforms
         Number of Other Digital          Total Respondents        < Than $50K Ad Spend       $50K – $500K Ad Spend
         Advertising Types Used            #            %             #            %              #           %
                   [A]                    [H]             [I]                 [J]        [K]           [L]            [M]
 [1]                0                           10              27%                  6      38%               4         19%
 [2]                1                            2               5%                  1       6%               1           5%
 [3]                2                            7              19%                  2      13%               5         24%
 [4]                3                            5              14%                  2      13%               3         14%
 [5]                4                            6              16%                  2      13%               4         19%
 [6]                5                            2               5%                  -       0%               2         10%
 [7]                6                            3               8%                  2      13%               1           5%
 [8]                7                            1               3%                  -       0%               1           5%
 [9]                8                            1               3%                  1       6%               -           0%
[10] Total Shown Question                       37         100%                     16    100%               21         100%


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                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      46652 TO PROTECTIVE ORDER


                                                 APPENDIX EXHIBIT 54

                        LOWER-SPEND ADVERTISER SURVEY
       NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED AMONG RESPONDENTS
                     WHO USE ONLY GOOGLE ADS FOR DISPLAY
             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
     [A] Counts the number of non-display advertising types respondents selected in QS12.
 [B]-[G] Limited to respondents who selected Google Ads and no other display platforms.
[H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms.




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                                                                                                   46653 TO PROTECTIVE ORDER



                                                                                                APPENDIX EXHIBIT 55

                                                               LOWER-SPEND ADVERTISER SURVEY
                                    DIGITAL ADVERTISING BUDGET SHARE BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR DISPLAY
                                                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year. What is your best estimate of the share of your digital advertising spending that was used for each of
          these types of advertising in the past year? Specifically, please allocate 100% across the different types of digital advertising shown below based on the share of your total digital advertising spending spent
          on each type. The total should add up to 100%.

                                                               Respondents Who Use Google Ads and                                                        Respondents Who Use Google Ads and
                                                                    No Other Display Platforms                                                           No Other Non-Google Display Platforms
           % of Budget Allocated          Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend            Total Respondents            < Than $50K Ad Spend        $50K – $500K Ad Spend
           to Display Advertising          #            %               #           %                 #           %                 #            %                 #           %                #           %
                   [A]                [B]                [C]            [D]            [E]            [F]            [G]            [H]            [I]             [J]           [K]            [L]            [M]
         % of Digital Advertising Budget
     [1] 0% – 10%                          1                 4%                1           8%                -           0%                7             19%              3         19%                4          19%
     [2] 10% – 20%                         3                13%                1           8%                2          18%                5             14%              3         19%                2          10%
     [3] 20% – 30%                         6                26%                3          25%                3          27%                7             19%              3         19%                4          19%
     [4] 30% – 40%                         -                 0%                -           0%                -           0%                2              5%              -          0%                2          10%
     [5] 40% – 50%                         2                 9%                -           0%                2          18%                3              8%              -          0%                3          14%
     [6] 50% – 60%                         1                 4%                1           8%                -           0%                2              5%              1          6%                1           5%
     [7] 60% – 70%                         -                 0%                -           0%                -           0%                -              0%              -          0%                -           0%
     [8] 70% – 80%                         -                 0%                -           0%                -           0%                -              0%              -          0%                -           0%
     [9] 80% – 90%                         -                 0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [10] 90% – 100%                       10                43%                6          50%                4          36%               10             27%              6         38%                4          19%
    [11] Don’t know / Unsure               -                 0%                -           0%                -           0%                1              3%              -          0%                1           5%
    [12] Total                                 23          100%               12        100%                11        100%                37        100%                 16        100%               21         100%
         % of Overall Advertising Budget
    [13] 0% – 10%                               3           13%                2          17%                1           9%                9             24%              4         25%                5          24%
    [14] 10% – 20%                              7           30%                3          25%                4          36%               10             27%              5         31%                5          24%
    [15] 20% – 30%                              3           13%                1           8%                2          18%                6             16%              1          6%                5          24%
    [16] 30% – 40%                              -            0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [17] 40% – 50%                              9           39%                6          50%                3          27%               10             27%              6         38%                4          19%
    [18] 50% – 60%                              -            0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [19] 60% – 70%                              -            0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [20] 70% – 80%                              1            4%                -           0%                1           9%                1              3%              -          0%                1           5%
    [21] 80% – 90%                              -            0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [22] 90% – 100%                             -            0%                -           0%                -           0%                -              0%              -          0%                -           0%
    [23] Don’t know / Unsure                    -            0%                -           0%                -           0%                1              3%              -          0%                1           5%
    [24] Total                                 23          100%               12        100%                11        100%                37        100%                 16        100%               21         100%


          Notes & Sources:
          From Lower-Spend Advertiser Survey.
  [B]-[G] Limited to respondents who selected Google Ads and no other display platforms.
 [H]-[M] Limited to respondents who selected Google Ads and no other non-Google display platforms in Q4.
[13]-[22] Calculated as the % of budget allocated to display in Q8 * the % of budget allocated to online advertising in QS11.
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                                                             46654 TO PROTECTIVE ORDER

                                                        APPENDIX EXHIBIT 56

                                      LOWER-SPEND ADVERTISER SURVEY
                                       SOCIAL MEDIA PLATFORMS USED
                            EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q5: You indicated that you have used social advertising in the past year. Social ads are digital ads placed on social
      media platforms such as Facebook, Instagram, LinkedIn, Snapchat, and Twitter. Which of the following social media
      platforms, if any, have you used during the last 12 months for social advertising? (Please select all that apply).

                                             Total Respondents              < Than $50K Ad Spend             $50K – $500K Ad Spend
          Social Media Platform              #              %                 #              %                  #             %
                   [A]                      [B]              [C]              [D]              [E]              [F]           [G]
 [1] Facebook                                     136              84%              70               88%              66            81%
 [2] Instagram                                    107              66%              53               66%              54            67%
 [3] LinkedIn                                      75              47%              30               38%              45            56%
 [4] Twitter                                       72              45%              32               40%              40            49%
 [5] Tiktok                                        62              39%              21               26%              41            51%
 [6] Snapchat                                      54              34%              25               31%              29            36%
 [7] Pinterest                                     37              23%              12               15%              25            31%
 [8] Reddit                                        27              17%              10               13%              17            21%
 [9] Tumblr                                         8               5%               3                4%               5             6%
[10] FriendLinx                                     -               0%               -                0%               -             0%
[11] Other social media platforms                   2               1%               1                1%               1             1%
[12] Don’t know / Unsure                            -               0%               -                0%               -             0%
[14] Total Shown Question                         161            100%               80            100%                81         100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column Total Respondents, except for “Other,” “None of the above,” and “Don't know/Unsure.”
    Percentages do not add up to 100% because respondents can select multiple options.
    Respondents were shown Q5 if they indicated that they had used social advertising in the past year in QS12.
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                                          APPENDIX EXHIBIT 57

                     LOWER-SPEND ADVERTISER SURVEY
                   DIGITAL ADVERTISING BUDGET SHARE
           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year.
      What is your best estimate of the share of your digital advertising spending that was used for each of these
      types of advertising in the past year? Specifically, please allocate 100% across the different types of digital
      advertising shown below based on the share of your total digital advertising budget spent on each type.
      The total should add up to 100%.

                                                               Total Respondents                                        < Than $50K Ad Spend
         Advertising Type            # of Respondents                Mean                       Median
                [A]                         [B]                        [C]                        [D]
  [1] Display                                         228                       36%                        25%
  [2] Social                                          151                       15%                        10%
  [3] Search                                          138                       13%                        10%
  [4] Digital Video                                   110                        9%                         0%
  [5] Email                                            95                        6%                         0%
  [6] eCommerce Platforms                              83                        6%                         0%
  [7] Digital Audio                                    80                        5%                         0%
  [8] App/In-app                                       72                        5%                         0%
  [9] Connected TV                                     71                        5%                         0%
 [10] Other                                             -                        0%                         0%
 [11] Don’t know / Unsure                               5                        0%                         0%
 [12] Total Shown Question                            243
                                                             < Than $50K Ad Spend
         Advertising Type            # of Respondents                Mean                       Median
                 [A]                        [E]                        [F]                        [G]
  [1] Display                                         105                       40%                        30%
  [2] Social                                           72                       17%                        11%
  [3] Search                                           64                       13%                        10%
  [4] Digital Video                                    43                        7%                         0%
  [5] Email                                            29                        4%                         0%
  [6] eCommerce Platforms                              32                        5%                         0%
  [7] Digital Audio                                    34                        5%                         0%
  [8] App/In-app                                       33                        5%                         0%
  [9] Connected TV                                     26                        4%                         0%
 [10] Other                                             -                        0%                         0%
 [11] Don’t know / Unsure                               3                        n/a                        n/a
 [12] Total Shown Question                            117



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                                                 APPENDIX EXHIBIT 57

                            LOWER-SPEND ADVERTISER SURVEY
                          DIGITAL ADVERTISING BUDGET SHARE
                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


            Q8: Previously, you mentioned that you have used the following types of digital advertising in the past year.
             What is your best estimate of the share of your digital advertising spending that was used for each of these
             types of advertising in the past year? Specifically, please allocate 100% across the different types of digital
             advertising shown below based on the share of your total digital advertising budget spent on each type.
             The total should add up to 100%.

                                                                   $50K – $500K Ad Spend
                Advertising Type            # of Respondents               Mean                        Median
                       [A]                         [H]                         [I]                        [J]
        [1] Display                                          123                       32%                        21%
        [2] Social                                            79                       13%                        10%
        [3] Search                                            74                       13%                        10%
        [4] Digital Video                                     67                       10%                         5%
        [5] Email                                             66                        8%                         5%
        [6] eCommerce Platforms                               51                        7%                         0%
        [7] Digital Audio                                     46                        6%                         0%
        [8] App/In-app                                        39                        5%                         0%
        [9] Connected TV                                      45                        7%                         0%
       [10] Other                                              -                        0%                         0%
       [11] Don’t know / Unsure                                2                        n/a                        n/a
       [12] Total Shown Question                             126


            Notes & Sources:
            From Lower-Spend Advertiser Survey.
            Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
            Respondents are shown their responses from QS12. They are asked to allocate across all selected types.
            Respondents can hover their mouse over each digital advertising type to review the type description.
            Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the
              advertising type in QS12.
[B],[E],[H] Shows number of respondents who allocated a budget for each advertising type.




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                                                              APPENDIX EXHIBIT 58

                                         LOWER-SPEND ADVERTISER SURVEY
                                       RESPONSE TO DISPLAY COST INCREASE
                               EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q9: Now suppose that, based on your analysis, the cost of display advertising has recently increased by a small but significant amount, and will remain
    elevated for the foreseeable future. Assume further that, based on similar analyses for other digital advertising types, the costs
    of other digital advertising types have not changed and are not expected to change. So if the cost of display advertising increases (while the cost
    of other advertising types remains types remains the same), will you or won’t you divert some of your advertising spending for the
    coming year to other types of digital advertising?

                                             Total Respondents                    < Than $50K Ad Spend                   $50K – $500K Ad Spend
          Response Options                  #                 %                    #                %                      #               %
                  [A]                      [B]               [C]                  [D]              [E]                    [F]             [G]
[1] Will Divert Spending                         143             59%                     81            69%                       62            49%
[2] Will Not Divert Spending                      87             36%                     33            28%                       54            43%
[3] Don’t know / Unsure                           13              5%                      3             3%                       10             8%
[4] Total Shown Question                         243               100%                  117               100%                  126              100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                        46658 TO PROTECTIVE ORDER

                                                      APPENDIX EXHIBIT 59

                              LOWER-SPEND ADVERTISER SURVEY
                   ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
                                DUE TO DISPLAY COST INCREASE
                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q10: To which other types of digital advertising below, if any, would you divert your advertising spending for the coming year as a result
      of the increase in the cost of display advertising?

                                             Respondents Indicating They Would Divert Spending to the Advertising Type
                                           Total Respondents          < Than $50K Ad Spend          $50K – $500K Ad Spend
           Advertising Type                #              %              #             %               #               %
                  [A]                     [B]              [C]             [D]             [E]              [F]             [G]
 [1] Social                                      84              59%             53              65%              31              50%
 [2] Email                                       60              42%             27              33%              33              53%
 [3] Search                                      60              42%             33              41%              27              44%
 [4] Digital Video                               54              38%             30              37%              24              39%
 [5] Digital Audio                               53              37%             25              31%              28              45%
 [6] eCommerce Platforms                         47              33%             26              32%              21              34%
 [7] App/In-app                                  38              27%             20              25%              18              29%
 [8] Connected TV                                37              26%             15              19%              22              35%
 [9] Other                                        1               1%              -               0%               1               2%
[10] None of the above                            -               0%              -               0%               -               0%
[11] Don’t know / Unsure                          -               0%              -               0%               -               0%
[12] Total Shown Question                       143          100%                81           100%                62          100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other,” “None of the above,” and “Don’t know/Unsure.”
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages do not add up to 100% because respondents can select multiple options.
    Respondents were only shown Q10 if they indicated that they would divert advertising spending to other types of digital advertising in Q9.
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                                                               46659 TO PROTECTIVE ORDER

                                                           APPENDIX EXHIBIT 60

                                LOWER-SPEND ADVERTISER SURVEY
                NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
                                 DUE TO DISPLAY COST INCREASE
                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q10: To which other types of digital advertising below, if any, would you divert your advertising spending for the coming year as a result of the
        increase in the cost of display advertising?

                                              Respondents Indicating They Would Divert Spending to the Number of Advertising Types
        Number of Advertising Types            Total Respondents            < Than $50K Ad Spend            $50K – $500K Ad Spend
           Diverted Spending to                #               %              #               %                #                %
                    [A]                       [B]               [C]              [D]               [E]               [F]              [G]
 [1]                 0                                -                0%                -                0%                -                0%
 [2]                 1                               19               13%               10               12%                9               15%
 [3]                 2                               28               20%               18               22%               10               16%
 [4]                 3                               58               41%               40               49%               18               29%
 [5]                 4                               19               13%                7                9%               12               19%
 [6]                 5                               10                7%                2                2%                8               13%
 [7]                 6                                6                4%                3                4%                3                5%
 [8]                 7                                1                1%                1                1%                -                0%
 [9]                 8                                2                1%                -                0%                2                3%
[10]                 9                                -                0%                -                0%                -                0%
[11]        Don’t know / Unsure                       -                0%                -                0%                -                0%
[12]       Total Shown Question                     143            100%                 81            100%                 62             100%


       Notes & Sources:
       From Lower-Spend Advertiser Survey.
       Respondents were shown Q10 if they indicated that they would divert advertiser spending to other types of digital advertising in Q9.
       Respondents can hover their mouse over each digital advertising type to review the type description.
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                                                                               46660 TO PROTECTIVE ORDER


                                                                               APPENDIX EXHIBIT 61

                                                     LOWER-SPEND ADVERTISER SURVEY
                                     EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
                                          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
    advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
    coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
    of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     All Respondents
                             Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
     Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7           8         9        10       / Unsure
             [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[1] Social                           84               8.1           -          -         -          -         2         3          6     15      22        21        15              -
[2] Email                            60               7.2           1          2         2          -         1         2          5     13      19        10          5             -
[3] Search                           60               7.9           -          1         2          -         -         1          4     11      13        21          7             -
[4] Digital Video                    54               7.7           1          -         -          -         1         -          4     17      17          9         5             -
[5] Digital Audio                    53               7.7           -          -         1          1         -         -          5     14      14        16          2             -
[6] eCommerce Platforms              47               7.7           -          -         -          1         -         3          2     14      12        10          5             -
[7] App/In-app                       38               7.9           -          -         -          -         1         2          4       4     13          8         6             -
[8] Connected TV                     37               7.4           -          1         1          -         1         2          3       9       9         8         3             -
[9] Other                             1              10.0           -          -         -          -         -         -          -       -       -         -         1             -


                             Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
     Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7           8         9        10       / Unsure
             [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]      [N]          [O]
[1] Social                      100%                  n/a       0%         0%        0%         0%        2%        4%         7%       18%     26%       25%      18%            0%
[2] Email                       100%                  n/a       2%         3%        3%         0%        2%        3%         8%       22%     32%       17%       8%            0%
[3] Search                      100%                  n/a       0%         2%        3%         0%        0%        2%         7%       18%     22%       35%      12%            0%
[4] Digital Video               100%                  n/a       2%         0%        0%         0%        2%        0%         7%       31%     31%       17%       9%            0%
[5] Digital Audio               100%                  n/a       0%         0%        2%         2%        0%        0%         9%       26%     26%       30%       4%            0%
[6] eCommerce Platforms         100%                  n/a       0%         0%        0%         2%        0%        6%         4%       30%     26%       21%      11%            0%
[7] App/In-app                  100%                  n/a       0%         0%        0%         0%        3%        5%       11%        11%     34%       21%      16%            0%
[8] Connected TV                100%                  n/a       0%         3%        3%         0%        3%        5%         8%       24%     24%       22%       8%            0%
[9] Other                       100%                  n/a       0%         0%        0%         0%        0%        0%         0%        0%      0%        0%     100%            0%




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                                                                                46661 TO PROTECTIVE ORDER


                                                                                APPENDIX EXHIBIT 61

                                                      LOWER-SPEND ADVERTISER SURVEY
                                      EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
                                           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
     coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

    < Than $50K Ad Spend
                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
      Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7           8         9        10       / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[10] Social                           53               8.3           -          -         -          -         1         1          4      7      12        17        11              -
[11] Email                            27               7.6           -          -         1          -         -         2          2      4      11          6         1             -
[12] Search                           33               8.2           -          -         1          -         -         1          1      4        8       13          5             -
[13] Digital Video                    30               7.9           -          -         -          -         -         -          3      8      11          4         4             -
[14] Digital Audio                    25               7.6           -          -         1          -         -         -          3      9        4         6         2             -
[15] eCommerce Platforms              26               7.8           -          -         -          -         -         -          1     10        8         6         1             -
[16] App/In-app                       20               8.0           -          -         -          -         -         1          2      2        9         4         2             -
[17] Connected TV                     15               7.8           -          -         -          -         -         -          1      7        2         4         1             -
[18] Other                             -                 -           -          -         -          -         -         -          -      -        -         -         -             -


                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                   Don’t know
      Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7           8         9        10       / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]     [L]       [M]       [N]         [O]
[10] Social                      100%                  n/a       0%         0%        0%         0%        2%        2%         8%       13%     23%       32%       21%           0%
[11] Email                       100%                  n/a       0%         0%        4%         0%        0%        7%         7%       15%     41%       22%        4%           0%
[12] Search                      100%                  n/a       0%         0%        3%         0%        0%        3%         3%       12%     24%       39%       15%           0%
[13] Digital Video               100%                  n/a       0%         0%        0%         0%        0%        0%       10%        27%     37%       13%       13%           0%
[14] Digital Audio               100%                  n/a       0%         0%        4%         0%        0%        0%       12%        36%     16%       24%        8%           0%
[15] eCommerce Platforms         100%                  n/a       0%         0%        0%         0%        0%        0%         4%       38%     31%       23%        4%           0%
[16] App/In-app                  100%                  n/a       0%         0%        0%         0%        0%        5%       10%        10%     45%       20%       10%           0%
[17] Connected TV                100%                  n/a       0%         0%        0%         0%        0%        0%         7%       47%     13%       27%        7%           0%
[18] Other                           -                 n/a       0%         0%        0%         0%        0%        0%         0%        0%      0%        0%        0%           0%




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                                                                                46662 TO PROTECTIVE ORDER


                                                                                APPENDIX EXHIBIT 61

                                                      LOWER-SPEND ADVERTISER SURVEY
                                      EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
                                           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to divert some of your advertising spending to the types of digital
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the
     coming year to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending on that type
     of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

    $50K – $500K Ad Spend
                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                     Don’t know
      Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7            8        9        10         / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]       [L]     [M]       [N]          [O]
[19] Social                           31               7.7           -          -         -          -         1         2          2         8     10          4         4            -
[20] Email                            33               6.9           1          2         1          -         1         -          3         9       8         4         4            -
[21] Search                           27               7.5           -          1         1          -         -         -          3         7       5         8         2            -
[22] Digital Video                    24               7.3           1          -         -          -         1         -          1         9       6         5         1            -
[23] Digital Audio                    28               7.9           -          -         -          1         -         -          2         5     10         10         -            -
[24] eCommerce Platforms              21               7.6           -          -         -          1         -         3          1         4       4         4         4            -
[25] App/In-app                       18               7.9           -          -         -          -         1         1          2         2       4         4         4            -
[26] Connected TV                     22               7.0           -          1         1          -         1         2          2         2       7         4         2            -
[27] Other                             1              10.0           -          -         -          -         -         -          -         -       -         -         1            -


                              Total    Average Extent                                         Number of Respondents by Extent of Increase                                     Don’t know
      Advertising Type     Respondents  of Increase             0         1         2           3        4       5         6         7            8        9        10         / Unsure
              [A]               [B]             [C]            [D]        [E]       [F]        [G]       [H]       [I]        [J]       [K]       [L]     [M]       [N]          [O]
[19] Social                      100%                  n/a       0%         0%        0%         0%        3%        6%         6%       26%       32%     13%       13%            0%
[20] Email                       100%                  n/a       3%         6%        3%         0%        3%        0%         9%       27%       24%     12%       12%            0%
[21] Search                      100%                  n/a       0%         4%        4%         0%        0%        0%       11%        26%       19%     30%        7%            0%
[22] Digital Video               100%                  n/a       4%         0%        0%         0%        4%        0%         4%       38%       25%     21%        4%            0%
[23] Digital Audio               100%                  n/a       0%         0%        0%         4%        0%        0%         7%       18%       36%     36%        0%            0%
[24] eCommerce Platforms         100%                  n/a       0%         0%        0%         5%        0%      14%          5%       19%       19%     19%       19%            0%
[25] App/In-app                  100%                  n/a       0%         0%        0%         0%        6%        6%       11%        11%       22%     22%       22%            0%
[26] Connected TV                100%                  n/a       0%         5%        5%         0%        5%        9%         9%        9%       32%     18%        9%            0%
[27] Other                       100%                  n/a       0%         0%        0%         0%        0%        0%         0%        0%        0%      0%      100%            0%




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                                                                            APPENDIX EXHIBIT 61

                                                   LOWER-SPEND ADVERTISER SURVEY
                                   EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
                                        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are shown their answer choices from Q10.
    Respondents were shown Q11 if they did not select “None of the above” or “Don’t know/Unsure” in Q10.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average of extent of increase in [D] through [N], weighted by the number of respondents.




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                                           APPENDIX EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
     divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
     below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
     spending for the coming year to each type of digital advertising that you just indicated. For each digital
     advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
     coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

      All Respondents
                              Total         Number of Respondents by Extent of Increase           Don't know
      Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
              [A]               [B]             [C]                 [D]             [E]               [F]
 [1] Social                           84                 -                 11              73                  -
 [2] Email                            60                 5                  8              47                  -
 [3] Search                           60                 3                  5              52                  -
 [4] Digital Video                    54                 1                  5              48                  -
 [5] Digital Audio                    53                 2                  5              46                  -
 [6] eCommerce Platforms              47                 1                  5              41                  -
 [7] App/In-app                       38                 -                  7              31                  -
 [8] Connected TV                     37                 2                  6              29                  -
 [9] Other                             1                 -                  -               1                  -


                              Total         Number of Respondents by Extent of Increase           Don't know
      Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
              [A]               [B]             [C]                 [D]             [E]               [F]
 [1] Social                      100%                  0%                 13%           87%                 0%
 [2] Email                       100%                  8%                 13%           78%                 0%
 [3] Search                      100%                  5%                  8%           87%                 0%
 [4] Digital Video               100%                  2%                  9%           89%                 0%
 [5] Digital Audio               100%                  4%                  9%           87%                 0%
 [6] eCommerce Platforms         100%                  2%                 11%           87%                 0%
 [7] App/In-app                  100%                  0%                 18%           82%                 0%
 [8] Connected TV                100%                  5%                 16%           78%                 0%
 [9] Other                       100%                  0%                  0%          100%                 0%


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                                            APPENDIX EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
      divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
      below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
      spending for the coming year to each type of digital advertising that you just indicated. For each digital
      advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
      coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     < Than $50K Ad Spend
                               Total         Number of Respondents by Extent of Increase           Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [10] Social                           53                 -                  6              47                  -
 [11] Email                            27                 1                  4              22                  -
 [12] Search                           33                 1                  2              30                  -
 [13] Digital Video                    30                 -                  3              27                  -
 [14] Digital Audio                    25                 1                  3              21                  -
 [15] eCommerce Platforms              26                 -                  1              25                  -
 [16] App/In-app                       20                 -                  3              17                  -
 [17] Connected TV                     15                 -                  1              14                  -
 [18] Other                             -                 -                  -               -                  -


                               Total         Number of Respondents by Extent of Increase           Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [10] Social                      100%                  0%                 11%             89%               0%
 [11] Email                       100%                  4%                 15%             81%               0%
 [12] Search                      100%                  3%                  6%             91%               0%
 [13] Digital Video               100%                  0%                 10%             90%               0%
 [14] Digital Audio               100%                  4%                 12%             84%               0%
 [15] eCommerce Platforms         100%                  0%                  4%             96%               0%
 [16] App/In-app                  100%                  0%                 15%             85%               0%
 [17] Connected TV                100%                  0%                  7%             93%               0%
 [18] Other                          0%                 0%                  0%              0%               0%


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                                            APPENDIX EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q11: In your previous answer, you indicated that the increase in the cost of display advertising will lead you to
      divert some of your advertising spending to the types of digital advertising listed below. Please use the sliders
      below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising
      spending for the coming year to each type of digital advertising that you just indicated. For each digital
      advertising type below, please select 0 if you expect to keep spending on that type of digital advertising for the
      coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

     $50K – $500K Ad Spend
                               Total         Number of Respondents by Extent of Increase           Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [19] Social                           31                 -                  5              26                  -
 [20] Email                            33                 4                  4              25                  -
 [21] Search                           27                 2                  3              22                  -
 [22] Digital Video                    24                 1                  2              21                  -
 [23] Digital Audio                    28                 1                  2              25                  -
 [24] eCommerce Platforms              21                 1                  4              16                  -
 [25] App/In-app                       18                 -                  4              14                  -
 [26] Connected TV                     22                 2                  5              15                  -
 [27] Other                             1                 -                  -               1                  -


                               Total         Number of Respondents by Extent of Increase           Don't know
       Advertising Type     Respondents        0–3            4–6              7 – 10               / Unsure
               [A]               [B]             [C]                 [D]             [E]               [F]
 [19] Social                      100%                  0%                 16%           84%                 0%
 [20] Email                       100%                 12%                 12%           76%                 0%
 [21] Search                      100%                  7%                 11%           81%                 0%
 [22] Digital Video               100%                  4%                  8%           88%                 0%
 [23] Digital Audio               100%                  4%                  7%           89%                 0%
 [24] eCommerce Platforms         100%                  5%                 19%           76%                 0%
 [25] App/In-app                  100%                  0%                 22%           78%                 0%
 [26] Connected TV                100%                  9%                 23%           68%                 0%
 [27] Other                       100%                  0%                  0%          100%                 0%


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                                        APPENDIX EXHIBIT 62

                  LOWER-SPEND ADVERTISER SURVEY
  EXTENT OF SPENDING CHANGES AS A RESULT OF DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are shown their answer choices from Q10.
    Respondents were shown Q11 if they did not select “None of the above” or “Don’t know/Unsure” in Q10.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type
      by the total number of people selecting the advertising type to which to divert spending.




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                                        APPENDIX EXHIBIT 63

                    LOWER-SPEND ADVERTISER SURVEY
                   PERFORMANCE ASSESSMENT METRICS
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


      Q12: Which of the following metrics, if any, are you using to assess the performance of display ads and/or
       social media ads? (Please select all that apply in each column.)

        All Respondents
                                                            Display Ads              Social Media Ads
                        Metric                          #                 %           #            %
                           [A]                         [B]            [C]           [D]            [E]
   [1] Return on Investment (ROI)                             98         40%               71         44%
   [2] Cost per click (CPC)                                   97         40%               80         50%
   [3] Clicks                                                 94         39%               74         46%
   [4] Click through rate (CTR)                               90         37%               73         45%
   [5] Return on Ad Spend (ROAS)                              85         35%               66         41%
   [6] Cost per action (CPA)                                  81         33%               60         37%
   [7] Cost per impression (CPM)                              75         31%               59         37%
   [8] Impressions                                            75         31%               49         30%
   [9] Conversions                                            73         30%               55         34%
  [10] Other                                                   3          1%                -          0%
  [11] Don’t know / Unsure                                     3          1%                3          2%
  [12] None of the above                                       1          0%                -          0%
  [13] Total Shown Question                                  243          100%            161        100%

      < Than $50K Ad Spend
                                                          Display Ads               Social Media Ads
                         Metric                         #             %              #             %
                           [A]                         [B]           [C]            [D]           [E]
  [14] Return on Investment (ROI)                           51          44%             36           45%
  [15] Cost per click (CPC)                                 47          40%             43           54%
  [16] Clicks                                               39          33%             37           46%
  [17] Click through rate (CTR)                             41          35%             38           48%
  [18] Return on Ad Spend (ROAS)                            36          31%             31           39%
  [19] Cost per action (CPA)                                38          32%             25           31%
  [20] Cost per impression (CPM)                            36          31%             29           36%
  [21] Impressions                                          35          30%             19           24%
  [22] Conversions                                          27          23%             27           34%
  [23] Other                                                 -           0%                -          0%
  [24] Don’t know / Unsure                                   3           3%               3           4%
  [25] None of the above                                     -           0%                -          0%
  [26] Total Shown Question                                  117          100%             80        100%




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                                        APPENDIX EXHIBIT 63

                    LOWER-SPEND ADVERTISER SURVEY
                   PERFORMANCE ASSESSMENT METRICS
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


      Q12: Which of the following metrics, if any, are you using to assess the performance of display ads and/or
       social media ads? (Please select all that apply in each column.)

      $50K – $500K Ad Spend
                                                            Display Ads              Social Media Ads
                        Metric                          #                 %           #            %
                           [A]                         [B]            [C]           [D]            [E]
  [27] Return on Investment (ROI)                             47         37%              35          43%
  [28] Cost per click (CPC)                                   50         40%              37          46%
  [29] Clicks                                                 55         44%              37          46%
  [30] Click through rate (CTR)                               49         39%              35          43%
  [31] Return on Ad Spend (ROAS)                              49         39%              35          43%
  [32] Cost per action (CPA)                                  43         34%              35          43%
  [33] Cost per impression (CPM)                              39         31%              30          37%
  [34] Impressions                                            40         32%              30          37%
  [35] Conversions                                            46         37%              28          35%
  [36] Other                                                   3          2%               -           0%
  [37] Don’t know / Unsure                                     -          0%               -           0%
  [38] None of the above                                       1          1%               -           0%
  [39] Total Shown Question                                  126          100%            81         100%


      Notes & Sources:
      From Lower-Spend Advertiser Survey.
      Sorted in descending order based on column [B], except for “Don’t know/Unsure” and “None of the above.”
      Respondents were only asked about each of the above advertising types if they had indicated in QS12 that
        they had used those advertising types in the past year.
      Percentages do not add up to 100% because respondents can select multiple options.




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                                                      APPENDIX EXHIBIT 64

                                  LOWER-SPEND ADVERTISER SURVEY
                           RANKING OF PERFORMANCE ASSESSMENT METRICS
                        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q13: You indicated that you use the following metrics to assess the performance of display ads.
     Please rank these metrics in terms of how important they are to accurately assessing the performance of digital display ads, with 1
      being the most important and [NUMBER OF MEASURES SELECTED IN Q12] being the least important.
     (Please rank the following metrics, or select “Don’t know / Unsure”.)

      All Respondents
                                                  Respondents Ranking Metric                     Respondents Ranking Metric
                                                      As Most Important                         Among the Top 3 Most Important
                   Metric                          #                    %                         #                     %
                     [A]                           [B]                     [C]                     [D]                      [E]
    Return on Investment (ROI)                              46                    19%                        85                     36%
    Clicks                                                  35                    15%                        67                     28%
    Cost per click (CPC)                                    34                    14%                        71                     30%
    Return on Ad Spend (ROAS)                               29                    12%                        68                     29%
    Cost per action (CPA)                                   23                    10%                        60                     25%
    Click through rate (CTR)                                22                     9%                        68                     29%
    Cost per impression (CPM)                               20                     8%                        51                     21%
    Conversions                                             18                     8%                        54                     23%
    Impressions                                             11                     5%                        46                     19%
    Other                                                    -                     0%                         1                      0%
    Total                                                  238                   100%                       238                   100%
    < Than $50K Ad Spend
                                                  Respondents Ranking Metric                     Respondents Ranking Metric
                                                      As Most Important                         Among the Top 3 Most Important
                   Metric                          #                    %                         #                     %
                      [A]                          [B]                     [C]                     [D]                      [E]
[12] Return on Investment (ROI)                             22                    19%                        43                     38%
[13] Clicks                                                 15                    13%                        27                     24%
[14] Cost per click (CPC)                                   20                    18%                        35                     31%
[15] Return on Ad Spend (ROAS)                              16                    14%                        29                     26%
[16] Cost per action (CPA)                                  10                     9%                        29                     26%
[17] Click through rate (CTR)                                9                     8%                        32                     28%
[18] Cost per impression (CPM)                              11                    10%                        26                     23%
[19] Conversions                                             6                     5%                        19                     17%
[20] Impressions                                             4                     4%                        22                     19%
[21] Other                                                   -                     0%                         -                      0%
[22] Total                                                 113                   100%                       113                   100%




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                                                      APPENDIX EXHIBIT 64

                                 LOWER-SPEND ADVERTISER SURVEY
                          RANKING OF PERFORMANCE ASSESSMENT METRICS
                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q13: You indicated that you use the following metrics to assess the performance of display ads.
     Please rank these metrics in terms of how important they are to accurately assessing the performance of digital display ads, with 1
      being the most important and [NUMBER OF MEASURES SELECTED IN Q12] being the least important.
     (Please rank the following metrics, or select “Don’t know / Unsure”.)

    $50K – $500K Ad Spend
                                                  Respondents Ranking Metric                     Respondents Ranking Metric
                                                      As Most Important                         Among the Top 3 Most Important
                   Metric                          #                    %                         #                     %
                      [A]                          [B]                     [C]                     [D]                      [E]
[23] Return on Investment (ROI)                             24                    19%                        42                     34%
[24] Clicks                                                 20                    16%                        40                     32%
[25] Cost per click (CPC)                                   14                    11%                        36                     29%
[26] Return on Ad Spend (ROAS)                              13                    10%                        39                     31%
[27] Cost per action (CPA)                                  13                    10%                        31                     25%
[28] Click through rate (CTR)                               13                    10%                        36                     29%
[29] Cost per impression (CPM)                               9                     7%                        25                     20%
[30] Conversions                                            12                    10%                        35                     28%
[31] Impressions                                             7                     6%                        24                     19%
[32] Other                                                   -                     0%                         1                      1%
[33] Total                                                 125                   100%                       125                   100%


    Notes & Sources:
    From Lower-Spend Advertiser Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents are only shown Q13 if they indicate that they used more than one metric to assess the performance of display
      advertising in Q12. Respondents who selected only one metric in Q12 are assumed to have that metric ranked as most important.
    Total includes respondents who ranked metrics in Q13 or selected only one metric in Q12.
    1 respondent (less than 1 percent of respondents who used at least one metric to assess the performance of display ads) selected
      “Don’t know/Unsure.” This respondent had an annual ad spend of less than $50,000.




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                                                  APPENDIX EXHIBIT 65

                            LOWER-SPEND ADVERTISER SURVEY
                        FREQUENCY OF PERFORMANCE ASSESSMENT
                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q14: How often, if at all, do you measure or assess the performance of your display advertising? (Please select only one option.)

     If you are using an ad agency and/or consultant and they are responsible for measuring or assessing performance of your
     display advertising, please indicate how often you receive information about the performance of your display advertising from
     the agency.

                                            Total Respondents          < Than $50K Ad Spend         $50K – $500K Ad Spend
               Frequency                     #            %               #            %               #            %
                  [A]                       [B]            [C]            [D]            [E]            [F]            [G]
[1] Daily                                          21          9%                 8          7%                13         10%
[2] Weekly                                        110         45%                63         54%                47         37%
[3] Monthly                                        70         29%                29         25%                41         33%
[4] Quarterly                                      35         14%                12         10%                23         18%
[5] Annually                                        6          2%                 4          3%                 2          2%
[6] Don’t know / Unsure                             1          0%                 1          1%                 -          0%
[7] Total Shown Question                          243        100%               117        100%               126        100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                APPENDIX EXHIBIT 66

                          LOWER-SPEND ADVERTISER SURVEY
                            EXPERIMENTS ON DISPLAY ADS
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q15: In the past year, have you run any experiments or test & learn initiatives on your digital display ads?
    (Please select only one option.)

                                        Total Respondents           < Than $50K Ad Spend          $50K – $500K Ad Spend
         Response Options                #            %                #            %                #            %
                 [A]                    [B]            [C]             [D]            [E]            [F]          [G]
[1] Yes                                       134         55%                 70         60%                64       51%
[2] No                                        106         44%                 46         39%                60       48%
[3] Don’t know / Unsure                         3          1%                  1          1%                 2        2%
[4] Total Shown Question                      243        100%                117        100%               126     100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
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                                                     APPENDIX EXHIBIT 67

                                LOWER-SPEND ADVERTISER SURVEY
                              TYPES OF EXPERIMENTS ON DISPLAY ADS
                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


   Q16: Which of the following types of experiments or test & learn initiatives, if any, have you run in the past year on your
    digital display ads?

                                         Total Respondents               < Than $50K Ad Spend              $50K – $500K Ad Spend
         Experiment Type                 #              %                   #            %                    #             %
                  [A]                    [B]              [C]              [D]              [E]               [F]                [G]
[1] Creatives                                   80              60%              44               63%               36                 56%
[2] Audiences                                   57              43%              20               29%               37                 58%
[3] ROI/ROAS                                    60              45%              32               46%               28                 44%
[4] Ad buying tool performance                  51              38%              24               34%               27                 42%
[5] Bid strategies                              47              35%              18               26%               29                 45%
[6] Publishers                                  39              29%              16               23%               23                 36%
[7] Other                                        -               0%               -                0%                -                  0%
[8] Don’t know / Unsure                          1               1%               -                0%                1                  2%
[9] Total Shown Question                       134           100%                70            100%                 64             100%


   Notes & Sources:
   From Lower-Spend Advertiser Survey.
   Sorted in descending order based on column [B], except for “Other” and “Don’t know/Unsure.”
   Percentages do not add up to 100% because respondents can select multiple options.
   Respondents were shown Q16 if they indicated in Q15 that they had conducted experiments or test & learn initiatives on their
     display ads in the past year.
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                                           APPENDIX EXHIBIT 68

                                 AGENCY SURVEY
                               RESPONSE STATISTICS
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Status                                                                             #                 %
 [1] Invited to Complete Survey                                                               3,916         100%
 [2] Clicked on Survey Link                                                                   1,909         100%
 [3] Screened Out of Survey                                                                   1,368          72%
 [4]     CAPTCHA                                                                                 12           1%
 [5]     Age                                                                                     14           1%
 [6]     State                                                                                   11           1%
 [7]     Job Responsibilities                                                                  235           12%
 [8]     Not Employed by a Media Agency or Full Service Agency                                 681           36%
 [9]     Full Service Agency Not Focused on Media Strategy                                     171            9%
[10]     No Digital Advertising Spend                                                             -           0%
[11]     Did Not Use Display Advertising                                                         83           4%
[12]     Did Not Use Programmatic Display                                                        24           1%
[13]     Not Involved in Decision Making Roles for Display Advertising                           19           1%
[14]     Failed Attention Check                                                                  11           1%
[15]     Overquota Respondents                                                                 107            6%
[16] Self-Termination                                                                            78           4%
[17]    Completed the Survey                                                                   463          100%
[18]     Removed from Sample                                                                    82           18%
[19]      Slowpokes and Speeders                                                                11            2%
[20]      Asked to be Excluded                                                                  71           15%
[21]      Analytical Sample                                                                    381          100%
[22]       Selected a Decoy Option                                                              50           13%
[23]      Analytical Sample (Excluding Respondents Selecting a Decoy Option)                   331           87%


     Notes & Sources:
     From Agency Survey.
 [4] Respondents who failed the CAPTCHA three times were screened out of the study.
 [5] Respondents who selected “Under 18” or “Prefer not to answer” in QS3 were screened out of the study.
 [6] Respondents who selected “Other” or “Don’t know / Unsure” in QS5 were screened out of the study.




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                                            APPENDIX EXHIBIT 68

                               AGENCY SURVEY
                             RESPONSE STATISTICS
              EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources (cont.):
 [7] Respondents who indicated in QS6 that, as part of their job responsibilities, they do not have any involvement with
      “Advertising or Marketing” were screened out of the study.
 [8] Respondents who indicated in QS7 that they did not work for a “Media Agency” or “Full Service Agency” were screened
      out of the study.
 [9] Respondents who indicated in QS7 that they work for a “Full Service Agency” but not in “Media Strategy” in QS8
      were screened out of the study.
[10] Respondents who indicated in QS13 that the percentage of the client they spend the most time on’s total advertising
      budget spent on digital (online) advertising was zero were screened out of the study.
[11] Respondents who did not indicate in QS14 that the client they spend the most time on used display advertising in the past
      year were screened out of the study.
[12] Respondents who did not indicate in QS15 that the client they spend the most time on used programmatic transaction
      methods to purchase display ad inventory were screened out of the study.
[13] Respondents who did not select “I determine or advise the client regarding overall strategies and/or budgets for digital
      display,” “I determine or advise the client regarding which buying tools and/or demand-side platforms (DSPs) to use for
      digital display,” “I regularly use self-serve ad platforms to manage digital display campaigns,” or “I oversee a
      team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” responses in QS17 were
      screened out of the study.
[14] Respondents who did not select “Somewhat likely” in QS18 were screened out of the study.
[15] Respondents were terminated due to entering the survey after it had been closed for sampling.
[16] Respondents who only completed part of the survey.
[19] Respondents who took less than 100 seconds (1.67 minutes) or more than 10,800 seconds (3 hours) to complete the
      survey were removed from the analysis.
[20] Respondents were asked if they are willing to participate in this survey after completing the questionnaire. Respondents
      who selected “Exclude my responses” in QF1 were removed from the data by the panel vendor.
[22] Respondents who selected one or more decoy options in the survey were removed from the analysis. These respondents
      selected “Ad Step Technologies,” “Quorexx” in Q7, and/or “FriendLinx” in QS16.
[23] These respondents were used in the analysis.




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                                                                  APPENDIX EXHIBIT 69

                                                      AGENCY SURVEY
                                             SURVEY PARTICIPATION PREFERENCE
                                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                         QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
                          pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
                          digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
                          reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
                          do not want to participate in this survey, please click “Exclude my responses” below.




                          500
                                                         85%
                          450
                                                          50
                          400
                          350
Number of Respondents




                          300
                          250
                                                         342
                          200
                          150
                          100                                                                                 15%
                           50
                                                                                                               70
                             0
                                               Include my responses                                 Exclude my responses

                                                    Did Not Select a Decoy Option         Selected a Decoy Option


                         Notes & Sources:
                         From Agency Survey.
                         Includes respondents who completed the survey.
                         Respondents who indicated that they wanted their responses excluded from the survey were removed from the data by the
                           panel vendor.
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                                    APPENDIX EXHIBIT 70

                         AGENCY SURVEY
                    RESPONDENT DEMOGRAPHICS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                 #               %
                                                [A]              [B]
                 Age
              [1] 18 - 34                              84              25%
              [2] 35 - 49                             203              61%
              [3] 50 - 64                              43              13%
              [4] 65 or above                           1               0%
              [5] Total                               331              100%

                    Gender
              [6]    Female                           105              32%
              [7]    Male                             225              68%
              [8]    Other                              -               0%
              [9]    Prefer not to answer               1               0%
             [10] Total                               331              100%


                    Source:
                    From Agency Survey.
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                                        APPENDIX EXHIBIT 71

                           AGENCY SURVEY
                             JOB TITLES
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         QS9: Which of the following best characterizes your current job title/level? (Please select only
          one option.)

                                                                             Total Respondents
                               Job Title / Level                             #                 %
                                     [A]                                    [B]               [C]
      [1] C-Level (CEO, COO, CMO, etc.)                                           111               34%
      [2] Strategist                                                               50               15%
      [3] Social Media Manager                                                     38               11%
      [4] Media Planner                                                            30                9%
      [5] Account Manager / Account Executive                                      26                8%
      [6] Project Manager                                                          22                7%
      [7] Media Buyer                                                              19                6%
      [8] Business Development Manager                                             13                4%
      [9] Data Scientist / Data Analyst                                             2                1%
     [10] Traffic Manager                                                           2                1%
     [11] Analyst / Researcher                                                      1                0%
     [12] Editor / Writer                                                           -                  -
     [13] Other                                                                    17                5%
     [13] Total                                                                   331               100%


         Notes & Sources:
         From Agency Survey.
         Sorted in descending order based on column [B], except for “Other.”
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                                        APPENDIX EXHIBIT 72

                           AGENCY SURVEY
                           MARKET SECTORS
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     QS11: Which of the following, if any, best characterizes the market sector/industry
      of the client you spend the most time on? (Please select only one option.)

                                                                                 Total Respondents
                           Market Sector / Industry                             #                %
                                     [A]                                       [B]              [C]
  [1] Advertising or Marketing                                                        118             36%
  [2] Retail (including Ecommerce)                                                     35             11%
  [3] B2B/Services for Businesses                                                      22              7%
  [4] Apparel/Fashion                                                                  19              6%
  [5] Media and Entertainment                                                          17              5%
  [6] Travel and Hospitality                                                           15              5%
  [7] Automotive                                                                       15              5%
  [8] Food and Beverage                                                                14              4%
  [9] Financial Products/Services for Consumers (including Fintech)                    13              4%
 [10] Pharmaceuticals and Remedies (Rx or OTC)                                         12              4%
 [11] Health Care or Medical Services                                                   9              3%
 [12] Health and Beauty Products                                                        8              2%
 [13] Telecommunications                                                                6              2%
 [14] Restaurants                                                                       6              2%
 [15] Education                                                                         5              2%
 [16] Consumer Electronics                                                              5              2%
 [17] Non-Profit                                                                        4              1%
 [18] Home Products/Appliances                                                          2              1%
 [19] Government                                                                        1              0%
 [20] Other                                                                             5              2%
 [21] Total                                                                           331             100%


     Notes & Sources:
     From Agency Survey.
     Sorted in descending order based on column [B], except for “Other.”
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                                                           APPENDIX EXHIBIT 73

                                                       AGENCY SURVEY
                                                      ANNUAL AD SPEND
                                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


QS12: In the last 12 months, approximately how much did the client you spend the most time on spend on all advertising, includes all digital
 types (e.g., display, video, audio, social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)




                            70
                                                                         62
                            60                                                         57
    Number of Respondents




                            50
                                                                43
                                                                                 39
                            40
                                                                                               33
                                                           28
                            30
                                                                                                             22
                            20                                                                         16

                            10                 7    6                                                                       7
                                        5                                                                           5
                                 0                                                                                                  1
                            0




Notes & Sources:
From Agency Survey.
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                                                                    APPENDIX EXHIBIT 74

                                                     AGENCY SURVEY
                                      PERCENT OF BUDGET SPENT ON DIGITAL ADVERTISING
                                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                               QS13: Please think about the total advertising budget for the client you spend the most time on. In the past year,
                                what percentage of the total advertising budget for the client you spend the most time on was used for digital
                                (online) advertising, as opposed to offline advertising? Please give your best estimate.


                                                                                                             Median
                                                                                                                               Median
                          80                                                               25th Percentile
                                                                                                   71           72
                                                                                                                        75th Percentile
                          70
                                                                                                                                       90th Percentile
                          60                                             10th Percentile                                       57
Number of Respondents




                          50
                                                                                                                                            39
                          40                                                        34

                          30                                            25
                                                                                                                                                            19
                          20
                                                            9
                          10
                                    1           3
                          0
                                 [0, 10]     (10, 20]    (20, 30]    (30, 40]    (40, 50]       (50, 60]     (60, 70]       (70, 80]      (80, 90]       (90, 100]
                                                            Percent of Advertising Budget Spent on Digital Advertising




                               Notes & Sources:
                               From Agency Survey
                               Respondents who entered zero for digital (online) advertising were screened out of the survey.
                               1 respondent selected “Don’t know / Unsure.”
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                                   APPENDIX EXHIBIT 75

                           AGENCY SURVEY
                 TYPES OF DIGITAL ADVERTISING USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                    QS14: Which of the following types of digital advertising, if any, have
                     you used in the past year for the client you spend the most time on?
                     Please review the description of each advertising type carefully.
                     (Please select all that apply.)

                                                        Total Respondents
                             Advertising Type            #            %
                                  [A]                   [B]            [C]
                 [1] Display                                  331        100%
                 [2] Social                                   255         77%
                 [3] Search                                   233         70%
                 [4] Digital Video                            215         65%
                 [5] Connected TV                             168         51%
                 [6] Email                                    161         49%
                 [7] eCommerce Platforms                      151         46%
                 [8] App/In-App                               141         43%
                 [9] Digital Audio                            139         42%
                [10] Other                                      2          1%
                [11] Total                                    331        100%


                    Notes & Sources:
                    From Agency Survey.
                    Respondents who did not select “Display” were screened out of the survey.
                    Percentages do not add up to 100% because respondents can select
                      multiple options.
                    Sorted in descending order based on column [B], except for “Other.”
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                                    APPENDIX EXHIBIT 76

                          AGENCY SURVEY
            NUMBER OF TYPES OF DIGITAL ADVERTISING USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                       QS14: Which of the following types of digital advertising, if any, have
                        you used in the past year for the client you spend the most time on?
                        Please review the description of each advertising type carefully.
                        (Please select all that apply.)

                                Number of                  Total Respondents
                              Types Selected                #            %
                                    [A]                    [B]            [C]
                 [1]                  1                           45         14%
                 [2]                  2                           10          3%
                 [3]                  3                           17          5%
                 [4]                  4                           35         11%
                 [5]                  5                           51         15%
                 [6]                  6                           44         13%
                 [7]                  7                           49         15%
                 [8]                  8                           42         13%
                 [9]                  9                           38         11%
                [10]                 10                            -          0%
                [11] Total                                       331        100%


                       Notes & Sources:
                       From Agency Survey.
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                                   APPENDIX EXHIBIT 77

                          AGENCY SURVEY
             DISPLAY ADVERTISING TRANSACTION METHODS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                QS15: Which of the following transaction methods have you used to purchase
                 display ad inventory in the past year for the client you spend the most time on?
                 (Please select all that apply.)

                                                             Total Respondents
                        Transaction Method                   #                 %
                                [A]                         [B]               [C]
             [1] Programmatic Only                                177               53%
             [2] Programmatic and Direct Deals                    154               47%
             [3] Total                                            331               100%


                Notes & Sources:
                From Agency Survey.
                Respondents who selected “Direct Deals Only,” “None of the Above,” or
                  “Don’t know / Unsure” were screened out of the survey.
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                                  APPENDIX EXHIBIT 78

                          AGENCY SURVEY
                   SOCIAL MEDIA PLATFORMS USED
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  QS16: You indicated that you have used social advertising in the past year
                   for the client you spend the most time on. Which of the following social
                   media platforms, if any, have you used in the past year for the client you
                   spend the most time on? (Please select all that apply.)

                                                        Total Respondents
                       Social Media Platform            #                %
                               [A]                     [B]              [C]
               [1] Facebook                                  233              91%
               [2] Instagram                                 217              85%
               [3] LinkedIn                                  154              60%
               [4] Tiktok                                    126              49%
               [5] Twitter                                   124              49%
               [6] Snapchat                                   90              35%
               [7] Pinterest                                  82              32%
               [8] Reddit                                     55              22%
               [9] Tumblr                                      6               2%
              [10] FriendLinx                                  -               0%
              [11] Other                                       5               2%
              [12] None of the Above                           -               0%
              [13] Don’t know / Unsure                         1               0%
              [14] Total Shown Question                      255            100%


                  Notes & Sources:
                  From Agency Survey.
                  Sorted in descending order based on column [B], except for “Other,”
                    “None of the Above,” and “Don’t know / Unsure.”
                  Percentages do not add to 100% because respondents can select multiple options.
                  Respondents were only shown QS16 if they indicated in QS14 that they had used
                    social advertising in the past year for the client they spend the most time on.
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                                         APPENDIX EXHIBIT 79

                            AGENCY SURVEY
                     ROLE OF AGENCY VS. THE CLIENT
          EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


      Q2: Which of the following best describes your involvement in each of these activities for the client you
       spend the most time on? (Please select a value on the slider between 0 and 100 for each activity. If you
       do not have an answer, please select “Don’t know / Unsure”)

                                     Roles                                    Mean             Median
                                       [A]                                      [B]              [C]
   [1] Determining initial advertising budget                                         68                74
   [2] Allocating budget across different advertising types                           73                77
   [3] Increasing/decreasing spending on a particular type of advertising             73                75
   [4] Increasing/decreasing spending on a particular ad campaign                     72                75
   [5] Making changes to a campaign based on its performance                          74                76
   [6] Deciding where to advertise                                                    73                77
   [7] Deciding whether to purchase display ads programmatically or                   71                75
         through direct deals with publishers
   [8] Measuring performance of display ad campaigns                                  70                75


      Notes & Sources:
      From Agency Survey.
      0 is labeled as “I am not involved in these decisions” and 100 is labeled as “I am the primary decision maker.”
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                                               APPENDIX EXHIBIT 80

                                 AGENCY SURVEY
                        DIGITAL ADVERTISING BUDGET SHARE
                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q3: What is your best estimate of the share of the digital advertising budget of the client you
         spend the most time on that was used for each of these types of advertising in the past year?
         Specifically, please allocate 100% across the different types of digital advertising shown
         below based on the share of your client’s total digital advertising budget spent on each type.
         The total should add up to 100%.

             Advertising Type            # of Respondents                  Mean                       Median
                   [A]                          [B]                         [C]                           [D]
    [1] Programmatic Display                                327                       31%                         20%
    [2] Social                                              251                       15%                         14%
    [3] Search                                              229                       14%                         10%
    [4] Digital Video                                       211                        9%                         10%
    [5] Connected TV                                        166                        7%                          2%
    [6] Email                                               158                        5%                          0%
    [7] Direct Deals Display                                151                        5%                          0%
    [8] eCommerce Platforms                                 150                        6%                          0%
    [9] App/In-app                                          138                        4%                          0%
   [10] Digital Audio                                       137                        4%                          0%
   [11] Other                                                 2                        0%                          0%
   [12] Don’t know / Unsure                                   4                        n/a                         n/a
   [13] Total Shown Question                                381


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
        Respondents were shown their responses from QS14 and QS15. They are asked to allocate across all selected types.
        Respondents can hover their mouse over each digital advertising type to review the type description.
    [B] Shows number of respondents who allocated a budget for each advertising type.
[C]-[D] Budget allocated for an advertising type is assumed to be equal to 0 if respondents did not select the advertising type
          in QS14 or QS15.
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                                      APPENDIX EXHIBIT 81

                           AGENCY SURVEY
           RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q4: Now suppose that, based on your analysis, the cost of programmatic display advertising has
         recently increased by a small but significant amount, and will remain elevated for the foreseeable
         future. Assume further that, based on similar analyses for other digital advertising types, the
         costs of other digital advertising types have not changed and are not expected to change.
         So, for the client you spend the most time on, if the cost of programmatic display advertising
         increases (while the cost of other advertising types remains the same), will you or won’t you
         divert some of your advertising spending for the coming year for the client you spend the most
         time on to other types of digital advertising?

               Response Options                        #                              %
                       [A]                            [B]                            [C]
     [1] Will Divert Spending                                     185                            56%
     [2] Will Not Divert Spending                                 132                            40%
     [3] Don’t know / Unsure                                       14                             4%
     [4] Total Shown Question                                     331                          100%


        Notes & Sources:
        From Agency Survey.
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                                       APPENDIX EXHIBIT 82

                           AGENCY SURVEY
       ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
            DUE TO PROGRAMMATIC DISPLAY COST INCREASE


         Q5: To which other types of digital advertising below, if any, would you divert your advertising
          spending for the coming year for the client you spend the most time on, as a result of the increase
          in the cost of programmatic display advertising?

                                                  Respondents Indicating They Would Divert
                                                      Spending to the Advertising Type
                Advertising Type                       #                            %
                      [A]                             [B]                          [C]
      [1] Social                                                 113                              61%
      [2] Search                                                   81                             44%
      [3] Digital Video                                            74                             40%
      [4] eCommerce Platforms                                      64                             35%
      [5] Connected TV                                             64                             35%
      [6] Direct Deals Display                                     62                             34%
      [7] Email                                                    44                             24%
      [8] Digital Audio                                            41                             22%
      [9] App/In-app                                               38                             21%
     [10] Other                                                     1                              1%
     [11] None of the above                                         1                              1%
     [12] Don’t know / Unsure                                       1                              1%
     [13] Total Shown Question                                      185                         100%


         Notes & Sources:
         From Agency Survey.
         Sorted in descending order based on column [B], except for “Other,” “None of the above,”
           and “Don’t know / Unsure.”
         Respondents can hover their mouse over each digital advertising type to review the advertising
           type description.
         Percentages do not add up to 100% because respondents can select multiple options.
         Respondents were only shown Q5 if they indicated in Q4 that they would divert advertising spending to
           other types of digital advertising for the client they spending the most time on.
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                                           APPENDIX EXHIBIT 83

                         AGENCY SURVEY
NUMBER OF ADVERTISING TYPES TO WHICH SPENDING WOULD BE DIVERTED
           DUE TO PROGRAMMATIC DISPLAY COST INCREASE
      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


            Q5: To which other types of digital advertising below, if any, would you divert your advertising
             spending for the coming year for the client you spend the most time on, as a result of the increase
             in the cost of programmatic display advertising?

                                                      Respondents Indicating They Would Divert
               Number of Advertising                 Spending to the Number of Advertising Types
             Types Diverted Spending To                    #                             %
                         [A]                              [B]                             [C]
      [1]                  0                                             1                             1%
      [2]                  1                                            33                            18%
      [3]                  2                                            53                            29%
      [4]                  3                                            39                            21%
      [5]                  4                                            24                            13%
      [6]                  5                                            12                             6%
      [7]                  6                                             6                             3%
      [8]                  7                                             4                             2%
      [9]                  8                                             2                             1%
     [10]                  9                                            10                             5%
     [11]                 10                                             -                             0%
     [12]        Don’t know / Unsure         \                           1                             1%
     [13] Total Shown Question                                         185                          100%


            Notes & Sources:
            From Agency Survey.
            Respondents were only shown Q5 if they indicated in Q4 that they would divert advertising spending to other
              types of digital advertising for the client they spending the most time on.
            Respondents can hover their mouse over each digital advertising type to review the advertising type description.
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                                                                                        APPENDIX EXHIBIT 84

                                                              AGENCY SURVEY
                              EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
                                           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q6: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will lead you to divert some of your advertising types of digital spending to the
     advertising listed below. Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase) advertising spending for the coming year
      for the client you spend the most time on to each type of digital advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to keep spending
     on that type of digital advertising for the coming year and 10 if you expect to substantially increase spending on that type of digital advertising.

                                 Total         Average Extent                                            Number of Respondents by Extent of Increase                                        Don't know
      Advertising Type       Respondents         of Increase       0           1           2             3          4          5          6         7          8          9          10      / Unsure
              [A]                 [B]               [C]           [D]         [E]         [F]           [G]        [H]        [I]        [J]        [K]       [L]        [M]        [N]         [O]
 [1] Social                              113              6.8           -           -           6             6          5          11         12      24           26      11         11              1
 [2] Search                               81              6.5           1           1           3             3          2          14         11      20           10      10          6              -
 [3] Digital Video                        74              6.4           1           2           3             6          6           2          9      15           16       9          4              1
 [4] eCommerce Platforms                  64              7.1           2           -           2             2          1           6          4      17           10      12          7              1
 [5] Connected TV                         64              6.6           -           1           2             6          5           4          3      14           20       7          2              -
 [6] Direct Deals Display                 62              6.8           3           -           3             4          3           3          4      11           11       9         10              1
 [7] Email                                44              6.5           3           -           4             1          2           2          3       7           11       7          4              -
 [8] Digital Audio                        41              6.7           2           -           2             -          5           4          1       6           10       8          3              -
 [9] App/In-app                           38              7.2           2           -           -             -          -           5          1      10           11       3          5              1
[10] Other                                 1              3.0           -           -           -             1          -           -          -       -            -       -          -              -

                                 Total         Average Extent                                              Share of Respondents by Extent of Increase                                       Don't know
      Advertising Type       Respondents         of Increase       0           1           2             3          4          5          6         7          8          9          10      / Unsure
              [A]                 [B]               [C]           [D]         [E]         [F]           [G]        [H]        [I]        [J]        [K]       [L]        [M]        [N]         [O]
 [1] Social                          100%                 n/a       0%          0%          5%            5%         4%        10%        11%        21%       23%        10%        10%          1%
 [2] Search                          100%                 n/a       1%          1%          4%            4%         2%        17%        14%        25%       12%        12%         7%          0%
 [3] Digital Video                   100%                 n/a       1%          3%          4%            8%         8%          3%       12%        20%       22%        12%         5%          1%
 [4] eCommerce Platforms             100%                 n/a       3%          0%          3%            3%         2%          9%        6%        27%       16%        19%        11%          2%
 [5] Connected TV                    100%                 n/a       0%          2%          3%            9%         8%          6%        5%        22%       31%        11%         3%          0%
 [6] Direct Deals Display            100%                 n/a       5%          0%          5%            6%         5%          5%        6%        18%       18%        15%        16%          2%
 [7] Email                           100%                 n/a       7%          0%          9%            2%         5%          5%        7%        16%       25%        16%         9%          0%
 [8] Digital Audio                   100%                 n/a       5%          0%          5%            0%        12%        10%         2%        15%       24%        20%         7%          0%
 [9] App/In-app                      100%                 n/a       5%          0%          0%            0%         0%        13%         3%        26%       29%         8%        13%          3%
[10] Other                           100%                 n/a       0%          0%          0%          100%         0%          0%        0%         0%        0%         0%         0%          0%




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                                                                                    APPENDIX EXHIBIT 84

                                                              AGENCY SURVEY
                              EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
                                           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were shown their answer choices from Q5.
    Respondents were only shown Q6 if they did not select “None of the above” or “Don’t know/Unsure” in Q5.
    Respondents can hover their mouse over each digital advertising type to review the type description.
    Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total number of people selecting the advertising type
      to which to divert spending.
[C] Calculated as the average extent of increase in [D] through [N], weighted by the number of respondents.




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                                                 APPENDIX EXHIBIT 85

                                AGENCY SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


         Q6: In your previous answer, you indicated that the increase in the cost of programmatic display advertising will
          lead you to divert some of your advertising types of digital spending to the advertising listed below. Please use
          the sliders below to indicate, on a scale of 0 to 10, the extent to which you would divert (that is, increase)
          advertising spending for the coming year for the client you spend the most time on to each type of digital
          advertising that you just indicated. For each digital advertising type below, please select 0 if you expect to
          keep spending on that type of digital advertising for the coming year and 10 if you expect to substantially
          increase spending on that type of digital advertising.


                                      Total           Number of Respondents by Extent of Increase          Don't know
            Advertising Type       Respondents          0–3            4–6              7 – 10              / Unsure
                   [A]                 [B]               [C]               [D]               [E]               [F]
      [1] Social                             113                12                28                72                  1
      [2] Search                              81                 8                27                46                  -
      [3] Digital Video                       74                12                17                44                  1
      [4] eCommerce Platforms                 64                 6                11                46                  1
      [5] Connected TV                        64                 9                12                43                  -
      [6] Direct Deals Display                62                10                10                41                  1
      [7] Email                               44                 8                 7                29                  -
      [8] Digital Audio                       41                 4                10                27                  -
      [9] App/In-app                          38                 2                 6                29                  1
     [10] Other                                1                 1                 -                 -                  -

                                      Total            Share of Respondents by Extent of Increase          Don't know
            Advertising Type       Respondents          0–3             4–6               7 – 10            / Unsure
                   [A]                 [B]               [C]               [D]               [E]               [F]
      [1] Social                          100%                11%                25%               64%               1%
      [2] Search                          100%                10%                33%               57%               0%
      [3] Digital Video                   100%                16%                23%               59%               1%
      [4] eCommerce Platforms             100%                 9%                17%               72%               2%
      [5] Connected TV                    100%                14%                19%               67%               0%
      [6] Direct Deals Display            100%                16%                16%               66%               2%
      [7] Email                           100%                18%                16%               66%               0%
      [8] Digital Audio                   100%                10%                24%               66%               0%
      [9] App/In-app                      100%                 5%                16%               76%               3%
     [10] Other                           100%               100%                 0%                0%               0%



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                                               APPENDIX EXHIBIT 85

                                AGENCY SURVEY
EXTENT OF SPENDING CHANGES AS A RESULT OF PROGRAMMATIC DISPLAY COST INCREASE
             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other.”
        Respondents were shown their answer choices from Q5.
        Respondents were only shown Q6 if they did not select “None of the above” or “Don’t know/Unsure” in Q5.
        Respondents can hover their mouse over each digital advertising type to review the type description.
        Percentages calculated by dividing the number of people choosing the extent of increase for an advertising type by the total
          number of people selecting the advertising type to which to divert spending.




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                                                                APPENDIX EXHIBIT 86

                                                    AGENCY SURVEY
                                           AD BUYING TOOLS USED IN PAST YEAR
                                  EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
     ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
     include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
     advertising for the client you spend the most time on? (Please select all that apply.)

                                                                   Total Respondents             < Than $15M Ad Spend           > Than $15M Ad Spend
                        Ad Buying Tool                             #              %                 #            %                 #            %
                               [A]                                 [B]             [C]             [D]             [E]             [F]             [G]
 [1] Google Ads                                                          198             60%             115             61%              82             59%
 [2] Google DV360                                                        137             41%              77             41%              59             42%
 [3] Amazon DSP                                                          125             38%              69             36%              56             40%
 [4] The Trade Desk DSP                                                   86             26%              45             24%              40             29%
 [5] Adobe Advertising Cloud                                              54             16%              35             18%              19             14%
 [6] Criteo                                                               42             13%              20             11%              22             16%
 [7] Yahoo DSP (formerly Verizon Media DSP)                               40             12%              24             13%              16             11%
 [8] MediaMath DSP                                                        31              9%              21             11%              10              7%
 [9] Xandr Invest                                                         26              8%              14              7%              12              9%
[10] Simpli.fi                                                            26              8%              12              6%              14             10%
[11] Taboola                                                              24              7%              15              8%               9              6%
[12] Amobee                                                               23              7%              12              6%              11              8%
[13] Quantcast                                                            21              6%              14              7%               7              5%
[14] Adform                                                               21              6%              13              7%               8              6%
[15] StackAdapt                                                           19              6%              14              7%               5              4%
[16] Basis by Centro                                                      18              5%              12              6%               6              4%
[17] Zeta Global                                                          16              5%               8              4%               8              6%
[18] Outbrain                                                             16              5%              13              7%               3              2%
[19] Beeswax                                                              12              4%               7              4%               5              4%
[20] Adelphic                                                              7              2%               5              3%               2              1%
[21] Illumin (formerly AcuityAds)                                          5              2%               3              2%               2              1%
[22] Ad Step Technologies                                                  -                -              -                -              -              0%
[23] Quorexx                                                               -                -              -                -              -              0%
[24] Other                                                                 7              2%               5              3%               2              1%
[25] Don’t know / Unsure                                                   1              0%               1              1%               -              0%
[26] Total Shown Question                                                331             100%            190         100%                140         100%


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                                                                  APPENDIX EXHIBIT 86

                                                        AGENCY SURVEY
                                               AD BUYING TOOLS USED IN PAST YEAR
                                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
        Percentages do not add up to 100% because respondents can select multiple options.




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                                                                  APPENDIX EXHIBIT 87

                                                         AGENCY SURVEY
                                           NUMBER OF AD BUYING TOOLS USED IN PAST YEAR
                                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
         ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
         include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
         advertising for the client you spend the most time on? (Please select all that apply.)

                            Number of                               Total Respondents            < Than $15M Ad Spend            > Than $15M Ad Spend
                      Ad Buying Tools Selected                      #              %                #            %                  #            %
                                 [A]                                [B]             [C]             [D]             [E]             [F]            [G]
    [1] Zero                                                                -              0%               -              0%               -             0%
    [2] One                                                                96             29%              61             32%              35            25%
    [3] More than One                                                     234             71%             128             67%             105            75%
    [4] Two                                                                64             19%              26             14%              38            27%
    [5] Three                                                              79             24%              47             25%              31            22%
    [6] Four or More                                                       91             27%              55             29%              36            26%
    [7] Don’t know / Unsure                                                 1              0%               1              1%               -             0%
    [8] Total Shown Question                                              331         100%                190         100%                140         100%

    [9] Average # of Ad Buying Tools Selected                             2.9                             2.9                             2.8


         Notes & Sources:
         From Agency Survey.
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
     [9] Calculated as the average number of ad buying tools selected by respondents. Excludes respondents who selected “Don’t know / Unsure.”
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                                                                   APPENDIX EXHIBIT 88

                                                       AGENCY SURVEY
                                               USE OF GOOGLE AD BUYING TOOLS
                                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


        Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display
         ad inventory from a wide range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools
         include demand side platforms, or “DSPs.” Which of the following ad buying tools, if any, have you used in the past year for programmatic display
         advertising for the client you spend the most time on? (Please select all that apply.)

                                                                       Total Respondents           < Than $15M Ad Spend            > Than $15M Ad Spend
                          Ad Buying Tool(s)                            #             %                #            %                  #            %
                                  [A]                                 [B]             [C]             [D]            [E]             [F]             [G]
    [1] Neither Google Ads nor Google DV360                                  87             26%              55            29%              32             23%
    [2] At least one of Google Ads and Google DV360                         243             73%             134            71%             108             77%
    [3] Google Ads Only                                                     106             32%              57            30%              49             35%
    [4] Google DV360 Only                                                    45             14%              19            10%              26             19%
    [5] Both Google Ads and Google DV360                                     92             28%              58            31%              33             24%
    [6] Don’t know / Unsure                                                   1              0%               1             1%               -              0%
    [7] Total Shown Question                                                331         100%                190         100%               140         100%


        Notes & Sources:
        From Agency Survey.
[D]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
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                                                                        APPENDIX EXHIBIT 89

                                                          AGENCY SURVEY
                                                           GOOGLE USERS
                                                  NUMBER OF OTHER AD BUYING TOOLS
                                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from a wide
        range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
        the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the client you spend the most time on? (Please select
        all that apply.)

                                                                        Google Ads Users                                            Google DV360 Users
                 # of Other Ad Buying                                     < Than $15M           > Than $15M                            < Than $15M       > Than $15M
               Tools (Incl. Google Tools)           Total Respondents       Ad Spend              Ad Spend       Total Respondents       Ad Spend          Ad Spend
                           [A]                             [B]                 [C]                  [D]                [E]                 [F]               [G]
 [1]                         0                                     37                  21                   16                 10                   7                 3
 [2]                         1                                     35                  14                   21                 17                   8                 9
 [3]                         2                                     51                  32                   18                 38                  22                15
 [4]                         3                                     24                  13                   11                 20                   8                12
 [5]                        4+                                     51                  35                   16                 52                  32                20
 [6]               Total Respondents                              198                 115                   82                137                  77                59

 [7] Average # of Other Ad Buying Tools                           2.4                 2.6                  2.1                3.1                 3.2               3.0

                                                                        Google Ads Users                                            Google DV360 Users
                 # of Other Ad Buying                                     < Than $15M           > Than $15M                            < Than $15M       > Than $15M
               Tools (Incl. Google Tools)           Total Respondents       Ad Spend              Ad Spend       Total Respondents       Ad Spend          Ad Spend
                           [A]                             [B]                 [C]                  [D]                [E]                 [F]               [G]
 [8]                         0                                   19%                 18%                  20%                 7%                  9%                5%
 [9]                         1                                   18%                 12%                  26%                12%                 10%               15%
[10]                         2                                   26%                 28%                  22%                28%                 29%               25%
[11]                         3                                   12%                 11%                  13%                15%                 10%               20%
[12]                        4+                                   26%                 30%                  20%                38%                 42%               34%
[13]               Total Respondents                             100%                100%                 100%               100%                100%              100%




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                                                                                   APPENDIX EXHIBIT 89

                                                                     AGENCY SURVEY
                                                                      GOOGLE USERS
                                                             NUMBER OF OTHER AD BUYING TOOLS
                                                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies to bid automatically on display ad inventory from a wide
                   range of publishers. Some ad buying tools can also be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which of
                   the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the client you spend the most time on? (Please select
                   all that apply.)

                                                                                   Google Ads Users                                            Google DV360 Users
                               # of Non-Google                                       < Than $15M           > Than $15M                            < Than $15M       > Than $15M
                               Ad Buying Tools                 Total Respondents       Ad Spend              Ad Spend       Total Respondents       Ad Spend          Ad Spend
                                      [A]                             [B]                 [C]                  [D]                [E]                 [F]               [G]
           [14]                         0                                     45                  26                   19                 18                  12                 6
           [15]                         1                                     52                  26                   25                 34                  20                13
           [16]                         2                                     42                  21                   21                 29                  11                18
           [17]                         3                                     27                  21                    6                 23                  16                 7
           [18]                        4+                                     32                  21                   11                 33                  18                15
           [19]               Total Respondents                              198                 115                   82                137                  77                59

           [20] Average # of Non-Google Ad Buying Tools                      1.9                 2.1                  1.7                2.4                 2.4               2.4

                                                                                   Google Ads Users                                            Google DV360 Users
                               # of Non-Google                                       < Than $15M           > Than $15M                            < Than $15M       > Than $15M
                               Ad Buying Tools                 Total Respondents       Ad Spend              Ad Spend       Total Respondents       Ad Spend          Ad Spend
                                      [A]                             [B]                 [C]                  [D]                [E]                 [F]               [G]
           [21]                         0                                   23%                 23%                  23%                13%                 16%               10%
           [22]                         1                                   26%                 23%                  30%                25%                 26%               22%
           [23]                         2                                   21%                 18%                  26%                21%                 14%               31%
           [24]                         3                                   14%                 18%                   7%                17%                 21%               12%
           [25]                        4+                                   16%                 18%                  13%                24%                 23%               25%
           [26]               Total Respondents                             100%                100%                 100%               100%                100%              100%


                Notes & Sources:
                From Agency Survey.
[C]-[D],[F]-[G] Does not include one respondent who answered “Don’t know / Unsure” to QS12.
                Percentages calculated by dividing the number of people choosing “Google Ads” or “Google DV360” for a given number of selected ad buying tools by the total number of people
                  choosing “Google Ads” or “Google DV360.”



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                                          APPENDIX EXHIBIT 90

                             AGENCY SURVEY
              USE OF GOOGLE ADS AND OTHER AD BUYING TOOLS
           EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Q7: An ad buying tool is a programmatic advertising platform that allows advertisers and media buying agencies
      to bid automatically on display ad inventory from a wide range of publishers. Some ad buying tools can also
      be used to buy video and search ad inventory. Ad buying tools include demand side platforms, or “DSPs.” Which
      of the following ad buying tools, if any, have you used in the past year for programmatic display advertising for the
      client you spend the most time on? (Please select all that apply.)

                                                                                        Total Respondents
                                 Ad Buying Tool(s)                                       #            %
                                       [A]                                              [B]            [C]
  [1] Google Ads and At Least One Other Ad Buying Tool                                        161         81%
  [2] Google Ads and DV360 Only                                                                 8          4%
  [3] Google Ads, DV360 and At Least One Non-Google Ad Buying Tool                             84        42%
  [4] Google Ads Only and At Least One Non-Google Ad Buying Tool                               69        35%
  [5] Google Ads and No Other Ad Buying Tool                                                   37         19%
  [6] Total Respondents Using Google Ads                                                      198        100%


     Notes & Sources:
     From Agency Survey.
     Limited to respondents who selected Google Ads in Q7.
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                                                       APPENDIX EXHIBIT 91

                                           AGENCY SURVEY
                         OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                         WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                         EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


       QS14: Which of the following types of digital advertising, if any, have you used in the past year for the client you spend
        the most time on? Please review the description of each advertising type carefully. (Please select all that apply.)

                                                    Respondents Who Use Google                   Respondents Who Use Google
                                                     Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                    Other Digital                   Tools for Programmatic Display            Buying Tools for Programmatic Display
                Advertising Types Used                 #                    %                        #                    %
                       [A]                             [B]                    [C]                    [D]                     [E]
    [1] Social                                                  25                   68%                       33                   73%
    [1] Search                                                  24                   65%                       32                   71%
    [2] Digital Video                                           21                   57%                       28                   62%
    [3] Email                                                   20                   54%                       25                   56%
    [4] Connected TV                                            18                   49%                       21                   47%
    [5] eCommerce Platforms                                     15                   41%                       17                   38%
    [6] Digital Audio                                           14                   38%                       18                   40%
    [7] App/In-App                                              11                   30%                       14                   31%
    [8] Direct Display                                          10                   27%                       13                   29%
    [9] Other                                                    -                      -                       -                      -
   [10] Total                                                   37                  100%                       45                   100%


        Notes & Sources:
        From Agency Survey.
        Sorted in descending order based on column [B], except for “Other.”
    [A] Includes the non-programmatic display advertising types respondents selected in QS14 and QS15.
[B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tool in Q7.
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                                                          APPENDIX EXHIBIT 92

                                        AGENCY SURVEY
                 NUMBER OF OTHER DIGITAL ADVERTISING TYPES USED BY RESPONDENTS
                      WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                     EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          QS14: Which of the following types of digital advertising, if any, have you used in the past year for the client you spend
           the most time on? Please review the description of each advertising type carefully. (Please select all that apply.)

                                                       Respondents Who Use Google                   Respondents Who Use Google
                                                        Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
                    Number of Other                    Tools for Programmatic Display            Buying Tools for Programmatic Display
            Digital Advertising Types Used                #                    %                        #                    %
                           [A]                            [B]                    [C]                    [D]                     [E]
    [1]                     0                                        8                  22%                        8                   18%
    [2]                     1                                        3                   8%                        3                    7%
    [3]                     2                                        3                   8%                        4                    9%
    [4]                     3                                        3                   8%                        4                    9%
    [5]                     4                                        1                   3%                        4                    9%
    [6]                     5                                        5                  14%                        5                   11%
    [7]                     6                                        2                   5%                        2                    4%
    [8]                     7                                        3                   8%                        3                    7%
    [9]                     8                                        3                   8%                        4                    9%
   [10]                     9                                        6                  16%                        8                   18%
   [11] Total                                                      37                  100%                       45                   100%


        Notes & Sources:
        From Agency Survey.
    [A] Counts the number of non-programmatic display advertising types respondents selected in QS14 and QS15.
[B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7.
[D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tools in Q7.
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                                                      APPENDIX EXHIBIT 93

                                      AGENCY SURVEY
                      PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
             BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                    EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q3: What is your best estimate of the share of the digital advertising budget of the client you spend the most time
     on that was used for each of these types of advertising in the past year? Specifically, please allocate 100% across
     the different types of digital advertising shown below based on the share of your client’s total digital advertising
     budget spent on each type. The total should add up to 100%.


                                                     Respondents Who Use Google                    Respondents Who Use Google
                                                      Ads and No Other Ad Buying                 Ads and No Other Non-Google Ad
              % of Budget Allocated                  Tools for Programmatic Display            Buying Tools for Programmatic Display
       to Programmatic Display Advertising              #                     %                       #                    %
                      [A]                              [B]                   [C]                     [D]                  [E]
     % of Digital Advertising Budget
 [1] 0% – 10%                                                    10                   27%                       12              27%
 [2] 10% – 20%                                                   11                   30%                       14              31%
 [3] 20% – 30%                                                    4                   11%                        5              11%
 [4] 30% – 40%                                                    1                    3%                        2               4%
 [5] 40% – 50%                                                    -                    0%                        1               2%
 [6] 50% – 60%                                                    3                    8%                        3               7%
 [7] 60% – 70%                                                    -                    0%                        -               0%
 [8] 70% – 80%                                                    -                    0%                        -               0%
 [9] 80% – 90%                                                    -                    0%                        -               0%
[10] 90% – 100%                                                   8                   22%                        8              18%
[11] Don’t know / Unsure                                          -                    0%                        -               0%
[12] Total                                                       37                  100%                       45             100%

     % of Overall Advertising Budget
[13] 0% – 10%                                                    15                   41%                       18              40%
[14] 10% – 20%                                                    7                   19%                        9              20%
[15] 20% – 30%                                                    4                   11%                        5              11%
[16] 30% – 40%                                                    4                   11%                        6              13%
[17] 40% – 50%                                                    3                    8%                        3               7%
[18] 50% – 60%                                                    3                    8%                        3               7%
[19] 60% – 70%                                                    -                    0%                        -               0%
[20] 70% – 80%                                                    -                    0%                        -               0%
[21] 80% – 90%                                                    1                    3%                        1               2%
[22] 90% – 100%                                                   -                    0%                        -               0%
[23] Don’t know / Unsure                                          -                    0%                        -               0%
[24] Total                                                       37                  100%                       45             100%



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                                                           APPENDIX EXHIBIT 93

                                         AGENCY SURVEY
                         PROGRAMMATIC DISPLAY ADVERTISING BUDGET SHARE
                BY RESPONDENTS WHO USE ONLY GOOGLE ADS FOR PROGRAMMATIC DISPLAY
                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          Notes & Sources:
          From Agency Survey.
  [B]-[C] Limited to respondents who selected Google Ads and no other ad buying tools (including Google DV360) in Q7.
  [D]-[E] Limited to respondents who selected Google Ads and no other Non-Google ad buying tools in Q7.
[13]-[23] Calculated as the % of budget allocated to programmatic display in Q3 * the % of budget allocated to online advertising
            in QS13.




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                                APPENDIX EXHIBIT 94

                         AGENCY SURVEY
                   CHANGE IN AD BUYING TOOL USE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q9: Do you expect to use the same number, more, or fewer ad buying tools
                    for programmatic display advertising next year for the client you spend the
                    most time on? (Please select only one option.)

                         Response Options               #              %
                                 [A]                   [B]            [C]
                [1] More                                      62         19%
                [2] Fewer                                     76         23%
                [3] Same Number                              186         56%
                [4] Don’t know / Unsure                        6          2%
                [5] Total Shown Question                     330        100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q9 if they did not select “Don’t know / Unsure” in Q7.
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                                      APPENDIX EXHIBIT 95

                         AGENCY SURVEY
        FACTORS CONSIDERED WHEN CHOOSING AD BUYING TOOLS
              FOR PROGRAMMATIC DISPLAY ADVERTISING
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


          Q11: Which of the following factors, if any, do you consider when deciding to use a particular ad buying
           tool for programmatic display advertising for the client you spend the most time on? (Please select all that apply.)

                                                                      Respondents Indicating the
                                                                       Factor was Considered
                                    Factor                                #              %
                                      [A]                                [B]            [C]
       [1] Targeting criteria and capabilities                               159            48%
       [2] Media optimization of placements during a campaign                156            47%
       [3] Cost                                                              152            46%
       [4] Ad placement effectiveness                                        151            46%
       [5] Audience scale/Reach                                              151            46%
       [6] Ease of use/User interface                                        133            40%
       [7] Reporting features                                                131            40%
       [8] Brand safety/fraud protection                                     118            36%
       [9] API and integrations                                              105            32%
      [10] Budget management tools                                            97            29%
      [11] Forecasting tools                                                  96            29%
      [12] Support                                                            94            28%
      [13] Identity management                                                71            22%
      [14] Troubleshooting capabilities                                       58            18%
      [15] Other                                                               2              1%
      [16] Don’t know / Unsure                                                 1              0%
      [17] Total Shown Question                                                330           100%


          Notes & Sources:
          From Agency Survey.
          Sorted in descending order based on column [B], except for “Other” and “Don’t know / Unsure.”
          Respondents were show Q11 if they did not select “Don’t know / Unsure” in Q7.
          Percentages do not add up to 100% because respondents can select multiple options.
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                                APPENDIX EXHIBIT 96

                         AGENCY SURVEY
              DISCONTINUATION OF AD BUYING TOOL USE
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q12: Have you stopped using any ad buying tool(s) for programmatic display
                    advertising in the past year for the client you spend the most time on?
                    (Please select only one option.)

                         Response Options              #             %
                                 [A]                  [B]           [C]
                [1] Yes                                      73        22%
                [2] No                                      250        76%
                [3] Don’t know / Unsure                       7         2%
                [4] Total Shown Question                    330       100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q12 if they did not select “Don’t know / Unsure” in Q7.
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                                APPENDIX EXHIBIT 97

                          AGENCY SURVEY
      REASONS FOR STARTING USE OF AT LEAST ONE AD BUYING TOOL
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                   Q14: Have you started using any ad buying tool(s) in the past year for
                    programmatic display advertising for the client you spend the most time on?
                    (Please select only one option.)

                         Response Options              #              %
                                 [A]                  [B]            [C]
                [1] Yes                                      96         29%
                [2] No                                      228         69%
                [3] Don’t know / Unsure                       6          2%
                [4] Total Shown Question                    330        100%


                   Notes & Sources:
                   From Agency Survey.
                   Respondents were show Q14 if they did not select “Don’t know / Unsure” in Q7.
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                                                               APPENDIX EXHIBIT 98

                                                  AGENCY SURVEY
                                          PERFORMANCE ASSESSMENT METRICS
                                 EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q16: Which of the following metrics, if any, do you use to assess the performance of programmatic display ads, direct deals display ads, social media ads,
     and/or digital video ads for the client you spend the most time on? (Please select all that apply in each column.)

                                            Programmatic                     Direct Deals                Social Media                  Digital Video
                                             Display Ads                     Display Ads                     Ads                            Ads
                Metric                     #             %               #                  %          #             %               #              %
                    [A]                   [B]            [C]            [D]             [E]           [F]            [G]            [H]            [I]
 [1] Conversions                                165         50%                66          43%              139         55%                89            41%
 [2] Return on Investment (ROI)                 165         50%                62          40%              118         46%                93            43%
 [3] Return on Ad Spend (ROAS)                  154         47%                73          47%              139         55%                92            43%
 [4] Cost per click (CPC)                       149         45%                77          50%              128         50%                74            34%
 [5] Impressions                                148         45%                64          42%              123         48%               107            50%
 [6] Cost per impression (CPM)                  143         43%                72          47%              118         46%               113            53%
 [7] Click through rate (CTR)                   142         43%                75          49%              141         55%                87            40%
 [8] Cost per action (CPA)                      126         38%                66          43%              126         49%                75            35%
 [9] Clicks                                     121         37%                58          38%              107         42%                76            35%
[10] Other                                        8          2%                 3           2%                8          3%                14             7%
[11] None of the above                            -          0%                 1           1%                -          0%                 -             0%
[12] Don’t know / Unsure                          1          0%                 2           1%                1          0%                 2             1%
[13] Total Shown Question                       331        100%               154           100%            255        100%               215        100%


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “None of the above” and “Don’t know / Unsure.”
    Respondents were only asked about each of the above advertising types if they had indicated in QS14 and QS15 that the client they spend the most time
      on used those advertising types in the past year.
    Percentages do not add up to 100% because respondents can select multiple options.
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                                                    APPENDIX EXHIBIT 99

                                       AGENCY SURVEY
                               PERFORMANCE ASSESSMENT METRICS
                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


    Q17: You indicated that you use the following metrics to assess the performance of programmatic display ads for the client you
     spend the most time on. Please rank these metrics in terms of how important they are to accurately assessing
     the performance of programmatic display ads, with 1 being the most important and [NUMBER OF MEASURES SELECTED IN Q16]
     being the least important. (Please rank the following metrics, or select “Don’t know / Unsure”.)

                                                 Respondents Ranking Metric                   Respondents Ranking Metric
                                                     As Most Important                       Among the Top 3 Most Important
                  Metric                          #                    %                       #                    %
                      [A]                         [B]                    [C]                    [D]                     [E]
 [1] Return on Investment (ROI)                            74                    22%                    141                    43%
 [2] Return on Ad Spend (ROAS)                             49                    15%                    121                    37%
 [3] Conversions                                           40                    12%                    119                    36%
 [4] Cost per action (CPA)                                 34                    10%                     87                    26%
 [5] Cost per impression (CPM)                             31                     9%                     82                    25%
 [6] Impressions                                           29                     9%                     73                    22%
 [7] Clicks                                                26                     8%                     58                    18%
 [8] Click through rate (CTR)                              22                     7%                     87                    26%
 [9] Cost per click (CPC)                                  21                     6%                     73                    22%
[10] Other                                                  3                     1%                      7                     2%
[11] Total                                                329                   100%                    329                   100%


    Notes & Sources:
    From Agency Survey.
    Sorted in descending order based on column [B], except for “Other.”
    Respondents were only shown Q17 if they indicate that they used more than one metric to assess the performance of programmatic
      display ads in Q16. Respondents who selected only one metric in Q16 are assumed to have that metric ranked as most important.
      Total includes respondents who ranked metrics in Q17 or selected only one metric in Q16.
    1 respondent (less than 1% of respondents who selected at least one metric to assess the performace of programmatic display ads) selected
      “Don’t know / Unsure.”
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                                  APPENDIX EXHIBIT 100

                         AGENCY SURVEY
              FREQUENCY OF PERFORMANCE ASSESSMENT
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


               Q18: How often, if at all, do you measure or assess the performance of the programmatic
                 display advertising for the client you spend the most time on? (Please select only one option.)

                               Frequency                          #             %
                                  [A]                            [B]            [C]
            [1] Daily                                                   32         10%
            [2] Weekly                                                 132         40%
            [3] Monthly                                                109         33%
            [4] Quarterly                                               46         14%
            [5] Annually                                                12          4%
            [6] Don’t know / Unsure                                      -          0%
            [7] Total Shown Question                                   331        100%


               Notes & Sources:
               From Agency Survey.
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                                 APPENDIX EXHIBIT 101

                         AGENCY SURVEY
            EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  Q19: In the past year, have you run any experiments or test & learn initiatives
                   to assess the performance of the programmatic display ads for the client you
                   spend the most time on? (Please select only one option.)

                         Response Options                #               %
                                [A]                    [B]              [C]
               [1] Yes                                       202              61%
               [2] No                                        114              34%
               [3] Don’t know / Unsure                        15               5%
               [4] Total Shown Question                      331             100%


                  Notes & Sources:
                  From Agency Survey.
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                                APPENDIX EXHIBIT 102

                          AGENCY SURVEY
         TYPES OF EXPERIMENTS ON PROGRAMMATIC DISPLAY ADS
        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                  Q20: Which of the following types of experiments or test & learn initiatives,
                   if any, have you run in the past year to assess the performance of the
                   programmatic display ads for the client you spend the most time on?

                         Experiment Type                #                %
                                 [A]                   [B]              [C]
               [1] Audiences                                 133              66%
               [2] Creatives                                 121              60%
               [3] ROI/ROAS                                  103              51%
               [4] Bid strategies                             97              48%
               [5] Ad buying tool performance                 91              45%
               [6] Publishers                                 54              27%
               [7] Other                                       1               0%
               [8] Don’t know / Unsure                         -               0%
               [9] Total Shown Question                      202             100%


                  Notes & Sources:
                  From Agency Survey.
                  Sorted in descending order based on column [B], except for “Other” and
                    “Don’t know / Unsure.”
                  Percentages do not add up to 100% because respondents can select
                    multiple options.
                  Respondents were only shown Q20 if they indicated in Q19 that they
                    had conducted experiments or test & learn initiatives on their
                    programmatic display ads in the past year.
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                                                                                  APPENDIX EXHIBIT 103

                                                        SENSITIVITY ANALYSIS BY RESPONDENT DEMOGRAPHIC
                                                      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                          Complete Sample          Gender                                      Age                                               Region
               Response Options            Survey Results    Female       Male         18 – 34       35 – 49         50 – 64      65+         NE          MW              S          W
                      [A]                       [B]            [C]          [D]           [E]          [F]            [G]         [H]         [I]          [J]            [K]        [L]
        Higher-Spend Advertiser Survey
    [1] Will Divert Spending                          58%         63%          56%          63%          57%             55%            n/a     65%          51%              54%      60%
    [2] Used Multiple Ad Buying Tools                 74%         75%          74%          73%          74%             73%            n/a     82%          81%              73%      67%
    [3] Sample Size (N)                                453         122          331           88          301              64             -       99           63              142      149

        Lower-Spend Advertiser Survey
    [4] Will Divert Spending                          59%         51%          60%          57%          60%             55%            n/a     52%          69%              56%      59%
    [5] Used Multiple Display Platforms               77%         61%          81%          77%          77%             82%            n/a     70%          87%              75%      78%
    [6] Sample Size (N)                                243          41          202           44          177              22             -       44           54               96       49

        Agency Survey
    [7] Will Divert Spending                          56%         52%          58%          65%          53%             51%       100%         59%          67%              55%      50%
    [8] Used Multiple Ad Buying Tools                 71%         79%          67%          73%          68%             77%       100%         83%          75%              71%      59%
    [9] Sample Size (N)                                331         105          225           84          203              43         1           86           36              104      105


         Notes & Sources:
         From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
     [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of programmatic display
           advertising.
     [2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool.
     [4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform.
     [7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response to an increase in the cost of
           programmatic display advertising.
     [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on.
[C]-[D] From QS4 in Higher-Spend Advertiser Survey, QS4 in Lower-Spend Advertiser Survey, and QS4 in Agency Survey.
[E]-[H] From QS3 in Higher-Spend Advertiser Survey, QS3 in Lower-Spend Advertiser Survey, and QS3 in Agency Survey.
 [I]-[L] From QS5 in Higher-Spend Advertiser Survey, QS5 in Lower-Spend Advertiser Survey, and QS5 in Agency Survey. Each respondent’s state of residence is categorized into regions based on the U.S.
           census regions. See Census Regions and Divisions of the United States, U.S. Census Bureau, available at https://www2.census.gov/geo/pdfs/maps-data/maps/reference/us_regdiv.pdf.
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                                                                                                            APPENDIX EXHIBIT 104

                                                                              SENSITIVITY ANALYSIS BY RESPONDENT ANNUAL AD SPEND
                                                                             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                                                                                                              Annual Ad Spend
                                          Complete Sample Less than $10K to          $25K to     $50K to   $100K to $250K to $500K to        $1M to      $3M to     $7M to     $15M to    $30M to     $50M to $100M to $250M to
               Response Options            Survey Results  $10K      $25K             $50K        $100K     $250K    $500K     $1M            $3M         $7M        $15M       $30M       $50M        $100M   $250M    $500M $500M+
                      [A]                        [B]            [C]        [D]         [E]         [F]       [G]         [H]         [I]        [J]        [K]        [L]        [M]         [N]        [O]        [P]         [Q]      [R]
        Higher-Spend Advertiser Survey
    [1] Will Divert Spending                           58%         n/a        n/a         n/a        n/a        n/a         n/a       61%        57%        55%        63%         59%        53%        58%         61%        47%      56%
    [2] Used Multiple Ad Buying Tools                  74%         n/a        n/a         n/a        n/a        n/a         n/a       58%        61%        63%        85%         84%        75%        74%         82%        93%      78%
    [3] Sample Size (N)                                 453        n/a        n/a         n/a        n/a        n/a         n/a         31         76         56         81          68         51         38          28         15       9

        Lower-Spend Advertiser Survey
    [4] Will Divert Spending                           59%        67%        76%        63%         58%        51%        43%          n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a
    [5] Used Multiple Display Platforms                77%        67%        86%        72%         81%        81%        72%          n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a
    [6] Sample Size (N)                                 243         6          51         60          26         47         53         n/a        n/a         n/a        n/a        n/a         n/a        n/a        n/a         n/a     n/a

        Agency Survey
    [7] Will Divert Spending                           56%            -          -           -      80%        71%        83%         61%        60%        52%        51%         53%        39%        63%         68%        60%      57%
    [8] Used Multiple Ad Buying Tools                  71%            -          -           -      60%        71%        50%         68%        72%        56%        82%         68%        79%        94%         64%        80%     100%
    [9] Sample Size (N)                                 331           -          -           -        5          7          6           28         43         62         39          57         33         16          22         5        7


         Notes & Sources:
         From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
     [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of programmatic display advertising.
     [2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool.
     [4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform.
     [7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response to an increase in the cost of programmatic display advertising.
     [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on.
[C]-[R] From QS10 in Higher-Spend Advertiser Survey, QS10 in Lower-Spend Advertiser Survey, and QS12 in Agency Survey. Agency Results do not include one respondent who answered “Don’t know / Unsure” to QS12.
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                                                              APPENDIX EXHIBIT 105

                          SENSITIVITY ANALYSIS BY RESPONDENT SURVEY COMPLETION TIME
                             EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                              Survey Results in Sample that Excludes Completion Time Outliers                        Test of H0
           Response Options                   1.67 Minutes - 3 Hours                    3 Minutes - 2 Hours                  z-score          p-value
                  [A]                                   [B]                                       [C]                          [D]                [E]
    Higher-Spend Advertiser Survey
[1] Will Divert Spending                                                 58%                                       62%              -1.35               0.18
[2] Used Multiple Ad Buying Tools                                        74%                                       81%           -2.56**                0.01
[3] Sample Size (N)                                                       453                                       409

    Lower-Spend Advertiser Survey
[4] Will Divert Spending                                                 59%                                       63%               -1.02              0.31
[5] Used Multiple Display Platforms                                      77%                                       83%               -1.56              0.12
[6] Sample Size (N)                                                       243                                       219

    Agency Survey
[7] Will Divert Spending                                                 56%                                       58%               -0.55              0.58
[8] Used Multiple Ad Buying Tools                                        71%                                       74%               -0.80              0.43
[9] Sample Size (N)                                                       331                                       317


    Notes & Sources:
    From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
[1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost
      of programmatic display advertising.
[2] Respondents who, in Q8 of the Higher-Spend Advertiser Survey, selected more than one ad buying tool.
[4] Respondents who, in Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to an increase in the cost
      of display advertising.
[5] Respondents who, in Q4 of the Lower-Spend Advertiser Survey, selected more than one display platform.
[7] Respondents who, in Q4 of the Agency Survey, indicated that they would divert advertising spending for the client they spend the most time on as a response
      to an increase in the cost of programmatic display advertising.




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                                                                   APPENDIX EXHIBIT 105

                             SENSITIVITY ANALYSIS BY RESPONDENT SURVEY COMPLETION TIME
                                EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources (continued):
 [8] Respondents who, in Q7 of the Agency Survey, selected more than one ad buying tool for the client they spend the most time on.
[B] Limited to respondents with qtime between 1.67 minutes (100 seconds) and 3 hours (10,800 seconds).
[C] Limited to respondents with qtime between 3 minutes (180 seconds) and 2 hours (7,200 seconds).
[D] Significance tests reflect the difference in the percentage of respondents in columns [B] and [C] saying they will divert spending or use multiple ad tools,
      between outlier completion time exclusions. The z-scores are based on a two-tailed test with z = ( p 1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 );
      a z-score of ±1.96, for example, corresponds to a significance at the 95% confidence level. One asterisk (*) denotes significance at the 0.1 level with
      p < 0.1 and two asterisks (**) denote significance at the 0.05 level with p < 0.05.
[E] Reflects significance levels of the difference of percentages in [B] and [C].




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                                                              APPENDIX EXHIBIT 106

                                      SUMMARY OF SELECTED RESULTS ACROSS SURVEYS
                                   EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                                                    Higher-Spend        Lower-Spend
                                                                                   Advertiser Survey   Advertiser Survey                  Test of H0
                                 Survey Results                                     %            N      %            N           z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]           [F]                 [G]
 [1] Respondents Who Would Divert Spending                                            58%        453      59%              243           -0.26               0.79
 [2] Respondents Who Use More Than One Advertising Type                               85%        453      84%              243            0.65               0.52
 [3] Respondents Who Use More Than One Ad Buying Tool/Display Platform                74%        453      77%              243           -1.01               0.31
 [4] Google Ads Users Using At Least One Other Non-Google Ad Buying                   75%        305      76%              155           -0.17               0.87
      Tool/Display Platform

                                                                                    Higher-Spend            Agency
                                                                                   Advertiser Survey        Survey                        Test of H0
                                 Survey Results                                     %            N      %            N           z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]           [F]                 [G]
 [5] Respondents Who Would Divert Spending                                            58%        453      56%          331                0.54               0.59
 [6] Respondents Who Use More Than One Advertising Type                               85%        453      86%          331               -0.39               0.70
 [7] Respondents Who Use More Than One Ad Buying Tool                                 74%        453      71%          331                1.00               0.32
 [8] Google Ads Users Using At Least One Other Non-Google Ad Buying Tool              75%        305      77%          198               -0.48               0.63

                                                                                    Lower-Spend             Agency
                                                                                   Advertiser Survey        Survey                        Test of H0
                                 Survey Results                                     %            N      %            N           z-score           p-value
                                        [A]                                         [B]        [C]      [D]          [E]           [F]                 [G]
 [9] Respondents Who Would Divert Spending                                            59%        243      56%          331            0.71                   0.48
[10] Respondents Who Use More Than One Advertising Type                               84%        243      86%          331           -0.94                   0.35
[11] Respondents Who Use More Than One Ad Buying Tool/Display Platform                77%        243      71%          331           1.82*                   0.07
[12] Google Ads Users Using At Least One Other Non-Google Ad Buying                   76%        155      77%          198           -0.25                   0.80
      Tool/Display Platform




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                                                                   APPENDIX EXHIBIT 106

                                          SUMMARY OF SELECTED RESULTS ACROSS SURVEYS
                                       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources:
     From Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
 [1] Respondents who, in Q5 of the Higher-Spend Advertiser Survey and Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending
       as a response to an increase in the cost of display advertising. In the Higher-Spend Advertiser Survey, this question referred to programmatic display advertising
       specifically.
 [2] Respondents who, in QS12 of the Higher- and Lower-Spend Advertiser Surveys, indicated that they have used more than one type of digital advertising in the past
       year.
 [3] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q4 of the Lower-Spend Advertiser Survey, selected more than one ad buying tool/display platform.
 [4] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q4 of the Lower-Spend Advertiser Survey, indicated using Google Ads, and who selected more
       than one non-Google ad buying tool/display platform.
 [5] Respondents who, in Q5 of the Higher-Spend Advertiser Survey and Q4 of the Agency Survey, indicated that they would divert advertising spending as a response to
       an increase in the cost of programmatic display advertising. In the Agency Survey, respondents were asked to answer the question for the client they spend the most
       time on.
 [6] Respondents who, in QS12 of the Higher-Advertiser Survey and QS14 of the Agency Survey, indicated that they have used more than one type of digital advertising
       in the past year. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
 [7] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q7 of the Agency Survey, selected more than one ad buying tool.
       In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
 [8] Respondents who, in Q8 of the Higher-Spend Advertiser Survey and Q7 of the Agency Survey, indicated using Google Ads, and who selected more than one
       non-Google ad buying tool. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
 [9] Respondents who, in Q4 of the Agency Survey and Q9 of the Lower-Spend Advertiser Survey, indicated that they would divert advertising spending as a response to
       an increase in the cost of display advertising. In the Agency Survey, this referred to programmatic display advertising specifically. In the Agency Survey,
       respondents were asked to answer the question for the client they spend the most time on.
[10] Respondents who, in QS14 of the Agency Survey and QS12 of the Lower-Spend Advertiser Survey, indicated that they have used more than one type of digital
       advertising in the past year. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
[11] Respondents who, in Q7 of the Agency Survey and Q4 of the Lower-Spend Advertiser Survey, selected more than one ad buying tool/display platform.
       In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.
[12] Respondents who, in Q7 of the Agency Survey and Q4 of the Lower-Spend Advertiser Survey, indicated using Google Ads, and who selected more than one
       non-Google ad buying tool/display platform. In the Agency Survey, respondents were asked to answer the question for the client they spend the most time on.




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                                                                      APPENDIX EXHIBIT 106

                                           SUMMARY OF SELECTED RESULTS ACROSS SURVEYS
                                        EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


     Notes & Sources (continued):
 [F] Significance tests reflect the difference in the survey results in columns [B] and [D] across the Higher-Spend Advertiser, Lower-Spend Advertiser, and Agency Surveys.
       The z-scores are based on a two-tailed test with z = ( p 1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 ); a z-score of ±1.96, for example, corresponds to a
       significance at the 95% confidence level. One asterisk (*) denotes significance at the 0.1 level with p < 0.1 and two asterisks (**) denote significance at the 0.05
       level with p < 0.05.
[G] Reflects significance levels of the difference of percentages in [B] and [D].




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                                                                            APPENDIX EXHIBIT 107

                                                      LOWER-SPEND ADVERTISER SURVEY
                                                       SUMMARY OF SELECTED RESULTS
                                            EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                                                                    Full Sample         < Than $50K Ad Spend                 Test of H0
                                           Survey Results                                          %          N             %         N                z-score         p-value
                                          [A]                                                     [B]          [C]          [D]           [E]            [F]              [G]
    [1] Respondents Who Would Divert Spending                                                       59%          243          69%               117        -1.96*               0.05
    [2] Respondents Who Use More Than One Advertising Type                                          84%          243          78%               117          1.27               0.20
    [3] Respondents Who Use More Than One Display Platform                                          77%          243          78%               117         -0.09               0.93
    [4] Google Ads Users Using At Least One Other Non-Google Display Platform                       76%          155          78%                74         -0.38               0.70


         Notes & Sources:
         From Lower-Spend Advertiser Survey.
     [1] Respondents who, in Q9, indicated that they would divert advertising spending as a response to an increase in the cost of display advertising.
     [2] Respondents who, in QS12, indicated that they have used more than one type of digital advertising in the past year.
     [3] Respondents who, in Q4, selected more than one display platform.
     [4] Respondents who, in Q4, indicated using Google Ads, and who selected more than one non-Google display platform.
[B]-[C] Full respondent sample.
[D]-[E] Limited to respondents with an annual ad spend of less than $50,000.
     [F] Significance tests reflect the difference in the survey results in columns [B] and [D]. The z-scores are based on a two-tailed test with
           z = ( p1 - p2 ) / sqrt (p1 × ( 1 - p1 ) / n1 + p2 × ( 1 - p2 ) / n2 ); a z-score of ±1.96, for example, corresponds to a significance at the 95% confidence level. One asterisk
           (*) denotes significance at the 0.1 level with p<0.1 and two asterisks (**) denote significance at the 0.05 level with p <0.05.
    [G] Reflects significance levels of the difference of percentages in [B] and [D].
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                                         APPENDIX EXHIBIT 108

                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                            Would Divert         Would Not Divert
                                                           Spending in Q5         Spending in Q5
                     Respondent Subgroup                     (N = 262)              (N = 164)
                              [A]                                 [B]                  [C]
       Age
    [1] 18 - 34                                                         21.0%                16.5%
    [2] 35 - 49                                                         65.6%                71.3%
    [3] 50 - 64                                                         13.4%                12.2%
    [4] 65 or above                                                          -                    -

          Gender
    [5]    Female                                                       29.4%                19.5%
    [6]    Male                                                         70.6%                80.5%

          Percent of Advertising Budget Spent on Digital
    [7]    Average                                                      67.5%                65.1%
    [8]    Median                                                       70.0%                65.5%

          Annual Ad Spend
    [9]    $500,000 to less than $1 million                              7.3%                 5.5%
   [10]    $1 million to less than $3 million                           16.4%                17.1%
   [11]    $3 million to less than $7 million                           11.8%                12.8%
   [12]    $7 million to less than $15 million                          19.5%                15.9%
   [13]    $15 million to less than $30 million                         15.3%                14.6%
   [14]    $30 million to less than $50 million                         10.3%                13.4%
   [15]    $50 million to less than $100 million                         8.4%                 8.5%
   [16]    $100 million to less than $250 million                        6.5%                 6.1%
   [17]    $250 million to less than $500 million                        2.7%                 4.3%
   [18]    $500 million or more                                          1.9%                 1.8%




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                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                           Would Divert          Would Not Divert
                                                          Spending in Q5          Spending in Q5
                    Respondent Subgroup                     (N = 262)               (N = 164)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [19] Search                                                          84.0%                 64.6%
   [20] Display                                                        100.0%                100.0%
   [21] Email                                                           71.0%                 47.6%
   [22] Digital Audio                                                   44.3%                 33.5%
   [23] Social                                                          85.1%                 64.0%
   [24] App/In-App                                                      51.5%                 34.8%
   [25] Digital Video                                                   71.8%                 56.7%
   [26] Connected TV                                                    50.4%                 39.6%
   [27] eCommerce                                                       59.9%                 46.3%
   [28] Other                                                            0.8%                      -

   [29] Average Number of Advertising Types Used                           6.2                   4.9

          Use of Direct Deals
   [30]    Uses Direct Deals                                           63.0%                  51.8%
   [31]    Does Not Use Direct Deals                                   37.0%                  48.2%

          Use of Ad Agency
   [32]    Uses Ad Agency                                              72.1%                  61.0%
   [33]    Does Not Use Ad Agency                                      27.5%                  39.0%

   [34] Average % of Digital Budget Allocated to                       20.8%                  39.7%
        Programmatic Display

   [35] Use of Multiple Ad Buying Tools                                84.7%                  59.8%

       Metrics Used to Measure Performance of
       Programmatic Display
   [36] ROI                                                            51.1%                  45.7%
   [37] ROAS                                                           51.5%                  42.1%




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                 HIGHER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                              Would Divert           Would Not Divert
                                                             Spending in Q5           Spending in Q5
                     Respondent Subgroup                       (N = 262)                (N = 164)
                          [A]                                      [B]                       [C]
        Frequency of Measuring Performance
    [38] Daily                                                            13.7%                     11.6%
    [39] Weekly                                                           34.0%                     39.6%
    [40] Monthly                                                          27.1%                     29.3%
    [41] Quarterly                                                        21.0%                     14.6%
    [42] Annually                                                          3.4%                      4.3%

        Use of Experiments
    [43] Has run experiments in past year                                 69.1%                     40.2%
    [44] Has not run experiments in past year                             27.1%                     58.5%


          Notes & Sources:
          From Higher-Spend Advertiser Survey.
      [B] Respondents who, in Q5, indicated that they would divert advertising spending as a response to an increase
            in the cost of programmatic display advertising.
      [C] Respondents who, in Q5, indicated that they would not divert advertising spending as a response to an increase
            in the cost of programmatic display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS11.
 [9]-[18] Computed based on responses to QS10.
[19]-[29] Computed based on responses to QS12.
[30]-[31] Computed based on responses to QS13.
[32]-[33] Computed based on responses to Q2.
     [34] Computed based on responses to Q4.
     [35] Computed based on responses to Q8.
[36]-[37] Computed based on responses to Q17.
[38]-[42] Computed based on responses to Q19.
[43]-[44] Computed based on responses to Q20.




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                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE
      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                           Would Divert         Would Not Divert
                                                          Spending in Q9         Spending in Q9
                     Respondent Subgroup                    (N = 143)               (N = 87)
                              [A]                                [B]                  [C]
       Age
    [1] 18 - 34                                                        17.5%                18.4%
    [2] 35 - 49                                                        74.1%                77.0%
    [3] 50 - 64                                                         8.4%                 4.6%
    [4] 65 or above                                                         -                    -

          Gender
    [5]    Female                                                      14.7%                18.4%
    [6]    Male                                                        85.3%                81.6%

          Percent of Advertising Budget Spent on Digital Advertising
    [7]    Average                                                     64.5%                57.5%
    [8]    Median                                                      65.0%                60.0%

          Annual Ad Spend
    [9]    Less than $10,000                                            2.8%                 1.1%
   [10]    $10,000 to less than $25,000                                27.3%                12.6%
   [11]    $25,000 to less than $50,000                                26.6%                24.1%
   [12]    $50,000 to less than $100,000                               10.5%                12.6%
   [13]    $100,000 to less than $250,000                              16.8%                21.8%
   [14]    $250,000 to less than $500,000                              16.1%                27.6%




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                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE
      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                           Would Divert          Would Not Divert
                                                          Spending in Q9          Spending in Q9
                   Respondent Subgroup                      (N = 143)                (N = 87)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [15] Search                                                          65.0%                 55.2%
   [16] Display                                                        100.0%                100.0%
   [17] Email                                                           43.4%                 41.4%
   [18] Digital Audio                                                   39.2%                 39.1%
   [19] Social                                                          70.6%                 58.6%
   [20] App/In-App                                                      32.9%                 37.9%
   [21] Digital Video                                                   47.6%                 49.4%
   [22] Connected TV                                                    30.8%                 36.8%
   [23] eCommerce                                                       36.4%                 40.2%
   [24] Other                                                            0.7%                      -

   [25] Average Number of Advertising Types Used                           4.7                   4.6

          Use of Ad Agency
   [26]    Uses Agency                                                 73.4%                  48.3%
   [27]    Does Not Use Agency                                         26.6%                  51.7%

   [28] Average % of Digital Budget Allocated to                       32.7%                  42.0%
        Display

   [29] Use of Multiple Display Platforms                              88.1%                  62.1%

       Metrics Used to Measure Performance of Display
   [30] ROI                                                            45.5%                  33.3%
   [31] ROAS                                                           32.2%                  35.6%




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                                         APPENDIX EXHIBIT 109

                 LOWER-SPEND ADVERTISER SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
          SPENDING IN RESPONSE TO DISPLAY COST INCREASE
      EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                             Would Divert            Would Not Divert
                                                            Spending in Q9            Spending in Q9
                     Respondent Subgroup                      (N = 143)                  (N = 87)
                          [A]                                     [B]                        [C]
        Frequency of Measuring Performance
    [32] Daily                                                            7.7%                     10.3%
    [33] Weekly                                                          46.2%                     44.8%
    [34] Monthly                                                         31.5%                     25.3%
    [35] Quarterly                                                       11.2%                     18.4%
    [36] Annually                                                         3.5%                      1.1%

        Use of Experiments
    [37] Has run experiments in past year                                69.2%                     33.3%
    [38] Has not run experiments in past year                            29.4%                     65.5%


          Notes & Sources:
          From Lower-Spend Advertiser Survey.
      [B] Respondents who, in Q9, indicated that they would divert advertising spending as a response to an
            increase in the cost of display advertising.
      [C] Respondents who, in Q9, indicated that they would not divert advertising spending as a response to an
            increase in the cost of display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS11.
 [9]-[14] Computed based on responses to QS10.
[15]-[25] Computed based on responses to QS12.
[26]-[27] Computed based on responses to Q2.
     [28] Computed based on responses to Q8.
     [29] Computed based on responses to Q4.
[30]-[31] Computed based on responses to Q12.
[32]-[36] Computed based on responses to Q14.
[37]-[38] Computed based on responses to Q15.




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                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                            Would Divert        Would Not Divert
                                                           Spending in Q4        Spending in Q4
                     Respondent Subgroup                     (N = 185)             (N = 132)
                              [A]                                 [B]                 [C]
       Age
    [1] 18 - 34                                                         29.7%               17.4%
    [2] 35 - 49                                                         57.8%               67.4%
    [3] 50 - 64                                                         11.9%               15.2%
    [4] 65 or above                                                      0.5%                    -

          Gender
    [5]    Female                                                       29.7%               31.1%
    [6]    Male                                                         70.3%               68.2%

          Percent of Advertising Budget Spent on Digital
    [7]    Average                                                      66.5%               63.6%
    [8]    Median                                                       70.0%               60.0%

          Annual Ad Spend
    [9]    $50,000 to less than $100,000                                 2.2%                0.8%
   [10]    $100,000 to less than $250,000                                2.7%                0.8%
   [11]    $250,000 to less than $500,000                                2.7%                0.8%
   [12]    $500,000 to less than $1 million                              9.2%                7.6%
   [13]    $1 million to less than $3 million                           14.1%               11.4%
   [14]    $3 million to less than $7 million                           17.3%               21.2%
   [15]    $7 million to less than $15 million                          10.8%               12.9%
   [16]    $15 million to less than $30 million                         16.2%               20.5%
   [17]    $30 million to less than $50 million                          7.0%               14.4%
   [18]    $50 million to less than $100 million                         5.4%                3.0%
   [19]    $100 million to less than $250 million                        8.1%                3.8%
   [20]    $250 million to less than $500 million                        1.6%                1.5%
   [21]    $500 million or more                                          2.2%                1.5%




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                                       APPENDIX EXHIBIT 110

                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                           Would Divert          Would Not Divert
                                                          Spending in Q4          Spending in Q4
                    Respondent Subgroup                     (N = 185)               (N = 132)
                          [A]                                    [B]                   [C]
       Advertising Types Used
   [22] Search                                                          78.9%                 56.1%
   [23] Display                                                        100.0%                100.0%
   [24] Email                                                           52.4%                 41.7%
   [25] Digital Audio                                                   51.9%                 27.3%
   [26] Social                                                          84.9%                 63.6%
   [27] App/In-App                                                      44.3%                 38.6%
   [28] Digital Video                                                   74.1%                 50.8%
   [29] Connected TV                                                    60.0%                 35.6%
   [30] eCommerce                                                       50.3%                 39.4%
   [31] Other                                                            1.1%                      -

   [32] Average Number of Advertising Types Used                           6.0                      4.5

          Use of Direct Deals
   [33]    Uses Direct Deals                                           53.5%                  36.4%
   [34]    Does Not Use Direct Deals                                   46.5%                  63.6%

   [35] Average % of Digital Budget Allocated to                       23.4%                  43.5%
        Programmatic Display

   [36] Use of Multiple Ad Buying Tools                                77.3%                  61.4%

       Metrics Used to Measure Performance of
       Programmatic Display
   [37] ROI                                                            55.7%                  40.2%
   [38] ROAS                                                           50.3%                  40.9%




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                          AGENCY SURVEY
COMPARISON OF RESPONDENTS WHO WOULD DIVERT VS. WOULD NOT DIVERT
   SPENDING IN RESPONSE TO PROGRAMMATIC DISPLAY COST INCREASE
       EXCLUDING RESPONDENTS WHO SELECTED A DECOY OPTION


                                                              Would Divert            Would Not Divert
                                                             Spending in Q4            Spending in Q4
                     Respondent Subgroup                       (N = 185)                 (N = 132)
                           [A]                                     [B]                        [C]
         Frequency of Measuring Performance
     [39] Daily                                                            5.9%                      12.9%
     [40] Weekly                                                          42.2%                      37.9%
     [41] Monthly                                                         34.6%                      29.5%
     [42] Quarterly                                                       13.5%                      15.9%
     [43] Annually                                                         3.8%                       3.8%

         Use of Experiments
     [44] Has run experiments in past year                                68.1%                      51.5%
     [45] Has not run experiments in past year                            27.6%                      46.2%


          Notes & Sources:
          From Agency Survey.
      [B] Respondents who, in Q4, indicated that they would divert advertising spending for the client they spend
            the most time on as a response to an increase in the cost of programmatic display advertising.
      [C] Respondents who, in Q4, indicated that they would not divert not advertising spending for the client they
            spend the most time on as a response to an increase in the cost of programmatic display advertising.
  [1]-[4] Computed based on responses to QS3.
  [5]-[6] Computed based on responses to QS4.
  [7]-[8] Computed based on responses to QS13.
 [9]-[21] Computed based on responses to QS12.
[22]-[32] Computed based on responses to QS14.
[33]-[34] Computed based on responses to QS15.
     [35] Computed based on responses to Q3.
     [36] Computed based on responses to Q7.
[37]-[38] Computed based on responses to Q16.
[39]-[43] Computed based on responses to Q18.
[44]-[45] Computed based on responses to Q19.




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